                             Case 6:20-bk-02159-LVV                              Doc 162          Filed 05/08/20               Page 1 of 274




 Fill in this information to identify the case:

 Debtor name         FoodFirst Global Restaurants, Inc.

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

 Case number (if known)         6:20-bk-02159-LVV
                                                                                                                                         Check if this is an
                                                                                                                                            amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                                 12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                 Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

                 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

                 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

                 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

                 Schedule H: Codebtors (Official Form 206H)

                 Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                 Amended Schedule
                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                 Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on                                                  X
                                                                         Signature of individual signing on behalf of debtor

                                                                         Steven R. Layt
                                                                         Printed name

                                                                         President
                                                                         Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
                                  Case 6:20-bk-02159-LVV                                           Doc 162                  Filed 05/08/20                         Page 2 of 274

 Fill in this information to identify the case:

 Debtor name            FoodFirst Global Restaurants, Inc.

 United States Bankruptcy Court for the:                       MIDDLE DISTRICT OF FLORIDA

 Case number (if known)               6:20-bk-02159-LVV
                                                                                                                                                                                    Check if this is an
                                                                                                                                                                                        amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                    12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                   $        2,892,300.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                      $      25,210,985.48

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                     $      28,103,285.48


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                   $      30,000,000.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                      $            62,194.67

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                              +$      15,154,253.01


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                            $        45,216,447.68




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                                                           Best Case Bankruptcy
                             Case 6:20-bk-02159-LVV                       Doc 162       Filed 05/08/20        Page 3 of 274

 Fill in this information to identify the case:

 Debtor name         FoodFirst Global Restaurants, Inc.

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

 Case number (if known)         6:20-bk-02159-LVV
                                                                                                                              Check if this is an
                                                                                                                                    amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                    12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
       Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                Current value of
                                                                                                                                    debtor's interest
 2.         Cash on hand                                                                                                                       $23,250.00



 3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
            Name of institution (bank or brokerage firm)         Type of account                         Last 4 digits of account
                                                                                                         number
                   Huntington Bank Accounts:
                   Corporate Concentration (Master)
                   Acct. #xxxxxx0021 $703,521.72;
                   Corporate Disbursement (Vendors)
                   Acct. # xxxxxx2999 $0.00;
                   Corporate Payroll
                   Acct. # xxxxxx9324 $0.00;
                   Store Checking (Vendors outside
                   Fintech)
                   Acct. # xxxxxx7542 $10,000.00;
                   Ohio Workers Comp.
                   Acct. # xxxxxx3485 $0.00;
                   Tax Account #xxxxxx8683 $0.00;
                   Master Credit Payment
                   Acct. #xxxxxx7348 $0.00;
                   Insurance Payment
                   Acct. #xxxxxx4447 $0.00;
                   Trade Payables
                   Acct. #xxxxxx6508 $0.00;
                   Alcoholic Beverage/Liquor
                   Acct. #xxxxxx6511 $0.00;
                   Miscellaneous (Rent ACH/other)
                   Acct. #xxxxxx3627 $0.00;
                   Employee Family Fund (non ZBA)
                   Acct #xxxxxx5231 $33,511.35; and
                   Master Cash (non ZBA)
            3.1.   Acct. #xxxxxx7877 $28,384.05                             Checking Account             xxxx                                 $775,417.12

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                         page 1
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy
                             Case 6:20-bk-02159-LVV                          Doc 162      Filed 05/08/20            Page 4 of 274

 Debtor            FoodFirst Global Restaurants, Inc.                                            Case number (If known) 6:20-bk-02159-LVV
                   Name



                     City National Bank
                     555 S. Flower St.
            3.2.     Los Angeles, CA 90071                                    Checking Account                 8579                               $0.00



 4.         Other cash equivalents (Identify all)

 5.         Total of Part 1.                                                                                                         $798,667.12
            Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.
 7.         Deposits, including security deposits and utility deposits
            Description, including name of holder of deposit


            7.1.     See attached Schedule B - Exhibit 7.1                                                                               $357,993.94



 8.         Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
            Description, including name of holder of prepayment
                     NCR for NBO Maintenance $108,602.64;
                     Infor US for Lawson Annual Maintenance $72,206.98;
                     MICROS for ANNUAL SEL/CAEDC Renewal $30,503.47;
                     Gather for GATHER TECHNOLOGIES $19,199.55;
                     Wasserstrom Bar Stools - Cherry Stools $10,080.64;
                     City National City National Loan Admn Fee Annual $3,333.30;
                     Veeam Annual Veeam Renewal $2,043.02; and
            8.1.     Licensing Solutions $56,389.00.                                                                                     $302,085.60




 9.         Total of Part 2.                                                                                                         $660,079.54
            Add lines 7 through 8. Copy the total to line 81.

 Part 3:           Accounts receivable
10. Does the debtor have any accounts receivable?

       No. Go to Part 4.
       Yes Fill in the information below.
 11.        Accounts receivable
            11a. 90 days old or less:                           606,769.00     -                                0.00 = ....              $606,769.00
                                              face amount                          doubtful or uncollectible accounts




 12.        Total of Part 3.                                                                                                         $606,769.00
            Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:           Investments
13. Does the debtor own any investments?

       No.   Go to Part 5.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 2
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                             Case 6:20-bk-02159-LVV                        Doc 162      Filed 05/08/20       Page 5 of 274

 Debtor         FoodFirst Global Restaurants, Inc.                                            Case number (If known) 6:20-bk-02159-LVV
                Name


     Yes Fill in the information below.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

     No. Go to Part 6.
     Yes Fill in the information below.
           General description                        Date of the last        Net book value of      Valuation method used   Current value of
                                                      physical inventory      debtor's interest      for current value       debtor's interest
                                                                              (Where available)

 19.       Raw materials

 20.       Work in progress

 21.       Finished goods, including goods held for resale
           Inventory-Food
           $255,056
           Inventory-Wine
           $149,228
           Inventory-Liquor
           $110,115
           Inventory-Beer
           $19,649
           Inventory-Beverages
           40,831                                                                    $574,878.00     Cost                             $574,878.00



 22.       Other inventory or supplies

 23.       Total of Part 5.                                                                                                       $574,878.00
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
            No
            Yes
 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
            No
            Yes. Book value                      0.00 Valuation method       Cost               Current Value                           0.00

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
            No
            Yes
 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

     No.    Go to Part 7.
     Yes Fill in the information below.

 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No. Go to Part 8.
     Yes Fill in the information below.


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 3
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                  Best Case Bankruptcy
                             Case 6:20-bk-02159-LVV                       Doc 162       Filed 05/08/20       Page 6 of 274

 Debtor         FoodFirst Global Restaurants, Inc.                                            Case number (If known) 6:20-bk-02159-LVV
                Name

           General description                                                Net book value of      Valuation method used   Current value of
                                                                              debtor's interest      for current value       debtor's interest
                                                                              (Where available)

 39.       Office furniture
           Indoor and outdoor furniture, smallware,
           computer hardware, and software.                                        $3,686,448.23     Replacement                    $3,686,448.23



 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software

 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                        $3,686,448.23
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
            No
            Yes
 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
            No
            Yes
 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No. Go to Part 9.
     Yes Fill in the information below.
           General description                                                Net book value of      Valuation method used   Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value       debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           Various furniture, fixtures, equipment, and
           appliances.                                                             $5,473,951.94     Replacement                    $5,473,951.94




 51.       Total of Part 8.                                                                                                     $5,473,951.94
           Add lines 47 through 50. Copy the total to line 87.

 52.       Is a depreciation schedule available for any of the property listed in Part 8?
            No
            Yes
 53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 4
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                  Best Case Bankruptcy
                             Case 6:20-bk-02159-LVV                           Doc 162     Filed 05/08/20       Page 7 of 274

 Debtor         FoodFirst Global Restaurants, Inc.                                              Case number (If known) 6:20-bk-02159-LVV
                Name


             No
             Yes
 Part 9:        Real property
54. Does the debtor own or lease any real property?

     No. Go to Part 10.
     Yes Fill in the information below.
 55.        Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

            Description and location of                   Nature and            Net book value of      Valuation method used   Current value of
            property                                      extent of             debtor's interest      for current value       debtor's interest
            Include street address or other               debtor's interest     (Where available)
            description such as Assessor                  in property
            Parcel Number (APN), and type
            of property (for example,
            acreage, factory, warehouse,
            apartment or office building, if
            available.
            55.1. 1002 Bethel Road
                     located at 3000
                     Hayden Rd,
                     Columbus, OH 43235                   Fee simple                 $1,300,000.00     Tax records                     $1,300,000.00


            55.2.    1003 Castleton
                     located at 8651
                     Castlecreek Parkway,
                     Indianapolis, IN
                     33388
                     Parcel # 4030360                     Fee simple                 $1,592,300.00     Tax records                     $1,592,300.00




 56.        Total of Part 9.                                                                                                        $2,892,300.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
             No
             Yes
 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
             No
             Yes
 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

     No. Go to Part 11.
     Yes Fill in the information below.
            General description                                                 Net book value of      Valuation method used    Current value of
                                                                                debtor's interest      for current value        debtor's interest
                                                                                (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets
            Copyright $74,560.32
            Trademarks $11,233,764.81                                               $11,308,325.13     Replacement                   $11,308,325.13




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                     page 5
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
                             Case 6:20-bk-02159-LVV                       Doc 162       Filed 05/08/20        Page 8 of 274

 Debtor         FoodFirst Global Restaurants, Inc.                                            Case number (If known) 6:20-bk-02159-LVV
                Name

 61.        Internet domain names and websites
            Website: www.brioitalian.com                                               Unknown                                                 $1.00



 62.        Licenses, franchises, and royalties
            Various Business for all locations and and
            Liquor licenses.
            See attached Schedule B - Exhibit 62                                     $823,559.00     Replacement                      $823,559.00



 63.        Customer lists, mailing lists, or other compilations

 64.        Other intangibles, or intellectual property

 65.        Goodwill
            Goodwill                                                               $1,278,306.52     Book                           $1,278,306.52



 66.        Total of Part 10.                                                                                                   $13,410,191.65
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
             No
             Yes
 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
             No
             Yes
 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
             No
             Yes
 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

     No. Go to Part 12.
     Yes Fill in the information below.
                                                                                                                             Current value of
                                                                                                                             debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

 73.        Interests in insurance policies or annuities

 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)

 75.        Other contingent and unliquidated claims or causes of action of
            every nature, including counterclaims of the debtor and rights to
            set off claims

 76.        Trusts, equitable or future interests in property

 77.        Other property of any kind not already listed Examples: Season tickets,

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 6
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                  Best Case Bankruptcy
                             Case 6:20-bk-02159-LVV                       Doc 162       Filed 05/08/20       Page 9 of 274

 Debtor         FoodFirst Global Restaurants, Inc.                                            Case number (If known) 6:20-bk-02159-LVV
                Name

           country club membership
           Brio Tuscan Grille of Baltimore, LLC
           Brio Tuscan Grille of Maryland, Inc.
           Brio Tuscan Grille of Cherokee, LLC
           Brio Marlton, LLC
           Bravo Development of Kansas, Inc.
           Cherry Hill Two, LLC                                                                                                          Unknown




 78.       Total of Part 11.                                                                                                                $0.00
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
            No
            Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 7
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                  Best Case Bankruptcy
                              Case 6:20-bk-02159-LVV                                  Doc 162              Filed 05/08/20               Page 10 of 274

 Debtor          FoodFirst Global Restaurants, Inc.                                                                  Case number (If known) 6:20-bk-02159-LVV
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                          $798,667.12

 81. Deposits and prepayments. Copy line 9, Part 2.                                                               $660,079.54

 82. Accounts receivable. Copy line 12, Part 3.                                                                   $606,769.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                             $574,878.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                      $3,686,448.23

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                  $5,473,951.94

 88. Real property. Copy line 56, Part 9.........................................................................................>                      $2,892,300.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                            $13,410,191.65

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                       $25,210,985.48             + 91b.            $2,892,300.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $28,103,285.48




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                            page 8
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                                   Best Case Bankruptcy
                              Case 6:20-bk-02159-LVV                          Doc 162            Filed 05/08/20       Page 11 of 274

 Fill in this information to identify the case:

 Debtor name          FoodFirst Global Restaurants, Inc.

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

 Case number (if known)              6:20-bk-02159-LVV
                                                                                                                                            Check if this is an
                                                                                                                                             amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                    12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                   Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                               Amount of claim             Value of collateral
                                                                                                                                               that supports this
                                                                                                                   Do not deduct the value     claim
                                                                                                                   of collateral.
 2.1    City National Bank                            Describe debtor's property that is subject to a lien              $6,000,000.00                 Unknown
        Creditor's Name                               All Personal Property
        Attn: Portfolio Manager
        555 South Flower St, 24th
        FL
        Los Angeles, CA 90071
        Creditor's mailing address                    Describe the lien
                                                      UCC
                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
        2018                                           Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative       Disputed
        priority.
        1. City National Bank
        2. Garrison Loan Agency
        Service


 2.2
        Garrison Loan Agency
        Service                                       Describe debtor's property that is subject to a lien            $24,000,000.00                  Unknown
        Creditor's Name                               All Personal Property
        Attn: Portfolio Manager
        1290 Ave of Americas Ste
        914
        New York, NY 10104
        Creditor's mailing address                    Describe the lien
                                                      UCC
                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
        May 24, 2018                                   Yes. Fill out Schedule H: Codebtors (Official Form 206H)
Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 2
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                    Best Case Bankruptcy
                            Case 6:20-bk-02159-LVV                            Doc 162            Filed 05/08/20            Page 12 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)       6:20-bk-02159-LVV
              Name

       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
        No                                            Contingent
        Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative        Disputed
       priority.
       Specified on line 2.1

                                                                                                                               $30,000,000.
 3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                         00

 Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity
        Chapman & Cutler LLP
        Attn: Anthony DiGiacomo, Esq                                                                          Line   2.1
        1270 Ave of Americas 30th FL
        New York, NY 10020

        City National Bank
        Attn: Managing Counsel                                                                                Line   2.1
        555 South Flower St, 24th FL
        Los Angeles, CA 90071

        Garrison Loan Agency Service
        Attn: Legal Department                                                                                Line   2.2
        1290 Ave of Americas Ste 914
        New York, NY 10104

        Holland & Knight LLP
        Attn: Eric W. Kimiball                                                                                Line   2.2
        200 Crescent Court, Ste 1600
        Dallas, TX 75201




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 2 of 2
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy
                            Case 6:20-bk-02159-LVV                               Doc 162               Filed 05/08/20        Page 13 of 274

 Fill in this information to identify the case:

 Debtor name         FoodFirst Global Restaurants, Inc.

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

 Case number (if known)          6:20-bk-02159-LVV
                                                                                                                                           Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

           No. Go to Part 2.
           Yes. Go to line 2.
       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                       Unknown          Unknown
           Alabama Dept of Revenue                                   Check all that apply.
           PO Box 327790                                              Contingent
           50 N. Ripley                                               Unliquidated
           Montgomery, AL 36132-7790                                  Disputed
           Date or dates debt was incurred                           Basis for the claim:
                                                                     Sales Tax
           Last 4 digits of account number 6328                      Is the claim subject to offset?

           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                       Unknown          Unknown
           Arizona Privilege & Use Tax                               Check all that apply.
           PO Box 29010                                               Contingent
           Phoenix, AZ 85038-9010                                     Unliquidated
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:
                                                                     Sales Tax
           Last 4 digits of account number 6328                      Is the claim subject to offset?

           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                              page 1 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                   55481                               Best Case Bankruptcy
                            Case 6:20-bk-02159-LVV                               Doc 162               Filed 05/08/20           Page 14 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                              Case number (if known)   6:20-bk-02159-LVV
              Name

 2.3      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown     Unknown
          Arkansas Dept of Finance                                   Check all that apply.
          Ledbetter Building                                          Contingent
          1816 W 7th                                                  Unliquidated
          Ste 1330                                                    Disputed
          Little Rock, AR 72201
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Sales Tax
          Last 4 digits of account number 6328                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.4      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown     Unknown
          California Dept Tx/Fee Adm                                 Check all that apply.
          450 N Street                                                Contingent
          Sacramento, CA 94279                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Sales Tax
          Last 4 digits of account number 6328                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.5      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown     Unknown
          City of Homewood                                           Check all that apply.
          PO Box 59666                                                Contingent
          Homewood, AL 35259                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Sales Tax - Alcohol
          Last 4 digits of account number 6328                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.6      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown     Unknown
          City of Huntsville                                         Check all that apply.
          PO Box 11407                                                Contingent
          Birmingham, AL 35246-2108                                   Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Sales Tax - Alcohol
          Last 4 digits of account number 6328                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 2 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                    Best Case Bankruptcy
                            Case 6:20-bk-02159-LVV                               Doc 162               Filed 05/08/20           Page 15 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                              Case number (if known)   6:20-bk-02159-LVV
              Name

 2.7      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown     Unknown
          City of VA Beach Tx Division                               Check all that apply.
          Municipal Center Building 1                                 Contingent
          2401 Courthouse Dr                                          Unliquidated
          Virgia Beach, VA 23456                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Sales Tax
          Last 4 digits of account number 6328                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.8      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown     Unknown
          Colorado Dept of Revenue                                   Check all that apply.
                                                                      Contingent
          Denver, CO 80261-0004                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Sales Tax
          Last 4 digits of account number 6328                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.9      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown     Unknown
          Comptroller of Maryland                                    Check all that apply.
          110 Carroll Street                                          Contingent
          Annapolis, MD 21411                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Sales Tax
          Last 4 digits of account number 6328                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.10     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown     Unknown
          Connecticut Dept of Revenue                                Check all that apply.
          450 Columbus Blvd                                           Contingent
          Hartford, CT 06103                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Sales Tax
          Last 4 digits of account number 6328                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 3 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                    Best Case Bankruptcy
                            Case 6:20-bk-02159-LVV                               Doc 162               Filed 05/08/20           Page 16 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                              Case number (if known)   6:20-bk-02159-LVV
              Name

 2.11     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown      Unknown
          Delaware Division of Revenue                               Check all that apply.
          PO Box 2340                                                 Contingent
          Wilmington, DE 19899-2340                                   Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Sales Tax
          Last 4 digits of account number 6328                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.12     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown      Unknown
          Florida Dept of Revenue                                    Check all that apply.
          5050 W Tennessee St                                         Contingent
          Tallahassee, FL 32399-0120                                  Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Sales Tax
          Last 4 digits of account number 6328                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.13     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $41,679.62    Unknown
          Franklin County Treasurer                                  Check all that apply.
          PO Box 742538                                               Contingent
          Cincinnati, OH 45274-2538                                   Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
          1/21/2020                                                  2019 Real Property Taxes
          Last 4 digits of account number 5700                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.14     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown      Unknown
          Illinois Dept of Revenue                                   Check all that apply.
          PO Box 19013                                                Contingent
          Springfield, IL 62794-9013                                  Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Sales Tax
          Last 4 digits of account number 6328                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 4 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                            Case 6:20-bk-02159-LVV                               Doc 162               Filed 05/08/20           Page 17 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                              Case number (if known)   6:20-bk-02159-LVV
              Name

 2.15     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown     Unknown
          Indiana Dept of Revenue                                    Check all that apply.
          PO Box 7207                                                 Contingent
          Indianapolis, IN 46207                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Sales Tax
          Last 4 digits of account number 6328                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.16     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown     Unknown
          Internal Revenue Service                                   Check all that apply.
          Centralized Insolvency Ops                                  Contingent
          PO Box 7346                                                 Unliquidated
          Philadelphia, PA 19101-7346                                 Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     (Notice purposes only)
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.17     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown     Unknown
          Iowa Dept of Revenue                                       Check all that apply.
          1305 E Walnut St, 4th Floor                                 Contingent
          Des Moines, IA 50319                                        Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Sales Tax
          Last 4 digits of account number 6328                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.18     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown     Unknown
          Jefferson County Dept of Rev                               Check all that apply.
          PO Box 830710                                               Contingent
          Birmingham, AL 35283-0710                                   Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Sales Tax - Alcohol
          Last 4 digits of account number 6328                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 5 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                    Best Case Bankruptcy
                            Case 6:20-bk-02159-LVV                               Doc 162               Filed 05/08/20           Page 18 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                              Case number (if known)   6:20-bk-02159-LVV
              Name

 2.19     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown     Unknown
          Kansas Dept of Revenue                                     Check all that apply.
          PO Box 3506                                                 Contingent
          Topeka, KS 66625-3506                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Sales Tax
          Last 4 digits of account number 6328                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.20     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown     Unknown
          Kentucky Dept of Revenue                                   Check all that apply.
                                                                      Contingent
          Frankfort, KY 40619                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Sales Tax
          Last 4 digits of account number 6328                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.21     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown     Unknown
          Liberty Community Authority                                Check all that apply.
          PO Box 645434                                               Contingent
          Cincinnati, OH 45264-5434                                   Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Sales Tax
          Last 4 digits of account number 6328                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.22     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown     Unknown
          Little Rock Promo Commission                               Check all that apply.
          PO Box 1763                                                 Contingent
          Little Rock, AR 72203                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Sales Tax
          Last 4 digits of account number 6328                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 6 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                    Best Case Bankruptcy
                            Case 6:20-bk-02159-LVV                               Doc 162               Filed 05/08/20           Page 19 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                              Case number (if known)   6:20-bk-02159-LVV
              Name

 2.23     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown      Unknown
          Louisiana Dept of Revenue                                  Check all that apply.
          PO Box 5199                                                 Contingent
          Baton Rouge, LA 70821-5199                                  Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Sales Tax
          Last 4 digits of account number 6328                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.24     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $20,515.05    $20,515.05
          Marion County Treasurer                                    Check all that apply.
          PO Box 6145                                                 Contingent
          Indianapolis, IN 46206-6145                                 Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
          5/10/2019                                                  2019 Real Property Taxes
          Last 4 digits of account number 0360                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.25     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown      Unknown
          Meals Tax Division                                         Check all that apply.
          PO Box 175                                                  Contingent
          Spotsylvania, VA 22553-0175                                 Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Sales Tax
          Last 4 digits of account number 6328                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.26     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown      Unknown
          Michigan Dept of Treasury                                  Check all that apply.
                                                                      Contingent
          Lansing, MI 48922                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Sales Tax
          Last 4 digits of account number 6328                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 7 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                            Case 6:20-bk-02159-LVV                               Doc 162               Filed 05/08/20           Page 20 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                              Case number (if known)   6:20-bk-02159-LVV
              Name

 2.27     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown     Unknown
          Missouri Dept of Revenue                                   Check all that apply.
          PO Box 840                                                  Contingent
          Jefferson City, MO 65105-0840                               Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Sales Tax
          Last 4 digits of account number 6328                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.28     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown     Unknown
          Nebraska Dept of Revenue                                   Check all that apply.
          PO Box 94818                                                Contingent
          Lincoln, NE 68509-4818                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Sales Tax
          Last 4 digits of account number 6328                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.29     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown     Unknown
          Nevada Dept of Taxation                                    Check all that apply.
          555 E Washington Ave Ste1300                                Contingent
          Las Vegas, NV 89101                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Sales Tax
          Last 4 digits of account number 6328                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.30     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown     Unknown
          Nevada Dept of Taxation                                    Check all that apply.
          1550 College Pkwy No 115                                    Contingent
          Carson City, NV 89706                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Sales Tax
          Last 4 digits of account number 6328                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 8 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                    Best Case Bankruptcy
                            Case 6:20-bk-02159-LVV                               Doc 162               Filed 05/08/20           Page 21 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                              Case number (if known)   6:20-bk-02159-LVV
              Name

 2.31     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown     Unknown
          New Jersey Div of Taxation                                 Check all that apply.
          PO Box 999                                                  Contingent
          Trenton, NJ 08646-0999                                      Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Sales Tax
          Last 4 digits of account number 6328                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.32     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown     Unknown
          New Mexico Taxation & Rev                                  Check all that apply.
          1100 South St. Francis Drive                                Contingent
          Santa Fe, NM 87504                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Sales Tax
          Last 4 digits of account number 6328                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.33     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown     Unknown
          New York Taxation & Finance                                Check all that apply.
          PO Box 5300                                                 Contingent
          Albany, NY 12205-0300                                       Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Sales Tax
          Last 4 digits of account number 6328                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.34     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown     Unknown
          North Carolina Dept of Rev                                 Check all that apply.
          501 Wilmington St                                           Contingent
          Raleigh, NC 27604                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Sales Tax
          Last 4 digits of account number 6328                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 9 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                    Best Case Bankruptcy
                            Case 6:20-bk-02159-LVV                               Doc 162               Filed 05/08/20           Page 22 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                              Case number (if known)   6:20-bk-02159-LVV
              Name

 2.35     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown     Unknown
          Ohio Dept of Revenue                                       Check all that apply.
          4485 Northland Ridge Blvd                                   Contingent
          Columbus, OH 43229                                          Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Sales Tax
          Last 4 digits of account number 6328                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.36     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown     Unknown
          Oklahoma Tax Commission                                    Check all that apply.
          2501 N Lincoln Blvd                                         Contingent
          Oklahoma City, OK 73194                                     Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Sales Tax
          Last 4 digits of account number 6328                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.37     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown     Unknown
          Orange County Tax Collector                                Check all that apply.
          301 S Robinson Avenue                                       Contingent
          Orlando, FL 32801                                           Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     (Notice purposes only)
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.38     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown     Unknown
          Pennsylvania Dept of Revenue                               Check all that apply.
          PO Box 280406                                               Contingent
          Harrisburg, PA 17128-0406                                   Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Sales Tax
          Last 4 digits of account number 6328                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 10 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                    Best Case Bankruptcy
                            Case 6:20-bk-02159-LVV                               Doc 162               Filed 05/08/20           Page 23 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                              Case number (if known)   6:20-bk-02159-LVV
              Name

 2.39     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown     Unknown
          Tennessee Dept of Revenue                                  Check all that apply.
          500 Deaderick Street                                        Contingent
          Nashville, TN 37242                                         Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Sales Tax
          Last 4 digits of account number 6328                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.40     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown     Unknown
          Texas Comptroller Public Act                               Check all that apply.
          PO Box 149355                                               Contingent
          Austin, TX 78714                                            Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Sales Tax
          Last 4 digits of account number 6328                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.41     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown     Unknown
          Utah State Tax Commission                                  Check all that apply.
          210 N 1950 W                                                Contingent
          Salt Lake City, UT 84134                                    Unliquidated
                                                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Sales Tax
          Last 4 digits of account number 6328                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.42     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         Unknown     Unknown
          Village at Gulfstream Park                                 Check all that apply.
          10245 Centurion Parkway                                     Contingent
          Corporate Trust Services                                    Unliquidated
          Jacksonville, FL 32256                                      Disputed
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Sales Tax
          Last 4 digits of account number 6328                       Is the claim subject to offset?

          Specify Code subsection of PRIORITY                         No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 11 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                    Best Case Bankruptcy
                            Case 6:20-bk-02159-LVV                               Doc 162               Filed 05/08/20              Page 24 of 274

 Debtor        FoodFirst Global Restaurants, Inc.                                                             Case number (if known)          6:20-bk-02159-LVV
               Name

 2.43       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                                       Unknown    Unknown
            Village of Lombard                                       Check all that apply.
            255 E. Wilson Ave                                         Contingent
            Lombard, IL 60148                                         Unliquidated
                                                                      Disputed
            Date or dates debt was incurred                          Basis for the claim:
                                                                     Sales Tax
            Last 4 digits of account number 6328                     Is the claim subject to offset?

            Specify Code subsection of PRIORITY                       No
            unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.44       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                                       Unknown    Unknown
            Virginia Dept of Taxation                                Check all that apply.
            1957 Westmoreland St                                      Contingent
            Richmond, VA 23230                                        Unliquidated
                                                                      Disputed
            Date or dates debt was incurred                          Basis for the claim:
                                                                     Sales Tax
            Last 4 digits of account number 6328                     Is the claim subject to offset?

            Specify Code subsection of PRIORITY                       No
            unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.45       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                                       Unknown    Unknown
            Wisconsin Dept of Revenue                                Check all that apply.
            PO Box 8949                                               Contingent
            Madison, WI 53708-8949                                    Unliquidated
                                                                      Disputed
            Date or dates debt was incurred                          Basis for the claim:
                                                                     Sales Tax
            Last 4 digits of account number 6328                     Is the claim subject to offset?

            Specify Code subsection of PRIORITY                       No
            unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes


 Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
        3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
           out and attach the Additional Page of Part 2.
                                                                                                                                                       Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                    $929.66
           035 WASTE INDUSTRIES                                                     Contingent
           P.O. BOX 791519                                                          Unliquidated
           BALTIMORE, MD 21279-1519                                                 Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Trade
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?    No  Yes
 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.               $145,988.68
           100 PRATT ST. VENTURE, LLC                                               Contingent
           P.O. BOX 780462                                                          Unliquidated
           PHILADELPHIA, PA 19178-0462                                              Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Landlord
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?    No  Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 12 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                                 Best Case Bankruptcy
                            Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 25 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $69,300.00
          168TH AND DODGE L.P.                                                Contingent
          P.O. BOX 94133                                                      Unliquidated
          LAS VEGAS, NV 89193-4133                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Landlord
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $971.68
          3343 BAILEY LOCK AND ALARM                                          Contingent
          dba SUBURBAN LOCK AND KEY SERV                                      Unliquidated
          3122 DELAWARE AVE.                                                  Disputed
          KENMORE, NY 14217
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $760.00
          A 1 SEWER & SEPTIC SERVICE                                          Contingent
          1891 MERRIAM LANE                                                   Unliquidated
          KANSAS CITY, KS 66106                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $545.00
          A BETTER VIEW                                                       Contingent
          4017 JUNIPER DRIVE                                                  Unliquidated
          HUNTSVILLE, AL 35810                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $970.88
          A CLEAN SLATE                                                       Contingent
          520 AIRPORT DRIVE NW                                                Unliquidated
          SUITE A-9                                                           Disputed
          ALBUQUERQUE, NM 87121
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,471.00
          A CLEAR VIEW WINDOW                                                 Contingent
          CLEANING, LLC.                                                      Unliquidated
          P.O. BOX 502                                                        Disputed
          NEW FREEDOM, PA 17349
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,200.00
          A DU-ALL SEWER & DRAIN SER                                          Contingent
          514 S. EAST COAST ST.                                               Unliquidated
          LAKE WORTH, FL 33460                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 13 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                            Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 26 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $549.54
          A RUDI CUELLAR LOCK CO INC                                          Contingent
          2 SOUTH ORANGE AVENUE                                               Unliquidated
          GARAGE UNIT 2                                                       Disputed
          ORLANDO, FL 32801
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $150.87
          A TECH-TCI, INC.                                                    Contingent
          P.O. BOX 3597                                                       Unliquidated
          DES MOINES, IA 50323-0597                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $500.00
          A-1 DECON INC                                                       Contingent
          1048 TORNGAT COURT                                                  Unliquidated
          VIRGINIA BEACH, VA 23454                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $482.00
          A-LOT-A-CLEAN, INC.                                                 Contingent
          P.O. BOX 284                                                        Unliquidated
          LEE'S SUMMIT, MO 64063                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $110.00
          A.MAESTRANZI SONS KNIFE SV                                          Contingent
          1031 LUNT AVE.                                                      Unliquidated
          SCHAUMBURG, IL 60193                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $375.00
          AAA WASTEWATER SERVICES, INC                                        Contingent
          3677 ANTHONY LANE                                                   Unliquidated
          FRANKLIN, OH 45005                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $236.73
          AATA LLC                                                            Contingent
          2811 LITTLE YORK RD                                                 Unliquidated
          DAYTON, OH 45414                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 14 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                            Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 27 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $723.73
          ABC                                                                 Contingent
          115 N CEDAR                                                         Unliquidated
          GREENSBORO, NC 27401                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $591.71
          ABC FIRE EQUIPMENT CORP                                             Contingent
          5370 JAEGER RD                                                      Unliquidated
          NAPLES, FL 34109                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $323.09
          ABC FIRE EXTINGUISHER CO                                            Contingent
          4641 PEOPLES RD                                                     Unliquidated
          PITTSBURGH, PA 15237                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,657.56
          ABOVE AND BEYOND PLUMBING                                           Contingent
          P.O. BOX 2065                                                       Unliquidated
          KELLER, TX 76244                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $26,529.82
          ABQ UPTOWN LLC.                                                     Contingent
          7065 SOLUTION CENTER                                                Unliquidated
          CHICAGO, IL 60677-7000                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Landlord
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,200.00
          ABSOLUTE CLEANING SERVICE                                           Contingent
          5015 DINSMORE ROAD                                                  Unliquidated
          WEST CARROLLTON, OH 45449                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,515.00
          ACCENT DRAPERIES                                                    Contingent
          1180 GOODALE BLVD                                                   Unliquidated
          COLUMBUS, OH 43212-3731                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 15 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                            Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 28 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $376.26
          ACCUPRO AUDIO VIDEO INC                                             Contingent
          3541 #B ALKIRE RD.                                                  Unliquidated
          GROVE CITY, OH 43123                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $350.00
          ACCUTECH RESTORATION &                                              Contingent
          REMODELING, INC.                                                    Unliquidated
          2227 RIVER RIDGE DRIVE                                              Disputed
          SARASOTA, FL 34239
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $342.38
          ACE LOCK SERVICE, INC.                                              Contingent
          P.O. BOX 11726                                                      Unliquidated
          JACKSONVILLE, FL 32239                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $239.00
          ACHS, JACOB                                                         Contingent
          1732 DUTCHESS AVE                                                   Unliquidated
          KETTERING, OH 45420                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,149.81
          ACTION PLUMBING, INC.                                               Contingent
          7 EAST STOW ROAD                                                    Unliquidated
          MARLTON, NJ 08053                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,131.75
          ADOPT-A HIGHWAY MAINTENANCE                                         Contingent
          3158 RED HILL AVE                                                   Unliquidated
          SUITE #200                                                          Disputed
          COSTA MESA, CA 92626
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $57.76
          ADP, INC                                                            Contingent
          ATTN VALERIE RODRIGUEZ MS 110                                       Unliquidated
          400 COVINA BLVD                                                     Disputed
          SAN DIMAS, CA 91773
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 16 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                            Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 29 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $357.94
          ADT SECURITY SERVICES, INC                                          Contingent
          P.O. BOX 371378                                                     Unliquidated
          PITTSBURGH, PA 15250-7878                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,140.00
          ADVANCE BUILDING CARE COPR                                          Contingent
          P.O. BOX 1806                                                       Unliquidated
          TUSTIN, CA 92780                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $909.49
          ADVANCED DISPOSAL-HARTLAND                                          Contingent
          PO BOX 74008053                                                     Unliquidated
          CHICAGO, IL 60674-8053                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,299.90
          ADVANCED MECHANICAL PLUS,                                           Contingent
          206 N. CENTRAL AVE.                                                 Unliquidated
          LIMA, OH 45801                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $37,991.61
          AFCO                                                                Contingent
          P.O. BOX 360572                                                     Unliquidated
          PITTSBURGH, PA 15250-6572                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $446.49
          AGGRESIVE APPLIANCES & FIN                                          Contingent
          617 Mercy Drive                                                     Unliquidated
          Orlando, FL 32805                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,036.71
          AIR COMFORT REFRIGERATION                                           Contingent
          20 BROOKLYN AVENUE                                                  Unliquidated
          MASSAPEQUA, NY 11758                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 17 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                            Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 30 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,500.00
          AIR FILTER ENGINEERS USA L                                          Contingent
          489 MISSION ST.                                                     Unliquidated
          CAROL STREAM, IL 60188                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $191.44
          AIR FILTER PLUS INC.                                                Contingent
          1205 CARDINAL DRIVE                                                 Unliquidated
          EUDORA, KS 66025                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $17,279.42
          AIR FORCE ONE INC                                                   Contingent
          5810 SHIER RINGS ROAD                                               Unliquidated
          DUBLIN, OH 43016-1236                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,136.49
          AIR SERVICE, INC                                                    Contingent
          1964 W 9TH STREET                                                   Unliquidated
          WEST PALM BEACH, FL 33404                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,735.78
          AIRE-RITE AIR CONDITIONING                                          Contingent
          15122 BOLSA CHICA STREET                                            Unliquidated
          HUNTINGTON BEACH, CA 92649                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $27,323.06
          AIRECOM                                                             Contingent
          6171 HUNTLEY ROAD                                                   Unliquidated
          SUITE E                                                             Disputed
          COLUMBUS, OH 43229
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $293.31
          AIRGAS NATIONAL CARBONATIO                                          Contingent
          P.O. BOX 602792                                                     Unliquidated
          CHARLOTTE, NC 28260-2792                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 18 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                            Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 31 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,671.77
          AIS COMMERICAL PARTS &                                              Contingent
          SERVICE, INC.                                                       Unliquidated
          1005 PARKWAY VIEW DRIVE                                             Disputed
          PITTSBURGH, PA 15205-1214
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $655.00
          AJJ ENTERPRISES, INC.                                               Contingent
          P.O. BOX 22267                                                      Unliquidated
          KNOXVILLE, TN 37933-0267                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,809.41
          AKIKI LAWN CARE, LLC                                                Contingent
          1625 CHESTNUT BLVD.                                                 Unliquidated
          CUYAHOGA FALLS, OH 44223                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $525.61
          AL'S UPHOLSTERY LLC.                                                Contingent
          6616 CENTRAL AVE SE                                                 Unliquidated
          ALBUQUERQUE, NM 87108                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $621.83
          ALABAMA ABC BEVERAGE                                                Contingent
          STORE #192                                                          Unliquidated
          220 WEST OXMOOR RD                                                  Disputed
          BIRMINGHAM, AL 35209
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,553.13
          ALABAMA POWER                                                       Contingent
          PO BOX 242                                                          Unliquidated
          BIRMINGHAM, AL 35292                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,579.46
          ALADCO LINEN SERVICES                                               Contingent
          P.O. BOX 151                                                        Unliquidated
          ADAMS, MA 01220                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 19 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                            Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 32 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $343.04
          ALBUQUERQUE FLORIST INC                                             Contingent
          3121 SAN MATEO NE                                                   Unliquidated
          ALBUQUERQUE, NM 87108                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $697.00
          ALL EVENT RENTAL, LLC.                                              Contingent
          2048 BEE RIDGE RD.                                                  Unliquidated
          SARASOTA, FL 34239                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,000.00
          ALL HOME REMODELING LLC FL                                          Contingent
          334 NW 12TH AVENUE                                                  Unliquidated
          BOCA RATON, FL 33486                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $334.39
          ALL IN GRAPHICS & PRINTING                                          Contingent
          3455 W SUNSET RD                                                    Unliquidated
          SUITE L                                                             Disputed
          LAS VEGAS, NV 89118
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $936.52
          ALL STAR FIRE PROTECTION                                            Contingent
          4725 LUMBER NE                                                      Unliquidated
          SUITE 5                                                             Disputed
          ALBUQUERQUE, NM 87109
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,077.36
          ALL STATES MALL SERVICES I                                          Contingent
          C/O PROCESSING CENTER                                               Unliquidated
          PO BOX 900                                                          Disputed
          NORTH SCITUATE, RI 02857
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $9,073.34
          ALL STATES RENTALS INC                                              Contingent
          C/O PROCESSING CENTER                                               Unliquidated
          PO BOX 900                                                          Disputed
          NORTH SCITUATE, RI 02857
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 20 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                            Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 33 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $250.00
          ALL TOWN AND COUNTRY SEPTIC                                         Contingent
          TANK SERVICE, INC                                                   Unliquidated
          3500 S HAMETOWN ROAD                                                Disputed
          NORTON, OH 44203
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $42,061.63
          ALLEGIS GROUP HOLDINGS, IN                                          Contingent
          3689 COLLECTION CTR. DRIVE                                          Unliquidated
          CHICAGO, IL 60693                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $7,035.54
          ALLIANCE MECHANICAL SERVIC                                          Contingent
          100 FRONTIER WAY                                                    Unliquidated
          BENSENVILLE, IL 60106                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $632.63
          ALLIANCE SAFETY AND FIRE                                            Contingent
          PROTECTION LP.                                                      Unliquidated
          6 INDIAN MEADOWS DR #600                                            Disputed
          ROUND ROCK, TX 78665
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $6,089.61
          ALPHA & OMEGA RESTAURANT                                            Contingent
          P.O. BOX 26141                                                      Unliquidated
          SCOTTSDALE, AZ 85255                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $23,661.23
          ALSCO                                                               Contingent
          10402 LAKERIDGE PKWY                                                Unliquidated
          SUITE 600                                                           Disputed
          ASHLAND, VA 23005
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,209.48
          ALSCO AUSTIN                                                        Contingent
          1340 E. BERRY ST                                                    Unliquidated
          FORT WORTH, TX 76119                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 21 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                            Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 34 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,610.44
          ALSCO KNOXVILLE                                                     Contingent
          2612 WESTERN AVE                                                    Unliquidated
          KNOXVILLE, TN 37921                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,040.86
          ALSCO ROCHESTER                                                     Contingent
          548 ST PAUL STREET                                                  Unliquidated
          ROCHESTER, NY 14605                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,086.17
          ALSCO, INC.                                                         Contingent
          10402 LAKERIDGE PKWY                                                Unliquidated
          SUITE 600                                                           Disputed
          ASHLAND, VA 23005
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,086.17
          ALSCO, INC.                                                         Contingent
          30 MCCULLOUGH DRIVE                                                 Unliquidated
          NEW CASTLE, DE 19720                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $194.00
          AMBROSI BROS CUTLERY CO                                             Contingent
          3023 MAIN                                                           Unliquidated
          KANSAS CITY, MO 64108                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,596.83
          AMEREN MISSOURI                                                     Contingent
          PO BOX 66529                                                        Unliquidated
          ST LOUIS, MO 63166-6529                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $679.96
          AMERI-CLEAN                                                         Contingent
          2420 CONCORDE DRIVE                                                 Unliquidated
          UNIT #6                                                             Disputed
          FORT MYERS, FL 33901
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 22 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                            Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 35 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $6,918.71
          AMERICAN ELECTRIC POWER                                             Contingent
          850 TECH CENTER DR                                                  Unliquidated
          GAHANNA, OH 43230                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $625.00
          AMERICAN ENVIRONMENTAL SEP                                          Contingent
          SYSTEMS INC.                                                        Unliquidated
          10650 LOCK 17 RD.                                                   Disputed
          ADGER, AL 35006
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $404,477.56
          AMERICAN EXPRESS PCARD                                              Contingent
          ATTN: US PAYMENT FL                                                 Unliquidated
          1801 NW 66TH AVE. STE 103C                                          Disputed
          PLANTATION, FL 33313-4571
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $28,422.48
          AMERICAN REALTY CAPITAL RE
          OPERATING PARTNERSHIP LP                                            Contingent
          ARC SWWCHOH001, LLC                                                 Unliquidated
          P.O. BOX 847350                                                     Disputed
          DALLAS, TX 75284-7350
                                                                             Basis for the claim:    Landlord
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $26,942.75
          AMERICAN RESTAURANT SERVIC                                          Contingent
          35246 US HWY 19 NORTH                                               Unliquidated
          UNIT 268                                                            Disputed
          PALM HARBOR, FL 34864
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $652.13
          AMERICAN WASTE REMOVAL, IN                                          Contingent
          502 CARMONY ROAD NE                                                 Unliquidated
          ALBUQUERQUE, NM 87107                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,606.36
          AMERIGAS PROPANE LP                                                 Contingent
          5140 W BETHANY HOME                                                 Unliquidated
          GLENDALE, AZ 85301                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 23 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                            Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 36 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $15,247.79
          AMERIPRIDE LINEN AND APPAR                                          Contingent
          4593 WINTERS CHAPEL ROAD                                            Unliquidated
          ATLANTA, GA 30360                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $788.68
          ANGLER PLUMBING                                                     Contingent
          37 DEMPSEY DRIVE                                                    Unliquidated
          NEWARK, DE 19713                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $100.00
          ANN RILEY                                                           Contingent
          100 RIVERVIEW ROAD                                                  Unliquidated
          STEVENSVILLE, MD 21666                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $473,543.93
          ANTHEM BCBS                                                         Contingent
          PO BOX 645438                                                       Unliquidated
          CINCINNATI, OH 45264-5438                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,090.00
          ANYTIME PLUMBING OF                                                 Contingent
          CENTRAL FL, INC.                                                    Unliquidated
          P.O. BOX 1168                                                       Disputed
          ODESSA, FL 33556
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,706.90
          ANYTIME PLUMBING, INC.                                              Contingent
          4690 W. POST RD.                                                    Unliquidated
          SUITE 130                                                           Disputed
          LAS VEGAS, NV 89118
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,984.73
          AP ENTERPRISES INC                                                  Contingent
          11360 THORNBROOK DRIVE                                              Unliquidated
          GALENA, OH 43021-9665                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 24 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                            Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 37 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.87     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $35,367.01
          APC WORKFORCE SOLUTIONS LL                                          Contingent
          dba ZEROCHAOS                                                       Unliquidated
          420 S. ORANGE AVE. STE. 600                                         Disputed
          ORLANDO, FL 32801
                                                                             Basis for the claim:    Landlord
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.88     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $14,205.50
          APEX SYSTEMS, LLC                                                   Contingent
          3750 COLLECTIONS CENTER DRIVE                                       Unliquidated
          CHICAGO, IL 60693                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.89     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $992.00
          APG ELECTRIC, INC.                                                  Contingent
          4825 140TH AVENUE NORTH                                             Unliquidated
          SUITE K                                                             Disputed
          CLEARWATER, FL 33762
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.90     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,111.50
          APPROACH LLC                                                        Contingent
          63 W. DUBLIN GRANVILLE ROAD                                         Unliquidated
          WORTHINGTON, OH 43085                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.91     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $393.91
          APS                                                                 Contingent
          PO BOX 2906                                                         Unliquidated
          PHOENIX, AZ 85062-2906                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.92     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $600.00
          AQUA FIRE PROTECTION                                                Contingent
          1020 E. SPRINGFIELD RD.                                             Unliquidated
          HIGH POINT, NC 27263                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.93     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $86.94
          AQUA OHIO INC                                                       Contingent
          PO BOX 1229                                                         Unliquidated
          NEWARK, NJ 07101-1229                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 25 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                            Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 38 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.94     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,660.95
          ARAMARK UNIFORM & CAREER                                            Contingent
          APPAREL GROUP, INC.                                                 Unliquidated
          115 NORTH FIRST STREET                                              Disputed
          BURBANK, CA 91502
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.95     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,668.82
          ARAMARK UNIFORM AND CAREER                                          Contingent
          APPARELAUS MADISON MC LOCKBOX                                       Unliquidated
          25259 NETWORK PLACE                                                 Disputed
          CHICAGO, IL 60673-1252
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.96     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $97,735.36
          ARBORETUM MALL, LLC.                                                Contingent
          P.O. BOX 281637                                                     Unliquidated
          ATLANTA, GA 30384-1637                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Landlord
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.97     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,910.00
          ARETE PROPERTY SERVICES LL                                          Contingent
          P.O. BOX 211339                                                     Unliquidated
          DENVER, CO 80221                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.98     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $104.00
          ARIZONA CUTLERY AND SHARPE                                          Contingent
          SERVICES, INC                                                       Unliquidated
          12620 N CAVE CREEK ROAD  #4                                         Disputed
          PHOENIX, AZ 85022
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.99     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,999.88
          ARKADIN, INC.                                                       Contingent
          dba AT CONFERENCE                                                   Unliquidated
          P.O. BOX 392490                                                     Disputed
          PITTSBURGH, PA 15251-9490
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.100    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $32,251.76
          ARMADA HOFFLER BLOCK 8 ASS                                          Contingent
          DIVARIS PROPERTY MANAGEMENT                                         Unliquidated
          4525 MAIN ST. SUITE 900                                             Disputed
          VIRGINIA BEACH, VA 23462
                                                                             Basis for the claim:    Landlord
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 26 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                            Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 39 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.101    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,300.00
          ARMANDO L. RODRIQUEZ                                                Contingent
          9940 ARTHUR LANE APT. C                                             Unliquidated
          SAINT LOUIS, MO 63128                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.102    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $339.79
          ARMSTRONG CABLE SERVICES                                            Contingent
          PO BOX 37749                                                        Unliquidated
          PHILADELPHIA, PA 19101-5049                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.103    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,002.95
          ARROWEYE SOLUTIONS, INC.                                            Contingent
          P O BOX 856768                                                      Unliquidated
          MINNEAPOLIS, MN 55485-6768                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.104    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,242.47
          ASPEN WASTE SYSTEMS, INC.                                           Contingent
          P.O. BOX 3050                                                       Unliquidated
          DES MOINES, IA 50316                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.105    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $13,194.48
          ASSET STRATEGIES GROUP LLC                                          Contingent
          501 W SCHROCK ROAD                                                  Unliquidated
          SUITE 201                                                           Disputed
          WESTERVILLE, OH 43081
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.106    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,279.61
          AT&T                                                                Contingent
          P.O. BOX 5019                                                       Unliquidated
          P.O. BOX 5019                                                       Disputed
          CAROL STREAM, IL 60197-5019
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.107    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,466.87
          ATMOS ENERGY                                                        Contingent
          #790311                                                             Unliquidated
          1005 CONVENTION PLAZA                                               Disputed
          ST. LOUIS, MO 63101-1229
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 27 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                            Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 40 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.108    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $74.85
          AUBREY COMMUNICATIONS, INC                                          Contingent
          504 NORTH MACDILL AVENUE                                            Unliquidated
          TAMPA, FL 33609                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.109    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             Unknown
          AUTHENTIC8                                                          Contingent
          555 CALIFORNIA ST.                                                  Unliquidated
          SUITE 3360                                                          Disputed
          San Francisco, CA 94104
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.110    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,381.83
          AVANTE NAPLES, INC.                                                 Contingent
          6266 TAYLOR RD.                                                     Unliquidated
          NAPLES, FL 34109                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.111    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,183.23
          AVERUS SOUTHEAST, LLC.                                              Contingent
          1425 TRI-STATE PARKWAY #160                                         Unliquidated
          GURNEE, IL 60031                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.112    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,583.31
          B.E.S.T INC                                                         Contingent
          3003 GENESEE STREET                                                 Unliquidated
          BUFFALO, NY 14225                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.113    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $72.00
          BAGAT BROTHERS                                                      Contingent
          P.O BOX 20520                                                       Unliquidated
          DAYTOH, OH                                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.114    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $370.00
          BAILS & ASSOCIATES, LLC                                             Contingent
          308 SOUTHPOINT BLVD, PLAZA 2                                        Unliquidated
          SUITE 120                                                           Disputed
          CANONSBURG, PA 15317
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 28 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                            Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 41 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.115    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,030.00
          BAKER COMMODITIES INC                                               Contingent
          4020 BANDINI BLVD.                                                  Unliquidated
          VERNON, CA 90058                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.116    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $409.19
          BAKERS SAFE & LOCK CO., IN                                          Contingent
          P.O. BOX 630129                                                     Unliquidated
          HOUSTON, TX 77263-0129                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.117    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,500.00
          BANDERAS COMPANY, LLC.                                              Contingent
          1726 CLEVELAND AVE.                                                 Unliquidated
          CINCINNATI, OH 45212                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.118    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $30.00
          BAR & BEVERAGE CONTROL, LL                                          Contingent
          dba BUCKEYE DRAFT BEER SERVICE                                      Unliquidated
          4705 VAN EPPS ROAD                                                  Disputed
          BROOKLYN HEIGHTS, OH 44131
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.119    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $76,396.99
          BAR HARBOR SEAFOOD                                                  Contingent
          2000 PREMIER ROW                                                    Unliquidated
          ORLANDO, FL 32809                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.120    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $70.00
          BARBARA HOLT                                                        Contingent
          100 RIVERVIEW ROAD                                                  Unliquidated
          STEVENSVILLE, MD 21666                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.121    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $292.00
          BARR COMMERICAL DOOR RPR I                                          Contingent
          1196 N. GROVE STREET                                                Unliquidated
          UNIT A                                                              Disputed
          ANAHEIM, CA 92806
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 29 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                            Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 42 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.122    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $816.65
          BARTON RESTAURANT SERVICE                                           Contingent
          13413 BRADLEY BRIDGE ROAD                                           Unliquidated
          CHESTER, VA 23831                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.123    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $305.00
          BAYSIDE EVENT RENTALS                                               Contingent
          6421 35TH STREET NORTH                                              Unliquidated
          PINELLAS PARK, FL 33781                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.124    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $85,195.00
          BDO USA, LLP.                                                       Contingent
          AP DEPARTMENT                                                       Unliquidated
          P.O. BOX 642743                                                     Disputed
          PITTSBURGH, PA 15264-2743
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.125    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $269.00
          BEACH DOOR SERVICE, INC                                             Contingent
          5788 ARROWHEAD DRIVE                                                Unliquidated
          VIRGINIA BEACH, VA 23462                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.126    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,785.86
          BECKER FAMILY CORPORATION                                           Contingent
          5179 MILLER PAUL ROAD                                               Unliquidated
          WESTERVILLE, OH 43082                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.127    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $21,646.16
          BELDEN MALL, LLC.                                                   Contingent
          LOCKBOX #5147                                                       Unliquidated
          P.O. BOX 8500                                                       Disputed
          PHILADELPHIA, PA 19178-5147
                                                                             Basis for the claim:    Landlord
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.128    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $19,313.14
          BELFOR USA GROUP INC.                                               Contingent
          7100 TPC DRIVE                                                      Unliquidated
          SUITE 450                                                           Disputed
          ORLANDO, FL 32822
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 30 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                            Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 43 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.129    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $77,234.82
          BEN E KEITH FOODS
          GENERAL OFFICE                                                      Contingent
          ATTN: NATIONAL ACCOUNTS                                             Unliquidated
          P.O. BOX 1441                                                       Disputed
          FORT WORTH, TX 76101
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.130    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $585.00
          BENNINGTON BUSINESS ASSOCI                                          Contingent
          616 BENNINGTON PLACE                                                Unliquidated
          CHARLOTTE, NC 28211                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.131    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $100.00
          BERK THORNTON                                                       Contingent
          100 RIVERVIEW ROAD                                                  Unliquidated
          STEVENSVILLE, MD 21666                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.132    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $445.00
          BERTARELLI CUTLERY INC                                              Contingent
          1927 MARCONI                                                        Unliquidated
          SAINT LOUIS, MO 63110                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.133    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $843.88
          BESTECH INC                                                         Contingent
          8544 CIRCLE DRIVE                                                   Unliquidated
          NORFOLK, VA 23503                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.134    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,531.43
          BFPE INTL                                                           Contingent
          PO BOX 791045                                                       Unliquidated
          BALTIMORE, MD 21279-1045                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.135    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,554.32
          BGE                                                                 Contingent
          PO BOX 13070                                                        Unliquidated
          PHILADELPHIA, PA 19101-3070                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 31 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                            Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 44 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.136    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,228.40
          BIG CITY PLUMBING LLC                                               Contingent
          21027 S 221ST PLACE                                                 Unliquidated
          QUEEN CREEK, AZ 85142                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.137    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,299.54
          BIG FISH HVAC, LLC.                                                 Contingent
          168 WAREHOUSE DR.                                                   Unliquidated
          BUDA, TX 78610                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.138    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,144.00
          BIG O CLEAN, INC.                                                   Contingent
          2410 KEYSTONE DR #312                                               Unliquidated
          OMAHA, NE 68134                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.139    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $6,000.00
          BIGART-ECOSYSTEMS, LLC.                                             Contingent
          5301 RIATA PARK COURT F                                             Unliquidated
          AUSTIN, TX 78727                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.140    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $951.17
          BIOTECH PLUMBING SERVICE I                                          Contingent
          6743 THEALL ROAD                                                    Unliquidated
          SUITE C                                                             Disputed
          HOUSTON, TX 77066
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.141    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,933.15
          BLACKHAWK NETWORK, INC.                                             Contingent
          WELLS FARGO BANK                                                    Unliquidated
          P.O. BOX 932859                                                     Disputed
          ATLANTA, GA 31193
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.142    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $34.70
          BootLegN LLC.                                                       Contingent
          P.O. BOX 536                                                        Unliquidated
          RIVERTON, UT 84065                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 32 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                            Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 45 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.143    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $20,707.67
          BPC HENDERSON LLC.                                                  Contingent
          P.O. BOX 72006                                                      Unliquidated
          CLEVELAND, OH 44192-0006                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Landlord
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.144    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $471.38
          BREAKTHRU BEVERAGE OF DE                                            Contingent
          PO BOX 22592                                                        Unliquidated
          900 E FAYETTE ST                                                    Disputed
          BALTIMORE, MD 21203
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.145    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $150.00
          BRENDA CLARK                                                        Contingent
          100 RIVERVIEW ROAD                                                  Unliquidated
          STEVENSVILLE, MD 21666                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.146    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,528.50
          BRIGHT HOUSE NETWORKS                                               Contingent
          P.O. BOX 30407                                                      Unliquidated
          TAMPA, FL 33630-3407                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.147    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $110.00
          BRIGHTVIEW LANDSCAPE                                                Contingent
          SERVICES, INC.                                                      Unliquidated
          P.O. BOX 31001-2463                                                 Disputed
          PASADENA, CA 91110-2463
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.148    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $411.99
          BRILAR LLC                                                          Contingent
          13200 NORTHEND AVE                                                  Unliquidated
          OAK PARK, MI 48237                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.149    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $480.00
          BROOKS GREASE SERVICE, INC                                          Contingent
          3104 N. ERIE AVE.                                                   Unliquidated
          TULSA, OK 74115                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 33 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                            Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 46 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.150    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $125.00
          BROOKS LOCK & KEY, INC.                                             Contingent
          411 6TH STREET SE                                                   Unliquidated
          DECATUR, AL 35601                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.151    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $437.00
          BROTHERS COMMERICAL CARPET                                          Contingent
          CLEANING, INC                                                       Unliquidated
          6015 N. HARVEY AVE.                                                 Disputed
          OKLAHOMA CITY, OK 73118
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.152    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $75.00
          BROTHERS CUTLERY INC                                                Contingent
          3835 EAST 48TH AVE                                                  Unliquidated
          DENVER, CO 80216                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.153    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $13,739.22
          BROWARD MALL, LLC.                                                  Contingent
          P.O. BOX 51066                                                      Unliquidated
          ACCT#833093                                                         Disputed
          LOS ANGELES, CA 90074-1066
                                                                             Basis for the claim:    Landlord
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.154    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,105.50
          BROWN INDUSTRIES, INC.                                              Contingent
          dba PRECISION PLUMBING                                              Unliquidated
          P.O. BOX 2230                                                       Disputed
          MATTHEWS, NC 28105
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.155    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $266.21
          BUCKEYE CABLESYSTEM                                                 Contingent
          5566 SOUTHWYCK BLVD                                                 Unliquidated
          TOLEDO, OH 43614                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.156    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $20,763.28
          BUCKHEAD BEEF COMPANY                                               Contingent
          220 RARITAN CENTER PKWY                                             Unliquidated
          EDISON, NJ 08837                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 34 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                            Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 47 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.157    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $23,319.89
          BUCKHEAD MEAT & SEAFOOD, I                                          Contingent
          DEPT 33                                                             Unliquidated
          PO BOX 670445                                                       Disputed
          HOUSTON, TX 77267-0445
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.158    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,517.09
          BUCKHEAD MEAT OF SAN ANTON                                          Contingent
          PO BOX 1066                                                         Unliquidated
          DEPT 21                                                             Disputed
          HOUSTON, TX 77251-1066
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.159    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $407.50
          BUDGET DOOR OF CINCINNATI                                           Contingent
          633 N. WAYNE AVE.                                                   Unliquidated
          CINCINNATI, OH 45215                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.160    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $25,199.89
          BUDGET RENT A CAR SYSTEM INC                                        Contingent
          14297 COLLECTIONS CENTER DR                                         Unliquidated
          CHICAGO, IL 60693                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.161    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $313.28
          BULBMAN, INC.                                                       Contingent
          P.O. BOX 12280                                                      Unliquidated
          RENO, NV 89510-2280                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.162    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,842.59
          BULBS COM INC                                                       Contingent
          243 STAFFORD STREET                                                 Unliquidated
          WORCESTER, MA 01603                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.163    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,299.92
          BULLITT TRUSTS/BEARGRASS R
          ATTN: JAMES COUCH                                                   Contingent
          200 SOUTH FIFTH STREET                                              Unliquidated
          SUITE 500 NORTH                                                     Disputed
          LOUISVILLE, KY 40202
                                                                             Basis for the claim:    Landlord
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 35 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                            Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 48 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.164    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $115.00
          BURR OAK GROUP, INC.                                                Contingent
          dba ZIN'S PLUMBING, LLC.                                            Unliquidated
          3827 SPRING GROVE AVE.                                              Disputed
          CINCINNATI, OH 45223
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.165    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $849.52
          BUSH & ENNIS ENTERPRISES INC                                        Contingent
          P.O. BOX 531333                                                     Unliquidated
          CINCINNATI, OH 45253                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.166    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $335,567.98
          C.H. ROBINSON COMPANY, INC                                          Contingent
          P.O. BOX 9121                                                       Unliquidated
          MINNEAPOLIS, MN 55480-9121                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.167    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $64.24
          C.V.B. INC.                                                         Contingent
          dba WATER DOCTOR                                                    Unliquidated
          P.O, BOX 3060                                                       Disputed
          SAINT JOSEPH, MO 64503
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.168    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $6,715.23
          CADILLAC COFFEE CO                                                  Contingent
          P.O. BOX 932249                                                     Unliquidated
          CLEVELAND, OH 44193                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.169    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $7,190.00
          CAPABLE ENTERPRISES                                                 Contingent
          P.O. BOX 6247                                                       Unliquidated
          HUNTSVILLE, AL 35813                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.170    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $102.00
          CAPE BEVERAGE LLC                                                   Contingent
          505-A TERMINAL DRIVE                                                Unliquidated
          RIO GRANDE, NJ 08242                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 36 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                            Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 49 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.171    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $128,712.85
          CAPREF BROOKWOOD VILLAGE L                                          Contingent
          P.O. BOX 713934                                                     Unliquidated
          CINCINNATI, OH 45271-3934                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Landlord
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.172    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,014.76
          CAPTIVE-AIRE SYSTEMS, INC.                                          Contingent
          P.O. BOX 60270                                                      Unliquidated
          CHARLOTTE, NC 28260                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.173    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $50.00
          CARDINAL KNIVES                                                     Contingent
          977 OLD HENDERSON ROAD                                              Unliquidated
          COLUMBUS, OH 43220                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.174    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $12,637.11
          CAREERBUILDER, LLC.                                                 Contingent
          13047 COLLECTIONS CENTER DRIVE                                      Unliquidated
          CHICAGO, IL 60693-0130                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.175    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $420.00
          CARL MARTIN                                                         Contingent
          1350 EAST FLAMINGO RD. #326                                         Unliquidated
          LAS VEGAS, NV 89119                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.176    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $295.05
          CARLSON DISTRIBUTING CO. I                                          Contingent
          PO BOX 25057                                                        Unliquidated
          SALT LAKE CITY, UT 84125                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.177    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $799.89
          CART CONSTRUCTION, INC.                                             Contingent
          1111 E. UNIVERSITY AVENUE                                           Unliquidated
          DES MOINES, IA 50316                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 37 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                            Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 50 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.178    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $166.71
          CATANESE CLASSIC SEAFOODS IN                                        Contingent
          dba CLASSIC SEAFOODS                                                Unliquidated
          1600 MERWIN AVENUE                                                  Disputed
          CLEVELAND, OH 44113
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.179    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $107,631.94
          CAUSEWAY LLC                                                        Contingent
          PO BOX 54091                                                        Unliquidated
          NEW ORLEANS, LA 70154-4091                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Landlord
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.180    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $26,876.21
          CBL & ASSOCIATES LIMITED                                            Contingent
          PARTNERSHIP                                                         Unliquidated
          CBL#0452 P.O. BOX 955607                                            Disputed
          ST. LOUIS, MO 63195-5607
                                                                             Basis for the claim:    Landlord
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.181    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $23,545.30
          CBL-SHOPS AT FRIENDLY, INC                                          Contingent
          PO BOX 5598                                                         Unliquidated
          CAROL STREAM, IL 60197-5598                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Landlord
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.182    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $29,387.67
          CBL-T-C LLC.                                                        Contingent
          WEST COUNTY MALL CMBS LLC                                           Unliquidated
          P.O. BOX 746395                                                     Disputed
          ATLANTA, GA 30374-6395
                                                                             Basis for the claim:    Landlord
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.183    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $527.21
          CDW DIRECT INC                                                      Contingent
          PO BOX 75723                                                        Unliquidated
          CHICAGO, IL 60675                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.184    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $615.00
          CEILING PRO OF MIDWEST                                              Contingent
          INDIANA, INC.                                                       Unliquidated
          1641 EAST 236TH STREET                                              Disputed
          INDIANAPOLIS, IN 46030
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 38 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                            Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 51 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.185    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $9,130.06
          CENTERPOINT ENERGY                                                  Contingent
          23968 NETWORK PLACE                                                 Unliquidated
          CHICAGO, IL 60673-1239                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.186    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $224.73
          CENTRAL FLORIDA WINDOW
          CLEANING, INC.                                                      Contingent
          dba FISH WINDOW CLEANING                                            Unliquidated
          P.O. BOX 238117                                                     Disputed
          PORT ORANGE, FL 32123
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.187    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $292.06
          CENTRAL STATES SERVICES INC                                         Contingent
          dba CENTRAL STATES GASKET                                           Unliquidated
          PO BOX 1476                                                         Disputed
          LAKE OZARK, MO 65049
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.188    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $465.48
          CENTRAL WINDOW CLEANING IN                                          Contingent
          PO BOX 347154                                                       Unliquidated
          CLEVELAND, OH 44134                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.189    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $340.00
          CENTRESCAPES, INC.                                                  Contingent
          165 GENTRY ST.                                                      Unliquidated
          POMONA, CA 91767                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.190    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $139.71
          CENTURYLINK                                                         Contingent
          BUSINESS SEVICES                                                    Unliquidated
          P.O. BOX 52187                                                      Disputed
          PHOENIX, AZ 85072-2187
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.191    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $9,369.70
          CERDANT, INC                                                        Contingent
          PO BOX 3204                                                         Unliquidated
          DUBLIN, OH 43017                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 39 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                            Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 52 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.192    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $35,843.89
          CGP-CPP PLAZA FRONTENAC LL
          2497393 PLAZA FRONTENAC                                             Contingent
          P.O. BOX 86                                                         Unliquidated
          SDS-12-3110                                                         Disputed
          MINNEAPOLIS, MN 55486-3110
                                                                             Basis for the claim:    Landlord
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.193    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $726.85
          CH WRIGHT DISTRIBUTOR CORP                                          Contingent
          3 WRIGHT AVENUE                                                     Unliquidated
          LE ROY, NY 14482                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.194    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $102,385.81
          CHAGRIN RETAIL LLC                                                  Contingent
          629 EUCLID AVENUE                                                   Unliquidated
          SUITE 1300                                                          Disputed
          CLEVELAND, OH 44114
                                                                             Basis for the claim:    Landlord
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.195    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $9,710.24
          CHAMALEON ENTERPRISES INC                                           Contingent
          PO BOX 15146                                                        Unliquidated
          PLANTATION, FL 33318                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.196    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $7,267.95
          CHARLES BALL                                                        Contingent
          3500 MILLIKIN COURT                                                 Unliquidated
          SUITE F                                                             Disputed
          COLUMBUS, OH 43215
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.197    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $331.55
          CHARLIE MORRIS ELECTRIC INC.                                        Contingent
          dba DIAL ONE ELECTRICAL SERVIC                                      Unliquidated
          11812 N. LAMAR BLVD.                                                Disputed
          AUSTIN, TX 78753
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.198    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $888.01
          CHARTER COMMUNICATIONS                                              Contingent
          P.O. BOX 60229                                                      Unliquidated
          LOS ANGELES, CA 90060-0229                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 40 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                            Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 53 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.199    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,397.55
          CHARTER TWP OF CLINTON                                              Contingent
          WATER DEPARTMENT                                                    Unliquidated
          PO BOX 553160                                                       Disputed
          DETROIT, MI 48255-3160
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.200    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,327.84
          CHEF 2 CHEF FOODS                                                   Contingent
          1600 MERWIN AVE.                                                    Unliquidated
          CLEVELAND, OH 44113                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.201    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $171,066.88
          CHERRY HILL TOWN CTR PARTN
          EDGEWOOD PROPERTIES                                                 Contingent
          CORPORATE HEADQUARTERS                                              Unliquidated
          1260 STELTON ROAD                                                   Disputed
          PISCATAWAY, NJ 08854
                                                                             Basis for the claim:    Landlord
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.202    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $39,297.15
          CHRISTIANA MALL LLC                                                 Contingent
          SDS-12-3026                                                         Unliquidated
          P.O. BOX 86                                                         Disputed
          MINNEAPOLIS, MN 55486-3026
                                                                             Basis for the claim:    Landlord
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.203    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $30.00
          CHRISTINE SMITH                                                     Contingent
          100 RIVERVIEW ROAD                                                  Unliquidated
          STEVENSVILLE, MD 21666                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.204    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,038.40
          CHURCHILL LINEN SERVICES                                            Contingent
          7 EVANS SREET                                                       Unliquidated
          P.O. BOX 3247                                                       Disputed
          BROCKTON, MA 02304
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.205    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $235.73
          CINCINNATI BELL                                                     Contingent
          PO BOX 748001                                                       Unliquidated
          CINCINNATI, OH 45274-8001                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 41 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                            Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 54 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.206    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $82.44
          CINTAS CORPORATION                                                  Contingent
          1275 RESEARCH RD.                                                   Unliquidated
          COLUMBUS, OH 43230                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.207    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,098.16
          CINTAS CORPORATION #018                                             Contingent
          P.O. BOX 630803                                                     Unliquidated
          CINCINNATI, OH 45263-0803                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.208    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $520.02
          CINTAS CORPORATION #430                                             Contingent
          P.O. BOX 88005                                                      Unliquidated
          CHICAGO, IL 60680-1005                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.209    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,101.88
          CINTAS FAS LOCKBOX 636525                                           Contingent
          P.O. BOX 636525                                                     Unliquidated
          CINCINNATI, OH 45263-6525                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.210    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,833.36
          CINTAS FIRE PROTECTION                                              Contingent
          4250 L B MCLEOD ROAD                                                Unliquidated
          ORLANDO, FL 32811                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.211    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $578.00
          CINTAS LOCATION G65                                                 Contingent
          LOCATION G65                                                        Unliquidated
          P.O. BOX 630803                                                     Disputed
          CINCINNATI, OH 45263-0803
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.212    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,491.71
          CIT BANK, N.A. d.b.a. COMDOC                                        Contingent
          21146 NETWORK PLACE                                                 Unliquidated
          CHICAGO, IL 60673-1211                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 42 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                            Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 55 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.213    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,783.80
          CITIZENS ENERGY GROUP                                               Contingent
          PO BOX 7056                                                         Unliquidated
          INDIANAPOLIS, IN 46207-7056                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.214    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $735.57
          CITY FIRE, INC.                                                     Contingent
          5708 SW 25TH STREET                                                 Unliquidated
          WEST PARK, FL 33023-4011                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.215    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,151.17
          CITY FISH MARKET, INC.                                              Contingent
          884 SILAS DEANE HIGHWAY                                             Unliquidated
          WETHERSFIELD, CT 06109                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.216    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,053.58
          CITY OF ALLEN CIVIC PLAZA                                           Contingent
          305 CENTURY PKWY                                                    Unliquidated
          ALLEN, TX 75013-8042                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.217    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,103.31
          CITY OF AUSTIN                                                      Contingent
          FDS-CONTROLLER'S OFFICE                                             Unliquidated
          P.O. BOX 2920                                                       Disputed
          AUSTIN, TX 78768
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.218    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,349.27
          CITY OF BOCA RATON                                                  Contingent
          UTILITIES PROCESSING CENTER                                         Unliquidated
          P.O. BOX 31042                                                      Disputed
          TAMPA, FL 33631-3042
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.219    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,638.36
          CITY OF ENGLEWOOD                                                   Contingent
          ENGLEWOOD UTILITIES DEPT                                            Unliquidated
          1000 ENGLEWOOD PARKWAY                                              Disputed
          ENGLEWOOD, CO 80110
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 43 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                            Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 56 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.220    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $150.00
          CITY OF FAIRLAWN                                                    Contingent
          P.O. BOX 13422                                                      Unliquidated
          FAIRLAWN, OH 44334                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.221    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,255.07
          CITY OF NORTH CANTON                                                Contingent
          FINANCE DEPARTMENT                                                  Unliquidated
          145 NORTH MAIN ST                                                   Disputed
          CANTON, OH 44720-2587
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.222    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,136.68
          CITY OF OKLAHOMA CITY                                               Contingent
          PO BOX 26570                                                        Unliquidated
          OKLAHOMA CITY, OK 73126-0570                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.223    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,515.21
          CITY OF PEMBROKE PINES                                              Contingent
          PO BOX 269005                                                       Unliquidated
          PEMBROKE PINES, FL 33026                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.224    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,538.41
          CITY OF PLANTATION                                                  Contingent
          401 NW 70 AVENUE                                                    Unliquidated
          PLANTATION, FL 33317                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.225    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,857.15
          CITY OF RANCHO CUCAMONGA                                            Contingent
          10500 CIVIC CENTER DRIVE                                            Unliquidated
          RANCHO CUCAMONGA, CA 91730                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.226    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,733.96
          CITY OF RICHMOND                                                    Contingent
          550 E MARSHALL ST SUITE 202                                         Unliquidated
          FIRE PREVENTION DIVISION                                            Disputed
          RICHMOND, VA 23219
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 44 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                            Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 57 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.227    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,529.18
          CITY OF ROCHESTER HILLS                                             Contingent
          16632 COLLECTION CENTER DRIVE                                       Unliquidated
          CHICAGO, IL 60693-6632                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.228    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,469.24
          CITY OF SCOTTSDALE                                                  Contingent
          7447 E INDIAN SCHOOL ROAD                                           Unliquidated
          SCOTTSDALE, AZ 85251                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.229    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,676.32
          CITY OF SOUTHLAKE                                                   Contingent
          1400 MAIN ST                                                        Unliquidated
          SUITE 200                                                           Disputed
          SOUTHLAKE, TX 76092
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.230    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,717.77
          CITY OF TORRANCE CALIFORNI                                          Contingent
          P.O. BOX 845629                                                     Unliquidated
          LOS ANGELES, CA 90084-5629                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.231    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,003.05
          CITY WIDE SEWER & DRAIN                                             Contingent
          SERVICE CORP.                                                       Unliquidated
          P.O. BOX 350                                                        Disputed
          CARLE PLACE, NY 11514
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.232    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $28,818.90
          CITYPLACE RETAIL, LLC.                                              Contingent
          P.O. BOX 865751                                                     Unliquidated
          ORLANDO, FL 32886                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Landlord
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.233    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $50.00
          Clark County Clerk                                                  Contingent
          PO BOX 551604                                                       Unliquidated
          LAS VEGAS, NV 89155-1604                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 45 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                            Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 58 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.234    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,002.86
          CLARKE KENT PLUMBING INC                                            Contingent
          1408 W BEN WHITE BLVD.                                              Unliquidated
          AUSTIN, TX 78704                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.235    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,200.00
          CLEAN - RITE                                                        Contingent
          dba FIRE 1                                                          Unliquidated
          P.O. BOX 2829                                                       Disputed
          GRETNA, LA 70054
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.236    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $939.46
          CLEAN BREEZE LLC.                                                   Contingent
          AIRE MASTER OF SOUTH FLORIDA                                        Unliquidated
          P.O. BOX 565776                                                     Disputed
          MIAMI, FL 33256
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.237    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,549.81
          CLEAN DES MOINES                                                    Contingent
          1450 NE 69TH PLACE #50                                              Unliquidated
          ANKENY, IA 50021                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.238    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $27,465.54
          CLEANCARE                                                           Contingent
          51ST & A.V.R.R.                                                     Unliquidated
          PITTSBURGH, PA 15201                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.239    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,208.48
          CLEANNET OF SOUTH FLORIDA                                           Contingent
          9861 BROKEN LAND PKWY                                               Unliquidated
          STE 208                                                             Disputed
          COLUMBIA, MD 21046
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.240    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $328.00
          CLEAR REFLECTIONS INC                                               Contingent
          7309 WALNUT CREEK DR                                                Unliquidated
          OKLAHOMA CITY, OK 73142-2522                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 46 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                            Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 59 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.241    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $6,032.85
          CLIMATECH, INC. - FLORIDA                                           Contingent
          200 BILMAR DRIVE                                                    Unliquidated
          PITTSBURGH, PA 15205-4601                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.242    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $699.46
          CMC GROUP, INC.                                                     Contingent
          12836 S. DIXIE HWY                                                  Unliquidated
          BOWLING GREEN, OH 43402                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.243    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,032.45
          CNS ELECTRIC CO                                                     Contingent
          992 RANKIN DRIVE                                                    Unliquidated
          TROY, MI 48083                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.244    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $315.62
          COD CAPERS SEAFOOD                                                  Contingent
          1201 US HIGHWAY ONE                                                 Unliquidated
          NORTH PALM BEACH, FL 33408                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.245    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $23,660.71
          COLONIAL/WEBB CONTRACTORS                                           Contingent
          2820 ACKLEY AVE                                                     Unliquidated
          RICHMOND, VA 23228                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.246    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $292.20
          COLORADO BARS, INC                                                  Contingent
          7112 WEST JEFFERSON AVE                                             Unliquidated
          SUITE 312                                                           Disputed
          LAKEWOOD, CO 80235
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.247    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $9,925.17
          COLUMBIA GAS                                                        Contingent
          PO BOX 4629                                                         Unliquidated
          Carol Stream, IL 60197-4629                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 47 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                            Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 60 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.248    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $12,151.03
          COLUMBUS CITY TREASURER                                             Contingent
          CITY INCOME TAX DIVISION                                            Unliquidated
          50 W GAY ST 4TH FL                                                  Disputed
          COLUMBUS, OH 43215
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.249    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,653.87
          COMCAST                                                             Contingent
          P.O. BOX 34744                                                      Unliquidated
          SEATTLE, WA 98124-1744                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.250    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $520.00
          COMMERCIAL GREASE TRAP INC                                          Contingent
          CLEANING CORP                                                       Unliquidated
          1535 DELOSS STREET                                                  Disputed
          INDIANAPOLIS, IN 46201
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.251    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,809.18
          COMMERCIAL PARTS & SERVICE                                          Contingent
          OF OHIO INC                                                         Unliquidated
          10671 TECHWOOD CIRCLE                                               Disputed
          CINCINNATI, OH 45242
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.252    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,773.79
          COMMERCIAL REFRIGERATION I                                          Contingent
          5739 WASHINGTON ST                                                  Unliquidated
          NAPLES, FL 34109                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.253    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,215.44
          COMMERCIAL REFRIGERATION,                                           Contingent
          P.O. BOX 1548                                                       Unliquidated
          AMERICAN FORK, UT 84003                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.254    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $150.00
          COMMERCIAL WORKS INC                                                Contingent
          1299 BOLTONFIELD ST                                                 Unliquidated
          COLUMBUS, OH 43228-3693                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 48 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                            Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 61 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.255    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $6,228.01
          COMMERICAL WATER TREATMENT                                          Contingent
          dba HANSONS WATER TREATMENT                                         Unliquidated
          4345 WAGON TRAIL AVENUE                                             Disputed
          LAS VEGAS, NV 89118
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.256    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $459.97
          COMMUNITY GREETINGS                                                 Contingent
          PO BOX 128                                                          Unliquidated
          GRIMES, IA 50111                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.257    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $8,878.31
          CONDITIONED AIR CORPORATIO                                          Contingent
          3786 MERCANTILE AVE                                                 Unliquidated
          NAPLES, FL 34104                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.258    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,912.37
          CONNECTICUT NATURAL GAS CORP                                        Contingent
          PO BOX 847820                                                       Unliquidated
          BOSTON, MA 02284-7820                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.259    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $8,576.72
          CONNECTICUT SHELLFISH CO.                                           Contingent
          26 EAST INDUSTRIAL RD.                                              Unliquidated
          BRANFORD, CT 06405                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.260    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,918.98
          CONSTELLATION NEW ENERGY-G                                          Contingent
          P.O. BOX 4640                                                       Unliquidated
          CAROL STREAM, IL 60197-4640                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.261    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $13,353.22
          CONSUMERS ENERGY                                                    Contingent
          .                                                                   Unliquidated
          LANSING, MI 48937-0001                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 49 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                            Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 62 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.262    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $389.76
          COPLAY WHITEHALL SEWER AUT                                          Contingent
          3213 MACARTHUR ROAD                                                 Unliquidated
          WHITEHALL, PA 18052-2921                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.263    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,896.69
          CORE MECHANICAL, LLC.                                               Contingent
          27622 Commerce Oaks Drive                                           Unliquidated
          Oak Ridge North, TX 77385                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.264    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $130,970.70
          CORNERSTONE HOLDING LP.                                             Contingent
          dbaBOCA CENTER AT MILITARY LLC                                      Unliquidated
          P.O. BOX 865162                                                     Disputed
          ORLANDO, FL 32886-5162
                                                                             Basis for the claim:    Landlord
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.265    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,425.00
          COSTA GROUP PRESSURE CLEAN                                          Contingent
          CORP                                                                Unliquidated
          P.O. BOX 661280                                                     Disputed
          MIAMI SPRINGS, FL 33266
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.266    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $957.00
          COTY UPHOLSTERY INC.                                                Contingent
          191 KETTERING DRIVE                                                 Unliquidated
          BUFFALO, NY 14223                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.267    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $56,407.30
          COUNTRY CLUB PLAZA KC PART                                          Contingent
          dba COUNTRY CLUB PLAZA JV LLC                                       Unliquidated
          P.O. BOX 675001                                                     Disputed
          DETROIT, MI 48267-5001
                                                                             Basis for the claim:    Landlord
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.268    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $658.10
          COX BUSINESS SERVICES                                               Contingent
          P.O. BOX 2742                                                       Unliquidated
          OMAHA, NE 68103-2742                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 50 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                            Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 63 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.269    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $710.86
          COX COMMUNICATIONS                                                  Contingent
          DEPT. 781114                                                        Unliquidated
          P.O. BOX 78000                                                      Disputed
          DETROT, MI 48278-1114
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.270    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,090.57
          COZZINI BROS INC                                                    Contingent
          350 HOWARD AVE                                                      Unliquidated
          DES PLAINES, IL 60018                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.271    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $33,555.67
          CP COMMERCIAL DELAWARE, LL                                          Contingent
          PO BOX 72585                                                        Unliquidated
          CLEVELAND, OH 44192-0002                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Landlord
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.272    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $768.00
          CRAFTWORX, LLC.                                                     Contingent
          P.O. BOX 552                                                        Unliquidated
          SPRINGVILLE, UT 84663                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.273    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,682.09
          CRANBERRY TOWNSHIP                                                  Contingent
          ATTN: FINANCE DEPARTMENT                                            Unliquidated
          2525 ROCHESTER RD.                                                  Disputed
          CRANBERRY TOWNSHIP, PA 16066-6499
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.274    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,401.20
          CREATIVE FINANCIAL STAFFING                                         Contingent
          P.O. BOX 95111                                                      Unliquidated
          CHICAGO, IL 60694-5111                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.275    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $450.00
          CREATIVE WALLS, INC.                                                Contingent
          2535 TYRON PLACE                                                    Unliquidated
          WINDERMERE, FL 34786                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 51 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                            Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 64 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.276    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $617.37
          CT COMMERICAL MAINTENANCE                                           Contingent
          1245 FARMINGTON AVE.                                                Unliquidated
          BOX 204                                                             Disputed
          WEST HARTFORD, CT 06107
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.277    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $189.76
          CUBESMART, L.P.                                                     Contingent
          8585 TOUCHTON ROAD                                                  Unliquidated
          JACKSONVILLE, FL 32216                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.278    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $900.97
          CUCAMONGA VALLEY WTR DISTR                                          Contingent
          P.O. BOX 51788                                                      Unliquidated
          LOS ANGELES, CA 90051-6088                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.279    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $400.00
          CUTLER CUSTOM CARE LLC.                                             Contingent
          102 GILES COURT                                                     Unliquidated
          NEWARK, DE 19702                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.280    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $45,216.13
          CVM HOLDINGS, LLC                                                   Contingent
          PO BOX 63340                                                        Unliquidated
          CHARLOTTE, NC 28263-3340                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Landlord
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.281    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $537.50
          D & J MASTER CLEAN INC.                                             Contingent
          680 DEARBORN PARK LANE                                              Unliquidated
          COLUMBUS, OH 43085                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.282    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $195.00
          D & S AUTOMATICS, INC                                               Contingent
          23900 W. INDUSTRIAL DRIVE S                                         Unliquidated
          SUITE #1                                                            Disputed
          PLAINFIELD, IL 60585
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 52 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                            Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 65 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.283    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $467.58
          D&D MARKETING GROUP. INC.                                           Contingent
          P.O. BOX 94946                                                      Unliquidated
          LAS VEGAS, NV 89193                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.284    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $94.00
          D&H WINDOW CLEANING                                                 Contingent
          42392 MOUND ROAD                                                    Unliquidated
          STERLING HEIGHTS, MI 48314                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.285    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,700.00
          DA WRIGHT & SONS                                                    Contingent
          4229 EAST 124TH STREET                                              Unliquidated
          CLEVELAND, OH 44105                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.286    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $900.00
          DANIEL HOOTEN                                                       Contingent
          2813 DELSA DRIVE                                                    Unliquidated
          SALT LAKE CITY, UT 84124                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.287    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $6,200.00
          DANNY CEDILLO                                                       Contingent
          2426 ROOSEVELT BLVD.                                                Unliquidated
          KENNER, LA 70062                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.288    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $760.00
          DARLING INGREDIENTS INC.                                            Contingent
          dba GRIFFIN INDUSTRIES LLC.                                         Unliquidated
          PO BOX 554885                                                       Disputed
          DETROIT, MI 48255-4885
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.289    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,067.00
          DARLING INTERNATIONAL INC                                           Contingent
          P.O. BOX 552210                                                     Unliquidated
          DETROIT, MI 48255-2210                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 53 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                            Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 66 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.290    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,264.00
          DAUENHAUER PLUMBING INC                                             Contingent
          3416 ROBARDS COURT                                                  Unliquidated
          LOUISVILLE, KY 40218                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.291    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,668.92
          DAVID B. CAREY                                                      Contingent
          P.O. BOX 71932                                                      Unliquidated
          DURHAM, NC 27722                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.292    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $58.58
          DAVID MENICK                                                        Contingent
          100 RIVERVIEW ROAD                                                  Unliquidated
          STEVENSVILLE, MD 21666                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.293    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $220.00
          DAVIS & GREEN INC                                                   Contingent
          PO BOX 35418                                                        Unliquidated
          RICHMOND, VA 23235                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.294    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $100.66
          DAVIS, RANDOLPH P.                                                  Contingent
          251 Park Drive                                                      Unliquidated
          Longmeadow, MA 01106                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.295    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $284.16
          DAWSON SAFE & LOCK SERVICE                                          Contingent
          26309 I 45 NORTH                                                    Unliquidated
          THE WOODLANDS, TX 77380                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.296    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $20,505.10
          DAY & NIGHT ALL SERVICE LL                                          Contingent
          P.O. BOX 310                                                        Unliquidated
          NEW HYDE PARK, NY 11040                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 54 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                            Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 67 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.297    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $439.79
          DAYMARK FOOD SAFETY SYSTEM                                          Contingent
          12836 SOUTH DIXIE HWY.                                              Unliquidated
          BOWLING GREEN, OH 43402                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.298    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $13,452.56
          DAYTON MALL VENTURE LLC                                             Contingent
          2700 MIAMISBURG-CENTERVILLE RD                                      Unliquidated
          DAYTON, OH 45459                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Landlord
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.299    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,309.65
          DAYTON POWER & LIGHT                                                Contingent
          P.O. BOX 2631                                                       Unliquidated
          DAYTON, OH 45401-2631                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.300    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $217.00
          DECKER, AARON E.                                                    Contingent
          504 TREETOP DRIVE                                                   Unliquidated
          #301                                                                Disputed
          VIRGINIA BEACH, VA 23451
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.301    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $198.75
          DEE PRINTING INC                                                    Contingent
          PO BOX 132                                                          Unliquidated
          COLUMBUS, OH 43216                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.302    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $365.04
          DEEP CLEANING SOLUTIONS LL                                          Contingent
          P.O. BOX 2204                                                       Unliquidated
          HUDSON, OH 44236                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.303    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $312.00
          DEEP RIVER BREWING COMPANY                                          Contingent
          234 AUTUMN RIDGE DR                                                 Unliquidated
          WENDELL, NC 27591                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 55 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                            Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 68 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.304    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $28,913.21
          DEL AMO FASHION CENTER                                              Contingent
          OPERATING COMPANY, LLC.                                             Unliquidated
          P.O. BOX 409657                                                     Disputed
          ATLANTA, GA 30384-9657
                                                                             Basis for the claim:    Landlord
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.305    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,129.00
          DELTA UNIFORM AND LINEN IN                                          Contingent
          1617 CANDELARIA NE                                                  Unliquidated
          ALBUQUERQUE, NM 87107                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.306    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $124.00
          DEMARK'S LLC                                                        Contingent
          1421 PEARL ST.                                                      Unliquidated
          WAUKESHA, WI 53189                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.307    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $156.20
          DENVER WATER                                                        Contingent
          PO BOX 173343                                                       Unliquidated
          DENVER, CO 80217-3343                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.308    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,433.88
          DEPARTMENT OF ALCOHOLIC                                             Contingent
          BEVERAGE CONTROL - UTAH                                             Unliquidated
          P.O. BOX 30408                                                      Disputed
          SALT LAKE CITY, UT 84130
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.309    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $436.35
          DERBY FIRE & SAFETY                                                 Contingent
          157 MARVIN AVENUE                                                   Unliquidated
          BROOKS, KY 40109                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.310    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $370.00
          DESERT BOILER & CONTROLS,                                           Contingent
          305 W. SAINT LOUIS AVENUE                                           Unliquidated
          LAS VEGAS, NV 89102                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 56 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                            Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 69 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.311    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,200.00
          DESIGN MECHANICAL, INC.                                             Contingent
          P.O. BOX 875988                                                     Unliquidated
          KANSAS CITY, MO 64187-5988                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.312    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,900.00
          DESIGNER HOME IMPROVEMENTS                                          Contingent
          955 YORKSHIRE DRIVE                                                 Unliquidated
          BREINIGSVILLE, PA 18031                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.313    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $406.43
          DETROIT FIRE EXTINGUISHER                                           Contingent
          COMPANY INC                                                         Unliquidated
          6318 14TH ST                                                        Disputed
          DETROIT, MI 48208
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.314    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,152.49
          DEVO SERVICES, INC                                                  Contingent
          8413 LAUREL FAIR CIR.                                               Unliquidated
          SUITE #103                                                          Disputed
          TAMPA, FL 33610
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.315    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $292.84
          DEVON GILMAN                                                        Contingent
          100 RIVERVIEW ROAD                                                  Unliquidated
          STEVENSVILLE, MD 21666                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.316    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,489.79
          DFS HOLDING COMPANY, INC                                            Contingent
          101 MT HOLLY BY-PASS                                                Unliquidated
          LUMBERTON, NJ 08048                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.317    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $667.80
          DI FIGLIOLA CONTRACTING CO                                          Contingent
          PO BOX 696                                                          Unliquidated
          BALDWIN PLACE, NY 10505                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 57 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                            Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 70 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.318    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $228.33
          DIAMOND RENTAL INC.                                                 Contingent
          4518 SOUTH 500 WEST                                                 Unliquidated
          SALT LAKE CITY, UT 84123                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.319    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $385.78
          DIAMOND SHARP CUTLERY SVC                                           Contingent
          513 MERCURY LANE                                                    Unliquidated
          BREA, CA 92821                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.320    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $80.20
          DIANA DAUSCH                                                        Contingent
          221 SE 9th Court                                                    Unliquidated
          Hallandale Beach, FL 33009                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.321    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $89,111.99
          DIANE M HENDRICKS ENTERPRI                                          Contingent
          PO BOX 650823                                                       Unliquidated
          DEPT# 41283                                                         Disputed
          DALLAS, TX 75265
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.322    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $131.66
          DICHELLO DISTRIBUTORS, INC                                          Contingent
          P.O.BOX 562                                                         Unliquidated
          55 MARSH HILL ROAD                                                  Disputed
          ORANGE, CT 06477
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.323    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $26,069.17
          DIRECT TV                                                           Contingent
          1313 NW 167TH ST                                                    Unliquidated
          MIAMI, FL 33169                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.324    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $159,397.80
          DOLPHIN MALL ASSOCIATES LL                                          Contingent
          DEPT. 189501                                                        Unliquidated
          P.O. BOX 6700                                                       Disputed
          DETROIT, MI 48267-1895
                                                                             Basis for the claim:    Landlord
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 58 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                            Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 71 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.325    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,048.50
          DOMINICK ANNESE                                                     Contingent
          22 WHITTIER DRIVE                                                   Unliquidated
          MANAHAPAN, NJ 07726                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.326    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,236.49
          DOMINION EAST OHIO                                                  Contingent
          PO BOX 26785                                                        Unliquidated
          RICHMOND, VA 23261-6785                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.327    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,551.69
          DOMINION ENERGY                                                     Contingent
          P.O. BOX 45841                                                      Unliquidated
          SALT LAKE CITY, UT 84139-0001                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.328    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,084.55
          DOMINION ENERGY N CAROLINA                                          Contingent
          PO BOX 100256                                                       Unliquidated
          COLUMBIA, SC 29202-3256                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.329    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $6,844.35
          DOMINION VIRGINIA POWER                                             Contingent
          PO BOX 26543                                                        Unliquidated
          RICHMOND, VA 23290                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.330    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $863.60
          DOOR & GATE CO. LLC.                                                Contingent
          130 HICKMAN RD.                                                     Unliquidated
          STE. 26                                                             Disputed
          CLAYMONT, DE 19703
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.331    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,260.00
          DOUGLAS ORR PLUMBING, INC.                                          Contingent
          301 FLAGNER DRIVE                                                   Unliquidated
          MIAMI SPRINGS, FL 33166                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 59 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                            Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 72 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.332    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,050.00
          DOVER GREASE TRAPS INC                                              Contingent
          16585 13 MILE RD                                                    Unliquidated
          FRASER, MI 48026                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.333    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $185.00
          DOWNTOWN SELF STORAGE 2ND                                           Contingent
          29 WEST 800 SOUTH                                                   Unliquidated
          SALT LAKE CITY, UT 84101                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.334    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $282.48
          DREW WINDOW CLEANING, INC.                                          Contingent
          P.O. BOX 784                                                        Unliquidated
          BOYS TOWN, NE 68010                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.335    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,510.12
          DTE ENERGY                                                          Contingent
          PO BOX 740786                                                       Unliquidated
          CINCINNATI, OH 45274-0786                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.336    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $24,311.96
          DUKE ENERGY                                                         Contingent
          P.O. BOX 1003                                                       Unliquidated
          CHARLOTTE, NC 28201-1003                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.337    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $9,499.85
          DUQUESNE LIGHT COMPANY                                              Contingent
          PAYMENT PROCESSING CENTER                                           Unliquidated
          PO BOX 10                                                           Disputed
          PITTSBURGH, PA 15230-0010
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.338    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,135.53
          DYNALINK COMMUNICATIONS, I                                          Contingent
          PO BOX 3415 CHURCH ST STATIO                                        Unliquidated
          NEW YORK, NY 10008                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 60 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                            Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 73 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.339    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,686.83
          E SPACE COMMUNICATIONS INC                                          Contingent
          P.O, BOX 4122                                                       Unliquidated
          DUBLIN, OH 43016-0074                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.340    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $630.72
          E&A LOCKSMITH INC.                                                  Contingent
          10500 LORAIN AVE.                                                   Unliquidated
          CLEVELAND, OH 44111                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.341    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $584.00
          E&P INVESTMENT GROUP                                                Contingent
          PO BOX 5334                                                         Unliquidated
          CARSON, CA 90749                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.342    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $495.00
          E.R. PUMPING SERVICE CORP.                                          Contingent
          P.O. BOX 266603                                                     Unliquidated
          FT. LAUDERDALE, FL 33326                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.343    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,260.00
          E2 COMMERIAL LLC                                                    Contingent
          PO BOX 3300                                                         Unliquidated
          WINTER PARK, FL 32790                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.344    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $26,233.74
          EAST BELTLINE DEVELOPMENT                                           Contingent
          38500 WOODARD AVENUE                                                Unliquidated
          SUITE 200                                                           Disputed
          BLOOMFIELD HILLS, MI 48304
                                                                             Basis for the claim:    Landlord
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.345    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $400.00
          EAST TN MOUNTAIN VIEWS                                              Contingent
          P.O. BOX 432                                                        Unliquidated
          VONORE, TN 37885                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 61 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                            Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 74 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.346    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $38.43
          EASTON TELECOM SERVICES LL                                          Contingent
          P.O. BOX 74836                                                      Unliquidated
          CLEVELAND, OH 44194-4836                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.347    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $140,090.99
          EASTON TOWN CENTER LLC                                              Contingent
          L-3769                                                              Unliquidated
          COLUMBUS, OH 43260-3769                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Landlord
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.348    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $35,423.52
          EASTON TOWN CENTER LLC                                              Contingent
          L-3769                                                              Unliquidated
          COLUMBUS, OH 43260-3769                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Landlord
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.349    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $74,344.52
          ECOLAB                                                              Contingent
          370 WABASHA ST N                                                    Unliquidated
          ST PAUL, MN 55102                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.350    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $17,899.35
          ECOLAB FOOD SAFETY SPECIAL                                          Contingent
          24198 NETWORK PLACE                                                 Unliquidated
          CHICAGO, IL 60673-1241                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.351    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $40,097.89
          ECOLAB PEST ELIM DIVISION                                           Contingent
          26252 NETWORK PLACE                                                 Unliquidated
          CHICAGO, IL 60673-1262                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.352    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $834.07
          EDGAR ELECTRIC COMPANY                                              Contingent
          535 CHICORA ROAD                                                    Unliquidated
          BUTLER, PA 16001                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 62 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                            Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 75 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.353    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $927.02
          EDWARD A. ZITO                                                      Contingent
          820 SW 66TH AVE.                                                    Unliquidated
          PLANTATION, FL 33317                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.354    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $40,557.79
          EDWARD G. MILGRIM, P.A.                                             Contingent
          MILGRAM LAW GROUP                                                   Unliquidated
          3216 CORRINE DRIVE                                                  Disputed
          ORLANDO, FL 32803
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.355    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $50.00
          EDWINA ROGERS                                                       Contingent
          100 RIVERVIEW ROAD                                                  Unliquidated
          STEVENSVILLE, MD 21666                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.356    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $38,045.12
          EEC ACQUISITIONS LLC.                                               Contingent
          210 VISTA PARK DR                                                   Unliquidated
          PITTSBURGH, PA 15205                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.357    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $445.89
          EiPRINTING, INC.                                                    Contingent
          200 RIVERSIDE INDUSTRIAL COMP                                       Unliquidated
          PORTLAND, ME 04103                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.358    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $20,972.00
          EL GENERAL CLEANING SERVIC                                          Contingent
          4991 RIALTO ROAD                                                    Unliquidated
          WEST CHESTER, OH 45069                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.359    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $7,871.00
          EL ROSARIO CLEANING LLC                                             Contingent
          7577 PAWLING PLACE                                                  Unliquidated
          COLUMBUS, OH 43235                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 63 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                            Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 76 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.360    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $976.34
          ELECTRICAL ENTERPRISES IN                                           Contingent
          18 1/2 S MAIN ST SUITE 12                                           Unliquidated
          CLARKSTON, MI 48346                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.361    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $150.00
          ELIZABETH WALTERS                                                   Contingent
          8267 CREEKWOODS PLACE                                               Unliquidated
          MAINEVILLE, OH 45039                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.362    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,701.86
          ELLIS COFFEE CO                                                     Contingent
          P.O. BOX 786926                                                     Unliquidated
          PHILADELPHIA, PA 19178                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.363    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $15,900.00
          ELLIS CONSULTING                                                    Contingent
          9565 YELLOW FINCH COURT                                             Unliquidated
          BRENTWOOD, TN 37027                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.364    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $371.50
          EMERALD COAST CUTLERY LLC                                           Contingent
          PO BOX 751                                                          Unliquidated
          LOXLEY, AL 36551                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.365    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,292.48
          EMPIRE MERCHANTS NORTH LLC                                          Contingent
          P.O. BOX 10                                                         Unliquidated
          COXSACKIE, NY 12051                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.366    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $503.37
          EMPLOYEE OWNED NUSERY EN LTD                                        Contingent
          13602 FM 969                                                        Unliquidated
          AUSTIN, TX 78724                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 64 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                            Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 77 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.367    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $90.00
          ENERGIZE ELECTRONICS INC                                            Contingent
          PO BOX 815                                                          Unliquidated
          BLUE SPRINGS, MO 64013                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.368    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $389.34
          ENGINEERED PROTECTION SYS                                           Contingent
          750 FRONT AVE. NW                                                   Unliquidated
          GRAND RAPIDS, MI 49504                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.369    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $9,562.64
          ENTERGY                                                             Contingent
          P.O. BOX 8101                                                       Unliquidated
          BATON ROUGE, LA 70891-8101                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.370    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $6,875.31
          ENVIROMATIC CORP OF AMERIC                                          Contingent
          5936 PILLSBURY AVE SOUTH                                            Unliquidated
          MINNEAPOLIS, MN 55419                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.371    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $12,814.20
          ENVISION COMMERICAL CLEANI                                          Contingent
          52 E. CRESCENTVILLE RD.                                             Unliquidated
          WEST CHESTER, OH 45246                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.372    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $295.00
          EPLEE & ASSOCIATES DIRECTO                                          Contingent
          P.O. BOX 27045                                                      Unliquidated
          GREENVILLE, SC 29616                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.373    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $31,712.58
          EQUIFAX WORKFORCE SOLUTION                                          Contingent
          4076 PAYSPHERE CIRCLE                                               Unliquidated
          CHICAGO, IL 60674                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 65 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                            Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 78 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.374    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,600.00
          ERIK DONNER                                                         Contingent
          13211 W CHOCTAW TRAIL                                               Unliquidated
          HOMER GLEN, IL 60491                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.375    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $191.57
          ESCUE, AUSTIN                                                       Contingent
          1207 CARLTON ARMS CIRCLE                                            Unliquidated
          BRADENTON, FL 34208                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.376    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $25,000.00
          ESIS Customer Service                                               Contingent
          P.O. Box 15054 #1275 3-E                                            Unliquidated
          Wilmington, DE 19850                                                Disputed
          Date(s) debt was incurred 4/1/2020
                                                                             Basis for the claim:    Legal fees
          Last 4 digits of account number 1069
                                                                             Is the claim subject to offset?    No  Yes
 3.377    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $135.50
          EVANS, EMMANUEL                                                     Contingent
          6511 Marsol Road                                                    Unliquidated
          Mayfield Heights, OH 44124                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.378    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $85.00
          EVENT PRINT SOLUTIONS, INC                                          Contingent
          12257 CALLANISH LANE                                                Unliquidated
          LOVES PARK, IL 61111                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.379    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,098.16
          EVERSOFT, INC.                                                      Contingent
          P.O. BOX 92769                                                      Unliquidated
          LONG BEACH, CA 90809                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.380    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,354.75
          EVERSOURCE                                                          Contingent
          P.O. BOX 56004                                                      Unliquidated
          BOSTON, MA 02205                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 66 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                            Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 79 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.381    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $420.00
          EVOLUTION ELECTRIC, LLC                                             Contingent
          141 WILLOWICK DRIVE                                                 Unliquidated
          NAPLES, FL 34110                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.382    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $370.87
          EVOLVE DANCE, LLC                                                   Contingent
          6070 S. RAINBOW BLVD.                                               Unliquidated
          LAS VEGAS, NV 89118                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.383    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,110.40
          EXECUTIVE MAINTENANCE SYST                                          Contingent
          6819 POLONIA AVE                                                    Unliquidated
          CLEVELAND, OH 44105                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.384    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $260.09
          EXTRA SPACE STORAGE                                                 Contingent
          10550 GOODLETTE FRANK RD.                                           Unliquidated
          NAPLES, FL 34109                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.385    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,058.18
          EYMAN PLUMBING, INC.                                                Contingent
          8506 S. 117TH STREET                                                Unliquidated
          LAVISTA, NE 68128                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.386    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $14,973.05
          FABULOUS FISH                                                       Contingent
          13560 NW INDUSTRIAL DRIVE                                           Unliquidated
          BRIDGETON, MO 63044                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.387    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,204.94
          FACILITEC SOUTHWEST                                                 Contingent
          2300 COLD SPRINGS ROAD                                              Unliquidated
          FORT WORTH, TX 76106-8401                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 67 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                            Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 80 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.388    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,909.80
          FACILITEC WEST                                                      Contingent
          P.O. BOX 6008                                                       Unliquidated
          SAN PEDRO, CA 90734                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.389    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $176,785.17
          FAIRFAX COMP OF VIRGINIA,                                           Contingent
          DEPARTMENT 56501                                                    Unliquidated
          P.O. BOX 67000                                                      Disputed
          DETROIT, MI 48267-0565
                                                                             Basis for the claim:    Landlord
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.390    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $184.21
          FANCHER NEW COMFORT UPHOLST                                         Contingent
          348 BELLERS CT.                                                     Unliquidated
          YPSILANTI, MI 48198                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.391    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,100.30
          FARMER & IRWIN CORPORATION                                          Contingent
          3300 AVENUE K                                                       Unliquidated
          RIVIERA BEACH, FL 33404                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.392    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,677.36
          FAT FREE, INC.                                                      Contingent
          P.O. BOX 25601                                                      Unliquidated
          TAMPA, FL 33622-5601                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.393    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $372.00
          FD HAYES ELECTRIC CO.                                               Contingent
          2301 BEAL AVENUE                                                    Unliquidated
          LANSING, MI 48910                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.394    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $173.97
          FE MORAN SECURITY                                                   Contingent
          75 Remittance Drive                                                 Unliquidated
          Dept. 1743                                                          Disputed
          Chicago, IL 60675-1743
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 68 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                            Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 81 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.395    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $48,333.50
          FEDERAL EXPRESS                                                     Contingent
          PO BOX 371461                                                       Unliquidated
          PITTSBURGH, PA 15250-7461                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.396    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $453.40
          FEDEX                                                               Contingent
          DEPT CH PO BOX 10306                                                Unliquidated
          PALATINE, IL 60055-0306                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.397    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,008.69
          FERGUSON ELECTRIC SERVICE                                           Contingent
          321 ELLICOTT STREET                                                 Unliquidated
          BUFFALO, NY 14203                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.398    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $34,997.38
          FILLMORE BUCKEYE INVESTMEN
          LLC.                                                                Contingent
          777 GOODALE PARTNERS, LLC.                                          Unliquidated
          7555 E PLEASANT RD #160                                             Disputed
          INDEPENDENCE, OH 44131
                                                                             Basis for the claim:    Landlord
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.399    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $387.10
          FIRE CENTRAL SOLUTIONS INC                                          Contingent
          4494 SOUTHSIDE BLVD.                                                Unliquidated
          STE. 102                                                            Disputed
          JACKSONVILLE, FL 32216
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.400    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,013.05
          FIRE CONTROL SYSTEMS, INC.                                          Contingent
          11515 REAMES ROAD                                                   Unliquidated
          CHARLOTTE, NC 28269                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.401    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $513.86
          FIRE GUARD INC.                                                     Contingent
          4404 S. 76TH CIRCLE                                                 Unliquidated
          OMAHA, NE 68127                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 69 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                            Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 82 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.402    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,371.41
          FIRE RANGER EXTINGUISHER                                            Contingent
          SERVICE, INC.                                                       Unliquidated
          4009 NE 6TH AVE.                                                    Disputed
          FT. LAUDERDALE, FL 33334
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.403    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,417.21
          FIREMASTER                                                          Contingent
          DEPT 1019                                                           Unliquidated
          PO BOX 121019                                                       Disputed
          DALLAS, TX 75312-1019
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.404    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,323.24
          FIRST CLASS PLUMBING OF FL                                          Contingent
          6123 LEE ANN LANE                                                   Unliquidated
          NAPLES, FL 34109                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.405    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,964.93
          FIRST CLASS PLUMBING. LLC.                                          Contingent
          17032 SILVER CHARM PLACE                                            Unliquidated
          LEESBURG, VA 20176                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.406    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $577.70
          FISH WINDOW CLEANING                                                Contingent
          P.O. BOX 1641                                                       Unliquidated
          BUTLER, PA 16003                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.407    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $183.60
          FISH WINDOW CLEANING INC.                                           Contingent
          1064 TALLMADGE ROAD                                                 Unliquidated
          KENT, OH 44240                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.408    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $16,026.00
          FIVE STAR VALET                                                     Contingent
          1415 PANTHER LANE                                                   Unliquidated
          UNIT 110                                                            Disputed
          NAPLES, FL 34109
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 70 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                            Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 83 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.409    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $6,026.78
          FLORIDA CITY GAS                                                    Contingent
          P.O. BOX 5410                                                       Unliquidated
          CAROL STREAM, IL 60197-5410                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.410    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $41,829.67
          FLORIDA POWER & LIGHT                                               Contingent
          GENERAL MAIL FACILITY                                               Unliquidated
          MIAMI, FL 33188-0001                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.411    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $9,088.30
          FLORIDA PUBLIC UTILITIES                                            Contingent
          P.O. BOX 1237                                                       Unliquidated
          SALISBURY, MD 21802                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.412    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $638.00
          FOCAL POINTE OUTDOOR                                                Contingent
          SOLUTIONS INC.                                                      Unliquidated
          1921 RAVINIA DRIVE                                                  Disputed
          CASEYVILLE, IL 62232
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.413    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,906.77
          FOG RIVER, LLC.                                                     Contingent
          1360 SOUTH REDWOOD ROAD                                             Unliquidated
          SALT LAKE CITY, UT 84104                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.414    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $11,123.01
          FOOD EQUIPMENT REPAIR INC                                           Contingent
          1925 MCGEE ST                                                       Unliquidated
          KANSAS CITY, MO 64108-1827                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.415    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,554.05
          FOOD EQUIPMENT SERVICE                                              Contingent
          3316 A OLD CAPITOL TRAIL                                            Unliquidated
          WILMINGTON, DE 19808                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 71 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                            Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 84 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.416    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,485.82
          FOOD EQUIPMENT SERVICE INC                                          Contingent
          P.O. BOX 820                                                        Unliquidated
          HILLVIEW, KY 40129                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.417    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,521.93
          FOODSTYLING.COM                                                     Contingent
          1888 CHECKERBERRY COURT                                             Unliquidated
          OVIEDO, FL 32766                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.418    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $57,027.19
          FORBES TAUBMAN ORLANDO LLC                                          Contingent
          16286 COLLECTIONS CENTER DRIVE                                      Unliquidated
          CHICAGO, IL 60693                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Landlord
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.419    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $38,499.76
          FORBES/COHEN FLORIDA                                                Contingent
          16156 COLLECTIONS CENTER DRIVE                                      Unliquidated
          CHICAGO, IL 60693                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Landlord
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.420    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $9,997.83
          FORTUNE FISH COMPANY                                                Contingent
          DEPT #10477                                                         Unliquidated
          PO BOX 87618                                                        Disputed
          CHICAGO, IL 60680-0618
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.421    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,092.85
          FORTUNE INTERNATIONAL LLC                                           Contingent
          8501 PAGE AVE                                                       Unliquidated
          ST LOUIS, MO 63114                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.422    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,250.00
          FOUR STAR MECHANICAL, INC.                                          Contingent
          4127 TONYA TRAIL                                                    Unliquidated
          HAMILTON, OH 45011                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 72 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                            Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 85 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.423    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $146,078.78
          FOURTH USA INC                                                      Contingent
          134 N 4TH STREET                                                    Unliquidated
          BROOKLYNN, NY 11249                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.424    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $305.88
          FOX VALLEY FIRE & SAFETY                                            Contingent
          2730 PINNACLE DRIVE                                                 Unliquidated
          ELGIN, IL 60124                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.425    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $6,487.36
          FRAGAS SERVICES                                                     Contingent
          P.O. BOX 290325                                                     Unliquidated
          WETHERSFIELD, CT 06129                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.426    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,473.84
          FRANK GAY PLUMBING INC                                              Contingent
          6206 FOREST CITY ROAD                                               Unliquidated
          ORLANDO, FL 32810                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.427    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $169.00
          FREDERICK WILDMAN & SONS L                                          Contingent
          307 EAST 53RD STREET                                                Unliquidated
          NEW YORK, NY 10022                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.428    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $111,321.65
          FREEMALL ASSOCIATES LLC.                                            Contingent
          dba FREEHOLD RACEWAY MALL                                           Unliquidated
          P.O. BOX 511421                                                     Disputed
          LOS ANGELES, CA 90051-7976
                                                                             Basis for the claim:    Landlord
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.429    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,213.07
          FRONTIER                                                            Contingent
          P.O. BOX 740407                                                     Unliquidated
          CINCINNATI, OH 45274-0407                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 73 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                            Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 86 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.430    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $306.56
          FRONTIER LIGHTING INC.                                              Contingent
          2090 PALMETTO STREET                                                Unliquidated
          CLEARWATER, FL 33756                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.431    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $23.00
          FROSS ZELNICK LEHRMAN &                                             Contingent
          ZISSU, P.C.                                                         Unliquidated
          4 TIMES SQUARE, 17TH FLOOR                                          Disputed
          NEW YORK, NY 10036
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.432    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $234.98
          FTTC, CORP.                                                         Contingent
          dba FLAME-TECH                                                      Unliquidated
          23 SOUTHGATE BLVD. SUITE 103                                        Disputed
          NEW CASTLE, DE 19720
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.433    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,383.00
          FULTON STEAMER, INC.                                                Contingent
          18459 PINES BLVD.                                                   Unliquidated
          SUITE 102                                                           Disputed
          PEMBROKE PINES, FL 33029
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.434    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $825.00
          G & Z REMODELING, LLC                                               Contingent
          19 SIGRID DRIVE                                                     Unliquidated
          CARNEGIE, PA 15106                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.435    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,509.00
          G&H ELECTRIC , LLC.                                                 Contingent
          dba GRACI HART ELECTRIC                                             Unliquidated
          1720 ORPHEUM AVENUE                                                 Disputed
          METAIRIE, LA 70005
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.436    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $16,499.69
          G&R MECHANICAL INC.                                                 Contingent
          3220 BERGEY ROAD                                                    Unliquidated
          HATFIELD, PA 19440                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 74 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                            Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 87 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.437    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $445.20
          GALKIN AND ZHANG, LLC.                                              Contingent
          1066 W. TIOGA ST.                                                   Unliquidated
          ALLENTOWN, PA 18103                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.438    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $517.88
          GASKET DOCTOR, INC.                                                 Contingent
          15757 PINES BLVD. #302                                              Unliquidated
          PEMBROKE PINES, FL 33027                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.439    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,184.49
          GASKET GUY OF DFW                                                   Contingent
          2201 MIDWAY RD                                                      Unliquidated
          STE 324                                                             Disputed
          CARROLLTON, TX 75006
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.440    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $695.45
          GASKET GUY OF JACKSONVILLE                                          Contingent
          100 NAUTILUS CT                                                     Unliquidated
          PONTE VEDRA BEACH, FL 32082                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.441    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $766.16
          GASKET GUY OF SOUTHWEST                                             Contingent
          FLORIDA, LLC.                                                       Unliquidated
          268 WILLOWICK WAY                                                   Disputed
          VENICE, FL 34293
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.442    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $726.00
          GASKET GUYS OF DAYTON                                               Contingent
          430 WEST RAHN RD                                                    Unliquidated
          DAYTON, OH 45429                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.443    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,255.11
          GASKET MASTERS OF SW FL, INC                                        Contingent
          PO BOX 381045                                                       Unliquidated
          MURDOCK, FL 33938                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 75 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                            Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 88 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.444    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $742.18
          GASKET PRO LLC                                                      Contingent
          PO BOX 1092                                                         Unliquidated
          CRESTWOOD, KY 40014                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.445    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,703.88
          GASKETS ROCK INTERNATIONAL                                          Contingent
          409 PARKWAY VIEW DRIVE                                              Unliquidated
          PITTSBURGH, PA 15205                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.446    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $841.78
          GASKETS ROCK OF CENTRAL OH                                          Contingent
          5083 LAMBERT RD                                                     Unliquidated
          GROVE CITY, OH 43123                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.447    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $6,420.00
          GECKO HOSPITALITY                                                   Contingent
          DEPARTMENT 4542                                                     Unliquidated
          CAROL STREAM, IL 60122-4542                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.448    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $36.18
          GEER GAS CORPORATION                                                Contingent
          PO BOX 16396                                                        Unliquidated
          COLUMBUS, OH 43216                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.449    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $274.65
          GENERAL DISTRIBUTING CO.                                            Contingent
          P.O. BOX 221210                                                     Unliquidated
          SALT LAKE CITY, UT 84122                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.450    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $222.31
          GENERAL FIRE & EQUIPMENT C                                          Contingent
          3210 E 14TH                                                         Unliquidated
          DES MOINES, IA 50316                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 76 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                            Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 89 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.451    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $88.00
          GENOVESE KNIFE COMPANY, IN                                          Contingent
          PO BOX 5548                                                         Unliquidated
          PEORIA, IL 61601-5548                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.452    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,937.35
          GEORGE HOWE CO INC                                                  Contingent
          PO BOX 269                                                          Unliquidated
          GROVE CITY, PA 16127                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.453    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,000.00
          GERARDO SANTILLAN JAIME                                             Contingent
          2709 NW 112TH STREET                                                Unliquidated
          OKLAHOMA CITY, OK 73120                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.454    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $6,543.74
          GET FRESH PRODUCE                                                   Contingent
          1441 BREWSTER CREEK BLVD                                            Unliquidated
          BARTLETT, IL 60103                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.455    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $35,709.46
          GGP LIMITED PARTNERSHIP
          FASHION PLACE, LLC.                                                 Contingent
          SDS-12-2780                                                         Unliquidated
          P.O. BOX 86                                                         Disputed
          MINNEAPOLIS, MN 55486-2780
                                                                             Basis for the claim:    Landlord
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.456    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $180.00
          GISG, LLC                                                           Contingent
          P.O. BOX 540012                                                     Unliquidated
          OMAHA, NE 68154                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.457    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $200.00
          GLASS ACT CLEANING LLC.                                             Contingent
          P.O. BOX 291464                                                     Unliquidated
          FORT LAUDERDALE, FL 33329                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 77 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                            Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 90 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.458    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $105.54
          GLOVER BEVERAGES, LLC                                               Contingent
          1323 CAPITAL BLVD.                                                  Unliquidated
          RALEIGH, NC 27603                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.459    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $266.06
          GOLDEN BEAR LOCK & SAFE IN                                          Contingent
          7445 DARON COURT                                                    Unliquidated
          PLAIN CITY, OH 43064                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.460    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,797.96
          GOLDEN GATE BEVERAGE                                                Contingent
          6105 MAYFIELD RD                                                    Unliquidated
          MAYFIELD HEIGHTS, OH 44124                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.461    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,069.03
          GOLDEN GLO CARPET CLEANERS                                          Contingent
          2785 PHILMONT AVE.                                                  Unliquidated
          UNIT E                                                              Disputed
          HUNTINGTON VALLEY, PA 19006
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.462    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $12,500.00
          GOODWIN RECRUITING                                                  Contingent
          10 FERRY STREET                                                     Unliquidated
          SUITE 420                                                           Disputed
          CONCORD, NH 03301
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.463    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $14,013.13
          GOODWIN TUCKER                                                      Contingent
          PO BOX 3285                                                         Unliquidated
          DES MOINES, IA 50316-0285                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.464    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $1,323,956.13
          GORDON FOOD SERVICE                                                 Contingent
          P.O. BOX 88029                                                      Unliquidated
          CHICAGO, IL 60680-1029                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 78 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                            Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 91 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.465    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $465.00
          GRAPEVINE CHAMBER OF COMME                                          Contingent
          200 EAST VINE                                                       Unliquidated
          GRAPEVINE, TX 76099                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.466    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $370.00
          GREASE MASTERS LLC                                                  Contingent
          PO BOX 132                                                          Unliquidated
          COTTLEVILLE, MO 63338                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.467    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $308.51
          GREAT STATE MECHANICAL LLC                                          Contingent
          PO BOX 1632                                                         Unliquidated
          LEANDER, TX 78646                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.468    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $149.05
          GREAT VALUE STORAGE - POLA                                          Contingent
          9984 OLD STATE ROAD                                                 Unliquidated
          LEWIS CENTER, OH 43035                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.469    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $80,718.46
          GREAT WASH PARK LLC                                                 Contingent
          P.O. BOX 96146                                                      Unliquidated
          LAS VEGAS, NV 89193-6146                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Landlord
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.470    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,540.00
          GREATER BOCA RATON CHAMBER                                          Contingent
          COMMERCE                                                            Unliquidated
          1800 N. DIXIE HIGHWAY                                               Disputed
          BOCA RATON, FL 33432
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.471    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,257.00
          GREENE COUNTY                                                       Contingent
          SANITARY ENGINEERING DEPARTMEN                                      Unliquidated
          PO BOX 340                                                          Disputed
          XENIA, OH 45385-0340
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 79 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                            Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 92 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.472    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $42,706.10
          GREENE TOWN CENTER LLC                                              Contingent
          PO BOX 304                                                          Unliquidated
          DEPT. 5000                                                          Disputed
          EMERSON, NJ 07630
                                                                             Basis for the claim:    Landlord
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.473    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $6,637.55
          GREGG & SONS MECHANICAL                                             Contingent
          256 GUM BUSH ROAD                                                   Unliquidated
          TOWNSEND, DE 19734                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.474    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $32.26
          GRIFFIS, PATRICK                                                    Contingent
          521 51ST AVENUE SOUTH                                               Unliquidated
          ST. PETERSBURG, FL 33705                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.475    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $35.56
          GROUPRAISE                                                          Contingent
          Dwight D. Eisenhower PTO                                            Unliquidated
          279 Burlington Road                                                 Disputed
          Freehold, NJ 07728
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.476    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,826.95
          GUARDIAN ALARM                                                      Contingent
          1810 JEFFERSON AVE                                                  Unliquidated
          TOLEDO, OH 43624                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.477    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $312.79
          GUARDIAN PROTECTION SERVIC                                          Contingent
          174 THORN HILL ROAD                                                 Unliquidated
          WARRENDALE, PA 15086                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.478    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,976.85
          GULF COAST PRODUCE DIST. I                                          Contingent
          194 BOHN STREET                                                     Unliquidated
          BILOXI, MS 39530                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 80 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                            Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 93 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.479    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,456.28
          GULFPORT SEAFOODS INC                                               Contingent
          8016 N MAY AVE                                                      Unliquidated
          OKLAHOMA CITY, OK 73120                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.480    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $195,819.02
          GULFSTREAM PARK RACING
          ASSOCIATION, INC.                                                   Contingent
          901 S. FEDERAL HWY.                                                 Unliquidated
          ATTN: ACCOUNTS RECEIVABLES                                          Disputed
          HALLANDALE BEACH, FL 33009
                                                                             Basis for the claim:    Landlord
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.481    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,060.00
          GUSTAVO HERNANDEZ                                                   Contingent
          9457 E SHENANDOAH DR                                                Unliquidated
          INDIANAPOLIS, IN 46229                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.482    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $780.00
          H2O WINDOW CLEANING, LLC.                                           Contingent
          803 OSAGE AVENUE                                                    Unliquidated
          KANSAS CITY, KS 66105                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.483    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $80,107.89
          HALPERN'S STEAK AND SEAFOO                                          Contingent
          P.O. BOX 116421                                                     Unliquidated
          ATLANTA, GA 30368-6421                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.484    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $378.88
          HANDY WINDOW CLEANING INC                                           Contingent
          PO BOX 2577                                                         Unliquidated
          CYPRESS, TX 77410                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.485    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $299.88
          HANDYMAN JOE, LLC.                                                  Contingent
          12 REDBED DRIVE                                                     Unliquidated
          WARRENTON, MO 63383-3212                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 81 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                            Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 94 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.486    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,445.98
          HANLON PLUMBING CO.                                                 Contingent
          8004 NW 154TH ST #563                                               Unliquidated
          MIAMI LAKES, FL 33016                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.487    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $9,410.00
          HAPSELECT, LLC.                                                     Contingent
          1341 W. MOCKINGBIRD LANE                                            Unliquidated
          SUITE 700 W                                                         Disputed
          DALLAS, TX 75247
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.488    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $50,000.00
          HARBOURSIDE PLACE , LLC.                                            Contingent
          ACCT#9211203000                                                     Unliquidated
          107 NORTH COASTAL WAY                                               Disputed
          JUPITER, FL 33477
                                                                             Basis for the claim:    Landlord
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.489    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,182.07
          HARRY O. HAHN SEAFOOD INC.                                          Contingent
          3024 PENN AVE.                                                      Unliquidated
          WEST LAWN, PA 19609                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.490    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,732.32
          HAYES MECHANICAL, LLC.                                              Contingent
          5959 HARLEM AVE                                                     Unliquidated
          CHICAGO, IL 60638                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.491    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $585.77
          HEARN KIRKWOOD PRODUCE                                              Contingent
          PO BOX 723                                                          Unliquidated
          COLUMBIA, MD 21045-9998                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.492    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $202.00
          HEGER, MARTIN                                                       Contingent
          921 PRYNNWOOD LANE                                                  Unliquidated
          APT #101                                                            Disputed
          O'FALLON, MO 63366
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 82 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                            Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 95 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.493    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $50.00
          HELENA ROWLAND                                                      Contingent
          100 RIVERVIEW ROAD                                                  Unliquidated
          STEVENSVILLE, MD 21666                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.494    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $196.50
          HELIX ELECTRIC OF NEVADA,                                           Contingent
          3078 E. Sunset Road                                                 Unliquidated
          Suite 9                                                             Disputed
          Las Vegas, NV 89120
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.495    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,112.00
          HENN PLUMBING INC                                                   Contingent
          8793 WUEST ROAD                                                     Unliquidated
          CINCINNATI, OH 45251                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.496    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $413.59
          HERITAGE SERVICE GROUP                                              Contingent
          OF NEW ORLEANS INC.                                                 Unliquidated
          PO BOX 8710                                                         Disputed
          FORT WAYNE, IN 46898-8710
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.497    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $420.00
          HERNANDEZ, NOE                                                      Contingent
          1307 WEXFORD GREEN BLVD.                                            Unliquidated
          COLUMBUS, OH 43228                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.498    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $6,106.00
          HERONA PROPERTY MANAGEMENT                                          Contingent
          145 S. LIVERNOIS RD.                                                Unliquidated
          #209                                                                Disputed
          ROCHESTER HILLS, MI 48307
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.499    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,825.39
          HIBDON'S MECHANICAL & REST                                          Contingent
          835 SE 30TH ST. STE. B                                              Unliquidated
          OKLAHOMA CITY, OK 73129                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 83 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                            Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 96 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.500    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $470.00
          HILLCREST PARTY RENTALS, I                                          Contingent
          3507 MOTOR AVE                                                      Unliquidated
          LOS ANGELES, CA 90034                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.501    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $142,663.89
          HINES GLOBAL REIT                                                   Contingent
          4875 TOWN CENTER LLC                                                Unliquidated
          P.O. BOX 742632                                                     Disputed
          ATLANTA, GA 30374-2632
                                                                             Basis for the claim:    Landlord
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.502    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $477.13
          HM ELECTRONICS, INC.                                                Contingent
          dba JTECH                                                           Unliquidated
          1400 NORTHBROOK PKWY                              #320              Disputed
          SUWANEE, GA 30024
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.503    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $116.60
          HOLBROOK, PAUL                                                      Contingent
          2685 PULASKI LOOP                                                   Unliquidated
          VIRGINIA BEACH, VA 23456                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.504    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $949.63
          HOOD MASTERS, INC.                                                  Contingent
          19252 SHIRLEY ST.                                                   Unliquidated
          OMAHA, NE 68130                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.505    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $799.81
          HOSPITALITY RESOURCE SUPPL                                          Contingent
          499 N SR. 434                                                       Unliquidated
          #1005                                                               Disputed
          ALAMONTE SPRINGS, FL 32714
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.506    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $191.27
          HOST COFFEE SERVICE, INC.                                           Contingent
          9444 J ST.                                                          Unliquidated
          OMAHA, NE 68127                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 84 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                            Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 97 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.507    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $31,108.58
          HOT SCHEDULES                                                       Contingent
          P.O. BOX 848472                                                     Unliquidated
          DALLAS, TX 75284-8472                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.508    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $385.00
          HOUSTON WEST CHAMBER OF                                             Contingent
          COMMERCE                                                            Unliquidated
          10370 RICHMOND      STE 125                                         Disputed
          HOUSTON, TX 77042
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.509    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $350.00
          HUMBERT SANITARY SERVICE                                            Contingent
          1581 APPLEGROVE RD NW                                               Unliquidated
          PO BOX 2126                                                         Disputed
          CANTON, OH 44720
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.510    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $478.32
          HUMITECH OF IOWA, INC.                                              Contingent
          P.O. BOX 1027                                                       Unliquidated
          WAUKEE, IA 50263-1027                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.511    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $184.00
          HUNT PLUMBING CO INC                                                Contingent
          520 SOUTH SPRATLEY                                                  Unliquidated
          KANSAS CITY, MO 64161                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.512    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,706.83
          HUNTSVILLE UTILITIES                                                Contingent
          120 SPRAGENS ST.                                                    Unliquidated
          HUNTSVILLE, AL 35801                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.513    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $555.00
          ICE OF CENTRAL FLORIDA INC                                          Contingent
          1725 CENTRAL FLORIDA PARKWAY                                        Unliquidated
          STE D                                                               Disputed
          ORLANDO, FL 32837
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 85 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                            Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 98 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.514    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $9,081.69
          IEM, INC.                                                           Contingent
          PO BOX 93538                                                        Unliquidated
          LAS VEGAS, NV 89193-3538                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.515    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $737.03
          IMAGE FIRST                                                         Contingent
          42 LUKENS DR                                                        Unliquidated
          SUITE 100                                                           Disputed
          NEW CASTLE, DE 19720-2727
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.516    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $545.22
          INDEPENDENT CRAFT DISTRIBU                                          Contingent
          3811 TARHEEL DRIVE                                                  Unliquidated
          SUITE 101                                                           Disputed
          RALEIGH, NC 27609
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.517    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $76.77
          INDIANA NEWSPAPERS, INC                                             Contingent
          ADVERTISING                                                         Unliquidated
          PO BOX 677553                                                       Disputed
          DALLAS, TX 75267-7553
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.518    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $69.00
          INDIANAPOLIS NEWSPAPERS                                             Contingent
          PO BOX 742619                                                       Unliquidated
          CINCINNATI, OH 45274-2619                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.519    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,200.50
          INFINITY SERVICE GROUP, IN                                          Contingent
          dba ALLSTAR HOME SERVICES                                           Unliquidated
          P.O. BOX 4229                                                       Disputed
          RANCHO CUCAMONGA, CA 91729
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.520    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $11,595.71
          INLAND CONTINENTAL PROPERT                                          Contingent
          MANAGEMENT CORP                                                     Unliquidated
          32533 COLLECTION CENTER DRIVE                                       Disputed
          CHICAGO, IL 60693-0325
                                                                             Basis for the claim:    Landlord
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 86 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                            Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 99 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.521    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $16,555.72
          INLAND SEAFOOD ATLANTA                                              Contingent
          ATTN: ACCOUNTS RECEIVABLE                                           Unliquidated
          P.O. BOX 639737                                                     Disputed
          CINCINNATI, OH 45263-9737
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.522    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $678.63
          INNOVATIVE HARDWARE, INC.                                           Contingent
          dba EPS                                                             Unliquidated
          8845 BASIL WESTERN ROAD                                             Disputed
          CANAL WINCHESTER, OH 43110
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.523    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $27,358.03
          INSTITUTIONAL MALL INVESTO
          dba IMI HUNTSVILLE LLC.                                             Contingent
          HUNTSVILLE LIFESTYLE                                                Unliquidated
          P.O. BOX 742117                                                     Disputed
          ATLANTA, GA 30374-2117
                                                                             Basis for the claim:    Landlord
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.524    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,118.02
          INTEGRATED PLUMBING                                                 Contingent
          SOLUTIONS, LLC.                                                     Unliquidated
          4364 SUN BLOSSOM CIRCLE                                             Disputed
          WEST JORDAN, UT 84088
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.525    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $969.48
          INTERNATIONAL BEVERAGE WOR                                          Contingent
          PO BOX 531331                                                       Unliquidated
          CINCINNATI, OH 45253                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.526    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $958.47
          IRVINE RANCH WATER DISTRIC                                          Contingent
          P.O. BOX 51403                                                      Unliquidated
          LOS ANGELES, CA 90051-5703                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.527    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,180.00
          J&A HANDYMAN SERVICES                                               Contingent
          1165 NE 87 STREET                                                   Unliquidated
          MIAMI, FL 33138                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 87 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 100 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.528    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $324.58
          J&R UPHOLSTERY AND BLINDS                                           Contingent
          453 DAVIDSON RD.                                                    Unliquidated
          PITTSBURGH, PA 15239                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.529    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $420.40
          J&S CARPET CLEANING INC                                             Contingent
          1710 ARTHUR COURT                                                   Unliquidated
          WAUKESHA, WI 53188                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.530    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $282.16
          J.R. PLUMBING INC.                                                  Contingent
          16817 W. GREENFIELD AVE.                                            Unliquidated
          NEW BERLIN, WI 53151                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.531    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $104.86
          J.V. CHUJKO INC.                                                    Contingent
          315 BROADWAY AVENUE                                                 Unliquidated
          MCKEES ROCKS, PA 15136                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.532    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,066.98
          JACKSON TOTAL SERVICE, INC.                                         Contingent
          P.O. BOX 9589                                                       Unliquidated
          NAPLES, FL 34101                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.533    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $6,366.89
          JAEGER HOLDINGS, LLC.                                               Contingent
          dba ALL-TEMP REFRIGERATION                                          Unliquidated
          271 HWY 1085                                                        Disputed
          MADISONVILLE, LA 70447
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.534    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $244.03
          JAMES W. NOLEN                                                      Contingent
          dba NOLEN LOCKSMITHING                                              Unliquidated
          7919 GRACELAND ST.                                                  Disputed
          DAYTON, OH 46469
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 88 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 101 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.535    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,021.88
          JANI KING OF NEW YORK, INC                                          Contingent
          P.O. BOX 415296                                                     Unliquidated
          BOSTON, MA 02241                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.536    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $7,605.63
          JANI-KING OF BUFFALO, INC.                                          Contingent
          P.O. BOX 415291                                                     Unliquidated
          BOSTON, MA 02241-5291                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.537    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,750.00
          JANI-KING OF LITTLE ROCK                                            Contingent
          609 RELIABILITY CIRCLE                                              Unliquidated
          KNOXVILLE, TN 37932                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.538    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,077.50
          JANVIER ELECTRIC, INC.                                              Contingent
          740 ELIZABETH LN                                                    Unliquidated
          BEAR, DE 19701                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.539    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,880.40
          JAVIER SOLIS                                                        Contingent
          P.O. BOX 8217                                                       Unliquidated
          ALBUQUERQUE, NM 87198                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.540    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $369.00
          JAY'S SHARPENING SERVICE                                            Contingent
          4310 W. TOMPKINS AVE.                                               Unliquidated
          LAS VEGAS, NV 89103                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.541    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $207.00
          JB KAIN INC.                                                        Contingent
          922 W. SPRING VALLEY PK.                                            Unliquidated
          DAYTON, OH 45458                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 89 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 102 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.542    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $833.44
          JBK GROUP FLORIDA LLC.                                              Contingent
          P.O. BOX 92953                                                      Unliquidated
          CLEVELAND, OH 44194-2953                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.543    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,319.60
          JC ROYAL REPAIRS                                                    Contingent
          473 DOANE AVE.                                                      Unliquidated
          STATEN ISLAND, NY 10308                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.544    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $958.50
          JCP&L                                                               Contingent
          P.O. BOX 3687                                                       Unliquidated
          AKRON, OH 44309-3687                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.545    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $155.00
          JD ELECTRIC, LLC.                                                   Contingent
          4702 PINEWOOD RD.                                                   Unliquidated
          LOUISVILLE, KY 40218                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.546    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,969.61
          JDRF INTERNATIONAL                                                  Contingent
          26 BROADWAY 15TH FLOOR                                              Unliquidated
          NEW YORK, NY 10004                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.547    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,196.44
          JEA                                                                 Contingent
          P.O, BOX 45047                                                      Unliquidated
          JACKSONVILLE, FL 32232-5047                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.548    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $100.00
          JEANINE CLIFTON                                                     Contingent
          100 RIVERVIEW ROAD                                                  Unliquidated
          STEVENSVILLE, MD 21666                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 90 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 103 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.549    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $450.00
          JEFF VOORHIES                                                       Contingent
          DBA VOORHIES CARPET SOLUTIONS                                       Unliquidated
          630 W. WABASH ST.                                                   Disputed
          OLATHE, KS 66061
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.550    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $880.85
          JEFFERSON PARISH DEPT                                               Contingent
          OF WATER                                                            Unliquidated
          PO BOX 10007                                                        Disputed
          JEFFERSON, LA 70181-0007
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.551    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $8,008.35
          JEFFREY NOBLE PRODUCTIONS                                           Contingent
          3321 OAK GROVE AVE                                                  Unliquidated
          STE K                                                               Disputed
          DALLAS, TX 75204
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.552    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $803.25
          JEFFREY PARKS JR.                                                   Contingent
          P.O. BOX 6455                                                       Unliquidated
          VIRGINIA BEACH, VA 23456                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.553    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,000.00
          JERROD NEIL GAITHER                                                 Contingent
          dba TEXAS CUSTOM LANDSCAPE                                          Unliquidated
          7721 AUBREY LANE                                                    Disputed
          N RICHLAND HILLS, TX 76182
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.554    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $100.00
          JESSENEA SANTANA                                                    Contingent
          100 RIVERVIEW ROAD                                                  Unliquidated
          STEVENSVILLE, MD 21666                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.555    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $184.27
          JIM'S LOCK & SAFE SERVICE                                           Contingent
          2005 N 77TH STREET                                                  Unliquidated
          KANSAS CITY, KS 66104                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 91 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 104 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.556    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $588.50
          JM ELECTRONICS, INC.                                                Contingent
          dba LE GRAND ELECTRONICS INC                                        Unliquidated
          6187 MW 167TH ST UNIT H-37                                          Disputed
          HIALEAH, FL 33015
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.557    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,000.00
          JOBTARGET, LLC.                                                     Contingent
          15 THAMES ST. 2ND FLOOR                                             Unliquidated
          GOTON, CT 06340                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.558    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $769.12
          JOE EAST ENTERPRISES,INC.                                           Contingent
          dba A-1 LOCKSMITH                                                   Unliquidated
          2508 HIGHLANDER WAY       SUITE 230                                 Disputed
          CARROLLTON, TX 75006
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.559    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $180.00
          JOHN A. DEWITT                                                      Contingent
          7840 Valderrama Way                                                 Unliquidated
          Lakewood Ranch, FL 34202                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.560    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $716.02
          JOHN MONTALBANO PLUMBING                                            Contingent
          114 COLBY ST                                                        Unliquidated
          METAIRIE, LA 70001                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.561    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,200.00
          JOHN OLSON                                                          Contingent
          1959 S. POWER ROAD                                                  Unliquidated
          SUITE 103-149                                                       Disputed
          MESA, AZ 85206-4398
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.562    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $16,077.50
          JOHNS PLUMBING                                                      Contingent
          5851 SERVICE ROAD                                                   Unliquidated
          BIRMINGHAM, AL 35235                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 92 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 105 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.563    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $491.26
          JOHNS PLUMBING HEATING AND                                          Contingent
          P.O. BOX 8496                                                       Unliquidated
          GREENSBORO, NC 27419                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.564    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,716.16
          JOHNSON CONTROLS FIRE                                               Contingent
          PROTECTION LP                                                       Unliquidated
          DEPT CH 10320                                                       Disputed
          PALATINE, IL 60055-0320
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.565    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $8,312.69
          JOHNSON CONTROLS FIRE LP                                            Contingent
          P.O. BOX 371994                                                     Unliquidated
          PITTSBURG, PA 15250-7994                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.566    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,753.87
          JOHNSON CONTROLS SECURITY                                           Contingent
          P.O. BOX 371994                                                     Unliquidated
          PITTSBURG, PA 15250-7994                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.567    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $212.79
          JONES ELECTRICAL SERVICE C                                          Contingent
          PO BOX 61                                                           Unliquidated
          MAYFLOWER, AR 72106                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.568    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $121,736.84
          JORDAN CREEK TOWN CENTER                                            Contingent
          SDS 12 2423                                                         Unliquidated
          PO BOX 86                                                           Disputed
          MINNEAPOLIS, MN 55486-2423
                                                                             Basis for the claim:    Landlord
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.569    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,401.92
          JOSEPH MURPHY CONSTRUCTION                                          Contingent
          3160 Crow Canyon Place                                              Unliquidated
          Suite 230                                                           Disputed
          San Ramon, CA 94583
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 93 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 106 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.570    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $400.00
          JOSEPH W. DEVLIN                                                    Contingent
          3657 SCHWALBE DR                                                    Unliquidated
          SARASOTA, FL 34235                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.571    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $35,421.67
          JRA HHF VENTURE, LLC.                                               Contingent
          DEPT. 781885                                                        Unliquidated
          P.O. BOX 78000                                                      Disputed
          DETROIT, MI 48278-1885
                                                                             Basis for the claim:    Landlord
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.572    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,247.00
          JUAN A. RODRIGUEZ JR                                                Contingent
          22921 BLACKWOLF WAY                                                 Unliquidated
          PARKER, CO 80138                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.573    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $75.00
          JUILANNA STONE                                                      Contingent
          100 RIVERVIEW ROAD                                                  Unliquidated
          STEVENSVILLE, MD 21666                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.574    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $594.50
          JURICA, JOHN                                                        Contingent
          12722 CRAIG AVENUE                                                  Unliquidated
          GRANDVIEW, MO 60403                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.575    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $693.00
          JUST WINDOWS WINDOW CLEANI                                          Contingent
          PO BOX 31367                                                        Unliquidated
          DES PERES, MO 63131                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.576    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $792.96
          K & G COFFEE COMPANY                                                Contingent
          P.O. BOX 786751                                                     Unliquidated
          PHILADELPHIA, PA 19178-6751                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 94 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 107 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.577    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $9,322.57
          KANSAS CITY POWER & LIGHT                                           Contingent
          PO BOX 219330                                                       Unliquidated
          KANSAS CITY, MO 64121-9330                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.578    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $874.84
          KANSAS GAS SERVICE                                                  Contingent
          P.O. BOX 219046                                                     Unliquidated
          KANSAS CITY, MO 64121-9046                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.579    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $66.51
          KAREN EDEN                                                          Contingent
          100 RIVERVIEW ROAD                                                  Unliquidated
          STEVENSVILLE, MD 21666                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.580    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $18,455.09
          KATSIROUBAS BROS. PRODUCE                                           Contingent
          PO BOX 220                                                          Unliquidated
          READVILLE, MA 02137                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.581    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $750.00
          KEITH GORDON LANGEROCK                                              Contingent
          dba VINYL DOCTOR LLP.                                               Unliquidated
          3409 S. ARROWHEAD CT.                                               Disputed
          INDEPENDENCE, MO 64057
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.582    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,202.13
          KELLER FIRE & SAFETY INC                                            Contingent
          1138 KANSAS AVENUE                                                  Unliquidated
          KANSAS CITY, KS 66105-1226                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.583    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $196.04
          KELLY, NATALIE                                                      Contingent
          924 46TH ST. S.W.                                                   Unliquidated
          CANTON, OH 44706                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 95 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 108 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.584    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,482.00
          KEN COOK'S PLUMBING &                                               Contingent
          HEATING, INC.                                                       Unliquidated
          3704 TRADE CENTER DR.                                               Disputed
          ANN ARBOR, MI 48108
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.585    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $100.00
          KENETH MCHUGH                                                       Contingent
          100 RIVERVIEW ROAD                                                  Unliquidated
          STEVENSVILLE, MD 21666                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.586    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $255.00
          KENMARK SECURITY SYSTEMS                                            Contingent
          dba SONITROL SECURITY SYSTEMS                                       Unliquidated
          10600 TIMBERWOOD CIRCLE                                             Disputed
          LOUISVILLE, KY 40223
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.587    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $100.00
          KENNETH HARPER                                                      Contingent
          100 RIVERVIEW ROAD                                                  Unliquidated
          STEVENSVILLE, MD 21666                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.588    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,945.09
          KENTUCKIANA COMFORT                                                 Contingent
          CENTER INC                                                          Unliquidated
          2716 GRASSLAND DRIVE                                                Disputed
          LOUISVILLE, KY 40299
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.589    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $15,049.88
          KETER ENVIRONMENTAL SVC. I                                          Contingent
          P.O. BOX 417468                                                     Unliquidated
          BOSTON, MA 02241-7468                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.590    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $267.00
          KETTLE CUISINE LLC                                                  Contingent
          330 LYNNWAY                                                         Unliquidated
          LYNN, MA 01901                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 96 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 109 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.591    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $294.00
          KILLEEN PLUMBING COMPANY                                            Contingent
          P.O. BOX 40415                                                      Unliquidated
          BAY VILLAGE, OH 44140                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.592    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $405.54
          KIMBROUGH FIRE EXTINGUISHER                                         Contingent
          PO BOX 13296                                                        Unliquidated
          ARLINGTON, TX 76094                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.593    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $252.00
          KING COFFEE & TEA SERVICES                                          Contingent
          4220 Edgeland Ave                                                   Unliquidated
          Royal Oak, MI 48073                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.594    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $420.00
          KINGTON SEWER SEPTIC DRAIN                                          Contingent
          CLEANING SERVICE, INC.                                              Unliquidated
          P.O. BOX 50633                                                      Disputed
          KNOXVILLE, TN 37950-0633
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.595    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $649.18
          KIZLER MAINTENANCE & REPAI                                          Contingent
          LLC.                                                                Unliquidated
          40 GREENVIEW CIRCLE                                                 Disputed
          SHERWOOD, AR 72120
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.596    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $436.00
          KLABUNDE DELIVERY SERVICE                                           Contingent
          8555 IZARD STREET                                                   Unliquidated
          OMAHA, NE 68114                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.597    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,262.36
          KNIGHT ELECTRIC CO, INC                                             Contingent
          7513 CENTRAL INDUSTRIAL DR                                          Unliquidated
          RIVIERA BEACH, FL 33404                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 97 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 110 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.598    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $450.00
          KNOXVILLE AREA CHAMBER                                              Contingent
          PARTNERSHIP, INC.                                                   Unliquidated
          17 MARKET SQUARE #201                                               Disputed
          KNOXVILLE, TN 37902
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.599    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $635.00
          KOETTER FIRE PROTECTION OF                                          Contingent
          HOUSTON, LLC.                                                       Unliquidated
          10351 OLYMPIC DR.                                                   Disputed
          DALLAS, TX 75220-4437
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.600    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,049.60
          KONE INC.                                                           Contingent
          P.O. BOX 7247                                                       Unliquidated
          PHILADELPHIA, PA 19170-6082                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.601    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,627.62
          KOORSEN FIRE & SECURITY IN                                          Contingent
          2719 N ARLINGTON AVE                                                Unliquidated
          INDIANAPOLIS, IN 46218-3322                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.602    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,248.07
          KOSINS PARTY & TENT RENTAL                                          Contingent
          1660 THOMAS PAINE PARKWAY                                           Unliquidated
          CENTERVILLE, OH 45459                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.603    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $860.29
          KRS - KITCHEN REPAIR SERVI                                          Contingent
          27058 SW 140TH FSGE                                                 Unliquidated
          NARANJA, FL 33032                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.604    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,409.00
          KRYSTAL KLEEN INC.                                                  Contingent
          P.O. BOX 908                                                        Unliquidated
          WARREN, MI 48090-0908                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 98 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 111 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.605    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $724.39
          L E HUNT JR ENTERPRISES IN                                          Contingent
          dba ROTO-ROOTER PLUMBING                                            Unliquidated
          4005 SE GRIMES BLVD.                                                Disputed
          GRIMES, LA 50111
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.606    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $342.47
          LACORTE & SONS, LLC.                                                Contingent
          144 NOTH BEVERWYCK ROAD                                             Unliquidated
          SUITE 112                                                           Disputed
          LAKE HIAWATHA, NJ 07034
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.607    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $18,809.28
          LAFAYETTE PARTNERS                                                  Contingent
          5812 DARLINGTON RD                                                  Unliquidated
          PITTSBURGH, PA 15217                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Landlord
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.608    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $775.00
          LAKEWAY INVESTMENT CORP.                                            Contingent
          7998 GREENBRIAR RD.                                                 Unliquidated
          TALBOTT, TN 37877                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.609    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,500.00
          LAMAR COMPANIES                                                     Contingent
          PO BOX 96030                                                        Unliquidated
          BATON ROUGE, LA 70896                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.610    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,535.79
          LAMONICA'S RESTAURANT EQUI                                          Contingent
          SERVICE CO.                                                         Unliquidated
          6211 SOUTH 380 WEST                                                 Disputed
          MURRAY, UT 84107
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.611    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $639.75
          LAMONT M. FULTON & CO                                               Contingent
          PMB 153, 3111 ROUTE 38                                              Unliquidated
          SUITE 11                                                            Disputed
          MOUNT LAUREL, NJ 08054
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 99 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 112 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.612    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,668.27
          LANDMARK PAINTING & DECORA                                          Contingent
          75 EAST BETHPAGE ROAD                                               Unliquidated
          PLAINVIEW, NY 11803                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.613    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $150.00
          LANIER PARKING SOLUTIONS O                                          Contingent
          1 LEVEE WAY                                                         Unliquidated
          SUITE 1113                                                          Disputed
          NEWPORT, KY 41071
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.614    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,421.14
          LANSING BOARD WATER & LIGHT                                         Contingent
          PO BOX 13007                                                        Unliquidated
          LANSING, MI 48901-3007                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.615    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $68.84
          LANSING STATE JOURNAL                                               Contingent
          P.O. BOX 742530                                                     Unliquidated
          CINCINNATI, OH 45274-2530                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.616    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $458.71
          LASTING IMPRESSIONS PARTY                                           Contingent
          5080 SINCLAIR RD.                                                   Unliquidated
          COLUMBUS, OH 43229                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.617    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,155.00
          LAVAZZA PREMIUM COFFEES CO                                          Contingent
          120 WALL STREET                                                     Unliquidated
          FLOOR 27TH                                                          Disputed
          NEW YORK, NY 10005
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.618    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $73,898.46
          LEGACY VILLAGE INVESTORS L                                          Contingent
          PO BOX 635159                                                       Unliquidated
          CINCINNATI, OH 45263-5159                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Landlord
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 100 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 113 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.619    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $25,562.84
          LEHIGH VALLEY MALL, LLC.                                            Contingent
          P.O. BOX 829446                                                     Unliquidated
          PHILADELPHIA, PA 19182-9446                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Landlord
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.620    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $15,764.60
          LENNOX TOWN CENTER LTD.                                             Contingent
          DEPT. 324956 20805 2408                                             Unliquidated
          P.O. BOX 83400                                                      Disputed
          CHICAGO, IL 60691-3400
                                                                             Basis for the claim:    Landlord
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.621    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,414.12
          LENS CARPET CARE                                                    Contingent
          3436 FRANETTE                                                       Unliquidated
          LANSING, MI 48906                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.622    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,279.25
          LEVEL 3 COMMUNICATIONS LLC                                          Contingent
          BUSINESS SEVICES                                                    Unliquidated
          P.O. BOX 52187                                                      Disputed
          PHOENIX, AZ 85072-2187
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.623    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,090.00
          LEWIS & CLARK MEDIA LLC                                             Contingent
          dba 614 MAGAZINE                                                    Unliquidated
          458 E. MAIN STREET                                                  Disputed
          COLUMBUS, OH 43215
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.624    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,289.33
          LG&E                                                                Contingent
          PO BOX 9001960                                                      Unliquidated
          LOUISVILLE, KY 40290-1960                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.625    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $28,123.99
          LIBERTY CENTER, LLC.                                                Contingent
          L-3745                                                              Unliquidated
          COLUMBUS, OH 43260-3745                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Landlord
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 101 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 114 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.626    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $775.82
          LIBERTY GLASS & DOOR, INC.                                          Contingent
          1206 BROWNS CROSSROAD ROAD                                          Unliquidated
          STALEY, NC 27355                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.627    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $279.72
          LIFE STORAGE #657                                                   Contingent
          1099 BRADLEY ROAD                                                   Unliquidated
          WESTLAKE, OH 44145                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.628    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,000.00
          LILA DE PUCH -MARSEE                                                Contingent
          P.O. Box 836538                                                     Unliquidated
          Miami, FL 33283                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.629    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $12,203.08
          LINCOLN CORNER                                                      Contingent
          555 WEST NEWTON STREET                                              Unliquidated
          GREENSBURG, PA 15601                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Landlord
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.630    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $294.93
          LIQUID ENVIRONMENTAL SOLUT                                          Contingent
          OF TEXAS, LLC.                                                      Unliquidated
          PO BOX 733372                                                       Disputed
          DALLAS, TX 75373-3372
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.631    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $267.05
          LIQUOR LEASING & SERVICE LC                                         Contingent
          LIQUOR SYSTEMS OF UTAH, LLC.                                        Unliquidated
          9283 S. JEAN DRIVE                                                  Disputed
          SANDY, UT 84070
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.632    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,494.60
          LITE-HOUSE RENOVATIONS, IN                                          Contingent
          1716 LAKE CHRISTOPHER DR.                                           Unliquidated
          VIRGINIA BEACH, VA 23464                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 102 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 115 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.633    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $31,112.24
          LITTLE ROCK DEVELOPMENT
          COMPANY LLC.                                                        Contingent
          PROMENADE AT CHENAL                                                 Unliquidated
          P.O. BOX 95603                                                      Disputed
          LAS VEGAS, NV 89193-5603
                                                                             Basis for the claim:    Landlord
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.634    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $225.00
          LITTLE ROCK FALSE ALARM                                             Contingent
          REDUCTION PROGRAM                                                   Unliquidated
          P.O. BOX 3876                                                       Disputed
          LITTLE ROCK, AR 72203
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.635    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $261.54
          LIZARD PALM COMPANY                                                 Contingent
          7610 RUSTIC WOODS DRIVE                                             Unliquidated
          HUBER HEIGHTS, OH 45424                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.636    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $170.85
          LOCKBUSTERS OF SOUTHWEST
          FLORIDA, INC.                                                       Contingent
          dba POP A LOCK                                                      Unliquidated
          5915 MEMORIAL HWY STE. 104                                          Disputed
          TAMPA, FL 33615
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.637    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $417.30
          LODOVICO WINDOW CLEANING I                                          Contingent
          PO BOX 341                                                          Unliquidated
          MURRYSVILLE, PA 15668                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.638    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $11,999.99
          LogMeIn, INC                                                        Contingent
          BOX 83308                                                           Unliquidated
          WOBURN, MA 01813-3308                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.639    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,945.40
          LONG RANGE SYSTEMS, INC.                                            Contingent
          4550 EXCEL PARKWAY                                                  Unliquidated
          SUITE 200                                                           Disputed
          ADDISON, TX 75001
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 103 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 116 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.640    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $100.00
          LORRAINE MAZAREK                                                    Contingent
          100 RIVERVIEW ROAD                                                  Unliquidated
          STEVENSVILLE, MD 21666                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.641    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,303.28
          LOUISIANA SPECIALTY DRINKS                                          Contingent
          1603 SOUTH GAYOSO STREET                                            Unliquidated
          METAIRIE, LA 70125                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.642    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $520.00
          LUIS ERNESTO PADILLA                                                Contingent
          dba CACHO ELECTRIC                                                  Unliquidated
          1333 W. ROBIDOUX STREET                                             Disputed
          WILMINGTON, CA 90744
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.643    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $300.00
          LYLE SAYLOR                                                         Contingent
          100 RIVERVIEW ROAD                                                  Unliquidated
          STEVENSVILLE, MD 21666                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.644    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,409.98
          LYONS MECHANICAL SERVICES                                           Contingent
          1495 Mallard Lake Avenue                                            Unliquidated
          SAINT JOHNS, FL 32259                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.645    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $26,483.19
          M&J - BIG WATERFRONT TOWN
          CENTER I LLC                                                        Contingent
          LOCKBOX 778531                                                      Unliquidated
          8531 SOLUTION CENTER                                                Disputed
          CHICAGO, IL 60677-8005
                                                                             Basis for the claim:    Landlord
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.646    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $30.00
          M&M DISTRIBUTING INC.                                               Contingent
          531 W. 600 NORTH                                                    Unliquidated
          SALT LAKE CITY, UT 84116                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 104 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 117 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.647    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $125.00
          M&M ENTERPRISES, LLC.                                               Contingent
          164 SAGEBROOK DR.                                                   Unliquidated
          MADISON, AL 35757                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.648    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,165.00
          M.I.D.A CLEANING SERVICES                                           Contingent
          12000 Sawmill Road                                                  Unliquidated
          Apt. 2201                                                           Disputed
          The Woodlands, TX 77380
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.649    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,573.63
          M.T. FRANCHSING INC.                                                Contingent
          10250 ALLIANCE RD STE. 210                                          Unliquidated
          CINCINNATI, OH 45242                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.650    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $13,375.00
          MACHADO MANAGEMENT CONSULT                                          Contingent
          840 N. ATLANTIC AVE. APT. C403                                      Unliquidated
          COCOA BEACH, FL 32931                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.651    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $125,897.53
          MACWH, LP.                                                          Contingent
          DANBURY MALL, LLC.                                                  Unliquidated
          P.O. BOX 849548                                                     Disputed
          LOS ANGELES, CA 90084-9548
                                                                             Basis for the claim:    Landlord
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.652    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $480.00
          MAHONEY ENVIRONMENTAL                                               Contingent
          1819 MOEN AVENUE                                                    Unliquidated
          JOLIET, IL 60436                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.653    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $675.00
          MAINTENANCE OF FLORIDA                                              Contingent
          9876 PLANO ROAD                                                     Unliquidated
          DALLAS, TX 75238                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 105 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 118 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.654    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,097.04
          MAJESTIC BUILDING MAINTENA                                          Contingent
          INC.                                                                Unliquidated
          P.O. BOX 1303                                                       Disputed
          POWELL, OH 43065
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.655    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $130.35
          MAJESTIC BUILDING SRVC INC                                          Contingent
          P.O. BOX 20097                                                      Unliquidated
          HUNTINGTON STATION, NY 11746                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.656    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $35,340.23
          MAJESTIC MEAT                                                       Contingent
          70 WEST BOWERS WAY                                                  Unliquidated
          SALT LAKE CITY, UT 84115                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.657    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $32,791.47
          MALL AT BRIARWOOD, LLC.                                             Contingent
          SUPER-REGIONAL MALLS OPERATING                                      Unliquidated
          P.O. BOX 404570                                                     Disputed
          ATLANTA, GA 30384-4570
                                                                             Basis for the claim:    Landlord
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.658    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $24,184.81
          MALL AT SUMMIT LLC                                                  Contingent
          P.O. BOX 644271                                                     Unliquidated
          PITTSBURGH, PA 15264-4271                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Landlord
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.659    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,500.60
          MALLICK PLUMBING & HEATING                                          Contingent
          8010 Cessna Avenue                                                  Unliquidated
          Gaithersburg, MD 20879                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.660    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $201.29
          MALONEY & ASSOCIATES, INC.                                          Contingent
          4850 SOUTHWAY ST. SW                                                Unliquidated
          CANTON, OH 44706                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 106 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 119 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.661    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $9,203.92
          MANSFIELD POWER AND GAS. L                                          Contingent
          RECEIVABLES ACCOUNT                                                 Unliquidated
          P.O. BOX 733714                                                     Disputed
          DALLAS, TX 75373-3714
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.662    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,874.63
          MARCUS WADE SIMS                                                    Contingent
          5816 MAURIE DRIVE                                                   Unliquidated
          WATAUGA, TX 76148                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.663    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,191.36
          MARED MECHANICAL CORP                                               Contingent
          4230 W DOUGLAS AVE                                                  Unliquidated
          MILWAUKEE, WI 53209                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.664    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,400.00
          MARIA DE JESUS QUEVEDO                                              Contingent
          4115 NE DAVIDSON #386                                               Unliquidated
          KANSAS CITY, MO 64116                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.665    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $892.00
          MARK ALLEN PLUMBING &                                               Contingent
          HEATING, INC.                                                       Unliquidated
          4905 LIBRARY RD.                                                    Disputed
          BETHEL PARK, PA 15102
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.666    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $429.40
          MARLIN BUSINESS BANK                                                Contingent
          P.O. BOX 13604                                                      Unliquidated
          PHILADELPHIA, PA 19101-3604                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.667    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,506.35
          MARQUEE EVENT GROUP, INC.                                           Contingent
          3200 BELMEADE DRIVE                                                 Unliquidated
          SUITE 130                                                           Disputed
          CARROLLTON, TX 75006
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 107 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 120 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.668    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $800.00
          MATT TURNER                                                         Contingent
          dba TURNER CUSTOM LANDSCAPE                                         Unliquidated
          749 ASPEN COURT                                                     Disputed
          ALLEN, TX 75002
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.669    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $175.00
          MATTHEW A BURY                                                      Contingent
          849 CARVER BLVD                                                     Unliquidated
          TOLEDO, OH 43607                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.670    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $100.00
          MAUREEN BUSSINK                                                     Contingent
          100 RIVERVIEW ROAD                                                  Unliquidated
          STEVENSVILLE, MD 21666                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.671    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,678.44
          MAURER'S TEXTILE RENTAL                                             Contingent
          SERVICE INC                                                         Unliquidated
          PO BOX 515                                                          Disputed
          DEWITT, MI 48820
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.672    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,795.00
          MAURERS MULTIPLE SERVICES IN                                        Contingent
          2057 AUBURN AVE                                                     Unliquidated
          HOLT, MI 48842                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.673    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $600.00
          MAXPOWER STEAM CLEAN                                                Contingent
          826 OAKDALE DRIVE                                                   Unliquidated
          HILLSBOROUGH, NC 27278                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.674    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,300.00
          MB PROMOTIONS, LLC                                                  Contingent
          587 SENTINEL ROAD                                                   Unliquidated
          MOORESTOWN, NJ 08057                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 108 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 121 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.675    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,164.51
          MC-RC ENTERPRISES, INC.                                             Contingent
          1473 CENTRAL PARK AVE.                                              Unliquidated
          DAYTON, OH 45409                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.676    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $170.00
          MCGERVEY ELECTRIC INC.                                              Contingent
          3571 VALLEY DRIVE                                                   Unliquidated
          PITTSBURGH, PA 15234                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.677    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,108.38
          MCL MECHANICAL SERVICES IN                                          Contingent
          26 KELSO AVENUE                                                     Unliquidated
          WEST SPRINGFIELD, MA 01089                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.678    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $802.50
          MCNAUGHT ENTERPRISES, INC.                                          Contingent
          dba FISH WINDOW CLEANING                                            Unliquidated
          148 WEST PIKE STREET                                                Disputed
          CANONSBURG, PA 15317
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.679    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $9,176.07
          MCSHANE PLUMBING & COMMERC                                          Contingent
          SERVICES, LLC.                                                      Unliquidated
          152 BIG HORN RD.                                                    Disputed
          PITTSBURGH, PA 15239
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.680    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $168.00
          MDLS ENTERPRISE INC.                                                Contingent
          dba ECOWATER SYSTEMS                                                Unliquidated
          1508 SAMMONDS ROAD                                                  Disputed
          PLANT CITY, FL 33563
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.681    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,517.48
          MECHANICAL SYSTEM SERVICES                                          Contingent
          S70 W23385 MILLBROOK CIRCLE                                         Unliquidated
          BIG BEND, WI 53103                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 109 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 122 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.682    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,000.00
          MENUTRINFO, LLC.                                                    Contingent
          155 NORTH COLLEGE AVE.                                              Unliquidated
          SUITE 200                                                           Disputed
          FT. COLLINS, CO 80524
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.683    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,180.50
          METRO FIRE EQUIPMENT, INC                                           Contingent
          63 S HAMILTON PL                                                    Unliquidated
          GILBERT, AZ 85233                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.684    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,015.92
          METRO REPAIR & MAINT CO IN                                          Contingent
          46536 DOUBLETREE                                                    Unliquidated
          CANTON, MI 48187                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.685    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,321.05
          METROPOLITAN UTILITIES                                              Contingent
          DISTRICT                                                            Unliquidated
          P.O. BOX 3600                                                       Disputed
          OMAHA, NE 68103-0600
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.686    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $104,055.56
          MFC BEAVERCREEK, LLC.
          MSC#7561                                                            Contingent
          P.O. BOX 415000                                                     Unliquidated
          DEPT#00005246                                                       Disputed
          NASHVILLE, TN 37241-7561
                                                                             Basis for the claim:    Landlord
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.687    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $394.00
          MIAMI ELECTRIC MASTERS LLC                                          Contingent
          12201 SW 128 CT                                                     Unliquidated
          SUITE 1612                                                          Disputed
          MIAMI, FL 33156
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.688    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $250.00
          MICHAEL MCMURRAY                                                    Contingent
          470 SW 850TH RD                                                     Unliquidated
          CHILHOWEE, MO 64733                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 110 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 123 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.689    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,450.00
          MICHAEL SMITH                                                       Contingent
          8301 EAST 85TH STREET                                               Unliquidated
          RAYTOWN, MO 64138                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.690    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,381.50
          MICHAEL TOMAS ORTEGA                                                Contingent
          PO BOX 590912                                                       Unliquidated
          HOUSTON, TX 77259                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.691    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $253,321.69
          MICHAEL'S FINER MEATS                                               Contingent
          29037 NETWORK PLACE                                                 Unliquidated
          CHICAGO, IL 60673-1290                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.692    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $26.90
          MICHELLE FERRANTE                                                   Contingent
          100 RIVERVIEW ROAD                                                  Unliquidated
          STEVENSVILLE, MD 21666                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.693    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $327.24
          MICHIGAN FOOD SERVICE                                               Contingent
          15365 FRANCIS RD                                                    Unliquidated
          LANSING, MI 48906                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.694    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,675.00
          MICHIGAN PLUMBING SEWER&DR                                          Contingent
          6204 LANSING RD.                                                    Unliquidated
          LANSING, MI 48917                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.695    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $782.19
          MICROS RETAIL SYSTEMS INC                                           Contingent
          1200 HARBOR BLVD                                                    Unliquidated
          10 FLOOR                                                            Disputed
          WEEHAWKEN, NJ 07086
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 111 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 124 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.696    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,018.81
          MIDAMERICAN ENERGY COMPANY                                          Contingent
          PO BOX 8020                                                         Unliquidated
          DAVENPORT, IA 52808-8020                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.697    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $43,210.69
          MIDWAY CC VENTURE LP                                                Contingent
          800 TOWN & COUNTRY BLVD.                                            Unliquidated
          SUITE 200                                                           Disputed
          HOUSTON, TX 77024
                                                                             Basis for the claim:    Landlord
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.698    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,409.12
          MIDWEST AUTOMATIC FIRE                                              Contingent
          SPRINKLER CO                                                        Unliquidated
          2001 DEWOLF STREET                                                  Disputed
          DES MOINES, IA 50316-2761
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.699    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,254.85
          MIDWEST FOOD EQUIPMENT                                              Contingent
          SERVICE, INC.                                                       Unliquidated
          3055 DIXIE AVE SW                                                   Disputed
          GRANDVILLE, MI 49418
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.700    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $6,273.64
          MIDWEST REPAIR SERVICE LLC                                          Contingent
          217 UPTON ST.                                                       Unliquidated
          SAINT LOUIS, MO 63111                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.701    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $196.39
          MILLENNIUM ELECTRIC                                                 Contingent
          4340 EDGEWATER DR                                                   Unliquidated
          ORLANDO, FL 32804                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.702    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,317.83
          MILLERS TEXTILE SERVICES                                            Contingent
          PO BOX 239                                                          Unliquidated
          WAPAKONETA, OH 45895                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 112 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 125 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.703    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $256.50
          MILWAUKEE JOURNAL SENTINEL                                          Contingent
          PO BOX 742699                                                       Unliquidated
          CINCINNATI, OH 45274-2699                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.704    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $398.66
          MINNESOTA CONWAY FIRE &                                             Contingent
          SAFETY, INC.                                                        Unliquidated
          575 MINNEHAHA AVE. W.                                               Disputed
          ST. PAUL, MN 55103
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.705    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $394.50
          MIRACLE PLUMBNG & HEATING                                           Contingent
          2121 WHIPPLE AVE NW                                                 Unliquidated
          CANTON, OH 44708                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.706    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,100.00
          MISSION CLEAN INC                                                   Contingent
          1627 S MICHIGAN AVE                                                 Unliquidated
          APT 104                                                             Disputed
          VILLA PARK, IL 60181
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.707    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $6,725.46
          MISSION LINEN SUPPLY                                                Contingent
          2652 S. 16TH ST. #A                                                 Unliquidated
          PHOENIX, AZ 85034                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.708    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $42,908.00
          MITCH HAMBLETON                                                     Contingent
          DALLAS COUNTY TREASURER                                             Unliquidated
          801 COURT RM 201                                                    Disputed
          ADEL, IA 50003
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.709    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $30.00
          MOHAMMAD ALI SOBHANI                                                Contingent
          100 RIVERVIEW ROAD                                                  Unliquidated
          STEVENSVILLE, MD 21666                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 113 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 126 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.710    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $35,324.62
          MONARCHS SUB, LLC.                                                  Contingent
          P.O. BOX 734271                                                     Unliquidated
          DALLAS, TX 75373-4271                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Landlord
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.711    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $470.00
          MONGIOVI AND SON PLUMBING
          CONTRACTOR LP                                                       Contingent
          190 BILMAR DRIVE                                                    Unliquidated
          STE 1000                                                            Disputed
          PITTSBURGH, PA 15205
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.712    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $301.88
          MOORE'S REFRIGERATION, HEA                                          Contingent
          & AIR CONDITIONING SVC INC.                                         Unliquidated
          1226-A CAPSHAW ROAD                                                 Disputed
          HARVEST, AL 35749
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.713    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $408.49
          MOREY'S SEAFOOD INTERNATIO                                          Contingent
          6544 SOLUTIONS CENTER                                               Unliquidated
          CHICAGO, IL 60677-6005                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.714    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $850.00
          MOUNTAIN WEST WINDOW CLEAN                                          Contingent
          P.O. BOX 70127                                                      Unliquidated
          SALT LAKE CITY, UT 84170                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.715    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $890.00
          MOYER COMPANIES INC.                                                Contingent
          P.O. BOX 12458                                                      Unliquidated
          OKLAHOMA CITY, OK 73157                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.716    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $50.00
          MR KLEANZE LLC                                                      Contingent
          2817 Berkeley Drive                                                 Unliquidated
          BIRMINGHAM, AL 35242                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 114 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 127 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.717    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,748.24
          MR. REKEY OF AUSTIN, LLC.                                           Contingent
          1421 WELLS BRANCH PKWY                                              Unliquidated
          SUITE 104                                                           Disputed
          PFLUGERVILLE, TX 78660
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.718    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $340.02
          MR. ROOTER PLUMBING                                                 Contingent
          64 PROGRESS AVE.                                                    Unliquidated
          CRANBERRY TOWNSHIP, PA 16066                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.719    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $311.00
          MUETZEL PLUMBING & HEATING                                          Contingent
          1661 KENNY RD.                                                      Unliquidated
          P.O. BOX 12489                                                      Disputed
          COLUMBUS, OH 43212
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.720    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $64.08
          MUIR ENTERPRISES INC.                                               Contingent
          P.O. BOX 26775                                                      Unliquidated
          SALT LAKE CITY, UT 84126                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.721    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $218.50
          MULLIN PLUMBING                                                     Contingent
          2936 N SHIELDS BLVD                                                 Unliquidated
          MOORE, OK 73160                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.722    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,018.71
          MUNICIPAL UTILITY DISTRICT                                          Contingent
          P.O. BOX 7580                                                       Unliquidated
          SPRING, TX 77387-7580                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.723    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,677.49
          MURPHY COMPANY MECHANICAL                                           Contingent
          CONTRACTORS AND ENGINEERS                                           Unliquidated
          P.O. BOX 790379                                                     Disputed
          ST. LOUIS, MO 63179
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 115 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 128 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.724    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,417.33
          MURRAY CITY CORPORATION                                             Contingent
          5025 SOUTH STATE ST #113                                            Unliquidated
          MURRAY, UT 84157                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.725    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $14,262.19
          MUZAK NATIONAL                                                      Contingent
          3318 LAKEMONT BLVD.                                                 Unliquidated
          FORT MILL, SC 29708                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.726    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $454.99
          MY LOCKERCOM, LLC                                                   Contingent
          1300 ROSA PARKS BOULEVARD                                           Unliquidated
          DETROIT, MI 48216                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.727    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $207.90
          myfulfillMATE                                                       Contingent
          380H Knollwood St. #163                                             Unliquidated
          Winston Salem, NC 27103                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.728    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $60.09
          NACCARATO, JENNIFER                                                 Contingent
          8120 BILTMORE DRIVE                                                 Unliquidated
          BLACKLICK, OH 43004                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.729    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $95.54
          NAPLES DAILY NEWS                                                   Contingent
          P.O. BOX 742699                                                     Unliquidated
          CINCINNATI, OH 45274-2699                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.730    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,716.53
          NATIONAL FUEL GAS DISTRIBUT                                         Contingent
          P.O. BOX 371835                                                     Unliquidated
          PITTSBURGH, PA 15250                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 116 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 129 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.731    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $8,391.70
          NATIONAL GRID                                                       Contingent
          P.O. BOX 11735                                                      Unliquidated
          NEWARK, NJ 07101-4735                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.732    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $795.07
          NATIONAL HEATING AND AIR                                            Contingent
          4300 CREEK ROAD                                                     Unliquidated
          CINCINNATI, OH 45241                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.733    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,181.80
          NATIONAL HOME SERVICES                                              Contingent
          P.O. BOX 1483                                                       Unliquidated
          RIVERTON, UT 84065                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.734    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $6,576.00
          NATIONAL RESTAURANT ASSOC                                           Contingent
          37020 EAGLE WAY                                                     Unliquidated
          CHICAGO, IL 60678-1370                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.735    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,929.70
          NATIONAL WOOD FINISHING &                                           Contingent
          5815 IRIS LN.                                                       Unliquidated
          KATY, TX 77493                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.736    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $25,014.24
          NELBUD SERVICES GROUP, INC                                          Contingent
          51 KOWEBA LANE                                                      Unliquidated
          INDIANAPOLIS, IN 46201                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.737    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,228.38
          NEPTUNE PLUMBING & HEATING                                          Contingent
          23860 MILES ROAD                                                    Unliquidated
          CLEVELAND, OH 44128                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 117 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 130 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.738    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $394.20
          NEVADA GOOD SCENTS LLC.                                             Contingent
          P.O. BOX 96924                                                      Unliquidated
          LAS VEGAS, NV 89193                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.739    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $8,586.91
          NEVADA LINEN SUPPLY                                                 Contingent
          3960 W. MESA VISTA AVENUE                                           Unliquidated
          LAS VEGAS, NV 89118                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.740    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $305.92
          NEW ENGLAND TEA AND COFFEE                                          Contingent
          100 CHARLES STREET                                                  Unliquidated
          MALDEN, MA 02148                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.741    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $881.33
          NEW JERSEY AMERICAN WATER                                           Contingent
          BOX 371331                                                          Unliquidated
          PITTSBURGH, PA 15250-7331                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.742    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,480.80
          NEW MEXICO GAS COMPANY                                              Contingent
          PO BOX 27885                                                        Unliquidated
          ALBUQUERQUE, NM 87125-7885                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.743    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $290.00
          NEW WORLD MARKETING, LLC.                                           Contingent
          P.O. BOX 1278                                                       Unliquidated
          DES PLAINES, IL 60017-1278                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.744    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,375.00
          NEW YORK STATE CORPORATION                                          Contingent
          PO BOX 4136                                                         Unliquidated
          BINGHAMTON, NY 13902-4136                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 118 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 131 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.745    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $63,370.09
          NEWPORT MEAT COMPANY INC                                            Contingent
          P.O. BOX 19726                                                      Unliquidated
          IRVINE, CA 92623-9726                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.746    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $11,746.02
          NEXTECH CENTRAL, LLC.                                               Contingent
          1045 SOUTH JOHN RODES BLVD                                          Unliquidated
          MELBOURNE, FL 32904                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.747    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $52,524.43
          NICHOLAS & CO INC                                                   Contingent
          5520 W HAROLD GATTY DRIVE                                           Unliquidated
          SALT LAKE CITY, UT 84116                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.748    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $75.00
          NICOLE MORAN                                                        Contingent
          100 RIVERVIEW ROAD                                                  Unliquidated
          STEVENSVILLE, MD 21666                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.749    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,823.03
          NICOR GAS                                                           Contingent
          PO BOX 0632                                                         Unliquidated
          AURORA, IL 60507-0632                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.750    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $154.64
          NINO SALVAGGIO                                                      Contingent
          17496 HALL ROAD                                                     Unliquidated
          CLINTON TOWNSHIP, MI 48038                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.751    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,350.34
          NJ NATURAL GAS CO.                                                  Contingent
          P.O. BOX 11743                                                      Unliquidated
          NEWARK, NJ 07101-4743                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 119 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 132 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.752    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $860.00
          NORCIA CONTRACTING                                                  Contingent
          12025 CENTURY MANOR DRIVE                                           Unliquidated
          DUNKIRK, MD 20754                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.753    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $679.00
          NORTH COAST GASKETS                                                 Contingent
          33530 PIN OAK PARKWAY                                               Unliquidated
          AVON LAKE, OH 44012                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.754    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $139.90
          NORTH HILLS LOCK & SAFE                                             Contingent
          962 PERRY HIGHWAY                                                   Unliquidated
          PITTSBURGH, PA 15237                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.755    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,322.39
          NORTH SHORE LINEN, INC.                                             Contingent
          20 RIDER PLACE                                                      Unliquidated
          FREEPORT, NY 11520                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.756    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $163.40
          NORTHEAST BEVERAGE CO.                                              Contingent
          P.O. BOX 1437                                                       Unliquidated
          COVENTRY, RI 02816                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.757    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $541.18
          NORTHSTAR FACILITY SVCS IN                                          Contingent
          30515 CENTURY DRIVE                                                 Unliquidated
          WIXOM, MI 48393                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.758    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $84.00
          NORTHTOWN DR. VINY LLC.                                             Contingent
          17115 PENROSE LANE                                                  Unliquidated
          LENEXA, KS 66219                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 120 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 133 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.759    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $24,928.35
          NOTL PROPERTY OWNER LLC                                             Contingent
          LOCKBOX 005686                                                      Unliquidated
          PO BOX 645686                                                       Disputed
          CINCINNATI, OH 45264-5686
                                                                             Basis for the claim:    Landlord
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.760    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $26.94
          NOVICKY, JARED                                                      Contingent
          11 Santa Lane                                                       Unliquidated
          New Milford, CT 06776                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.761    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,420.84
          NUCO2, INC.                                                         Contingent
          PO BOX 417902                                                       Unliquidated
          BOSTON, MA 02241-7902                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.762    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $7,307.37
          NV ENERGY                                                           Contingent
          PO BOX 30086                                                        Unliquidated
          RENO, NV 89520-3086                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.763    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,198.17
          OFF THE DOCK FRESH SEAFOOD                                          Contingent
          P.O. BOX 18811                                                      Unliquidated
          MEMPHIS, TN 38181                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.764    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,396.00
          OFFICE KEEPERS, LLC.                                                Contingent
          2324 E. UNIVERSITY DR                                               Unliquidated
          MESA, AZ 85213                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.765    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $544.32
          OHIO AWNING & MANUFACTURING                                         Contingent
          5777 GRANT AVE                                                      Unliquidated
          CLEVELAND, OH 44105                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 121 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 134 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.766    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $770.18
          OHIO DEPARTMENT OF COMMERC                                          Contingent
          2603 DORR ST                                                        Unliquidated
          TOLEDO, OH 43607                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.767    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $94.20
          OHIO DRAFTGUARD, LLC                                                Contingent
          P.O. BOX 532119                                                     Unliquidated
          CINCINNATI, OH 45253                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.768    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,930.43
          OHIO EDISON                                                         Contingent
          PO BOX 3687                                                         Unliquidated
          AKRON, OH 44309-3687                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.769    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,576.66
          OHIO SERVICES CLE, LLC.                                             Contingent
          9075 TOWN CENTRE DR STE 200                                         Unliquidated
          BROADVIEW HEIGHTS, OH 44147                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.770    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $168,381.01
          OHIO TREASURER OF STATE                                             Contingent
          180 E. BROAD STREET                                                 Unliquidated
          COLUMBUS, OH 43215                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.771    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,795.73
          OHIO WINDOW CLEANING INC                                            Contingent
          PO BOX 24039                                                        Unliquidated
          DAYTON, OH 45424                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.772    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,108.58
          OKES                                                                Contingent
          P.O. BOX 720172                                                     Unliquidated
          NORMAN, OK 73070                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 122 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 135 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.773    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $374.10
          OKLAHOMA NATURAL GAS                                                Contingent
          P.O. BOX 219296                                                     Unliquidated
          KANSAS CITY, MO 64121-9296                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.774    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $300.00
          OLECTRIC, LLC.                                                      Contingent
          3937 E. DULCIANA AVENUE                                             Unliquidated
          MESA, AZ 85206                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.775    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,589.75
          OLIVIERI CONTRACTING, INC                                           Contingent
          7633 SUPREME STREET NW                                              Unliquidated
          NORTH CANTON, OH 44720                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.776    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,670.00
          OLYMPIA PLUMBING & SEWER                                            Contingent
          SERVICE INC.                                                        Unliquidated
          3245 QUAIL RIDGE CIRCLE                                             Disputed
          ROCHESTER, MI 48309
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.777    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,654.53
          OLYMPIC II MALL SERVICES                                            Contingent
          P.O. BOX 19930                                                      Unliquidated
          FOUNTAIN HILLS, AZ 85269                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.778    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,144.49
          OLYMPIC III MALL SERVICES                                           Contingent
          P.O. BOX 19930                                                      Unliquidated
          FOUNTAIN HILLS, AZ 85269                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.779    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $234,879.47
          OPEN TABLE INC                                                      Contingent
          29109 NETWORK PLACE                                                 Unliquidated
          CHICAGO, IL 60673-1291                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 123 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 136 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.780    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $985.62
          OPENonline                                                          Contingent
          P.O. BOX 182520                                                     Unliquidated
          COLUMBUS, OH 43218-2520                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.781    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $19,770.50
          OPTIMUM CARD SOLUTIONS LLC                                          Contingent
          855 S FIENE DRIVE                                                   Unliquidated
          ADDISON, IL 60101                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.782    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $56.98
          OPTIMUM PRINT SOLUTIONS IN                                          Contingent
          5051 FREEWAY DRIVE EAST                                             Unliquidated
          COLUMBUS, OH 43229                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.783    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $84.10
          ORLANDO FINEST BREADS & RO                                          Contingent
          7777 GRAND AVE                                                      Unliquidated
          CLEVELAND, OH 44104-3099                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.784    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $7,297.56
          ORLANDO UTILITIES COMMISSION                                        Contingent
          P.O. BOX 31329                                                      Unliquidated
          TAMPA, FL 33631-3329                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.785    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $100.00
          ORNELA PERRI                                                        Contingent
          100 RIVERVIEW ROAD                                                  Unliquidated
          STEVENSVILLE, MD 21666                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.786    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $410.66
          OTIS ELEVATOR COMPANY                                               Contingent
          P.O. BOX 73579                                                      Unliquidated
          CHICAGO, IL 60673-7579                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 124 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 137 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.787    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,254.78
          OUR TOWN AMERICA                                                    Contingent
          13900 US HIGHWAY 19 N                                               Unliquidated
          CLEARWATER, FL 33764                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.788    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $132.00
          PACC INC.                                                           Contingent
          dba DR. VINYL                                                       Unliquidated
          4734 ROCKFORD PLAZA                                                 Disputed
          LOUISVILLE, KY 40216
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.789    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $8,818.83
          PACIFIC SEAFOOD ARIZONA                                             Contingent
          C/O PACIFIC SEAFOOD CO.                                             Unliquidated
          P.O. BOX 842757                                                     Disputed
          BOSTON, MA 02284-2757
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.790    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $699.78
          PALM BEACH FIRE EQUIP CO,                                           Contingent
          3965 INVESTMENT LANE                                                Unliquidated
          A-10                                                                Disputed
          RIVIERA BEACH, FL 33404
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.791    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $19,525.83
          PALT CRANBERRY                                                      Contingent
          5812 DARLINGTON RD                                                  Unliquidated
          PITTSBURGH, PA 15217                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Landlord
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.792    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $100.00
          PAMELA BARRETT                                                      Contingent
          100 RIVERVIEW ROAD                                                  Unliquidated
          STEVENSVILLE, MD 21666                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.793    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $18,000.00
          PAMELA M. SMITH, R.D.N.                                             Contingent
          P.O. BOX 541009                                                     Unliquidated
          ORLANDO, FL 03285-4109                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 125 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 138 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.794    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,425.00
          PAMELA Y ROBERTO CONGA                                              Contingent
          595 JEFFERSON DRIVE                                                 Unliquidated
          APT. 116                                                            Disputed
          DEERFIELD BEACH, FL 33442
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.795    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $492.25
          PAR 3 LANDSCAPE & MAINTENA                                          Contingent
          4610 WYNN ROAD                                                      Unliquidated
          SUITE B                                                             Disputed
          LAS VEGAS, NV 89103
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.796    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,738.14
          PARAMOUNT LAUNDRY INC.                                              Contingent
          P.O. BOX 30409                                                      Unliquidated
          LINCOLN, NE 68503                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.797    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,586.67
          PARAMOUNT SERVICES INC                                              Contingent
          PO BOX 3987                                                         Unliquidated
          BIRMINGHAM, AL 35208                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.798    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,000.00
          PARKING MANAGEMENT COMPANY                                          Contingent
          306 42ND AVE N                                                      Unliquidated
          NASHVILLE, TN 37209                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.799    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $100.00
          PASQUALE GARGIULO                                                   Contingent
          100 RIVERVIEW ROAD                                                  Unliquidated
          STEVENSVILLE, MD 21666                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.800    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $132.00
          PASS, LLC.                                                          Contingent
          15 EXECUTIVE DR                                                     Unliquidated
          STE 6                                                               Disputed
          FAIRVIEW HEIGHTS, IL 62208-1346
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 126 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 139 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.801    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,423.62
          PATIO PROPANE, LLC.                                                 Contingent
          7445 E. EAGLE CREST DR.                                             Unliquidated
          UNIT 1033                                                           Disputed
          MESA, AZ 85207
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.802    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $50.00
          PATTY ALVAREZ                                                       Contingent
          100 RIVERVIEW ROAD                                                  Unliquidated
          STEVENSVILLE, MD 21666                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.803    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,174.04
          PAUL E. NUTZUL                                                      Contingent
          136 12TH STREET                                                     Unliquidated
          WEST BABYLON, NY 11704                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.804    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $991.62
          PAUL SPINELLI                                                       Contingent
          P.O. BOX 66                                                         Unliquidated
          MIDDLETOWN, NJ 07748                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.805    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $39,242.46
          PAYTRONIX                                                           Contingent
          80 BRIDGE STREET                                                    Unliquidated
          NEWTON, MA 02458                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.806    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $585.00
          PEDRO HERNANDEZ                                                     Contingent
          1011 NW 156TH AVE                                                   Unliquidated
          PEMBROKE PINES, FL 33028                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.807    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,501.38
          PEERLESS ELCTRIC CO., INC.                                          Contingent
          7325 PRODUCTION DRIVE                                               Unliquidated
          UNIT A                                                              Disputed
          MENTOR, OH 44060
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 127 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 140 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.808    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,280.00
          PEGASUS BUILDING SERVICES                                           Contingent
          P.O. BOX 711                                                        Unliquidated
          NUTLEY, NJ 07110                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.809    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,505.33
          PENN POWER                                                          Contingent
          PO BOX 3687                                                         Unliquidated
          AKRON, OH 44309-3687                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.810    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,038.92
          PEOPLES GAS                                                         Contingent
          PO BOX 644760                                                       Unliquidated
          PITTSBURGH, PA 15264-4760                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.811    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $8,967.31
          PEPSI-COLA COMPANY                                                  Contingent
          75 REMIITANCE DRIVE                                                 Unliquidated
          CHICAGO, IL 60675-1884                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.812    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $492.29
          PERFECTEMP, INC.                                                    Contingent
          125 ROBERT JACKSON WAY                                              Unliquidated
          UNIT A                                                              Disputed
          PLAINVILLE, CT 06062
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.813    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $179.85
          PERKS KEY & LOCK INC.                                               Contingent
          11324 ARCADE DR #24                                                 Unliquidated
          LITTLE ROCK, AR 72212                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.814    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $38,258.85
          PFP COLUMBUS II, LLC.                                               Contingent
          HUNTINGTON NATIONAL BANK                                            Unliquidated
          L-3581                                                              Disputed
          COLUMBUS, OH 43260
                                                                             Basis for the claim:    Landlord
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 128 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 141 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.815    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $487.79
          PIAZZA PRODUCE                                                      Contingent
          PO BOX 68931                                                        Unliquidated
          INDIANAPOLIS, IN 46268-0931                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.816    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,063.87
          PIEDMONT NATURAL GAS                                                Contingent
          PO BOX 1246                                                         Unliquidated
          CHARLOTTE, NC 28201-1246                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.817    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $115,538.76
          PIEDMONT ROW DRIVE LLC                                              Contingent
          PO BOX 310300                                                       Unliquidated
          REFERENCE 258810                                                    Disputed
          DES MOINES, IA 50331-0300
                                                                             Basis for the claim:    Landlord
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.818    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $11,261.75
          PINNACLE COMMERCIAL SVC, L                                          Contingent
          1621 CARANDIS ROAD                                                  Unliquidated
          WEST PALM BEACH, FL 33406                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.819    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $291.16
          PITNEY BOWES INC                                                    Contingent
          PO BOX 371887                                                       Unliquidated
          PITTSBURGH, PA 15250-7887                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.820    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,109.19
          PITNEY BOWES PURCHASE POWE                                          Contingent
          PO BOX 371874                                                       Unliquidated
          PITTSBURGH, PA 15250-7874                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.821    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $595.48
          PLANTERRA CORPORATION                                               Contingent
          7315 DRAKE RD                                                       Unliquidated
          WEST BLOOMFIELD, MI 48322                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 129 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 142 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.822    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $624.00
          PLANTSCAPERS, INC.                                                  Contingent
          17281 EASTMAN                                                       Unliquidated
          IRVINE, CA 92614                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.823    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $675.00
          PLATINUM HOODS LLC.                                                 Contingent
          4920 HIGHWAY 55                                                     Unliquidated
          WILSONVILLE, AL 35186                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.824    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,050.02
          PLM VENTURES, INC.                                                  Contingent
          dba ALL STAR PROPERTY SERVICES                                      Unliquidated
          10706 S. PIPELINE RD. STE 150                                       Disputed
          HURST, TX 76053
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.825    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $34,818.85
          PMP INC DBA
          GOLDEN RULE PLUMBING, HEATING                                       Contingent
          AND COOLING                                                         Unliquidated
          804 NORTH MAIN STREET                                               Disputed
          GRIMES, IA 50111
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.826    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,642.07
          PNM                                                                 Contingent
          PO BOX 17970                                                        Unliquidated
          DENVER, CO 80217-0970                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.827    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $310.40
          POMEROY ELECTRIC INCORPORA                                          Contingent
          3131 SW 13TH DR                                                     Unliquidated
          DEERFIELD BEACH, FL 33442                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.828    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,045.00
          POPS ELECTRIC, LLC.                                                 Contingent
          P.O. BOX 291                                                        Unliquidated
          BERLIN, NJ 08009                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 130 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 143 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.829    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,091.54
          PORTER 1 LLC                                                        Contingent
          476 Old Smizor Mill #164                                            Unliquidated
          Fenton, MO 63026                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.830    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,500.00
          PORTER'S CLEANING CO.                                               Contingent
          8300 CHESAPEAKE BLVD                                                Unliquidated
          NORFOLK, VA 23518                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.831    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $86.45
          POVINELLI CUTLERY SHARPENI                                          Contingent
          SERVICES INC                                                        Unliquidated
          3810 UNION ROAD                                                     Disputed
          CHEEKTOWAGA, NY 14225
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.832    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $109,359.02
          PPINC LLC                                                           Contingent
          2672 SW 36TH STREET                                                 Unliquidated
          DANIA BEACH, FL 33312                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.833    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,235.97
          PPL ELECTRIC UTILITIES                                              Contingent
          2 NORTH 9TH STREET CPC-GENN1                                        Unliquidated
          ALLENTOWN, PA 18101-1175                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.834    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $51.50
          PREFERRED PRECISION SPECIALT                                        Contingent
          3201 SW 11TH ST CIRCLE                                              Unliquidated
          BLUE SPRINGS, MO 64015                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.835    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,009.28
          PREMIER PATIO HEATING                                               Contingent
          P.O. BOX 6470                                                       Unliquidated
          OCEANSIDE, CA 92052                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 131 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 144 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.836    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $965.85
          PRESTCO PROFESSIONAL SERVI
          dba ENVIRO-MASTER SERVICES OF                                       Contingent
          PITTSBURGH                                                          Unliquidated
          P.O. BOX 12350                                                      Disputed
          CHARLOTTE, NC 28220
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.837    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $460.00
          PRIME LINE DISTRUBTORS, IN                                          Contingent
          2800 SW 42ND STREET                                                 Unliquidated
          FORT LAUDERDALE, FL 33312                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.838    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $375.35
          PRIME TIME PARTY RENTAL IN                                          Contingent
          5225 SPRINGBORO PIKE                                                Unliquidated
          WEST CARROLLTON, OH 45439                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.839    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $647.16
          PRIORITY SYSTEMS, INC.                                              Contingent
          5221 W. NAPOLEON AVENUE                                             Unliquidated
          METAIRIE, LA 70001                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.840    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $38,292.97
          PRISA LHC, LLC.                                                     Contingent
          PRLHC MERCATO RETAIL 454802                                         Unliquidated
          P.O. BOX 732937                                                     Disputed
          DALLAS, TX 75373-2937
                                                                             Basis for the claim:    Landlord
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.841    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $292.01
          PRISM ELECTRIC, INC.                                                Contingent
          2985 MARKET ST.                                                     Unliquidated
          GARLAND, TX 75041                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.842    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,840.00
          PRISTINE PLUMBING, INC,                                             Contingent
          16 TECHNOLOGY DRIVE                                                 Unliquidated
          SUITE 141                                                           Disputed
          IRVINE, CA 92618
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 132 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 145 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.843    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,583.98
          PRISTINO CLEANING                                                   Contingent
          SOLUTIONS, INC.                                                     Unliquidated
          110 NOTTINGHAM PL                                                   Disputed
          BOYNTON BEACH, FL 33426
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.844    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $828.11
          PRO GASKET GUY, LLC                                                 Contingent
          22820 I-45 NORTH                                                    Unliquidated
          UNIT 4J                                                             Disputed
          SPRING, TX 77373
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.845    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,129.76
          PRO OnCALL TECHNOLOGIES, I                                          Contingent
          6902 E. KEMPER RD.                                                  Unliquidated
          CINCINNATI, OH 45249                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.846    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,859.50
          PRO TECH RESTAURANT SERV I                                          Contingent
          PO BOX 60232                                                        Unliquidated
          FORT MYERS, FL 33906-6232                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.847    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $150,723.71
          Produce Alliance LLC                                                Contingent
          PO BOX 7762                                                         Unliquidated
          CAROL STREAM, IL 60197-7762                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.848    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $825.56
          PROFESSIONAL LOCK INC                                               Contingent
          PO BOX 7968                                                         Unliquidated
          FREDERICKSBURG, OH 22404-7968                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.849    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,016.63
          PROFESSIONAL WASTE MANAGEM                                          Contingent
          2436 N FEDERAL HWY                                                  Unliquidated
          SUITE 218                                                           Disputed
          LIGHTHOUSE POINT, FL 33064
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 133 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 146 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.850    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $13,435.43
          PROFISH LTD                                                         Contingent
          1900 FENWICK ST NE                                                  Unliquidated
          WASHINGTON, DC 20002                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.851    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $173,448.95
          PROFORMA                                                            Contingent
          6341 NICHOLAS DRIVE                                                 Unliquidated
          COLUMBUS, OH 43235                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.852    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $17,240.99
          PROPANE PEOPLE                                                      Contingent
          2544 SW 36TH LANE                                                   Unliquidated
          CAPE CORAL, FL 33914                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.853    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,346.79
          PRYOR MECHANICAL, LLC.                                              Contingent
          221 NW 180TH STREET                                                 Unliquidated
          SMITHVILLE, MO 64089                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.854    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $20,378.79
          PSE&G CO                                                            Contingent
          P O BOX 14444                                                       Unliquidated
          NEW BRUNSWICK, NJ 08906-4444                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.855    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,645.93
          PSEGLI                                                              Contingent
          P.O. BOX 9039                                                       Unliquidated
          HICKSVILLE, NY 11802-9039                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.856    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $550.00
          PUBLIC STORAGE                                                      Contingent
          08097 - 23034 ROCHESTER HILLS                                       Unliquidated
          1920 ENTERPRISE DR                                                  Disputed
          ROCHESTER, MI 48309-3803
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 134 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 147 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.857    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $116,755.76
          PYRAMID WALDEN COMPANY L P
          M&T BANK                                                            Contingent
          PO BOX 8000                                                         Unliquidated
          DEPT NO 496                                                         Disputed
          BUFFALO, NY 14267
                                                                             Basis for the claim:    Landlord
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.858    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $833.21
          PYROTECH, INC                                                       Contingent
          9483 DIELMAN ROCK ISLAND                                            Unliquidated
          INDUSTRIAL DRIVE                                                    Disputed
          ST LOUIS, MO 63132
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.859    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $37,811.99
          QUAKER ASSOCIATES, LLC.                                             Contingent
          dba QUAKER BRIDGE MALL                                              Unliquidated
          P.O. BOX 829443                                                     Disputed
          PHILADELPHIA, PA 19182-9443
                                                                             Basis for the claim:    Landlord
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.860    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $6,420.00
          QUALITY COFFEE AND TEA                                              Contingent
          SERVICES, INC.                                                      Unliquidated
          5235 W. CHARLESTON BLVD.                                            Disputed
          LAS VEGAS, NV 89146
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.861    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $269.77
          QUALITY KITCHEN SERVICE                                             Contingent
          PARTS DIVISION, INC.                                                Unliquidated
          2221 BUECHEL AVE, STE 10                                            Disputed
          LOUISVILLE, KY 40218
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.862    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $410.60
          QUALITY RETAIL SYSTEMS, IN                                          Contingent
          1531 NY RTE 67                                                      Unliquidated
          SCHAGHTICOKE, NY 12154                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.863    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $7,940.11
          R & B COMMERCIAL SERVICE I                                          Contingent
          PO BOX 36378                                                        Unliquidated
          ALBUQUERQUE, NM 87176-6378                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 135 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 148 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.864    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $245.00
          R MASTIN SEPTIC TANK INC                                            Contingent
          12004 WATERVILLE SWANTON ROAD                                       Unliquidated
          WHITEHOUSE, OH 43571                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.865    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $96.75
          R.P. BIEDERMAN CO. INC.                                             Contingent
          75 SMALLEY BLVD.                                                    Unliquidated
          HAMILTON, OH 45013                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.866    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $33,409.34
          RAMCO-GERSHENSON PROPERTIE
          dba DEERFIELD TOWNE CENTER                                          Contingent
          LSE ID 0000 8579                                                    Unliquidated
          P.O. BOX 350018                                                     Disputed
          BOSTON, MA 02241-0518
                                                                             Basis for the claim:    Landlord
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.867    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,371.69
          RASPER PLUMBING, INC.                                               Contingent
          P.O. BOX 69                                                         Unliquidated
          MIAMISBURG, OH 45343                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.868    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,143.02
          RAVEN MECHANICAL, LP                                                Contingent
          1618 BUSCHONG                                                       Unliquidated
          HOUSTON, TX 77039                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.869    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $37.00
          RCI ENTERPRISES                                                     Contingent
          PO BOX 16360                                                        Unliquidated
          CHESAPEAKE, VA 23328                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.870    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $490.67
          RCN                                                                 Contingent
          P O BOX 11816                                                       Unliquidated
          NEWARK, NJ 07101-8116                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 136 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 149 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.871    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $50.21
          RED BOOK SOLUTIONS                                                  Contingent
          33270 COLLECTION CENTER DRIVE                                       Unliquidated
          CHICAGO, IL 60693-0332                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.872    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,743.51
          RED HAWK FIRE & SECURITY L                                          Contingent
          P.O. BOX 530212                                                     Unliquidated
          ATLANTA, GA 30353                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.873    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $100.00
          RED RIVER GASKET, LLC.                                              Contingent
          dba GASKET GUY OF OKLAHOMA                                          Unliquidated
          P.O. BOX 721648                                                     Disputed
          OKLAHOMA CITY, OK 73172
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.874    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $258.00
          REES FLOWERS AND FINE GIFT                                          Contingent
          P.O. BOX 30850                                                      Unliquidated
          GAHANNA, OH 43230                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.875    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,655.14
          REFRIGERATED SPECIALIST IN                                          Contingent
          3040 EAST MEADOWS                                                   Unliquidated
          MESQUITE, TX 75150                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.876    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,750.00
          REGINALDO WANDERSON FIRMIN                                          Contingent
          2040 El Verano Cr.                                                  Unliquidated
          Apt. F                                                              Disputed
          Charlotte, NC 28210
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.877    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $98.00
          REINHOLD ELECTRIC, INC.                                             Contingent
          2511 LEMAY FERRY RD.                                                Unliquidated
          ST. LOUIS, MO 63125                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 137 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 150 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.878    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,837.51
          RELIABLE SEWER CLEANING CO                                          Contingent
          PO BOX 5163                                                         Unliquidated
          TOLEDO, OH 43611                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.879    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $15,181.71
          RELIANT ENERGY                                                      Contingent
          DEPT. 0954                                                          Unliquidated
          P.O. BOX 120954                                                     Disputed
          DALLAS, TX 75312-0954
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.880    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,200.00
          RENEGADE OIL INC.                                                   Contingent
          1141 S. 3200 W.                                                     Unliquidated
          SALT LAKE CITY, UT 84104                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.881    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $14,993.11
          RENTOKIL NORTH A+A465MERICAN                                        Contingent
          PO BOX 14095                                                        Unliquidated
          READING, PA 19612                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.882    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,122.14
          REPAIR 24 LLC.                                                      Contingent
          8532 VIRGINIA MEADOWS DRIVE                                         Unliquidated
          MANASSAS, VA 20109                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.883    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,368.94
          REPUBLIC SERVICES #794                                              Contingent
          PO BOX 78829                                                        Unliquidated
          PHOENIX, AZ 85062-8826                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.884    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,737.79
          REPUBLIC SERVICES OF NJ LL                                          Contingent
          P O BOX 9001099                                                     Unliquidated
          LOUISVILLE, KY 40290-1765                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 138 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 151 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.885    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,833.33
          RESTAURANT HR GROUP                                                 Contingent
          1900 E GOLF RD                                                      Unliquidated
          SUITE 950                                                           Disputed
          SCHAUMBURG, IL 60173
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.886    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,220.81
          RESTAURANT MECHANICAL SERV                                          Contingent
          PO BOX 236116                                                       Unliquidated
          COLUMBUS, OH 43223-6116                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.887    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $12,500.00
          RESTAURANT PARTNERS PROCUR                                          Contingent
          3501 EAST LIVINGSTON STREET                                         Unliquidated
          SUITE 201                                                           Disputed
          ORLANDO, FL 32803
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.888    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,056.70
          RESTAURANT SERVICES                                                 Contingent
          140 MILL ST.                                                        Unliquidated
          WATERLOO, WI 53594                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.889    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $70,123.78
          RESTAURANT TECHNOLOGIES IN                                          Contingent
          12962 COLLECTIONS CENTER DR                                         Unliquidated
          CHICAGO, IL 60693                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.890    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $30,271.31
          RETAIL PROPERTIES OF
          AMERICA, INC.                                                       Contingent
          dba RPAI SOUTHWEST MGMT LLC                                         Unliquidated
          15105 COLLECTIONS CENTER DRIVE                                      Disputed
          CHICAGO, IL 60693-5105
                                                                             Basis for the claim:    Landlord
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.891    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $31,508.05
          RETAIL PROPERTIES OF AMERI                                          Contingent
          C/O RPAI US MANAGEMENT LLC                                          Unliquidated
          13068 COLLECTIONS CENTER DR                                         Disputed
          CHICAGO, IL 60693-0130
                                                                             Basis for the claim:    Landlord
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 139 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 152 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.892    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,000.00
          REX MCCLURE                                                         Contingent
          dba SUPER KLEEN CARPET                                              Unliquidated
          P.O. BOX 1277                                                       Disputed
          POWELL, TN 37849-1277
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.893    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $346.53
          RICHARD M. BEATO                                                    Contingent
          68 Willow Cedar Way                                                 Unliquidated
          Blackwood, NJ 08012                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.894    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $304.00
          RICHARD UMBERGER                                                    Contingent
          P.O. BOX 10103                                                      Unliquidated
          KANSAS CITY, MO 64171                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.895    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,850.00
          RIFCO SERVICES INC                                                  Contingent
          dba JAN PRO CLEANING SYSTEMS                                        Unliquidated
          11-B OAK BRANCH DRIVE                                               Disputed
          GREENSBORO, NC 27407
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.896    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,473.74
          RITE-AIR MECHANICAL SERVIC                                          Contingent
          109 EDGEWOOD AVE                                                    Unliquidated
          BELLMAWR, NJ 08031                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.897    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $39,237.26
          RM MEMBER LLC.                                                      Contingent
          RANCHO MALL, LLC                                                    Unliquidated
          P.O. BOX 72439                                                      Disputed
          CLEVELAND, OH 44192
                                                                             Basis for the claim:    Landlord
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.898    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,459.44
          RMS MECHANICAL SERVICES IN                                          Contingent
          2301 DUSS AVE                                                       Unliquidated
          AMBRIDGE, PA 15003                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 140 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 153 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.899    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,300.00
          ROBERT J SZYMANSKY                                                  Contingent
          1409 NE TODD GEORGE RD.                                             Unliquidated
          LEES SUMMIT, MO 64086                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.900    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,500.00
          ROBERT JANKOVIC                                                     Contingent
          201 BALFIELD TERRACE                                                Unliquidated
          CHERRY HILL, NJ 08003                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.901    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $59.08
          ROBIN WILSON                                                        Contingent
          100 RIVERVIEW ROAD                                                  Unliquidated
          STEVENSVILLE, MD 21666                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.902    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $557.34
          ROCHESTER ARMORED CAR INC.                                          Contingent
          P.O. BOX 8 -D.T.S.                                                  Unliquidated
          OMAHA, NE 68101                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.903    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $413.81
          RODRIGUEZ RIVERA JORGE ALB                                          Contingent
          2223 N WEST SHORE BLD                                               Unliquidated
          SUITE B209                                                          Disputed
          TAMPA, FL 33607
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.904    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $105,531.99
          Rookwood Exchng Operating,                                          Contingent
          3825 EDWARDS RD.                                                    Unliquidated
          SUITE 200                                                           Disputed
          CINCINNATI, OH 45209
                                                                             Basis for the claim:    Landlord
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.905    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $335.00
          ROOTER EXPRESS, LLC.                                                Contingent
          1311 WEST CREEKHAVEN DRIVE                                          Unliquidated
          RIVERTON, UT 84065                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 141 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 154 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.906    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $925.00
          ROSALINA C LYNCH                                                    Contingent
          1936 PICKLE RD.                                                     Unliquidated
          OREGON, OH 43616                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.907    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $738.00
          ROTO ROOTER                                                         Contingent
          274 BOWHALL ROAD                                                    Unliquidated
          PAINESVILLE, OH 44077                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.908    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $74.99
          ROTO ROOTER PLUMBERS                                                Contingent
          5672 COLLECTION CENTER DR                                           Unliquidated
          CHICAGO, IL 60693                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.909    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,087.62
          ROTO ROOTER SERVICES CO                                             Contingent
          5672 COLLECTION CENTER DR                                           Unliquidated
          CHICAGO, IL 60693                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.910    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $229,054.28
          ROUSE - PARK MEADOWS, LLC                                           Contingent
          SDS-12-3096                                                         Unliquidated
          P.O. BOX 86                                                         Disputed
          MINNEAPOLIS, MN 55486-3096
                                                                             Basis for the claim:    Landlord
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.911    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $8,523.61
          ROYAL CUP INC                                                       Contingent
          PO BOX 841000                                                       Unliquidated
          DALLAS, TX 75284-1000                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.912    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,856.22
          ROYAL FRANCHISING INC                                               Contingent
          DBA JANI-KING OF MILWAUKEE                                          Unliquidated
          P.O. BOX 1430                                                       Disputed
          BROOKFIELD, WI 53008-1430
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 142 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 155 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.913    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $500.00
          ROYAL PUBLISHING                                                    Contingent
          7620 N. HARKER DRIVE                                                Unliquidated
          PEORIA, IL 61615-1849                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.914    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $24,668.25
          RREEF CONTINENTAL MASTER T                                          Contingent
          P.O. BOX 209266                                                     Unliquidated
          AUSTIN, TX 78720-9266                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Landlord
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.915    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,639.42
          RUMPKE WASTE                                                        Contingent
          P.O. BOX 538710                                                     Unliquidated
          CINCINNATI, OH 45253                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.916    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $986.02
          RUSSELL REID WASTE HAULING
          DISPOSAL SERVICE CO. INC.                                           Contingent
          dba MR. JOHN PORTABLE                                               Unliquidated
          200 SMITH STREET PO BOX 130                                         Disputed
          KEASBEY, NJ 08832
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.917    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $316.00
          S.A. COMUNALE CO INC                                                Contingent
          2900 NEWPARK DRIVE                                                  Unliquidated
          BARBERTON, OH 44203                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.918    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $37,650.42
          SAGEMORE MANAGEMENT, LLC.
          t/a THE PROMENADE AT SAGEMORE                                       Contingent
          8000 SAGEMORE DRIVE                                                 Unliquidated
          SUITE 8201                                                          Disputed
          MARLTON, NJ 08053
                                                                             Basis for the claim:    Landlord
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.919    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $12,038.07
          SAM RUST SEAFOOD INC                                                Contingent
          620 REGIONAL DR                                                     Unliquidated
          PO BOX 9760                                                         Disputed
          HAMPTON, VA 23670
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 143 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 156 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.920    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,043.43
          SAMCO SALES & SERVICE INC.                                          Contingent
          11878 BROOKFIELD ST.                                                Unliquidated
          LIVONIA, MI 48150                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.921    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $20,410.89
          SAMMY'S SEAFOOD                                                     Contingent
          2875 46TH AVE N                                                     Unliquidated
          ST. PETERSBURG, FL 33714                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.922    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $155.00
          SANDERS PLUMBING, INC.                                              Contingent
          412 PARKER STREET                                                   Unliquidated
          NORTH LITTLE ROCK, AR 72114                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.923    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $139.00
          SANDNASAMY, ANDREW                                                  Contingent
          101 SAIL BOAT RUN                                                   Unliquidated
          APT 1A                                                              Disputed
          CENTERVILLE, OH 45458
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.924    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $560.00
          SANIBEL INVESTMENTS, INC.                                           Contingent
          dba CROWN CLEANING                                                  Unliquidated
          6447 VISTA DRIVE                                                    Disputed
          SHAWNEE, KS 66218
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.925    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $46,002.57
          SANTA MONICA SEAFOOD CO IN                                          Contingent
          18531 BROADWICK STREET                                              Unliquidated
          RANCHO DOMINGUEZ, CA 90220                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.926    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,067.86
          SAPPHIRE CLEAN CORP.                                                Contingent
          13750 SE 54TH STREET                                                Unliquidated
          MORRISTON, FL 32668                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 144 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 157 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.927    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $171.60
          SARASOTA SEAFOOD COMPANY L                                          Contingent
          15745 CANTERBURY CHASE                                              Unliquidated
          APHARETTA, GA 30004                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.928    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $265.40
          SAVINGS LIQUID WASTE                                                Contingent
          PO BOX 25                                                           Unliquidated
          HARRISON, OH 45030                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.929    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,691.05
          SCHAGRIN GAS                                                        Contingent
          P.O. BOX 427                                                        Unliquidated
          MIDDLETOWN, DE 19709-0427                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.930    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,303.08
          SCHINDLER ELEVATOR CORPORA                                          Contingent
          PO BOX 93050                                                        Unliquidated
          CHICAGO, IL 60673-3050                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.931    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $440.38
          SCHNEIDERS PREMIUM SEAFOOD                                          Contingent
          2150 OLD UNION ROAD                                                 Unliquidated
          BUFFALO, NY 14227                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.932    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $21,851.00
          SCHOOLCRAFT COMMONS UNIT3
          C/O ETKIN MANAGEMENT, LLC                                           Contingent
          150 W. 2ND STREET                                                   Unliquidated
          SUITE 200                                                           Disputed
          ROYAL OAK, MI 48067
                                                                             Basis for the claim:    Landlord
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.933    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $11,471.35
          SEAFOOD SUPPLY CO                                                   Contingent
          1500 E GRIFFIN                                                      Unliquidated
          DALLAS, TX 75215                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 145 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 158 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.934    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,779.01
          SEAMAN'S AIR CONDITIONING                                           Contingent
          2510 OAK INDUSTRIAL DR. NE                                          Unliquidated
          GRAND RAPIDS, MI 49505                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.935    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,107.00
          SEAN MCGUINNESS, INC.                                               Contingent
          dba EARTHCARE LANDSCAPE SVCS                                        Unliquidated
          5111 TAMARIND RIDGE DRIVE                                           Disputed
          NAPLES, FL 34119
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.936    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,106.46
          SEATTLE FISH CO INTL                                                Contingent
          4300 N. MATTOX RD.                                                  Unliquidated
          RIVERSIDE, MO 64150                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.937    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,892.10
          SEATTLE FISH COMPANY                                                Contingent
          2500 COMANCHE RD NE                                                 Unliquidated
          ALBUQUERQUE, NM 87107                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.938    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $193.08
          SECURITY NETWORK INC                                                Contingent
          1324 DUBLIN RD                                                      Unliquidated
          COLUMBUS, OH 43215-1093                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.939    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $279.72
          SECURITY SELF STORAGE V.,                                           Contingent
          1099 BRADLEY ROAD                                                   Unliquidated
          WESTLAKE, OH 44145                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.940    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $427.06
          SECURITY USA INC                                                    Contingent
          5801 MCLEOD RD. NE                                                  Unliquidated
          SUITE A                                                             Disputed
          ALBUQURQUE, NM 87109
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 146 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 159 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.941    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $9,092.00
          SEDGWICK CLAIMS MANAGEMENT                                          Contingent
          SERVICES, INC.                                                      Unliquidated
          P.O. BOX 5076                                                       Disputed
          MEMPHIS, TN 38101-5076
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.942    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $637.84
          SERVACUP OFFICE COFFEE                                              Contingent
          P.O. BOX 521006                                                     Unliquidated
          SALT LAKE CITY, UT 84152-1006                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.943    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $11,151.47
          SERVCO, LLC.                                                        Contingent
          701 BAGLEY DRIVE                                                    Unliquidated
          TRUSSVILLE, AL 35173                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.944    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $88.00
          SERVICE WET GRINDING CO IN                                          Contingent
          1867 PROSPECT AVE                                                   Unliquidated
          CLEVELAND, OH 44115                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.945    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,080.47
          SERVISOFT OF MIDDLEFIELD,                                           Contingent
          14299 KINSMAN RD                                                    Unliquidated
          PO BOX 174                                                          Disputed
          BURTON, OH 44021-0174
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.946    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $533.00
          SEWER SPECIALISTS FIRST IN                                          Contingent
          6204 LANSING RD US 27                                               Unliquidated
          LANSING, MI 48917                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.947    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $73,057.99
          SHAMROCK FOODS CO                                                   Contingent
          ACCOUNTS RECEIVABLE                                                 Unliquidated
          P.O. BOX 843539                                                     Disputed
          LOS ANGELES, CA 90084-3539
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 147 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 160 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.948    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,626.00
          SHAW MECHANICAL SERVICES L                                          Contingent
          997 W. KENNEDY BLVD. 14A                                            Unliquidated
          ORLANDO, FL 32810                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.949    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,236.87
          SHEARER PATIO & LANDSCAPE                                           Contingent
          3362 MARCLIFF DRIVE                                                 Unliquidated
          LEWIS CENTER, OH 43035                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.950    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,775.67
          SHI INTERNATIONAL CORP.                                             Contingent
          P.O. BOX 952121                                                     Unliquidated
          DALLAS, TX 75395-2121                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.951    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $700.00
          SHINY KITCHEN II, INC                                               Contingent
          P.O. BOX 347910                                                     Unliquidated
          PITTSBURGH, PA 15251-4910                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.952    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,436.93
          SHRED IT                                                            Contingent
          1370 RESEARCH ROAD                                                  Unliquidated
          GAHANNA, OH 43230                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.953    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,436.93
          SHRED-IT USA, INC.                                                  Contingent
          10900 LACKMAN ROAD                                                  Unliquidated
          LENEXA, KS 66219                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.954    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $200.00
          SIGNATURE STAFF RESOURCES
          RINGSIDE SEARCH PARTNERS                                            Contingent
          1460 TL TOWNSEND DRIVE                                              Unliquidated
          SUITE 104                                                           Disputed
          ROCKWALL, TX 75032
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 148 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 161 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.955    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $590.77
          SILVER SPIRITS                                                      Contingent
          1482 N. PORTAGE PATH                                                Unliquidated
          AKRON, OH 44313                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.956    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $250.00
          SIMPLEVIEW LLC.                                                     Contingent
          dba DESTINATION TRAVEL NETWORK                                      Unliquidated
          8950 N ORACLE ROAD                                                  Disputed
          TUCSON, AZ 85704
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.957    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $364.19
          SLB PRINTING INC                                                    Contingent
          2818 S. ROBERTSON BLVD                                              Unliquidated
          LOS ANGELES, CA 90034                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.958    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $368.00
          SLIDER MAN LLC                                                      Contingent
          1028 SE 12TH CT                                                     Unliquidated
          CAPE CORAL, FL 33990                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.959    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $121.75
          SMART STOP SELF STORAGE                                             Contingent
          10451 NW 33RD ST.                                                   Unliquidated
          DORAL, FL 33172                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.960    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $8,389.70
          SNYDER BROTHERS INC.                                                Contingent
          ONE GLADE PARK EAST                                                 Unliquidated
          P.O. BOX 1022                                                       Disputed
          KITTANNING, PA 16201
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.961    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $6,172.41
          SoCalGas                                                            Contingent
          P.O. BOX C                                                          Unliquidated
          MONTEREY PARK, CA 91756-5111                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 149 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 162 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.962    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $820.00
          SOIREE PARTNERS                                                     Contingent
          3401 LIBERTY AVENUE                                                 Unliquidated
          PITTSBURGH, PA 15201-1322                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.963    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $51,153.92
          SOMERSET COLLECTION LTD PT                                          Contingent
          16129 COLLECTIONS CENTER DRIVE                                      Unliquidated
          CHICAGO, IL 60693                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Landlord
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.964    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $25.40
          SOMMERS, DENNIS                                                     Contingent
          1615 CARROLLTON AVE.                                                Unliquidated
          KETTERING, OH 45409                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.965    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,630.65
          SOUTH JERSEY GAS                                                    Contingent
          P.O. BOX 6091                                                       Unliquidated
          BELLMAWR, NJ 08099-6091                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.966    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,497.66
          SOUTHEAST LINEN ASSOCIATES                                          Contingent
          4508 W 46TH STREET                                                  Unliquidated
          CHICAGO, IL 60632                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.967    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,864.20
          SOUTHERN CALIFORNIA EDISON                                          Contingent
          P.O. BOX 300                                                        Unliquidated
          ROSEMEAD, CA 91772-0001                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.968    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,200.00
          SOUTHERN FIRE PROTECTION                                            Contingent
          OF ORLANDO, INC                                                     Unliquidated
          3801 EAST STATE ROAD 46                                             Disputed
          SANFORD, FL 32771
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 150 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 163 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.969    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $200.00
          SOUTHERN SECURITY & IRON                                            Contingent
          128 12TH STREET                                                     Unliquidated
          BRIDGE CIY, LA 70094                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.970    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $229.43
          SOUTHGATE MALL OWNER LLC.                                           Contingent
          c/o BANK OF AMERICA                                                 Unliquidated
          P.O. BOX 57186                                                      Disputed
          LOS ANGELES, CA 90074-7186
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.971    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $602.50
          SOUTHLAND LANDSCAPES, LLC.                                          Contingent
          4909 BALL RD.                                                       Unliquidated
          KNOXVILLE, TN 37931                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.972    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,127.43
          SOUTHWASTE DISPOSAL LLC.                                            Contingent
          P.O. BOX 53988                                                      Unliquidated
          LAFAYETTE, LA 70505-3988                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.973    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $6,556.17
          SOUTHWEST GAS CORPORATION                                           Contingent
          PO BOX 98890                                                        Unliquidated
          LAS VEGAS, NV 89193-8890                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.974    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,152.16
          SOUTHWEST SEAFOOD INC.                                              Contingent
          P.O. BOX 36384.                                                     Unliquidated
          HOUSTON, TX 77236                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.975    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $13,750.00
          SPARTAN HOLDINGS LLC                                                Contingent
          C/O OLIVER SMITH REALTY CO                                          Unliquidated
          7216 WELLINGTON DR SUITE 1                                          Disputed
          KNOXVILLE, TN 37919
                                                                             Basis for the claim:    Landlord
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 151 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 164 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.976    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $953.47
          SPECIALTY SALES INC.                                                Contingent
          dba SPECIALTY ENTERPRISES                                           Unliquidated
          245 NW 52ND                                                         Disputed
          DES MOINES, IA 50313
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.977    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $437.00
          SPEELMAN ELECTRIC INC                                               Contingent
          358 COMMERCE STREET                                                 Unliquidated
          TALLMADGE, OH 44278                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.978    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $11,224.31
          SPIRE                                                               Contingent
          DRAWER 2                                                            Unliquidated
          ST. LOUIS, MO 63171                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.979    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,261.00
          SPOTSYLVANIA TOWNE CENTER                                           Contingent
          PO BOX 932400                                                       Unliquidated
          CLEVELAND, OH 44193                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.980    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $530.72
          SPRING BREZE BROWARD LLC.                                           Contingent
          11301 SOUTH DIXIE HWY #565776                                       Unliquidated
          MIAMI, FL 33256                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.981    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $54,990.78
          SRMF TOWN SQUARE OWNER, LL                                          Contingent
          P.O. BOX 748550                                                     Unliquidated
          LOS ANGELES, CA 90074-8550                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Landlord
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.982    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $8,030.62
          STANDARD PLUMBING & HEATIN                                          Contingent
          435 WALNUT AVE. SE                                                  Unliquidated
          CANTON, OH 44702                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 152 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 165 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.983    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $101.32
          STANDARD RESTUARANT EQUIP CO                                        Contingent
          879 SOUTH 4400                                                      Unliquidated
          SALT LAKE CITY, UT 84104                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.984    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,038.24
          STANLEY CONVERGENT SECURIT                                          Contingent
          DEPT CH 10651                                                       Unliquidated
          PALATINE, IL 60055                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.985    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $570.00
          STANLEY SEPTIC SERVICE INC                                          Contingent
          PO BOX 184                                                          Unliquidated
          131 MARIPOSA ROAD                                                   Disputed
          STANLEY, NC 28164
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.986    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $6,845.75
          STANLEY STEEMER INTERNATIO                                          Contingent
          P.O. BOX 205819                                                     Unliquidated
          DALLAS, TX 75320-5819                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.987    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $34,970.16
          STAPLES ADVANTAGE                                                   Contingent
          P.O. BOX 70242                                                      Unliquidated
          PHILADELPHIA, PA 19176-0242                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.988    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $133,618.52
          STAR-WEST FRANKLIN PK MALL                                          Contingent
          P.O. BOX 398008                                                     Unliquidated
          SAN FRANCISCO, CA 94139-8008                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Landlord
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.989    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $529.88
          STARK COUNTY METROPOLITAN                                           Contingent
          SEWER DISTRICT                                                      Unliquidated
          P.O. BOX 9972                                                       Disputed
          CANTON, OH 44711-0972
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 153 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 166 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.990    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $350.00
          STEAM SOURCE, INC.                                                  Contingent
          3049 SALEM INDUSTRIAL DRIVE                                         Unliquidated
          WINSTON SALEM, NC 27127                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.991    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $200.00
          STEEL CITY GREASE TRAPS INC                                         Contingent
          3608 SPRING GARDEN R D                                              Unliquidated
          PITTSBURGH, PA 15212                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.992    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $346.08
          STEFANKIEWICZ, DANIEL                                               Contingent
          19 SAND DOLLAR DRIVE                                                Unliquidated
          CAPE MAY COURT HOU, NJ 08210                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.993    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $100.00
          STEPHAN SIBERT                                                      Contingent
          100 RIVERVIEW ROAD                                                  Unliquidated
          STEVENSVILLE, MD 21666                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.994    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $10.80
          STEVEN DEGEORGE                                                     Contingent
          100 RIVERVIEW ROAD                                                  Unliquidated
          STEVENSVILLE, MD 21666                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.995    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $507.94
          STOLL RUG AND FURNITURE                                             Contingent
          CLEANERS                                                            Unliquidated
          5240 LEWIS AVE                                                      Disputed
          TOLEDO, OH 43612
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.996    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $149.90
          STRAUB DISTRIBUTING CO.                                             Contingent
          4633 E. PALMA AVE.                                                  Unliquidated
          ANAHEIM, CA 92807                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 154 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 167 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.997    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,925.98
          STRAUSE REFRIGERATON INC                                            Contingent
          7944 WEST CENTRAL AVE UNIT 8                                        Unliquidated
          TOLEDO, OH 43617                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.998    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $406.96
          SUBURBAN DOOR CHECK &                                               Contingent
          LOCK SERVICE, INC.                                                  Unliquidated
          415 W. OGDEN AVENUE                                                 Disputed
          WESTMONT, IL 60559
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.999    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,564.84
          SUBURBAN NATURAL GAS COMPA                                          Contingent
          PO BOX 130                                                          Unliquidated
          CYGNET, OH 43413-0130                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.100
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $14,719.40
          SULLIVAN COMPANY                                                    Contingent
          130 GRAPHIC WAY                                                     Unliquidated
          WESTERVILLE, OH 43081                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.100
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,650.00
          SUMMIT VALET PARKING, LLC.                                          Contingent
          8939 E. OTERO PLACE                                                 Unliquidated
          CENTENNIAL, CO 80112                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.100
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $200.00
          SUNI LC                                                             Contingent
          4580 SILVER SPRINGS DR                                              Unliquidated
          STE 300                                                             Disputed
          PARK CITY, UT 84098
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.100
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,349.53
          SUPERB SUPPLIES & SERVICES                                          Contingent
          P.O. BOX 2711                                                       Unliquidated
          BURLESON, TX 76097                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 155 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 168 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.100
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $150.00
          SUPERIOR KNIFE, LLC.                                                Contingent
          6235 W. HOWARD STREET                                               Unliquidated
          NILES, IL 60714                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.100
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $65.19
          SUPERIOR LOCK & KEY, LLC.                                           Contingent
          636 S. ROCHESTER RD.                                                Unliquidated
          ROCHESTER HILLS, MI 48307                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.100
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,461.59
          SUPREME LOBSTER & SEAFOOD                                           Contingent
          220 E. NORTH AVENUE                                                 Unliquidated
          VILLA PARK, IL 60181-1221                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.100
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $158.29
          SWANSON ELECTRICAL SVCS IN                                          Contingent
          1511 10 MILE RD NW                                                  Unliquidated
          SPARTA, MI 49345                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.100
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,425.00
          SWEET HONEY, INC.                                                   Contingent
          P.O. BOX 7512                                                       Unliquidated
          URBANDALE, IA 50323                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.100
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,900.00
          SYMMETRY FINANCIAL CONSULTI                                         Contingent
          410 SHIMMERING WATER LANE                                           Unliquidated
          SALEM, SC 29676                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.101
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,674.71
          SYSCO ARKANSAS. LLC                                                 Contingent
          P.O. BOX 193410                                                     Unliquidated
          LITTLE ROCK, AR 72219-3410                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 156 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 169 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.101
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,131.45
          SYSCO CORPORATION                                                   Contingent
          Sysco Business Services                                             Unliquidated
          24500 Northwest Freeway                                             Disputed
          Crypress, TX 77429
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.101
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,141.19
          SYSCO IOWA, INC.                                                    Contingent
          P.O. BOX 874                                                        Unliquidated
          DES MOINES, IA 50304-0874                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.101
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,430.44
          SYSCO LINCOLN                                                       Contingent
          P.O. BOX 80068                                                      Unliquidated
          LINCOLN, NE 68501-0068                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.101
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,477.74
          SYSCO NEW MEXICO                                                    Contingent
          601 COMANCHE NE                                                     Unliquidated
          ALBUQUERQUE, NM 87107                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.101
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,915.48
          SYSTEM4, LLC                                                        Contingent
          4700 ROCKSIDE RD.                                                   Unliquidated
          STE. 610                                                            Disputed
          INDEPENDENCE, OH 44131
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.101
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $23,952.24
          T&T PRODUCE                                                         Contingent
          PO BOX 5756                                                         Unliquidated
          FORT OGLETHORPE, GA 30742                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.101
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $645.58
          T. L. SHEET METAL, INC.                                             Contingent
          P.O. BOX 8838                                                       Unliquidated
          TAMPA, FL 33674                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 157 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 170 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.101
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,334.00
          TAE H LEE                                                           Contingent
          10432 ABISSO DRIVE                                                  Unliquidated
          LAS VEGAS, NV 89135                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.101
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $217.10
          TALBOTT'S FLOWERS                                                   Contingent
          22 N STATE ST                                                       Unliquidated
          WESTERVILLE, OH 43081                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.102
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $53,255.14
          TAMPA WESTSHORE ASSOCIATES                                          Contingent
          DEPARTMENT 177001                                                   Unliquidated
          PO BOX 67000                                                        Disputed
          DETROIT, MI 48267-0002
                                                                             Basis for the claim:    Landlord
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.102
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $415.00
          TANNER GLASS & HARDWARE LL                                          Contingent
          7139 SOUTH 700 WEST                                                 Unliquidated
          MIDVALE, UT 84047                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.102
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $774.92
          TARANTINO FOODS LLC                                                 Contingent
          530 BAILEY AVENUE                                                   Unliquidated
          BUFFALO, NY 14206                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.102
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $40,078.82
          TB MALL AT UTC, LLC.                                                Contingent
          dba THE MALL AT UNIV TOWN CNT                                       Unliquidated
          P.O. BOX 674647                                                     Disputed
          DETROIT, MI 48267-4647
                                                                             Basis for the claim:    Landlord
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.102
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $349.50
          TBE INC.                                                            Contingent
          dba SONITROL OF PITTSBURGH                                          Unliquidated
          610 MELWOOD AVENUE                                                  Disputed
          PITTSBURGH, PA 15213
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 158 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 171 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.102
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $275.47
          TEASDALE FENTON CARPET                                              Contingent
          CLEANING & RESTORATION, LLC.                                        Unliquidated
          12145 CENTRON PLACE                                                 Disputed
          CINCINNATI, OH 45246
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.102
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,819.10
          TECH 24 - COMMERCIAL REPAI                                          Contingent
          410 E. WASHINGTON STREET                                            Unliquidated
          GREENVILLE, SC 29601                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.102
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $12,571.63
          TECO PEOPLE'S GAS                                                   Contingent
          600 W ROBINSON STREET                                               Unliquidated
          ATTN: BOB GODEK                                                     Disputed
          ORLANDO, FL 32801
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.102
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $435.24
          TED INC.                                                            Contingent
          4411 BEE RIDGE RD.                                                  Unliquidated
          PMB#307                                                             Disputed
          SARASOTA, FL 34233
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.102
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $6,626.80
          TEMUA                                                               Contingent
          P.O. BOX 467                                                        Unliquidated
          MARLTON, NJ 08053-0467                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.103
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,059.00
          TERRY'S PLUMBING SERVICE I                                          Contingent
          2240 INDUSTRIAL BLVD                                                Unliquidated
          SARASOTA, FL 34234                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.103
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,188.89
          TEXAS GAS SERVICE                                                   Contingent
          P.O. BOX 219913                                                     Unliquidated
          KANSAS CITY, MO 64121-9913                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 159 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 172 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.103
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $11,898.59
          THE CHEFS WAREHOUSE                                                 Contingent
          26576 NETWORK PLACE                                                 Unliquidated
          CHICAGO, IL 60673-1265                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.103
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $7,079.77
          THE CHEFS WAREHOUSE MIDWES                                          Contingent
          26576 NETWORK PLACE                                                 Unliquidated
          CHICAGO, IL 60673-1265                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.103
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $360.00
          THE CLEANING PEOPLE INC.                                            Contingent
          6244 CHARLES ST                                                     Unliquidated
          2ND FLOOR                                                           Disputed
          PHILADELPHIA, PA 19135
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.103
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $148.00
          THE ELECTRIC CONNECTION                                             Contingent
          5441 WESTERVILLE RD.                                                Unliquidated
          WESTERVILLE, OH 43081                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.103
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $837.66
          THE ESPRESSO MAN LLC.                                               Contingent
          2654 MAN OF WAR CIRCLE                                              Unliquidated
          SARASOTA, FL 34240                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.103
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $78,252.20
          THE FALLS SHOPPING CENTER                                           Contingent
          ASSOCIATES, LLC.                                                    Unliquidated
          P.O. BOX 404566                                                     Disputed
          ATLANTA, GA 30384-4566
                                                                             Basis for the claim:    Landlord
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.103
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $120.00
          THE FLYING LOCKSMITHS                                               Contingent
          500 N. MERIDIAN AVE.                                                Unliquidated
          SUITE 108-B                                                         Disputed
          OKLAHOMA CITY, OK 73107
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 160 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 173 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.103
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $8,097.95
          THE HAPPY CHEF, INC.                                                Contingent
          22 PARK PLACE                                                       Unliquidated
          BUTLER, NJ 07405                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.104
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $540.00
          THE HILLER COMPANIES, INC.                                          Contingent
          P.O. BOX 935434                                                     Unliquidated
          ATLANTA, GA 31193-5434                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.104
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,162.14
          THE ILLUMINATING COMPANY                                            Contingent
          PO BOX 3687                                                         Unliquidated
          AKRON, OH 44309-3687                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.104
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $103,444.57
          THE IRVINE COMPANY                                                  Contingent
          621031 RETAIL MARKETING                                             Unliquidated
          P.O. BOX 844611                                                     Disputed
          LOS ANGELES, CA 90084-4611
                                                                             Basis for the claim:    Landlord
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.104
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,258.00
          THE LION'S CLEANING                                                 Contingent
          SERVICES, LLC.                                                      Unliquidated
          1327 SCHOLAR ST.                                                    Disputed
          LOUISVILLE, KY 40213
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.104
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $313.65
          THE LOCK UP STORAGE CENTER                                          Contingent
          1200 PINE RIDGE ROAD                                                Unliquidated
          NAPLES, FL 34108                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.104
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,423.49
          THE POWER OF TOOLS                                                  Contingent
          27157 CASTLE ARCH CT.                                               Unliquidated
          KINGWOOD, TX 77339                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 161 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 174 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.104
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $102,505.50
          THE SHOPS AT LA CANTERA                                             Contingent
          SDS 12 2532                                                         Unliquidated
          PO BOX 86                                                           Disputed
          MINNEAPOLIS, MN 55486-2532
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.104
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $285.00
          THE SPECIALTY WIRING CO                                             Contingent
          7222 SHANNON RD                                                     Unliquidated
          VERONA, PA 15147                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.104
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $37,511.79
          THE TAUBMAN REALTY GROUP
          LIMITED PARTNERSHIP                                                 Contingent
          CITY CREEK CENTER ASSOC LLC                                         Unliquidated
          PO BOX 674566                                                       Disputed
          DETROIT, MI 48267-4566
                                                                             Basis for the claim:    Landlord
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.104
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $6,943.27
          THE WALDINGER CORPORATION                                           Contingent
          P.O. BOX 1612                                                       Unliquidated
          DES MOINES, IA 50306-1612                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.105
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $34,538.73
          THE WOODLANDS MALL ASSOCIA                                          Contingent
          SDS-12-3053                                                         Unliquidated
          P.O. BOX 86                                                         Disputed
          MINNEAPOLIS, MN 55486-3053
                                                                             Basis for the claim:    Landlord
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.105
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $343.20
          THE WOODLANDS UPHOLSTERY                                            Contingent
          1018 SAWDUST RD. #1                                                 Unliquidated
          THE WOODLANDS, TX 77380                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.105
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $419.25
          THREE G SERVICES INC                                                Contingent
          585 HIBBS ROAD                                                      Unliquidated
          LOCKBOURNE, OH 43137                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 162 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 175 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.105
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $166.63
          TIERNEY STATIONERY COMPANY                                          Contingent
          PO BOX 32256                                                        Unliquidated
          KANSAS CITY, MO 64171                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.105
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $752.52
          TIME WARNER CABLE                                                   Contingent
          BOX 223085                                                          Unliquidated
          PITSBURGH, PA 15251-2085                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.105
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $325.00
          TIME WARNER CABLE NORTHWES                                          Contingent
          PO BOX 0901                                                         Unliquidated
          CAROL STREAM, IL 60132-0901                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.105
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,347.00
          TIME WARNER CABLE SWO DIVI                                          Contingent
          PO BOX 1060                                                         Unliquidated
          CAROL STREAM, IL 60132-1060                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.105
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $388.74
          TIME WARNER GREENSBORO                                              Contingent
          PO BOX 4617                                                         Unliquidated
          CAROL STREAM, IL 60197-4617                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.105
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,732.97
          TIMOTHY R. SULLIVAN                                                 Contingent
          4535 MCKNIGHT RD                                                    Unliquidated
          PITTSBURGH, PA 15237                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.105
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,358.58
          TIPTON LINEN SERVICE                                                Contingent
          1415 INDEPENDENCE                                                   Unliquidated
          CAPE GIRARDEAU, MO 63703                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 163 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 176 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.106
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,726.02
          TLC COMPANY, INC                                                    Contingent
          5000 EDITH BLVD NE                                                  Unliquidated
          ALBUQUERQUE, NM 87107                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.106
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,492.10
          TLC SERVICES, INC.                                                  Contingent
          1226 MONTEGUT STREET                                                Unliquidated
          NEW ORLEANS, LA 70117                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.106
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $29,558.12
          TM PARTRIDGE CREEK MALL, L                                          Contingent
          75 REMIITTANCE DRIVE                                                Unliquidated
          DEPT. 1311                                                          Disputed
          CHICAGO, IL 60654-1311
                                                                             Basis for the claim:    Landlord
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.106
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $114,002.16
          TM STONY POINT PARK, L.P.                                           Contingent
          P.O. BOX 75519                                                      Unliquidated
          ATTN: ACCOUNTS RECEIVABLE                                           Disputed
          BALTIMORE, MD 21275-5519
                                                                             Basis for the claim:    Landlord
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.106
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,648.88
          TOLEDO EDISON                                                       Contingent
          PO BOX 3687                                                         Unliquidated
          AKRON, OH 44309-3687                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.106
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $75.00
          TOPSHELF RBS, LLC.                                                  Contingent
          PO BOX 840                                                          Unliquidated
          ALCOA, TN 37701                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.106
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $390.81
          TORKE COFFEE ROASTING COMP                                          Contingent
          3455 PAINE AVE                                                      Unliquidated
          PO BOX 694                                                          Disputed
          SHEBOYGAN, WI 53082
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 164 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 177 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.106
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,239.62
          TOTAL LINE REFRIGERATION I                                          Contingent
          33530 PIN OAK PARKWAY                                               Unliquidated
          AVON LAKE, OH 44012                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.106
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $8,796.85
          TOTAL LINEN CARE                                                    Contingent
          23 ACADEMY STREET                                                   Unliquidated
          WILLIAMSTOWN, NJ 08094                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.106
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,161.17
          TOWNSHIP OF FAYETTE                                                 Contingent
          NORTH FAYETTE MUNICIPAL OFFICE                                      Unliquidated
          400 NORTH BRANCH RD                                                 Disputed
          OAKDALE, PA 15071-3646
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.107
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,107.63
          TOWNSHIP OF FREEHOLD                                                Contingent
          WATER & SEWER DEPARTMENT                                            Unliquidated
          1 MUNICIPAL PLAZA                                                   Disputed
          FREEHOLD, NJ 07728-3099
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.107
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $212.94
          TRADEMASTERS, INC.                                                  Contingent
          2444 HELENA STREET                                                  Unliquidated
          SUITE B                                                             Disputed
          KENNER, LA 70062
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.107
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $201.25
          TREASURER, SPOTSYLVANIA COUN                                        Contingent
          BUSINESS LICENSE DIVISION                                           Unliquidated
          PO BOX 175                                                          Disputed
          SPOTSYLVANIA, VA 22553-0175
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.107
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $13,345.03
          TRI-R MECHANICAL SERVICES                                           Contingent
          150 EMPIRE DRIVE                                                    Unliquidated
          WEST SENECA, NY 14224                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 165 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 178 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.107
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $11,832.78
          TRINTECH INC                                                        Contingent
          P.O. BOX 205367.                                                    Unliquidated
          DALLAS, TX 75320-5367                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.107
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $6,022.72
          TRUSTWAVE                                                           Contingent
          75 REMITTANCE DRIVE                                                 Unliquidated
          SUITE 6000                                                          Disputed
          CHICAGO, IL 60675-6000
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.107
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $38.00
          TUCKER, MARICHKA                                                    Contingent
          13921 SW 122nd Avenue                                               Unliquidated
          Apt 8-106                                                           Disputed
          Miami, FL 33186
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.107
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $399.74
          TURF SERVICE INC                                                    Contingent
          126 MANLEY AVE                                                      Unliquidated
          GREENSBORO, NC 27407                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.107
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,649.96
          TWB OXMOOR 2, LLC.                                                  Contingent
          ATTN: SPECIAL ASSETS                                                Unliquidated
          P.O. BOX 34290                                                      Disputed
          LOUISVILLE, KY 40232-4290
                                                                             Basis for the claim:    Landlord
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.107
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,649.96
          TWB OXMOOR 2, LLC.                                                  Contingent
          ATTN: SPECIAL ASSETS                                                Unliquidated
          P.O. BOX 34290                                                      Disputed
          LOUISVILLE, KY 40232-4290
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.108
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,391.47
          TWO COUSINS FISH MARKET IN                                          Contingent
          75 BENNINGTON AVENUE                                                Unliquidated
          FREEPORT, NY 11520                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 166 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 179 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.108
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $339,857.32
          TYSONS CORNER CENTER                                                Contingent
          TYSON'S CORNER HOLDINGS LLC                                         Unliquidated
          P.O. BOX 849554                                                     Disputed
          LOS ANGELES, CA 90084-9554
                                                                             Basis for the claim:    Landlord
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.108
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $6,785.62
          UGI UTILITIES INC                                                   Contingent
          P O BOX 15503                                                       Unliquidated
          WILMINGTON, DE 19886-5503                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.108
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $246.00
          ULLMAN ELECTRIC INC                                                 Contingent
          3901 CHESTER AVE                                                    Unliquidated
          UNIT B                                                              Disputed
          CLEVELAND, OH 44114
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.108
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $276.64
          ULTRA-CHEM                                                          Contingent
          P.O. BOX 14608                                                      Unliquidated
          LENEXA, KS 66285                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.108
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $302.99
          ULTRAPOM LLC.                                                       Contingent
          dba ULTRAPOM EVENT RENTAL                                           Unliquidated
          3175 TERRACE STREET                                                 Disputed
          KANSAS CITY, MO 64111
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.108
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $600.00
          UNDER PRESSURE WASHING LLC                                          Contingent
          20801 69TH AVE. EAST                                                Unliquidated
          BRADENTON, FL 34211                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.108
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $174.64
          UNITED HEATING & COOLING I                                          Contingent
          301 DUCK RD.                                                        Unliquidated
          GRANDVIEW, MO 64030                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 167 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 180 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.108
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $139.01
          UNITED RENTAL                                                       Contingent
          811 SOUTH 48TH STREET                                               Unliquidated
          OMAHA, NE 68106                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.108
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $123.50
          UNITED SERVICES, INC.                                               Contingent
          P.O. BOX 12509                                                      Unliquidated
          KNOXVILLE, TN 37912                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.109
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $26,120.18
          UNUM LIFE INSURANCE COMPANY                                         Contingent
          P.O. BOX 406946                                                     Unliquidated
          ATLANTA, GA 30384-6946                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.109
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $800.00
          UPHOLSTERY SPACE, LLC.                                              Contingent
          1421 S. COMMERCE ST.                                                Unliquidated
          LAS VEGAS, NV 89102                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.109
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $357.28
          US PROTECTIVE SERVICES                                              Contingent
          750 W. RESOURCE DR.                                                 Unliquidated
          CLEVELAND, OH 44131                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.109
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $88.00
          USA TODAY                                                           Contingent
          305 SEABOARD LANE                                                   Unliquidated
          SUITE 301                                                           Disputed
          FRANKLIN, TN 37067
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.109
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,166.15
          V.I.P. INC.                                                         Contingent
          1155 E. SIXTH AVE.                                                  Unliquidated
          LANCASTER, OH 43130                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 168 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 181 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.109
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $220.00
          VALLEY PROTEINS INC                                                 Contingent
          PO BOX 643393                                                       Unliquidated
          CINCINNATI, OH 45264-3393                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.109
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $8,533.73
          VALLEY REFRIGERATION SVC I                                          Contingent
          627 N WAYNE AVE                                                     Unliquidated
          CINCINNATI, OH 45215                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.109
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,383.83
          VANCO LEASING, LLC.                                                 Contingent
          8025 CASTLEWAY DRIVE                                                Unliquidated
          INDIANAPOLIS, IN 46250                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.109
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,390.91
          VECTREN ENERGY DELIVERY                                             Contingent
          PO BOX 6248                                                         Unliquidated
          INDIANAPOLIS, IN 46206-6248                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.109
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $184.23
          VEGAS INK AND TONER                                                 Contingent
          6811 S. EASTERN AVE.                                                Unliquidated
          SUITE 102B                                                          Disputed
          LAS VEGAS, NV 89119
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.110
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $151.99
          VERIZON                                                             Contingent
          P.O. BOX 4830                                                       Unliquidated
          TRENTON, NJ 08650-4830                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.110
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $600.00
          VICTOR ENOS                                                         Contingent
          20 MALLBORO DRIVE                                                   Unliquidated
          NEWARK, DE 19702                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 169 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 182 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.110
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $360.74
          VILLA LIGHTING SUPPLY                                               Contingent
          2929 CHOUTEAU AVE                                                   Unliquidated
          ST LOUIS, MO 63103-2903                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.110
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,400.41
          VILLAGE OF GULFSTEAM
          c/o REGIONS BANK                                                    Contingent
          10425 CENTURION PARKWAY                                             Unliquidated
          2ND FLOOR                                                           Disputed
          JACKSONVILLE, FL 32256
                                                                             Basis for the claim:    Landlord
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.110
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,400.41
          VILLAGE OF GULFSTEAM
          c/o REGIONS BANK                                                    Contingent
          10425 CENTURION PARKWY                                              Unliquidated
          2ND FLOOR                                                           Disputed
          JACKSONVILLE, FL 32256
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.110
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,125.95
          VILLAGE OF LOMBARD                                                  Contingent
          ATTN: ACCOUNTS RECEIVABLE                                           Unliquidated
          255 E. WILSON AVE.                                                  Disputed
          LOMBARD, IL 60148
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.110
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,754.80
          VINCENT HEALEY                                                      Contingent
          202 SCHANCK ROAD                                                    Unliquidated
          FREEHOLD, NJ 07728                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.110
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,230.00
          VINTAGE WINE COMPANY                                                Contingent
          15420 E 12 MILE ROAD                                                Unliquidated
          ROSEVILLE, MI 48066                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 170 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 183 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.110
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $346.00
          VINTAGE WINES                                                       Contingent
          20320 CORNILLIE DR                                                  Unliquidated
          ROSEVILLE, MI 48066                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.110
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $361.66
          VINYL DOCTOR SYSTEMS, INC.                                          Contingent
          P.O. BOX 32086                                                      Unliquidated
          PALM BEACH GARDENS, FL 33420                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.111
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $313.00
          VINYL-MEDIC LLC                                                     Contingent
          6105 BAUMGARTNER CROSSING                                           Unliquidated
          ST. LOUIS, MO 63129                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.111
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $266.76
          VIRGINIA ABC                                                        Contingent
          2610 BUTFORD RD                                                     Unliquidated
          RICHMOND, VA 23235                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.111
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $9,406.76
          VIRGINIA BEACH TREASURER                                            Contingent
          MUNICIPAL CENTER BLDG 1                                             Unliquidated
          2401 COURTHOUSE DR                                                  Disputed
          VIRGINIA BEACH, VA 23456-9018
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.111
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,641.50
          VIRGINIA NATURAL GAS INC                                            Contingent
          PO BOX 5409                                                         Unliquidated
          CAROL STREAM, IL 60197-5409                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.111
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,669.77
          VISION SERVICE PLAN                                                 Contingent
          3333 QUALITY DR                                                     Unliquidated
          RANCHO CORDOVA, CA 95670-7985                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 171 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 184 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.111
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,264.00
          VISIT ORLANDO                                                       Contingent
          6277 SEA HARBOR DRIVE                                               Unliquidated
          SUITE 400                                                           Disputed
          ORLANDO, FL 32821-8043
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.111
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $31,899.07
          VORH ASSOCIATES, LLC                                                Contingent
          JP MORGAN CHASE DEPT#77925                                          Unliquidated
          P.O. BOX 77000                                                      Disputed
          DETROIT, MI 48277-0925
                                                                             Basis for the claim:    Landlord
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.111
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $36,761.00
          VORYS SATER SEYMOUR PEASE LL                                        Contingent
          POST OFFICE BOX 373487                                              Unliquidated
          CLEVELAND, OH 44193                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.111
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $100.00
          VU HUYNH                                                            Contingent
          100 RIVERVIEW ROAD                                                  Unliquidated
          STEVENSVILLE, MD 21666                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.111
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $267.60
          WALDEN FLORAL DESIGN CO                                             Contingent
          1701 OGDEN AVE                                                      Unliquidated
          DOWNERS GROVE, IL 60515                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.112
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $89,054.26
          WALT WHITMAN MALL, LLC.                                             Contingent
          P.O. BOX 776405                                                     Unliquidated
          CHICAGO, IL 60677-6405                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Landlord
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.112
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,440.65
          WASATCH COMFORT                                                     Contingent
          P.O. BOX 651345                                                     Unliquidated
          SALT LAKE CITY, UT 84165                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 172 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 185 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.112
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,484.11
          WASHINGTON GAS                                                      Contingent
          PO BOX 37747                                                        Unliquidated
          PHILADELPHIA, PA 19101-5047                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.112
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $677,288.19
          WASSERSTROM COMPANY                                                 Contingent
          P.O. BOX 182056                                                     Unliquidated
          COLUMBUS, OH 43218-2056                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.112
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $778.78
          WASSERSTROM SUPERSTORE                                              Contingent
          2777 SILVER DR                                                      Unliquidated
          COLUMBUS, OH 43211                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.112
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $518.17
          WASTE CONNECTIONS OF TX, L                                          Contingent
          P.O. BOX 742695                                                     Unliquidated
          CINCINNATI, OH 45274-2695                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.112
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $8,817.30
          WASTE MANAGEMENT                                                    Contingent
          3411 NORTH 40TH ST                                                  Unliquidated
          TAMPA, FL 33605                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.112
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $534.00
          WAT-KEM MECHANICAL, INC.                                            Contingent
          2755 S. COUNTY RD. 25A                                              Unliquidated
          TROY, OH 45373                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.112
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $114.32
          WATER ZONE INC./ECO WATER                                           Contingent
          1432-B SKEES RD.                                                    Unliquidated
          WEST PALM BEACH, FL 33411                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 173 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 186 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.112
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $143.78
          WATERLOGIC                                                          Contingent
          P.O. BOX 677867                                                     Unliquidated
          DALLAS, TX 75267-7867                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.113
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,196.00
          WATERMEN ENTERPRISES, LLC.                                          Contingent
          P.O. BOX 794671                                                     Unliquidated
          DALLAS, TX 75379                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.113
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $45,714.06
          WATERSIDE SHOPS LLC                                                 Contingent
          16316 COLLECTIONS CENTER DRIVE                                      Unliquidated
          CHICAGO, IL 60693                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Landlord
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.113
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $6,345.94
          WATERWORKS                                                          Contingent
          550 SHROCK ROAD                                                     Unliquidated
          COLUMBUS, OH 43229                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.113
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $131,229.68
          WATTERS CREEK OWNER, LLC.                                           Contingent
          P.O. BOX 677456                                                     Unliquidated
          DALLAS, TX 75267-7456                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Landlord
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.113
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,009.43
          WCA OF FLORIDA, LLC                                                 Contingent
          P.O. BOX 4524                                                       Unliquidated
          HOUSTON, TX 77210-4524                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.113
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,857.71
          WE ENERGIES                                                         Contingent
          PO BOX 90001                                                        Unliquidated
          MILWAUKEE, WI 05329-0001                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 174 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 187 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.113
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $315.00
          WEDDINGPAGES INC                                                    Contingent
          11106 MOCKINGBIRD DR                                                Unliquidated
          OMAHA, NE 68137                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.113
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,373.12
          WEST DES MOINES WATER WORK                                          Contingent
          PO BOX 402002                                                       Unliquidated
          DES MOINES, IA 50940-2002                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.113
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $226.49
          WEST EDNA ASSOCIATES, LTD.                                          Contingent
          dba MOJAVE ELECTRIC                                                 Unliquidated
          3755 W. HACIENDA AVENUE                                             Disputed
          LAS VEGAS, NV 89118
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.113
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $177,258.28
          WEST FARMS MALL, LLC                                                Contingent
          DEPARTMENT 55501                                                    Unliquidated
          PO BOX 67000                                                        Disputed
          DETROIT, MI 48267-0555
                                                                             Basis for the claim:    Landlord
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.114
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,926.84
          WEST PENN POWER                                                     Contingent
          P.O. BOX 3687                                                       Unliquidated
          AKRON, OH 44309-3687                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.114
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $112.14
          WEST VIEW WATER AUTHORITY                                           Contingent
          PO BOX 747107                                                       Unliquidated
          PITTSBURGH, PA 15274-7105                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.114
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $41,191.41
          WESTCOR SANTAN VILLAGE LLC                                          Contingent
          SAN TAN REGIONAL MALL                                               Unliquidated
          P.O. BOX 511249                                                     Disputed
          LOS ANGELES, CA 90051
                                                                             Basis for the claim:    Landlord
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 175 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 188 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.114
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $811.72
          WESTERN ALLEGHENY COUNTY                                            Contingent
          403 VIRGINIA DR                                                     Unliquidated
          OAKDALE, PA 15071-9105                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.114
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $14,836.51
          WESTERN COMMERCIAL SVCS LL                                          Contingent
          2311 SOUTH INDUSTRIAL ROAD                                          Unliquidated
          LAS VEGAS, NV 89102                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.114
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $147.00
          WESTERN RESERVE WINDOW
          CLEANING, LLC                                                       Contingent
          1064 TALLMADGE ROAD                                                 Unliquidated
          SUITE C                                                             Disputed
          KENT, OH 44240
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.114
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $9,991.88
          WHALEY FOODSERVICE, LLC.                                            Contingent
          P.O. BOX 615                                                        Unliquidated
          LEXINGTON, SC 29071                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.114
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $974.83
          WHITE COFFEE CORP                                                   Contingent
          18-35 38 ST (STEINWAY PLACE)                                        Unliquidated
          LONG ISLAND, NY 11105                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.114
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,209.45
          WHITEHALL TOWNSHIP AUTHORI                                          Contingent
          1901 SCHADT AVENUE                                                  Unliquidated
          WHITEHALL, PA 18052-3728                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.114
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $600.00
          WHOLESALE SERVICES, LLC.                                            Contingent
          P.O. BOX 4627                                                       Unliquidated
          READING, PA 19606                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 176 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 189 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.115
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $61.20
          WILL LIKINS                                                         Contingent
          100 RIVERVIEW ROAD                                                  Unliquidated
          STEVENSVILLE, MD 21666                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.115
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $570.60
          WILLIAM DALE FLOYD                                                  Contingent
          9848 DECORSEY PK                                                    Unliquidated
          RYLAND HEIGHTS, KY 41015                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.115
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $771.72
          WILLIAM ELEK LIMITED                                                Contingent
          1101 AIRPORT RD.                                                    Unliquidated
          ALLENTOWN, PA 18109                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.115
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,347.14
          WILLIAM J CIRIELLO PLUMBIN                                          Contingent
          PO BOX 468                                                          Unliquidated
          BEECH GROVE, IN 46107                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.115
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $450.00
          WILLIAM R. FIELDS                                                   Contingent
          P.O. BOX 49841                                                      Unliquidated
          SARASOTA, FL 34230                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.115
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $10,123.44
          WILLIE ITULE PRODUCE. INC.                                          Contingent
          301 N 45TH AVE                                                      Unliquidated
          PHOENIX, AZ 85043                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.115
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $286.30
          WILLIS KLEIN SAFE LOCK &                                            Contingent
          DECORATIVE HARDWARE                                                 Unliquidated
          4041 WESTPORT RD.                                                   Disputed
          LOUISVILLE, KY 40207
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 177 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 190 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.115
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $13,060.00
          WILLIS TOWERS WATSON SOUTH                                          Contingent
          CONCOURSE CORPORATE CENTER                                          Unliquidated
          FIVE - 18TH FLOOR                                                   Disputed
          ATLANTA, GA 30328
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.115
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $56,619.30
          WILLOW LAKE SHOPPING CENTE                                          Contingent
          USRP WILLOW EAST LLC                                                Unliquidated
          3055 SOLUTIONS CENTER                                               Disputed
          CHICAGO, IL 60677-3000
                                                                             Basis for the claim:    Landlord
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.115
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $45,928.26
          WILLOWBROOK MALL, LLC.                                              Contingent
          SDS-12-2767                                                         Unliquidated
          P.O. BOX 86                                                         Disputed
          MINNEAPOLIS, MN 55486-2767
                                                                             Basis for the claim:    Landlord
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.116
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,049.03
          WINDSTREAM COMMUNICATIONS                                           Contingent
          P.O. BOX 9001908                                                    Unliquidated
          LOUISVILLE, KY 40290-1908                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.116
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,691.95
          WINDSTREAM ENTERPRISE                                               Contingent
          P.O. BOX 9001908                                                    Unliquidated
          LOUISVILLE, KY 40290-1908                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.116
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $623.88
          WINEBOW GROUP, INC.                                                 Contingent
          20 HOOK MOUNTAIN ROAD                                               Unliquidated
          SUITE 103-A                                                         Disputed
          PINEBROOK, NJ 07058
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.116
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $77,745.64
          WINTER PARK TOWNE CENTER L                                          Contingent
          PO BOX 73847                                                        Unliquidated
          CLEVELAND, OH 44193                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Landlord
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 178 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 191 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.116
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $165.00
          WOODMAN STOP N LOCK                                                 Contingent
          1976 WOODMAN CENTER DRIVE                                           Unliquidated
          KETTERING, OH 45420                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.116
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $550.39
          WOW! BUSINESS                                                       Contingent
          P.O. BOX 4350                                                       Unliquidated
          CAROL STREAM, IL 60197-4350                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.116
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,190.38
          WSA SYSTEMS BOCA INC                                                Contingent
          442 N.W. 35th Street                                                Unliquidated
          Boca Raton, FL 33431                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.116
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,884.80
          XCEL ENERGY                                                         Contingent
          1123 W 3RD AVE                                                      Unliquidated
          ATTN: PHIL RYMAN                                                    Disputed
          DENVER, CO 80223
                                                                             Basis for the claim:    Trade
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.116
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,050.00
          XTREME CLEAN RESTAURANT, L                                          Contingent
          P.O. BOX 19483                                                      Unliquidated
          LAS VEGAS, NV 89132                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.116
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $50.00
          YADIRA STAATZ                                                       Contingent
          100 RIVERVIEW ROAD                                                  Unliquidated
          STEVENSVILLE, MD 21666                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.117
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $30,682.77
          YTC BUTTERFIELD OWNER LLC.                                          Contingent
          26073 NETWORK PLACE                                                 Unliquidated
          CHICAGO, IL 60673-1260                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Landlord
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 179 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                         Doc 162            Filed 05/08/20                 Page 192 of 274

 Debtor       FoodFirst Global Restaurants, Inc.                                                      Case number (if known)            6:20-bk-02159-LVV
              Name

 3.117
 1         Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $1,498.00
           ZEBEDEE GROUP INC.                                                 Contingent
           4613 NORTH UNIVERSITY DRIVE                                        Unliquidated
           SUITE 383                                                          Disputed
           CORAL SPRINGS, FL 33067
                                                                             Basis for the claim:    Trade
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
 3.117
 2         Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $2,385.00
           ZITO'S LANDSCAPING LLC.                                            Contingent
           130 ORCHARD AVE.                                                   Unliquidated
           GLENSHAW, PA 15116                                                 Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Trade
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.117
 3         Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $45.00
           ZOHAR LAW FIRM PC                                                  Contingent
           1100 Glendon Avenue                                                Unliquidated
           Suite 1500                                                         Disputed
           Los Angeles, CA 90024
                                                                             Basis for the claim:    Trade
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                      related creditor (if any) listed?              account number, if
                                                                                                                                                     any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                       62,194.67
 5b. Total claims from Part 2                                                                            5b.    +   $                   15,154,253.01

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                      15,216,447.68




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 180 of 180
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                     Doc 162        Filed 05/08/20           Page 193 of 274

 Fill in this information to identify the case:

 Debtor name         FoodFirst Global Restaurants, Inc.

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

 Case number (if known)         6:20-bk-02159-LVV
                                                                                                                                Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.      Does the debtor have any executory contracts or unexpired leases?
         No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal             Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.1.         State what the contract or                  Real Property Lease
              lease is for and the nature of              RE: 2107 Inner Harbor
              the debtor's interest                       expiring 12/31/2022

                  State the term remaining
                                                                                      100 PRATT ST. VENTURES, LLC
              List the contract number of any                                         100 EAST PRATT ST, #1200
                    government contract                                               Baltimore, MD 21202


 2.2.         State what the contract or                  Real Property Lease
              lease is for and the nature of              RE: 1113 Omaha
              the debtor's interest                       expiring 12/31/2022

                  State the term remaining
                                                                                      168th and Dodge, L.P.
              List the contract number of any                                         One E Washington St, #300
                    government contract                                               Phoenix, AZ 85004


 2.3.         State what the contract or                  Real Property Lease
              lease is for and the nature of              RE: 380 Columbus
              the debtor's interest                       office expiring
                                                          3/31/2026
                  State the term remaining                                            777 Goodale Partners, LLC
                                                                                      7555 E Pleasant Valley Road
              List the contract number of any                                         Suite 160
                    government contract                                               Independence, OH 44131


 2.4.         State what the contract or                  Real Property Lease
              lease is for and the nature of              RE: 1060 Uptown
              the debtor's interest                       expiring 1/31/2027

                  State the term remaining
                                                                                      ABQ UPTOWN, LLC
              List the contract number of any                                         225 WEST WASHINGTON ST
                    government contract                                               Indianapolis, IN 46204




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                          Page 1 of 40
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                                Doc 162   Filed 05/08/20         Page 194 of 274
 Debtor 1 FoodFirst Global Restaurants, Inc.                                                       Case number (if known)   6:20-bk-02159-LVV
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                            State the name and mailing address for all other parties with
                                                                                       whom the debtor has an executory contract or unexpired
                                                                                       lease

 2.5.        State what the contract or                   Insurance
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                monthly
                                                                                           AFCO
             List the contract number of any                                               P.O. BOX 360572
                   government contract                                                     PITTSBURGH, PA 15250-6572


 2.6.        State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 1141 Knapps
             the debtor's interest                        Crossing expiring
                                                          12/31/2026
                  State the term remaining
                                                                                           Alan J. Salle
             List the contract number of any                                               39400 Woodward Ave, #101
                   government contract                                                     Bloomfield Hills, MI 48304


 2.7.        State what the contract or                   Leasing Group
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                monthly
                                                                                           ALLEGIS GROUP HOLDINGS, IN
             List the contract number of any                                               3689 COLLECTION CTR. DRIVE
                   government contract                                                     CHICAGO, IL 60693


 2.8.        State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 2090 Gulfstream
             the debtor's interest                        Park expiring 1/31/2021

                  State the term remaining                                                 Allen Matkins Leck Gamble
                                                                                           501 West Broadway
             List the contract number of any                                               15th Floor
                   government contract                                                     San Diego, CA 92101


 2.9.        State what the contract or                   Health Insurance
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                           ANTHEM BCBS
             List the contract number of any                                               PO BOX 645438
                   government contract                                                     CINCINNATI, OH 45264-5438


 2.10.       State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 700 Orlando office
             the debtor's interest                        expiring 2/28/2026

                  State the term remaining                                                 APC Workforce Solutions, LLC
                                                                                           420 S. Orange Ave, Ste 600
             List the contract number of any                                               Orlando, FL 32801
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                           Page 2 of 40
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                                Doc 162   Filed 05/08/20         Page 195 of 274
 Debtor 1 FoodFirst Global Restaurants, Inc.                                                       Case number (if known)   6:20-bk-02159-LVV
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                            State the name and mailing address for all other parties with
                                                                                       whom the debtor has an executory contract or unexpired
                                                                                       lease

                    government contract


 2.11.       State what the contract or                   digital asset
             lease is for and the nature of               management, never
             the debtor's interest                        utilized, but got stuck
                                                          in 2 yr contract
                  State the term remaining                2 yr contract, ends              Aprimo
                                                          2020                             230 W Monroe St
             List the contract number of any                                               Suite 1200
                   government contract                                                     Chicago, IL 60606


 2.12.       State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 2110 Austin, TX
             the debtor's interest                        expiring 12/31/2022

                  State the term remaining
                                                                                           ARBORETUM MALL, LLC
             List the contract number of any                                               180 East Broad Street
                   government contract                                                     Columbus, OH 43215


 2.13.       State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 1031 West Chester
             the debtor's interest                        expiring 7/31/2023

                  State the term remaining
                                                                                           ARC SWWCHOH001, LLC
             List the contract number of any                                               405 PARK AVE., 15th Floor
                   government contract                                                     New York, NY 10022


 2.14.       State what the contract or                   Marketing
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                Annual                           Authentic8, Inc
                                                                                           555 CALIFORNIA ST.
             List the contract number of any                                               SUITE 3360
                   government contract                                                     San Francisco, CA 94104


 2.15.       State what the contract or                   Audit Firm
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                Annual                           BDO USA, LLP.
                                                                                           AP DEPARTMENT
             List the contract number of any                                               P.O. BOX 642743
                   government contract                                                     PITTSBURGH, PA 15264-2743


 2.16.       State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 1052 Belden Village          Belden Mall, LLC
             the debtor's interest                        expiring 1/31/2022               4230 Belden Village Mall
                                                                                           Canton, OH 44718
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                           Page 3 of 40
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                                Doc 162   Filed 05/08/20         Page 196 of 274
 Debtor 1 FoodFirst Global Restaurants, Inc.                                                       Case number (if known)   6:20-bk-02159-LVV
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                            State the name and mailing address for all other parties with
                                                                                       whom the debtor has an executory contract or unexpired
                                                                                       lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.17.       State what the contract or                   Food Vendor
             lease is for and the nature of
             the debtor's interest
                                                                                           BEN E KEITH FOODS
                  State the term remaining                Annual                           GENERAL OFFICE
                                                                                           ATTN: NATIONAL ACCOUNTS
             List the contract number of any                                               P.O. BOX 1441
                   government contract                                                     FORT WORTH, TX 76101


 2.18.       State what the contract or                   Marketing
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                Annual
                                                                                           Blackhawk Network Inc
             List the contract number of any                                               6220 Stoneridge Mall Road
                   government contract                                                     Pleasanton, CA 94588


 2.19.       State what the contract or                   Marketing
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                Annual                           BLACKHAWK NETWORK, INC.
                                                                                           WELLS FARGO BANK
             List the contract number of any                                               P.O. BOX 932859
                   government contract                                                     ATLANTA, GA 31193


 2.20.       State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 2108 Boca Raton,
             the debtor's interest                        FL expiring 12/31/2021

                  State the term remaining                                                 BOCA CENTER AT MILITARY LLC
                                                                                           180 Glastonbury Blvd.
             List the contract number of any                                               Suite 200
                   government contract                                                     Glastonbury, CT 06033


 2.21.       State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 1138 Henderson
             the debtor's interest                        (NV) expiring
                                                          12/31/2025
                  State the term remaining                                                 BPC Henderson, LLC
                                                                                           600 Superior Avenue East
             List the contract number of any                                               Suite 1500
                   government contract                                                     Cleveland, OH 44114




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                           Page 4 of 40
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                                Doc 162   Filed 05/08/20         Page 197 of 274
 Debtor 1 FoodFirst Global Restaurants, Inc.                                                       Case number (if known)   6:20-bk-02159-LVV
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                            State the name and mailing address for all other parties with
                                                                                       whom the debtor has an executory contract or unexpired
                                                                                       lease

 2.22.       State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 1134 Briarwood
             the debtor's interest                        (MI) expiring 12/31/2024

                  State the term remaining
                                                                                           Briarwood LLC
             List the contract number of any                                               225 West Washington Street
                   government contract                                                     Indianapolis, IN 46204-3438


 2.23.       State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 1045 Brookfield
             the debtor's interest                        Square expiring
                                                          1/31/2021
                  State the term remaining                                                 Brookfield Square Joint Ven.
                                                                                           95 North Moorland Rd
             List the contract number of any                                               Unit A-17
                   government contract                                                     Brookfield, WI 53005


 2.24.       State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 2132 Broward
             the debtor's interest                        expiring 1/31/2025

                  State the term remaining                                                 BROWARD MALL, LLC,
                                                                                           2049 Century Park East
             List the contract number of any                                               41st Floor
                   government contract                                                     Los Angeles, CA 90067


 2.25.       State what the contract or                   Food Vendor
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                Annual
                                                                                           C.H. ROBINSON COMPANY, INC
             List the contract number of any                                               P.O. BOX 9121
                   government contract                                                     MINNEAPOLIS, MN 55480-9121


 2.26.       State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 2018 Birmingham
             the debtor's interest                        expiring 1/31/2022

                  State the term remaining
                                                                                           CAPREF Brookwood Village LLC
             List the contract number of any                                               780 Brookwood Village
                   government contract                                                     Birmingham, AL 35209


 2.27.       State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 1045 Brookfield
             the debtor's interest                        Square expiring
                                                          1/31/2021                        CBL & Associates Mgmt., Inc
                  State the term remaining                                                 CBL Center, Suite 500
                                                                                           2030 Hamilton Place Blvd
             List the contract number of any                                               Chattanooga, TN 37421-6000
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                           Page 5 of 40
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                                Doc 162   Filed 05/08/20         Page 198 of 274
 Debtor 1 FoodFirst Global Restaurants, Inc.                                                       Case number (if known)   6:20-bk-02159-LVV
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                            State the name and mailing address for all other parties with
                                                                                       whom the debtor has an executory contract or unexpired
                                                                                       lease

                    government contract


 2.28.       State what the contract or                   IT Support
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                Annual
                                                                                           CDW DIRECT INC
             List the contract number of any                                               PO BOX 75723
                   government contract                                                     CHICAGO, IL 60675


 2.29.       State what the contract or                   IT Support
             lease is for and the nature of
             the debtor's interest
                                                                                           Century Link
                  State the term remaining                monthly                          CENTURYLINK
                                                                                           BUSINESS SEVICES
             List the contract number of any                                               P.O. BOX 52187
                   government contract                                                     PHOENIX, AZ 85072-2187


 2.30.       State what the contract or                   IT Support
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                monthly
                                                                                           CERDANT, INC
             List the contract number of any                                               PO BOX 3204
                   government contract                                                     DUBLIN, OH 43017


 2.31.       State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 1026 Eton
             the debtor's interest                        (Chagrin) expiring
                                                          9/30/2028
                  State the term remaining
                                                                                           Chagrin Retail, LLC
             List the contract number of any                                               629 Euclid Ave. Ste 1300
                   government contract                                                     Cleveland, OH 44114


 2.32.       State what the contract or                   IT Support
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                monthly
                                                                                           CHARTER COMMUNICATIONS
             List the contract number of any                                               P.O. BOX 60229
                   government contract                                                     LOS ANGELES, CA 90060-0229


 2.33.       State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 2062 Cherry Hill             Cherry Hill Town Partners
             the debtor's interest                        expiring 1/31/2023               1260 Stelton Road
                                                                                           Piscataway, NJ 08854
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                           Page 6 of 40
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                                Doc 162   Filed 05/08/20         Page 199 of 274
 Debtor 1 FoodFirst Global Restaurants, Inc.                                                       Case number (if known)   6:20-bk-02159-LVV
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                            State the name and mailing address for all other parties with
                                                                                       whom the debtor has an executory contract or unexpired
                                                                                       lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.34.       State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 2092 Christiana
             the debtor's interest                        expiring 2/28/2021

                  State the term remaining
                                                                                           CHRISTIANA MALL
             List the contract number of any                                               132 CHRISTIANA MALL
                   government contract                                                     Newark, DE 19702


 2.35.       State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 2092 Christiana
             the debtor's interest                        expiring 2/28/2021

                  State the term remaining
                                                                                           CHRISTIANA MALL LLC
             List the contract number of any                                               350 N Orleans St., Ste 300
                   government contract                                                     Chicago, IL 60654-1607


 2.36.       State what the contract or                   IT Support
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                Annual
                                                                                           CIT BANK, N.A. d.b.a. COMDOC
             List the contract number of any                                               21146 NETWORK PLACE
                   government contract                                                     CHICAGO, IL 60673-1211


 2.37.       State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 2122 City Creek
             the debtor's interest                        (UT) expiring 6/30/2023

                  State the term remaining                                                 CITY CREEK CENTER ASSOCIATES
                                                                                           200 East Long Lake Road
             List the contract number of any                                               PO BOX 200
                   government contract                                                     Bloomfield Hills, MI 48303-0200


 2.38.       State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 2119 City Place
             the debtor's interest                        (WPB) expiring
                                                          12/31/2023
                  State the term remaining                                                 CITYPLACE RETAIL, LLC
                                                                                           60 Columbus Circle
             List the contract number of any                                               19th Floor
                   government contract                                                     New York, NY 10023




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                           Page 7 of 40
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                                Doc 162   Filed 05/08/20         Page 200 of 274
 Debtor 1 FoodFirst Global Restaurants, Inc.                                                       Case number (if known)   6:20-bk-02159-LVV
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                            State the name and mailing address for all other parties with
                                                                                       whom the debtor has an executory contract or unexpired
                                                                                       lease

 2.39.       State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 2041 Country Club
             the debtor's interest                        expiring 1/31/2025

                  State the term remaining                                                 Country Club Plaza JV, LLC
                                                                                           Attn: Admin
             List the contract number of any                                               200 E Long Lake Rd, Ste 300
                   government contract                                                     Bloomfield Hills, MI 48304-2324


 2.40.       State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 2041 Country Club
             the debtor's interest                        expiring 1/31/2025

                  State the term remaining                                                 Country Club Plaza JV, LLC
                                                                                           Attn: Legal Dept.
             List the contract number of any                                               200 E Long Lake Rd, Ste 300
                   government contract                                                     Bloomfield Hills, MI 48304-2324


 2.41.       State what the contract or                   IT Support
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                monthly
                                                                                           COX BUSINESS SERVICES
             List the contract number of any                                               P.O. BOX 2742
                   government contract                                                     OMAHA, NE 68103-2742


 2.42.       State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 2025 Crocker Park
             the debtor's interest                        expiring 7/31/2025

                  State the term remaining
                                                                                           CP COMMERCIAL DELAWARE, LLC
             List the contract number of any                                               629 Euclid Ave, Ste. 1300
                   government contract                                                     Cleveland, OH 44114


 2.43.       State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 2108 Boca Raton,
             the debtor's interest                        FL expiring 12/31/2021

                  State the term remaining                                                 Crocker Ptnrs Property Mgmt
                                                                                           5200 Town Center Circle
             List the contract number of any                                               Suite 105
                   government contract                                                     Boca Raton, FL 33486


 2.44.       State what the contract or                   Trade Vendor
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                Annual                           CSC
                                                                                           PO BOX 13397
             List the contract number of any                                               PHILADELPHIA, PA 19101-3397
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                           Page 8 of 40
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                                Doc 162   Filed 05/08/20         Page 201 of 274
 Debtor 1 FoodFirst Global Restaurants, Inc.                                                       Case number (if known)   6:20-bk-02159-LVV
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                            State the name and mailing address for all other parties with
                                                                                       whom the debtor has an executory contract or unexpired
                                                                                       lease

                    government contract


 2.45.       State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 2076 Crabtree
             the debtor's interest                        expiring 12/31/2023

                  State the term remaining
                                                                                           CVM Holdings, LLC
             List the contract number of any                                               4325 Glenwood Avenue
                   government contract                                                     Raleigh, NC 27612


 2.46.       State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 2105 Danbury Fair
             the debtor's interest                        expiring 12/31/2021

                  State the term remaining                                                 Danbury Mall, LLC (CA)
                                                                                           PO Box 2172
             List the contract number of any                                               401 Wilshire Blvd
                   government contract                                                     Santa Monica, CA 90407


 2.47.       State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 2105 Danbury Fair
             the debtor's interest                        expiring 12/31/2021

                  State the term remaining
                                                                                           Danbury Mall, LLC (CT)
             List the contract number of any                                               7 Backus Avenue
                   government contract                                                     Danbury, CT 06810


 2.48.       State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 1113 Omaha
             the debtor's interest                        expiring 12/31/2022

                  State the term remaining                                                 Daspin & Aument
                                                                                           227 W. Monroe Street
             List the contract number of any                                               Suite 3500
                   government contract                                                     Chicago, IL 60606


 2.49.       State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 2119 City Place
             the debtor's interest                        (WPB) expiring
                                                          12/31/2023
                  State the term remaining
                                                                                           David Rubenstein, Esq.
             List the contract number of any                                               1325 Avenue of the Americas
                   government contract                                                     New York, NY 10019


 2.50.       State what the contract or                   Real Property Lease              Dayton Mall Venture, LLC
             lease is for and the nature of               RE: 1004 Dayton                  180 E. Broad Street
             the debtor's interest                        expiring 1/31/2022               21st Floor
                                                                                           Columbus, OH 43215
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                           Page 9 of 40
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                                Doc 162   Filed 05/08/20         Page 202 of 274
 Debtor 1 FoodFirst Global Restaurants, Inc.                                                       Case number (if known)   6:20-bk-02159-LVV
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                            State the name and mailing address for all other parties with
                                                                                       whom the debtor has an executory contract or unexpired
                                                                                       lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.51.       State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 2126 Del Amo
             the debtor's interest                        expiring 12/31/2026

                  State the term remaining
                                                                                           DEL AMO FASHION CNTR OPER.
             List the contract number of any                                               225 West Washington St
                   government contract                                                     Indianapolis, IN 46204-3438


 2.52.       State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 1131 Rookwood
             the debtor's interest                        Exchange expiring
                                                          12/31/2025
                  State the term remaining                                                 Dinsmore & Shohl LLP
                                                                                           1900 Chemed Center
             List the contract number of any                                               255 East Fifth Street
                   government contract                                                     Cincinnati, OH 45202


 2.53.       State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 2124 Dolphin Mall
             the debtor's interest                        (FL) expiring 9/30/2025

                  State the term remaining                                                 DOLPHIN MALL ASSOCIATES LLC,
                                                                                           200 East Long Lake Road
             List the contract number of any                                               Suite 300
                   government contract                                                     Bloomfield Hills, MI 48304-2324


 2.54.       State what the contract or                   Web developer and
             lease is for and the nature of               hosting company
             the debtor's interest

                  State the term remaining                monthly
                                                                                           E Space Communications
             List the contract number of any                                               P.O. Box 4122
                   government contract                                                     Dublin, OH 43016


 2.55.       State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 1141 Knapps
             the debtor's interest                        Crossing expiring
                                                          12/31/2026
                  State the term remaining                                                 East Beltline Development
                                                                                           38500 Woodward Avenue
             List the contract number of any                                               Suite 200
                   government contract                                                     Bloomfield Hills, MI 48304




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                           Page 10 of 40
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                                Doc 162   Filed 05/08/20         Page 203 of 274
 Debtor 1 FoodFirst Global Restaurants, Inc.                                                       Case number (if known)   6:20-bk-02159-LVV
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                            State the name and mailing address for all other parties with
                                                                                       whom the debtor has an executory contract or unexpired
                                                                                       lease

 2.56.       State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 3017 BON VIE
             the debtor's interest                        expiring 1/31/2022

                  State the term remaining                                                 Easton Town Center II, LLC
                                                                                           4016 Townsfair Way
             List the contract number of any                                               Suite 201
                   government contract                                                     Columbus, OH 43219


 2.57.       State what the contract or                   Trade Vendor
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                Annual
                                                                                           ECOLAB
             List the contract number of any                                               370 WABASHA ST N
                   government contract                                                     ST PAUL, MN 55102


 2.58.       State what the contract or                   Trade Vendor
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                Annual
                                                                                           ECOLAB FOOD SAFETY SPECIAL
             List the contract number of any                                               24198 NETWORK PLACE
                   government contract                                                     CHICAGO, IL 60673-1241


 2.59.       State what the contract or                   Trade Vendor
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                Annual
                                                                                           ECOLAB PEST ELIM DIVISION
             List the contract number of any                                               26252 NETWORK PLACE
                   government contract                                                     CHICAGO, IL 60673-1262


 2.60.       State what the contract or                   Insurance Broker
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                Annual
                                                                                           ESIS, INC
             List the contract number of any                                               DEPT CH 10123
                   government contract                                                     PALATINE, IL 60055-0123


 2.61.       State what the contract or                   Marketing
             lease is for and the nature of
             the debtor's interest
                                                                                           ezCater, Inc
                  State the term remaining                Annual                           40 Water Street
                                                                                           5th Floor
             List the contract number of any                                               Boston, MA 02109
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                           Page 11 of 40
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                                Doc 162   Filed 05/08/20         Page 204 of 274
 Debtor 1 FoodFirst Global Restaurants, Inc.                                                       Case number (if known)   6:20-bk-02159-LVV
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                            State the name and mailing address for all other parties with
                                                                                       whom the debtor has an executory contract or unexpired
                                                                                       lease

                    government contract


 2.62.       State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 1039 Virginia
             the debtor's interest                        Beach expiring
                                                          1/31/2025
                  State the term remaining                                                 Faggert & Frieden, PC
                                                                                           222 Central Park Avenue
             List the contract number of any                                               Suite 1300
                   government contract                                                     Virginia Beach, VA 23462


 2.63.       State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 2121 Fair Oaks
             the debtor's interest                        expiring 1/31/2026

                  State the term remaining                                                 FAIRFAX COMPANY OF VIRGINIA
                                                                                           200 East Long Lake Road
             List the contract number of any                                               PO BOX 200
                   government contract                                                     Bloomfield Hills, MI 48303-0200


 2.64.       State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 2102 Salt Lake
             the debtor's interest                        (Murray UT) expiring
                                                          10/31/2021
                  State the term remaining
                                                                                           FASHION PLACE. LLC
             List the contract number of any                                               110 North Wacker Drive
                   government contract                                                     Chicago, IL 60606


 2.65.       State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 2030 West Palm
             the debtor's interest                        expiring 6/30/2023

                  State the term remaining                                                 Forbes/Cohen FL Properties Ltd
                                                                                           100 Galleria Officentre
             List the contract number of any                                               Suite 427
                   government contract                                                     Southfield, MI 48037-0667


 2.66.       State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 2022 Millenia
             the debtor's interest                        expiring 10/31/2022

                  State the term remaining                                                 Forbes/Taubman Orlando, LLC
                                                                                           100 Galleria Officentre
             List the contract number of any                                               Suite 427
                   government contract                                                     Southfield, MI 48037-0667


 2.67.       State what the contract or                   PAYROLL
             lease is for and the nature of                                                FOURTH USA INC
             the debtor's interest                                                         134 N 4TH STREET
                                                                                           BROOKLYNN, NY 11249
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                           Page 12 of 40
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                                Doc 162   Filed 05/08/20         Page 205 of 274
 Debtor 1 FoodFirst Global Restaurants, Inc.                                                       Case number (if known)   6:20-bk-02159-LVV
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                            State the name and mailing address for all other parties with
                                                                                       whom the debtor has an executory contract or unexpired
                                                                                       lease

                  State the term remaining                Annual

             List the contract number of any
                   government contract


 2.68.       State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 2106 Freehold
             the debtor's interest                        expiring 12/31/2022

                  State the term remaining
                                                                                           Freemall Associates, LLC
             List the contract number of any                                               PO Box 2172
                   government contract                                                     Santa Monica, CA 90407


 2.69.       State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 2106 Freehold
             the debtor's interest                        expiring 12/31/2022

                  State the term remaining
                                                                                           Freemall Associates, LLC (NJ)
             List the contract number of any                                               3710 Route 9, Ste. 1000
                   government contract                                                     Freehold, NJ 07728


 2.70.       State what the contract or                   creative agency
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                project based, as
                                                          needed, no                       Fuel House Creative
                                                          commitment                       11 E 6th Ave
             List the contract number of any                                               Suite 201
                   government contract                                                     Columbus, OH 43201


 2.71.       State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 1034 Galleria
             the debtor's interest                        expiring 6/30/2026

                  State the term remaining
                                                                                           Galleria Mall
             List the contract number of any                                               1500 Washington Road
                   government contract                                                     Pittsburgh, PA 15228


 2.72.       State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 1034 Galleria
             the debtor's interest                        expiring 6/30/2026

                  State the term remaining                                                 Galleria/Continental LP
                                                                                           200 Crescent Court
             List the contract number of any                                               Suite 560
                   government contract                                                     Dallas, TX 75201


Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                           Page 13 of 40
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                                Doc 162   Filed 05/08/20         Page 206 of 274
 Debtor 1 FoodFirst Global Restaurants, Inc.                                                       Case number (if known)   6:20-bk-02159-LVV
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                            State the name and mailing address for all other parties with
                                                                                       whom the debtor has an executory contract or unexpired
                                                                                       lease

 2.73.       State what the contract or                   Banquet Software
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                Annual                           GATHER TECHNOLOGIES, INC.
                                                                                           715 Peachtree Street NE
             List the contract number of any                                               Suite 800
                   government contract                                                     Atlanta, GA 30308


 2.74.       State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 2112 Jacksonville
             the debtor's interest                        expiring 12/31/2022

                  State the term remaining                                                 Genesis Real Estate Advisers
                                                                                           800 Mount Vernon Hwy
             List the contract number of any                                               Suite 410
                   government contract                                                     Sandy Springs, GA 30328


 2.75.       State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 1140 Fairfield
             the debtor's interest                        Commons expiring
                                                          12/31/2026
                  State the term remaining                                                 Glimcher Properties
                                                                                           180 East Broad Street
             List the contract number of any                                               21st Floor
                   government contract                                                     Columbus, OH 43215


 2.76.       State what the contract or                   Food Vendor
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                Annual
                                                                                           GORDON FOOD SERVICE
             List the contract number of any                                               P.O. BOX 88029
                   government contract                                                     CHICAGO, IL 60680-1029


 2.77.       State what the contract or                   IT Support
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                Annual                           GRANITE TECHNOLOGIES
                                                                                           CLIENT ID #311
             List the contract number of any                                               P.O. BOX 983119
                   government contract                                                     BOSTON, MA 02298-3119


 2.78.       State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 1010 Metairie
             the debtor's interest                        expiring 2/29/2024

                  State the term remaining                                                 Greater Lakeside Corp. (LA)
                                                                                           3301 Veterens Boulevard
             List the contract number of any                                               Metairie, LA 70002
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                           Page 14 of 40
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                                Doc 162   Filed 05/08/20         Page 207 of 274
 Debtor 1 FoodFirst Global Restaurants, Inc.                                                       Case number (if known)   6:20-bk-02159-LVV
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                            State the name and mailing address for all other parties with
                                                                                       whom the debtor has an executory contract or unexpired
                                                                                       lease

                    government contract


 2.79.       State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 1010 Metairie
             the debtor's interest                        expiring 2/29/2024

                  State the term remaining                                                 Greater Lakeside Corp. (NY)
                                                                                           370 Seventh Avenue
             List the contract number of any                                               Suite 618
                   government contract                                                     New York, NY 10001


 2.80.       State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 2056 The Greene
             the debtor's interest                        expiring 1/31/2022

                  State the term remaining                                                 Greene Town Center, LLC
                                                                                           5500 New Albany Road East
             List the contract number of any                                               Suite 200
                   government contract                                                     New Albany, OH 43054


 2.81.       State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 2090 Gulfstream
             the debtor's interest                        Park expiring 1/31/2021

                  State the term remaining
                                                                                           Gulfstream Park Racing Assoc.
             List the contract number of any                                               337 Magna Drive
                   government contract                                                     Aurora, ON 74G7K1


 2.82.       State what the contract or                   Food Vendor
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                Annual
                                                                                           HALPERN'S STEAK AND SEAFOO
             List the contract number of any                                               P.O. BOX 116421
                   government contract                                                     ATLANTA, GA 30368-6421


 2.83.       State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 1133 Harbourside
             the debtor's interest                        (Jupiter, FL) terminated
                                                          1/31/2020
                  State the term remaining                                                 HARBOURSIDE PLACE, LLC,
                                                                                           115 Front Street
             List the contract number of any                                               Suite 300
                   government contract                                                     Jupiter, FL 33477


 2.84.       State what the contract or                   Trade Vendor                     HILCO REAL ESTATE, LLC
             lease is for and the nature of                                                5 REVERE DRIVE
             the debtor's interest                                                         SUITE 320
                                                                                           NORTHBROOK, IL 60062
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                           Page 15 of 40
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                                Doc 162   Filed 05/08/20         Page 208 of 274
 Debtor 1 FoodFirst Global Restaurants, Inc.                                                       Case number (if known)   6:20-bk-02159-LVV
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                            State the name and mailing address for all other parties with
                                                                                       whom the debtor has an executory contract or unexpired
                                                                                       lease

                  State the term remaining                monthly

             List the contract number of any
                   government contract


 2.85.       State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 2112 Jacksonville
             the debtor's interest                        expiring 12/31/2022

                  State the term remaining                                                 Hines Global REIT 4875 Town Cen
                                                                                           11512 Lake Mead Ave
             List the contract number of any                                               Suite 603
                   government contract                                                     Jacksonville, FL 32256


 2.86.       State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 1039 Virginia
             the debtor's interest                        Beach expiring
                                                          1/31/2025
                  State the term remaining                                                 Holland & Knight LLP
                                                                                           SunTrust Center
             List the contract number of any                                               Suite 2600
                   government contract                                                     Orlando, FL 32801


 2.87.       State what the contract or                   Trade Vendor
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                Annual
                                                                                           HOT SCHEDULES
             List the contract number of any                                               P.O. BOX 848472
                   government contract                                                     DALLAS, TX 75284-8472


 2.88.       State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 1136 Huntsville
             the debtor's interest                        expiring 12/31/2025

                  State the term remaining                                                 IMI Huntsville, LLC
                                                                                           Attn: AL-LEGAL
             List the contract number of any                                               2222 Arlington Avenue
                   government contract                                                     Birmingham, AL 35205


 2.89.       State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 1136 Huntsville
             the debtor's interest                        expiring 12/31/2025

                  State the term remaining                                                 IMI Huntsville, LLC
                                                                                           Attn: AL- Manager
             List the contract number of any                                               365 The Bridge St, Ste 106
                   government contract                                                     Huntsville, AL 35806




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                           Page 16 of 40
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                                Doc 162   Filed 05/08/20         Page 209 of 274
 Debtor 1 FoodFirst Global Restaurants, Inc.                                                       Case number (if known)   6:20-bk-02159-LVV
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                            State the name and mailing address for all other parties with
                                                                                       whom the debtor has an executory contract or unexpired
                                                                                       lease

 2.90.       State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 1136 Huntsville
             the debtor's interest                        expiring 12/31/2025

                  State the term remaining                                                 IMI Huntsville, LLC (IL)
                                                                                           5750 Old Orchard Road
             List the contract number of any                                               Suite 400
                   government contract                                                     Skokie, IL 60077


 2.91.       State what the contract or                   IT Support
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                Annual                           INFOR (US). INC.
                                                                                           NW 7418
             List the contract number of any                                               P.O. BOX 1450
                   government contract                                                     MINNEAPOLIS, MN 55485-7418


 2.92.       State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 2064 Pembroke
             the debtor's interest                        Pines expiring
                                                          1/31/2024
                  State the term remaining                                                 Jeffrey R. Anderson Real Estate
                                                                                           3825 Edwards Road
             List the contract number of any                                               Suite 200
                   government contract                                                     Cincinnati, OH 45209


 2.93.       State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 1131 Rookwood
             the debtor's interest                        Exchange expiring
                                                          12/31/2025
                  State the term remaining                                                 Jeffrey R. Anderson Real Estate
                                                                                           Rookwood Tower
             List the contract number of any                                               3805 Edwards Road
                   government contract                                                     Cincinnati, OH 45209


 2.94.       State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 2062 Cherry Hill
             the debtor's interest                        expiring 1/31/2023

                  State the term remaining                                                 JMP Holding Corp.
                                                                                           160 Essex St
             List the contract number of any                                               Suite 200
                   government contract                                                     Lodi, NJ 07644


 2.95.       State what the contract or                   Waste contractor
             lease is for and the nature of
             the debtor's interest
                                                                                           JOHN OLSON
                  State the term remaining                Annual                           1959 S. POWER ROAD
                                                                                           SUITE 103-149
             List the contract number of any                                               MESA, AZ 85206-4398
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                           Page 17 of 40
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                                Doc 162   Filed 05/08/20         Page 210 of 274
 Debtor 1 FoodFirst Global Restaurants, Inc.                                                       Case number (if known)   6:20-bk-02159-LVV
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                            State the name and mailing address for all other parties with
                                                                                       whom the debtor has an executory contract or unexpired
                                                                                       lease

                    government contract


 2.96.       State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 2125 Liberty (OH)
             the debtor's interest                        expiring 12/31/2025

                  State the term remaining                                                 Jones Lang LaSalle Americas
                                                                                           3344 Peachtree Road
             List the contract number of any                                               Suite 1100
                   government contract                                                     Atlanta, GA 30326


 2.97.       State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 1040 Jordan Creek
             the debtor's interest                        expiring 1/31/2025

                  State the term remaining                                                 JORDAN CREEK TOWN CENTER
                                                                                           101 JORDAN CREEK PARKWAY
             List the contract number of any                                               SUITE 12518
                   government contract                                                     West Des Moines, IA 50266


 2.98.       State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 1040 Jordan Creek
             the debtor's interest                        expiring 1/31/2025

                  State the term remaining                                                 JORDAN CREEK TOWN CENTER
                                                                                           350 N. ORLEANS ST.
             List the contract number of any                                               SUITE 300
                   government contract                                                     Chicago, IL 60654-1607


 2.99.       State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 2064 Pembroke
             the debtor's interest                        Pines expiring
                                                          1/31/2024
                  State the term remaining                                                 JRA HHF VENTURE, LLC
                                                                                           3825 Edwards Road
             List the contract number of any                                               Suite 200
                   government contract                                                     Cincinnati, OH 45209


 2.100.      State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 1044 Memorial
             the debtor's interest                        Square expiring
                                                          1/31/2021
                  State the term remaining                                                 Kane Russell Coleman & Logan
                                                                                           3700 Thanksgiving Tower
             List the contract number of any                                               1601 Elm Street
                   government contract                                                     Dallas, TX 75201


 2.101.      State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 1012 Robinson                Lafayette Parntners
             the debtor's interest                        expiring 1/31/2025               5812 Darlington Road
                                                                                           Pittsburgh, PA 15217
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                           Page 18 of 40
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                                Doc 162   Filed 05/08/20         Page 211 of 274
 Debtor 1 FoodFirst Global Restaurants, Inc.                                                       Case number (if known)   6:20-bk-02159-LVV
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                            State the name and mailing address for all other parties with
                                                                                       whom the debtor has an executory contract or unexpired
                                                                                       lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.102.      State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 2120 Quaker
             the debtor's interest                        Bridge expiring
                                                          12/31/2023
                  State the term remaining
                                                                                           LAWRENCE ASSOCIATES
             List the contract number of any                                               225 WEST WASHINGTON STREET
                   government contract                                                     Indianapolis, IN 46204-3438


 2.103.      State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 2029 Legacy
             the debtor's interest                        expiring 12/31/2028

                  State the term remaining                                                 Legacy Village Investors
                                                                                           Offices at Legacy Village
             List the contract number of any                                               25333 Cedar Road
                   government contract                                                     Lyndhurst, OH 44124


 2.104.      State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 1100 Lennox
             the debtor's interest                        expiring 11/30/2021

                  State the term remaining                                                 Lennox Town Center Limited
                                                                                           Attn: Leasing
             List the contract number of any                                               3300 Enterprise Pkwy
                   government contract                                                     Beachwood, OH 44122


 2.105.      State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 1100 Lennox
             the debtor's interest                        expiring 11/30/2021

                  State the term remaining                                                 Lennox Town Center Limited
                                                                                           Attn: Legal Dept.
             List the contract number of any                                               3300 Enterprise Pkwy
                   government contract                                                     Beachwood, OH 44122


 2.106.      State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 2125 Liberty (OH)
             the debtor's interest                        expiring 12/31/2025

                  State the term remaining
                                                                                           Liberty Center
             List the contract number of any                                               7100 Foundry Row
                   government contract                                                     Liberty Township, OH 45069




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                           Page 19 of 40
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                                Doc 162   Filed 05/08/20         Page 212 of 274
 Debtor 1 FoodFirst Global Restaurants, Inc.                                                       Case number (if known)   6:20-bk-02159-LVV
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                            State the name and mailing address for all other parties with
                                                                                       whom the debtor has an executory contract or unexpired
                                                                                       lease

 2.107.      State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 2125 Liberty (OH)
             the debtor's interest                        expiring 12/31/2025

                  State the term remaining
                                                                                           Liberty Center, LLC
             List the contract number of any                                               9 West 57th Street
                   government contract                                                     New York, NY 10019


 2.108.      State what the contract or                   Licensing Outsource
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                Annual
                                                                                           LICENSING SOLUTIONS INC
             List the contract number of any                                               118 W MCKEY STREET
                   government contract                                                     OCOEE, FL 34761


 2.109.      State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 1007 McKnight
             the debtor's interest                        expiring 1/31/2030

                  State the term remaining
                                                                                           LINCOLN CORNER INC
             List the contract number of any                                               55 WEST NEWTON STREET
                   government contract                                                     GREENSBURG, PA 15601


 2.110.      State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 1016 Waterfront
             the debtor's interest                        expiring 1/31/2021

                  State the term remaining                                                 M&J Wilkow Properties, LLC
                                                                                           20 South Clark Street
             List the contract number of any                                               STE 3000
                   government contract                                                     Chicago, IL 60603


 2.111.      State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 1088 Mercato
             the debtor's interest                        expiring 1/31/2025

                  State the term remaining                                                 Madison Marquette
                                                                                           9132 Strada Place
             List the contract number of any                                               Suite 215
                   government contract                                                     Naples, FL 34108


 2.112.      State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 1066 Lehigh
             the debtor's interest                        expiring 3/31/2023

                  State the term remaining                                                 Mall At Lehigh Valley, L.P.
                                                                                           225 W. Washington Street
             List the contract number of any                                               Indianapolis, IN 46204
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                           Page 20 of 40
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                                Doc 162   Filed 05/08/20         Page 213 of 274
 Debtor 1 FoodFirst Global Restaurants, Inc.                                                       Case number (if known)   6:20-bk-02159-LVV
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                            State the name and mailing address for all other parties with
                                                                                       whom the debtor has an executory contract or unexpired
                                                                                       lease

                    government contract


 2.113.      State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 1044 Memorial
             the debtor's interest                        Square expiring
                                                          1/31/2021
                  State the term remaining
                                                                                           Memorial Square SC, LLC
             List the contract number of any                                               1033 NW Grand Boulevard
                   government contract                                                     Oklahoma City, OK 73118-6039


 2.114.      State what the contract or                   Food Vendor
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                Annual
                                                                                           MICHAEL'S FINER MEATS
             List the contract number of any                                               29037 NETWORK PLACE
                   government contract                                                     CHICAGO, IL 60673-1290


 2.115.      State what the contract or                   IT Support
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                Annual                           MICROS RETAIL SYSTEMS INC
                                                                                           1200 HARBOR BLVD
             List the contract number of any                                               10 FLOOR
                   government contract                                                     WEEHAWKEN, NJ 07086


 2.116.      State what the contract or                   IT Support
             lease is for and the nature of
             the debtor's interest
                                                                                           MICROSOFT LICENSING, GP
                  State the term remaining                3 year contract ending           C/O BANK OF AMERICA
                                                          in 2021                          1950 N STEMMONS FWY
             List the contract number of any                                               STE 5010 LB#842467
                   government contract                                                     DALLAS, TX 75207


 2.117.      State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 2089 City Centre
             the debtor's interest                        expiring 2/28/2025

                  State the term remaining                                                 Midway CC Venture I, LP
                                                                                           City Centre One
             List the contract number of any                                               12848 Queensbury Lane
                   government contract                                                     Houston, TX 77024


 2.118.      State what the contract or                   online ordering tool for         MOBO SYSTEMS, INC.
             lease is for and the nature of               the restaurants                  dba OLO
             the debtor's interest                                                         26 BROADWAY, 24TH FLOOR
                                                                                           NEW YORK, NY 10004
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                           Page 21 of 40
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                                Doc 162   Filed 05/08/20         Page 214 of 274
 Debtor 1 FoodFirst Global Restaurants, Inc.                                                       Case number (if known)   6:20-bk-02159-LVV
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                            State the name and mailing address for all other parties with
                                                                                       whom the debtor has an executory contract or unexpired
                                                                                       lease

                  State the term remaining                monthly

             List the contract number of any
                   government contract


 2.119.      State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 1038 Zona Rosa
             the debtor's interest                        expiring 1/31/2025

                  State the term remaining
                                                                                           Monarchs Sub, LLC
             List the contract number of any                                               8640 N. Dixon Avenue
                   government contract                                                     Kansas City, MO 64153


 2.120.      State what the contract or                   IT Support
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                Annual
                                                                                           MUZAK NATIONAL
             List the contract number of any                                               3318 LAKEMONT BLVD.
                   government contract                                                     FORT MILL, SC 29708


 2.121.      State what the contract or                   Inventory Mgt System
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                Annual
                                                                                           NCR CORPORATION
             List the contract number of any                                               P.O. BOX 198755
                   government contract                                                     ATLANTA, GA 30384-8755


 2.122.      State what the contract or                   Food Vendor
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                Annual
                                                                                           NICHOLAS & CO INC
             List the contract number of any                                               5520 W HAROLD GATTY DRIVE
                   government contract                                                     SALT LAKE CITY, UT 84116


 2.123.      State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 2020 Newport
             the debtor's interest                        expiring 1/31/2025

                  State the term remaining                                                 NOTL Property Owner LLC
                                                                                           One Levee Way
             List the contract number of any                                               Suite 1113
                   government contract                                                     Newport, KY 41071




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                           Page 22 of 40
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                                Doc 162   Filed 05/08/20         Page 215 of 274
 Debtor 1 FoodFirst Global Restaurants, Inc.                                                       Case number (if known)   6:20-bk-02159-LVV
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                            State the name and mailing address for all other parties with
                                                                                       whom the debtor has an executory contract or unexpired
                                                                                       lease

 2.124.      State what the contract or                   Guest reservation and
             lease is for and the nature of               seating partner
             the debtor's interest

                  State the term remaining                monthly                          Open Table
                                                                                           One Montgomery Street
             List the contract number of any                                               ste 700
                   government contract                                                     San Francisco, CA 94104


 2.125.      State what the contract or                   Marketing
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                Annual
                                                                                           OPEN TABLE INC
             List the contract number of any                                               29109 NETWORK PLACE
                   government contract                                                     CHICAGO, IL 60673-1291


 2.126.      State what the contract or                   Trade Vendor
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                Annual
                                                                                           OPTIMUM CARD SOLUTIONS LLC
             List the contract number of any                                               855 S FIENE DRIVE
                   government contract                                                     ADDISON, IL 60101


 2.127.      State what the contract or                   Trade Vendor
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                Annual
                                                                                           OPTIMUM PRINT SOLUTIONS IN
             List the contract number of any                                               5051 FREEWAY DRIVE EAST
                   government contract                                                     COLUMBUS, OH 43229


 2.128.      State what the contract or                   IT Support
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                Annual
                                                                                           ORACLE AMERICA, INC.
             List the contract number of any                                               P.O. BOX 203448
                   government contract                                                     DALLAS, TX 75320-3448


 2.129.      State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 1013 Cranberry
             the debtor's interest                        expiring 1/31/2025

                  State the term remaining                                                 Palt Partners/Cranberry
                                                                                           5812 Darlington Road
             List the contract number of any                                               Pittsburgh, PA 15217
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                           Page 23 of 40
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                                Doc 162   Filed 05/08/20         Page 216 of 274
 Debtor 1 FoodFirst Global Restaurants, Inc.                                                       Case number (if known)   6:20-bk-02159-LVV
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                            State the name and mailing address for all other parties with
                                                                                       whom the debtor has an executory contract or unexpired
                                                                                       lease

                    government contract


 2.130.      State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 2074 Park
             the debtor's interest                        Meadows expiring
                                                          3/31/2028
                  State the term remaining
                                                                                           PARK MEADOWS
             List the contract number of any                                               8401 PARK MEADOWS CENTER DR
                   government contract                                                     Lone Tree, CO 80124


 2.131.      State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 2074 Park
             the debtor's interest                        Meadows expiring
                                                          3/31/2028
                  State the term remaining                                                 PARK MEADOWS MALL, LLC
                                                                                           350 N. ORLEANS ST.
             List the contract number of any                                               SUITE 300
                   government contract                                                     Chicago, IL 60654-1607


 2.132.      State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 2018 Birmingham
             the debtor's interest                        expiring 1/31/2022

                  State the term remaining                                                 Patras Williams, LLC
                                                                                           14 Countryside Lane
             List the contract number of any                                               Suite 100
                   government contract                                                     Ringwood, NJ 07456


 2.133.      State what the contract or                   Loyalty hosting, gift
             lease is for and the nature of               card hosting, email
             the debtor's interest                        campaigns, loyalty
                                                          database, POS
                                                          integration,
                  State the term remaining                monthly
                                                                                           PAYTRONIX
             List the contract number of any                                               80 BRIDGE STREET
                   government contract                                                     NEWTON, MA 02458


 2.134.      State what the contract or                   Food Vendor
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                Annual
                                                                                           PEPSI-COLA COMPANY
             List the contract number of any                                               75 REMIITANCE DRIVE
                   government contract                                                     CHICAGO, IL 60675-1884




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                           Page 24 of 40
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                                Doc 162   Filed 05/08/20         Page 217 of 274
 Debtor 1 FoodFirst Global Restaurants, Inc.                                                       Case number (if known)   6:20-bk-02159-LVV
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                            State the name and mailing address for all other parties with
                                                                                       whom the debtor has an executory contract or unexpired
                                                                                       lease

 2.135.      State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 2070 Polaris
             the debtor's interest                        expiring 12/31/2021

                  State the term remaining                                                 PFP Columbus II, LLC
                                                                                           180 East Broad Street
             List the contract number of any                                               21st Floor
                   government contract                                                     Columbus, OH 43215


 2.136.      State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 1088 Mercato
             the debtor's interest                        expiring 1/31/2025

                  State the term remaining
                                                                                           PGIM Real Estate
             List the contract number of any                                               7 Giralda Farms
                   government contract                                                     Madison, NJ 07940


 2.137.      State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 700 Orlando office
             the debtor's interest                        expiring 2/28/2026

                  State the term remaining                                                 Piedmont Office Realty Trust
                                                                                           250 S. Orange Ave
             List the contract number of any                                               Suite 120P
                   government contract                                                     Orlando, FL 32801


 2.138.      State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 700 Orlando office
             the debtor's interest                        expiring 2/28/2026

                  State the term remaining                                                 Piedmont Office Realty Trust
                                                                                           5565 Glenridge Connector NE
             List the contract number of any                                               Suite 450
                   government contract                                                     Atlanta, GA 30342


 2.139.      State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 2055 Piedmont
             the debtor's interest                        expiring 6/30/2021

                  State the term remaining
                                                                                           Piedmont Row Drive, LLC
             List the contract number of any                                               801 Grand Avenue
                   government contract                                                     Des Moines, IA 50392


 2.140.      State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 2076 Crabtree
             the debtor's interest                        expiring 12/31/2023
                                                                                           Plaza Associates, Inc.
                  State the term remaining                                                 2840 Plaza Place
                                                                                           Suite 100
             List the contract number of any                                               Raleigh, NC 27612
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                           Page 25 of 40
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                                Doc 162   Filed 05/08/20         Page 218 of 274
 Debtor 1 FoodFirst Global Restaurants, Inc.                                                       Case number (if known)   6:20-bk-02159-LVV
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                            State the name and mailing address for all other parties with
                                                                                       whom the debtor has an executory contract or unexpired
                                                                                       lease

                    government contract


 2.141.      State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 2032 Frontenac
             the debtor's interest                        expiring 12/31/2023

                  State the term remaining
                                                                                           Plaza Frontenac
             List the contract number of any                                               97 Plaza Frontenac
                   government contract                                                     St. Louis, MO 63131


 2.142.      State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 2032 Frontenac
             the debtor's interest                        expiring 12/31/2023

                  State the term remaining
                                                                                           PLAZA FRONTENAC ACQUISITION
             List the contract number of any                                               110 NORTH WACKER DRIVE
                   government contract                                                     Chicago, IL 60606


 2.143.      State what the contract or                   Food Vendor
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                Annual
                                                                                           PPINC LLC
             List the contract number of any                                               2672 SW 36TH STREET
                   government contract                                                     DANIA BEACH, FL 33312


 2.144.      State what the contract or                   Food Vendor
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                Annual
                                                                                           Produce Alliance LLC
             List the contract number of any                                               PO BOX 7762
                   government contract                                                     CAROL STREAM, IL 60197-7762


 2.145.      State what the contract or                   Marketing
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                project based, as
                                                          needed, no
                                                          commitment                       PROFORMA
             List the contract number of any                                               6341 NICHOLAS DRIVE
                   government contract                                                     COLUMBUS, OH 43235




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                           Page 26 of 40
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                                Doc 162   Filed 05/08/20         Page 219 of 274
 Debtor 1 FoodFirst Global Restaurants, Inc.                                                       Case number (if known)   6:20-bk-02159-LVV
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                            State the name and mailing address for all other parties with
                                                                                       whom the debtor has an executory contract or unexpired
                                                                                       lease

 2.146.      State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 1058 Walden
             the debtor's interest                        expiring 1/31/2023

                  State the term remaining
                                                                                           Pyramid Walden Co., LP
             List the contract number of any                                               4 Clinton Square
                   government contract                                                     Syracuse, NY 13202


 2.147.      State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 1077 Deerfield
             the debtor's interest                        expiring 4/30/2023

                  State the term remaining                                                 RAMCO-GERSHENSON, INC
                                                                                           31500 NORTHWESTERN HIGHWAY
             List the contract number of any                                               SUITE 300
                   government contract                                                     Farmington Hills, MI 48334


 2.148.      State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 2114 Victoria
             the debtor's interest                        Gardens expiring
                                                          12/31/2023
                  State the term remaining                                                 Rancho Mall, LLC
                                                                                           600 Superior Avenue East
             List the contract number of any                                               Suite 1500
                   government contract                                                     Cleveland, OH 44114


 2.149.      State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 1091 Little Rock
             the debtor's interest                        expiring 1/31/2021

                  State the term remaining                                                 RED Development, LLC (AZ)
                                                                                           One East Washington Street
             List the contract number of any                                               Suite 300
                   government contract                                                     Phoenix, AZ 85004-2513


 2.150.      State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 1091 Little Rock
             the debtor's interest                        expiring 1/31/2021

                  State the term remaining                                                 RED Development, LLC (KS)
                                                                                           7500 College Blvd
             List the contract number of any                                               Suite 750
                   government contract                                                     Overland Park, KS 66210-4035


 2.151.      State what the contract or                   Trade Vendor
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                Annual                           RENTOKIL NORTH AMERICAN IN
                                                                                           PO BOX 14095
             List the contract number of any                                               READING, PA 19612
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                           Page 27 of 40
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                                Doc 162   Filed 05/08/20         Page 220 of 274
 Debtor 1 FoodFirst Global Restaurants, Inc.                                                       Case number (if known)   6:20-bk-02159-LVV
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                            State the name and mailing address for all other parties with
                                                                                       whom the debtor has an executory contract or unexpired
                                                                                       lease

                    government contract


 2.152.      State what the contract or                   HR Outsource
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                Annual                           RESTAURANT HR GROUP
                                                                                           1900 E GOLF RD
             List the contract number of any                                               SUITE 950
                   government contract                                                     SCHAUMBURG, IL 60173


 2.153.      State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 2025 Crocker Park
             the debtor's interest                        expiring 7/31/2025

                  State the term remaining                                                 Robert A. Fuerst, Kohrman et al
                                                                                           1375 East Ninth Street
             List the contract number of any                                               20th Floor
                   government contract                                                     Cleveland, OH 44114


 2.154.      State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 1021 Lansing
             the debtor's interest                        expiring 9/30/2022

                  State the term remaining                                                 RPAI US MANAGEMENT, LLC
                                                                                           2021 SPRING ROAD
             List the contract number of any                                               STE 200
                   government contract                                                     Oak Brook, IL 60523


 2.155.      State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 2054 Southlake
             the debtor's interest                        expiring 1/31/2022

                  State the term remaining                                                 RPAI US MANAGEMENT, LLC
                                                                                           ATTN: COLLECTIONS
             List the contract number of any                                               2021 SPRING RD, STE 200
                   government contract                                                     Oak Brook, IL 60523


 2.156.      State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 2054 Southlake
             the debtor's interest                        expiring 1/31/2022

                  State the term remaining                                                 RPAI US MANAGEMENT, LLC
                                                                                           ATTN: MANAGER
             List the contract number of any                                               2021 SPRING RD, STE 200
                   government contract                                                     Oak Brook, IL 60523


 2.157.      State what the contract or                   Real Property Lease              RPAI, HOLDCO MGMT, LLC
             lease is for and the nature of               RE: 1021 Lansing                 2021 SPRING ROAD
             the debtor's interest                        expiring 9/30/2022               STE 200
                                                                                           Oak Brook, IL 60523
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                           Page 28 of 40
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                                Doc 162   Filed 05/08/20         Page 221 of 274
 Debtor 1 FoodFirst Global Restaurants, Inc.                                                       Case number (if known)   6:20-bk-02159-LVV
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                            State the name and mailing address for all other parties with
                                                                                       whom the debtor has an executory contract or unexpired
                                                                                       lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.158.      State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 1021 Lansing
             the debtor's interest                        expiring 9/30/2022

                  State the term remaining
                                                                                           RPAI, INC.
             List the contract number of any                                               2021 SPRING RD, STE 200
                   government contract                                                     Oak Brook, IL 60523


 2.159.      State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 2101 Sagemore
             the debtor's interest                        (Marlton) expiring
                                                          12/31/2021
                  State the term remaining                                                 Sagemore Mgmt. Co., LLC
                                                                                           Corporate Center at Sagemore
             List the contract number of any                                               8000 Sagemore Drive
                   government contract                                                     Marlton, NJ 08053


 2.160.      State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 1042 Livonia
             the debtor's interest                        expiring 1/31/2025

                  State the term remaining                                                 Schoolcraft Commons
                                                                                           150 W. 2nd Street
             List the contract number of any                                               Suite 200
                   government contract                                                     Royal Oak, MI 48067


 2.161.      State what the contract or                   Insurance
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                Annual                           SEDGWICK CLAIMS MANAGEMENT
                                                                                           SERVICES, INC.
             List the contract number of any                                               P.O. BOX 5076
                   government contract                                                     MEMPHIS, TN 38101-5076


 2.162.      State what the contract or                   Food Vendor
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                Annual                           SHAMROCK FOODS CO
                                                                                           ACCOUNTS RECEIVABLE
             List the contract number of any                                               P.O. BOX 843539
                   government contract                                                     LOS ANGELES, CA 90084-3539




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                           Page 29 of 40
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                                Doc 162   Filed 05/08/20         Page 222 of 274
 Debtor 1 FoodFirst Global Restaurants, Inc.                                                       Case number (if known)   6:20-bk-02159-LVV
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                            State the name and mailing address for all other parties with
                                                                                       whom the debtor has an executory contract or unexpired
                                                                                       lease

 2.163.      State what the contract or                   Credit Card Processor
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                Annual
                                                                                           Shift4
             List the contract number of any                                               2202 N. Irving St.
                   government contract                                                     Allentown, PA 18109


 2.164.      State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 1057 Friendly
             the debtor's interest                        Center expiring
                                                          1/31/2022
                  State the term remaining                                                 Shops at Friendly Center
                                                                                           CBL Center
             List the contract number of any                                               ATTN: LEGAL - Suite 500
                   government contract                                                     Chattanooga, TN 37421


 2.165.      State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 1057 Friendly
             the debtor's interest                        Center expiring
                                                          1/31/2022
                  State the term remaining                                                 Shops at Friendly Center
                                                                                           Attn: Manager
             List the contract number of any                                               3110 Kathleen Ave
                   government contract                                                     Greensboro, NC 27408


 2.166.      State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 1071 Summit
             the debtor's interest                        (Akron) expiring
                                                          1/31/2024
                  State the term remaining
                                                                                           Simon Capital GP
             List the contract number of any                                               225 West Washington Street
                   government contract                                                     Indianapolis, IN 46204


 2.167.      State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 2047 Somerset
             the debtor's interest                        expiring 1/31/2021

                  State the term remaining                                                 Somerset Collection Limited
                                                                                           100 Falleria Officecentre
             List the contract number of any                                               Suite 427
                   government contract                                                     Southfield, MI 48037-0667


 2.168.      State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 1036 Knoxville
             the debtor's interest                        expiring 1/31/2022
                                                                                           Spartan Holdings, LLC
                  State the term remaining                                                 7216 Wellington Drive
                                                                                           Suite One
             List the contract number of any                                               Knoxville, TN 37919
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                           Page 30 of 40
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                                Doc 162   Filed 05/08/20         Page 223 of 274
 Debtor 1 FoodFirst Global Restaurants, Inc.                                                       Case number (if known)   6:20-bk-02159-LVV
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                            State the name and mailing address for all other parties with
                                                                                       whom the debtor has an executory contract or unexpired
                                                                                       lease

                    government contract


 2.169.      State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 1036 Knoxville
             the debtor's interest                        expiring 1/31/2022

                  State the term remaining                                                 Spartan Holdings, LLC
                                                                                           100 Tulsa Road
             List the contract number of any                                               Suite 23
                   government contract                                                     Oak Ridge, TN 37830


 2.170.      State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 2067 Vegas
             the debtor's interest                        expiring 1/31/2024

                  State the term remaining                                                 SRMF TOWN SQUARE OWNER
                                                                                           1 EAST WACKER DRIV E
             List the contract number of any                                               SUITE 2900
                   government contract                                                     Chicago, IL 60601


 2.171.      State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 2067 Vegas
             the debtor's interest                        expiring 1/31/2024

                  State the term remaining                                                 SRMF TOWN SQUARE OWNER
                                                                                           6605 LAS VEGAS BLVD SOUTH
             List the contract number of any                                               SUITE 201
                   government contract                                                     Las Vegas, NV 89119


 2.172.      State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 1052 Belden Village
             the debtor's interest                        expiring 1/31/2022

                  State the term remaining                                                 SRP Property Management, LLC
                                                                                           1 E. Wacker Drive
             List the contract number of any                                               Suite 3700
                   government contract                                                     Chicago, IL 60601


 2.173.      State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 1046 Franklin Park
             the debtor's interest                        expiring 1/31/2021

                  State the term remaining                                                 SRP Property Management, LLC
                                                                                           1 E. Wacker Drive
             List the contract number of any                                               Suite 3700
                   government contract                                                     Chicago, IL 60601


 2.174.      State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 1046 Franklin Park           Star-West Franklin Park Mall
             the debtor's interest                        expiring 1/31/2021               5001 Monroe St
                                                                                           Toledo, OH 43623
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                           Page 31 of 40
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                                Doc 162   Filed 05/08/20         Page 224 of 274
 Debtor 1 FoodFirst Global Restaurants, Inc.                                                       Case number (if known)   6:20-bk-02159-LVV
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                            State the name and mailing address for all other parties with
                                                                                       whom the debtor has an executory contract or unexpired
                                                                                       lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.175.      State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 2068 Partridge
             the debtor's interest                        Creek expiring
                                                          1/31/2023
                  State the term remaining                                                 Starwood Retail Property Mgmt
                                                                                           1 E. Wacker Drive
             List the contract number of any                                               Suite 3700
                   government contract                                                     Chicago, IL 60601


 2.176.      State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 2033 Stony Point
             the debtor's interest                        expiring 8/31/2023

                  State the term remaining                                                 Starwood Retail Property Mgmt
                                                                                           1 E. Wacker Drive
             List the contract number of any                                               SUITE 3700
                   government contract                                                     Chicago, IL 60601


 2.177.      State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 2011 Easton
             the debtor's interest                        expiring 12/31/2024

                  State the term remaining                                                 Steiner & Associates
                                                                                           4016 Townsfair Way
             List the contract number of any                                               Suite 201
                   government contract                                                     Columbus, OH 43219


 2.178.      State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 2033 Stony Point
             the debtor's interest                        expiring 8/31/2023

                  State the term remaining
                                                                                           Stony Point Fashion Park
             List the contract number of any                                               9200 Stony Point Pkwy
                   government contract                                                     Richmond, VA 23235


 2.179.      State what the contract or                   Food Vendor
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                Annual
                                                                                           SYSCO ARKANSAS. LLC
             List the contract number of any                                               P.O. BOX 193410
                   government contract                                                     LITTLE ROCK, AR 72219-3410




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                           Page 32 of 40
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                                Doc 162   Filed 05/08/20         Page 225 of 274
 Debtor 1 FoodFirst Global Restaurants, Inc.                                                       Case number (if known)   6:20-bk-02159-LVV
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                            State the name and mailing address for all other parties with
                                                                                       whom the debtor has an executory contract or unexpired
                                                                                       lease

 2.180.      State what the contract or                   Food Vendor
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                Annual                           SYSCO CORPORATION
                                                                                           Sysco Business Services
             List the contract number of any                                               24500 Northwest Freeway
                   government contract                                                     Crypress, TX 77429


 2.181.      State what the contract or                   Food Vendor
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                Annual
                                                                                           SYSCO IOWA, INC.
             List the contract number of any                                               P.O. BOX 874
                   government contract                                                     DES MOINES, IA 50304-0874


 2.182.      State what the contract or                   Food Vendor
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                Annual
                                                                                           SYSCO LINCOLN
             List the contract number of any                                               P.O. BOX 80068
                   government contract                                                     LINCOLN, NE 68501-0068


 2.183.      State what the contract or                   Food Vendor
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                Annual
                                                                                           SYSCO NEW MEXICO
             List the contract number of any                                               601 COMANCHE NE
                   government contract                                                     ALBUQUERQUE, NM 87107


 2.184.      State what the contract or                   Food Vendor
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                Annual
                                                                                           T&T PRODUCE
             List the contract number of any                                               PO BOX 5756
                   government contract                                                     FORT OGLETHORPE, GA 30742


 2.185.      State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 2087 International
             the debtor's interest                        Plaza expiring
                                                          1/31/2024                        Tampa Westshore Assoc. Ltd
                  State the term remaining                                                 200 East Long Lake Road
                                                                                           PO Box 200
             List the contract number of any                                               Bloomfield Hills, MI 48303-0200
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                           Page 33 of 40
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                                Doc 162   Filed 05/08/20         Page 226 of 274
 Debtor 1 FoodFirst Global Restaurants, Inc.                                                       Case number (if known)   6:20-bk-02159-LVV
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                            State the name and mailing address for all other parties with
                                                                                       whom the debtor has an executory contract or unexpired
                                                                                       lease

                    government contract


 2.186.      State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 2123 Sarasota UTC
             the debtor's interest                        (FL) expiring 10/31/2024

                  State the term remaining                                                 TB MALL AT UTC, LLC
                                                                                           200 East Long Lake Road
             List the contract number of any                                               Suite 300
                   government contract                                                     Bloomfield Hills, MI 48304


 2.187.      State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 2109 The Falls
             the debtor's interest                        expiring 12/31/2023

                  State the term remaining
                                                                                           THE FALLS SHOPPING CENTER ASSOC
             List the contract number of any                                               225 West Washington Street
                   government contract                                                     Indianapolis, IN 46204-3438


 2.188.      State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 2116 Irvine (CA)
             the debtor's interest                        expiring 12/31/2024

                  State the term remaining
                                                                                           The Irvine Company LLC
             List the contract number of any                                               101 Innovation
                   government contract                                                     Irvine, CA 92617


 2.189.      State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 2068 Partridge
             the debtor's interest                        Creek expiring
                                                          1/31/2023
                  State the term remaining
                                                                                           The Mall at Partridge Creek
             List the contract number of any                                               17420 Hall Road
                   government contract                                                     Charter Twp Of Clinton, MI 48038


 2.190.      State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 2062 Cherry Hill
             the debtor's interest                        expiring 1/31/2023

                  State the term remaining
                                                                                           The Weingarten Law Firm, LLC
             List the contract number of any                                               1260 Stelton Road
                   government contract                                                     Piscataway, NJ 08854


 2.191.      State what the contract or                   Real Property Lease              The Woodlands Mall Assoc.
             lease is for and the nature of               RE: 2035 Woodlands               350 N. Orleans St.
             the debtor's interest                        expiring 1/31/2025               Suite 300
                                                                                           Chicago, IL 60654-1607
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                           Page 34 of 40
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                                Doc 162   Filed 05/08/20         Page 227 of 274
 Debtor 1 FoodFirst Global Restaurants, Inc.                                                       Case number (if known)   6:20-bk-02159-LVV
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                            State the name and mailing address for all other parties with
                                                                                       whom the debtor has an executory contract or unexpired
                                                                                       lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.192.      State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 2035 Woodlands
             the debtor's interest                        expiring 1/31/2025

                  State the term remaining                                                 The Woodlands Mall Assoc.
                                                                                           1201 Lake Woodlands Dr
             List the contract number of any                                               Suite 700
                   government contract                                                     The Woodlands, TX 77380


 2.193.      State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 2093 Summerlin
             the debtor's interest                        expiring 12/31/2021

                  State the term remaining                                                 Tivoli Management, LLC
                                                                                           100 N. Sepulveda Blvd
             List the contract number of any                                               Suite 1925
                   government contract                                                     El Segundo, CA 90245


 2.194.      State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 2093 Summerlin
             the debtor's interest                        expiring 12/31/2021

                  State the term remaining                                                 Tivoli Village
                                                                                           400 Rampart Blvd
             List the contract number of any                                               Suite 350
                   government contract                                                     Las Vegas, NV 89145


 2.195.      State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 1039 Virginia
             the debtor's interest                        Beach expiring
                                                          1/31/2025
                  State the term remaining                                                 Town Center Associates 8
                                                                                           222 Central Park Avenue
             List the contract number of any                                               Suite 2100
                   government contract                                                     Virginia Beach, VA 23462


 2.196.      State what the contract or                   Management
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining
                                                                                           Tribal Casino Gaming Enterpr
             List the contract number of any                                               P.O. Box 1955
                   government contract                                                     Cherokee, NC 28719




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                           Page 35 of 40
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                                Doc 162   Filed 05/08/20         Page 228 of 274
 Debtor 1 FoodFirst Global Restaurants, Inc.                                                       Case number (if known)   6:20-bk-02159-LVV
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                            State the name and mailing address for all other parties with
                                                                                       whom the debtor has an executory contract or unexpired
                                                                                       lease

 2.197.      State what the contract or                   Banking Software
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                Annual
                                                                                           TRINTECH INC
             List the contract number of any                                               P.O. BOX 205367.
                   government contract                                                     DALLAS, TX 75320-5367


 2.198.      State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 1028 Louisville
             the debtor's interest                        expiring 9/30/2020

                  State the term remaining                                                 TWB Oxmoor 2, LLC
                                                                                           200 South Fifth Street
             List the contract number of any                                               Suite 500 North
                   government contract                                                     Louisville, KY 40202


 2.199.      State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 1028 Louisville
             the debtor's interest                        expiring 9/30/2020

                  State the term remaining                                                 TWB Oxmoor 2, LLC
                                                                                           Attn: Special Assets
             List the contract number of any                                               P.O. Box 34290
                   government contract                                                     Louisville, KY 40232-4290


 2.200.      State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 2048 Tysons
             the debtor's interest                        Corner expiring
                                                          1/31/2021
                  State the term remaining                                                 Tysons Corner Holding LLC
                                                                                           1961 Chain Bridge Road
             List the contract number of any                                               Suite 305
                   government contract                                                     Tysons Corner, VA 22102


 2.201.      State what the contract or                   Insurance
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                Annual
                                                                                           UNUM LIFE INSURANCE COMPANY
             List the contract number of any                                               P.O. BOX 406946
                   government contract                                                     ATLANTA, GA 30384-6946


 2.202.      State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 1009 Willowlake
             the debtor's interest                        expiring 3/31/2021
                                                                                           USRP Willow East, LLC (IL)
                  State the term remaining                                                 1315 W. 22nd Street
                                                                                           Suite 250
             List the contract number of any                                               Oak Brook, IL 60623
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                           Page 36 of 40
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                                Doc 162   Filed 05/08/20         Page 229 of 274
 Debtor 1 FoodFirst Global Restaurants, Inc.                                                       Case number (if known)   6:20-bk-02159-LVV
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                            State the name and mailing address for all other parties with
                                                                                       whom the debtor has an executory contract or unexpired
                                                                                       lease

                    government contract


 2.203.      State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 1009 Willowlake
             the debtor's interest                        expiring 3/31/2021

                  State the term remaining                                                 USRP Willow East, LLC (MD)
                                                                                           4350 East-West Highway
             List the contract number of any                                               Suite 400
                   government contract                                                     Bethesda, MD 20814


 2.204.      State what the contract or                   IT Support
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                Annual
                                                                                           Verizon
             List the contract number of any                                               P.O. BOX 4830
                   government contract                                                     TRENTON, NJ 08650-4830


 2.205.      State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 1023 Rochester
             the debtor's interest                        expiring 12/31/2022

                  State the term remaining                                                 VORH ASSOCIATES, LLC
                                                                                           350 N. OLD WOODWARD AVE.
             List the contract number of any                                               STE 300
                   government contract                                                     Birmingham, MI 48009


 2.206.      State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 2118 Walt Whitman
             the debtor's interest                        expiring 12/31/2023

                  State the term remaining
                                                                                           WALT WHITMAN MALL, LLC
             List the contract number of any                                               225 West Washington Street
                   government contract                                                     Indianapolis, IN 46204-3438


 2.207.      State what the contract or                   Trade Vendor
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                Annual
                                                                                           WASSERSTROM COMPANY
             List the contract number of any                                               P.O. BOX 182056
                   government contract                                                     COLUMBUS, OH 43218-2056


 2.208.      State what the contract or                   Real Property Lease              Waterside Shops Pelican Bay
             lease is for and the nature of               RE: 2053 Waterside               100 Galleria Officentre
             the debtor's interest                        expiring 1/31/2022               Suite 427
                                                                                           Southfield, MI 48037-0667
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                           Page 37 of 40
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                                Doc 162   Filed 05/08/20         Page 230 of 274
 Debtor 1 FoodFirst Global Restaurants, Inc.                                                       Case number (if known)   6:20-bk-02159-LVV
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                            State the name and mailing address for all other parties with
                                                                                       whom the debtor has an executory contract or unexpired
                                                                                       lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.209.      State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 2065 Watters Creek
             the debtor's interest                        (Mkt St) expiring
                                                          4/30/2023
                  State the term remaining
                                                                                           Watters Creek Owner, LLC
             List the contract number of any                                               970 Garden Park Drive
                   government contract                                                     Allen, TX 75013


 2.210.      State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 2065 Watters Creek
             the debtor's interest                        (Mkt St) expiring
                                                          4/30/2023
                  State the term remaining                                                 Watters Creek Owner, LLC
                                                                                           1701 River Run
             List the contract number of any                                               Suite 500
                   government contract                                                     Fort Worth, TX 76102


 2.211.      State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 1084 West County
             the debtor's interest                        expiring 1/31/2025

                  State the term remaining                                                 West County Mall CMBS, LLC
                                                                                           2030 Hamilton Place Blvd
             List the contract number of any                                               Ste 500
                   government contract                                                     Chattanooga, TN 37421


 2.212.      State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 1084 West County
             the debtor's interest                        expiring 1/31/2025

                  State the term remaining
                                                                                           West County Mall CMBS, LLC
             List the contract number of any                                               80 West County Center
                   government contract                                                     St. Louis, MO 63131


 2.213.      State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 2080 Westfarms
             the debtor's interest                        expiring 1/31/2025

                  State the term remaining                                                 West Farms Mall, LLC
                                                                                           200 East Long Lake Road
             List the contract number of any                                               PO Box 200
                   government contract                                                     Bloomfield Hills, MI 48303-0200




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                           Page 38 of 40
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                                Doc 162   Filed 05/08/20         Page 231 of 274
 Debtor 1 FoodFirst Global Restaurants, Inc.                                                       Case number (if known)   6:20-bk-02159-LVV
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                            State the name and mailing address for all other parties with
                                                                                       whom the debtor has an executory contract or unexpired
                                                                                       lease

 2.214.      State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 2072 Gilbert (allen)
             the debtor's interest                        expiring 6/30/2023

                  State the term remaining
                                                                                           Westcor Santan Village LLC
             List the contract number of any                                               11411 North Tatum Boulevard
                   government contract                                                     Phoenix, AZ 85028


 2.215.      State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 2072 Gilbert (allen)
             the debtor's interest                        expiring 6/30/2023

                  State the term remaining                                                 Westcor SanTan Village LLC
                                                                                           PO Box 2172
             List the contract number of any                                               401 Wilshire Blvd
                   government contract                                                     Santa Monica, CA 90407


 2.216.      State what the contract or                   Food Vendor
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                Annual
                                                                                           WILLIE ITULE PRODUCE. INC.
             List the contract number of any                                               301 N 45TH AVE
                   government contract                                                     PHOENIX, AZ 85043


 2.217.      State what the contract or                   Insurance Broker
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                Annual                           WILLIS TOWERS WATSON SOUTH
                                                                                           CONCOURSE CORPORATE CENTER
             List the contract number of any                                               FIVE - 18TH FLOOR
                   government contract                                                     ATLANTA, GA 30328


 2.218.      State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 2111 Willowbrook
             the debtor's interest                        expiring 10/31/2022

                  State the term remaining
                                                                                           WILLOWBROOK MALL
             List the contract number of any                                               1400 WILLOWBROOK MALL
                   government contract                                                     Wayne, NJ 07470


 2.219.      State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 2111 Willowbrook
             the debtor's interest                        expiring 10/31/2022
                                                                                           WILLOWBROOK MALL, LLC
                  State the term remaining                                                 350 N. ORLEANS ST.
                                                                                           SUITE 300
             List the contract number of any                                               Chicago, IL 60654-1607
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                           Page 39 of 40
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                                Doc 162   Filed 05/08/20         Page 232 of 274
 Debtor 1 FoodFirst Global Restaurants, Inc.                                                       Case number (if known)   6:20-bk-02159-LVV
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                            State the name and mailing address for all other parties with
                                                                                       whom the debtor has an executory contract or unexpired
                                                                                       lease

                    government contract


 2.220.      State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 2014 Winter Park
             the debtor's interest                        expiring 1/31/2025

                  State the term remaining                                                 Winter Park Town Center LTD
                                                                                           250 Civic Center Drive
             List the contract number of any                                               Suite 500
                   government contract                                                     Columbus, OH 43215


 2.221.      State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 2014 Winter Park
             the debtor's interest                        expiring 1/31/2025

                  State the term remaining                                                 Winter Park Town Center, LTD
                                                                                           5391 Lakewood Ranch Blvd
             List the contract number of any                                               Suite 100
                   government contract                                                     Sarasota, FL 34240


 2.222.      State what the contract or                   training LMS site for
             lease is for and the nature of               field training material
             the debtor's interest                        and video

                  State the term remaining                monthly
                                                                                           Wisetail
             List the contract number of any                                               5301 Riata Park Court F
                   government contract                                                     Austin, TX 78727


 2.223.      State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 2063 Lombard
             the debtor's interest                        expiring 1/31/2023

                  State the term remaining                                                 YTC BUTTERFIELD OWNER, LLC
                                                                                           100 N. Sepulveda Blvd
             List the contract number of any                                               STE 1925
                   government contract                                                     El Segundo, CA 90245


 2.224.      State what the contract or                   Real Property Lease
             lease is for and the nature of               RE: 2063 Lombard
             the debtor's interest                        expiring 1/31/2023

                  State the term remaining
                                                                                           YTC BUTTERFIELD OWNER, LLC
             List the contract number of any                                               203 Yorktown Center
                   government contract                                                     Lombard, IL 60148




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                           Page 40 of 40
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                    Doc 162     Filed 05/08/20           Page 233 of 274

 Fill in this information to identify the case:

 Debtor name         FoodFirst Global Restaurants, Inc.

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

 Case number (if known)         6:20-bk-02159-LVV
                                                                                                                            Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

  No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
  Yes
   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                  Name                            Check all schedules
                                                                                                                                that apply:

    2.1      Bugatti Merger                    420 S. Orange Ave., Ste. 900                     Garrison Loan                   D       2.2
             Sub, Inc.                         Orlando, FL 32801                                Agency Service                   E/F
                                                                                                                                G



    2.2      Bugatti Merger                    420 S. Orange Ave., Ste. 900                     City National Bank              D       2.1
             Sub, Inc.                         Orlando, FL 32801                                                                 E/F
                                                                                                                                G




Official Form 206H                                                       Schedule H: Your Codebtors                                          Page 1 of 1
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                      Best Case Bankruptcy
                                       Case 6:20-bk-02159-LVV                         Doc 162           Filed 05/08/20               Page 234 of 274

                                                                                    Schedule B - Exhibit 7.1
                                                                                     FoodFirst Global Restaurants
                                                                                     Utility and Security Deposits

             Store name        Brand              Vendor who holds deposit                 Amount                                     Comment           Date deposit can be returned
                              BRAVO
Metairie                  01101099       Jefferson Parish Water                                  300.00 Deposit returned when account is closed        When closed
                          01101099       Entergy Electric                                        150.00 Deposit returned when account is closed        When closed
                          01101099       Atmos Energy Gas                                        800.00 Deposit returned when account is closed        When closed
                                                                                               1,250.00

Westchester               01103199                                                             6,730.00 Deposit returned when account is closed        When closed
                                                                                               6,730.00

Virginia Beach            01103999       New Electric Vendor                                   5,695.57 Deposit returned when account is closed        When closed
                                                                                               5,695.57

Spotsylvania              01108599       Dominion Power - Expect New Vendor in P6              7,616.00 Deposit returned when account is closed        When closed
                                                                                               7,616.00

Mercato                   01108899       Teco's Peoples Gas                                    1,190.00 Deposit returned when account is closed        When closed

Little Rock               01109199       Utility Billing Services Water                        1,000.00 Deposit returned when account is closed        When closed
                          01109199       CenterPoint Energy Gas                                  125.00 Deposit returned when account is closed        When closed
                          01109199       Entergy Electric                                      5,222.00 Deposit returned when account is closed        When closed
                                                                                               6,347.00

Lennox                    01110099       Columbus City Treasurer Electric                      1,800.00 Deposit returned when account is closed        When closed

Harbourside Place         01113399       Teco People's Gas                                     4,525.00 Deposit returned when account is closed        When Closed

Huntsville                01113699       City of Huntsville - Electric                         7,800.00 Deposit returned when account is closed        When Closed
                                         City of Huntsville - Gas                             19,000.00 Deposit returned when account is closed        When Closed
                                                                                              26,800.00


                               BRIO

Winterpark                02201499       City of Winter Park Electric                          9,185.00 Deposit returned when account is closed        When closed
                          02201499       Teco Gas                                              2,020.00 Deposit returned when account is closed        When closed
                                                                                              11,205.00

Millenia                  02202299       Orlando Utilities Commission Electric                 6,000.00 Deposit returned when account is closed        When closed
                          02202299       Teco People Gas                                       2,000.00 Deposit returned when account is closed        When closed
                                                                                               8,000.00

West Palm                 02203099       Teco People's Gas                                     1,957.49 Deposit returned when account is closed        When closed
                                                                                               1,957.49

Naples                    02205399       Teco People Gas                                       2,245.00 Deposit returned when account is closed        When closed

Pembroke Pines            02206499       Teco People Gas                                       2,545.00 Deposit returned when account is closed        When closed
                          02206499       City of Pembroke Trash                                1,708.06 Deposit returned when account is closed        When closed
                          02206499       City of Pembroke Water                                  640.00 Deposit returned when account is closed        When closed
                                                                                               4,893.06

Crabtree                  02207699       Progress Energy Carolinas, Inc- Electric              8,468.00 Deposit returned when account is closed        When closed

International             02208799       Teco's Peoples Gas                                    2,000.00 Deposit returned when account is closed        When closed

Gulfstream                02209099       Teco People Gas                                       2,500.00 Deposit returned when account is closed        When closed
                          02209099       Florida Power & Light                               155,054.06 Deposit returned when account is closed        When closed
                                                                                             157,554.06

Boca Raton                02210899       Florida Public Utilities Gas                          7,950.00 Deposit returned when account is closed        When Closed
                                 Case 6:20-bk-02159-LVV                          Doc 162          Filed 05/08/20               Page 235 of 274
                                                                             FoodFirst Global Restaurants
                                                                             Utility and Security Deposits

                  02210899           City of Boca Raton- Water                         4,000.00 Deposit is returned when account is closed and applied to last invoice.   When Closed
                                                                                      11,950.00

Arboretum         02211099           Texas Gas Service                                 5,600.00 Deposit returned when account is closed                                   When Closed

Jacksonville      02211299           Teco People's Gas                                   925.00 Deposit returned when account is closed                                   When Closed
                  02211299           JEA Electric                                      7,400.00 Deposit returned when account is closed                                   When Closed
                                                                                       8,325.00

Spectrum Center   02211699           Southern California Edison                       28,400.00 Deposit returned after 12 consecutive payments                            October 2019


University TC     02212399           PGS Gas Service                                   3,975.00 Deposit returned when account is closed                                   When Closed

Plantation        02213299           Teco People's Gas                                 3,200.00 Deposit returned when account is closed                                   When Closed

Siesta Key        02213599           Teco People's Gas                                   923.00 Deposit returned when account is closed                                   When Closed

Corporate         99999900           UHC Deposit                                       5,000.00 Deposit returned when account is closed                                   When Closed

                  99999900           Orlando Office                                   32,344.76 Orlando Office rent deposit - 30 Days After 2nd Anniversay 11.05.18       December 2020

                                                                                      37,344.76                                                                           include



                                     Total FFGR Deposits                             357,993.94




                  Summary of when deposits will be returned
                                                                                      40,188.06   When closed
                                                                                      28,400.00   May 2019 Southern California Edison
                                                                                            -     AMT Refund June 2022 - Declining balance payment over the next 3 years (after 2019 payment)
                                                                                      32,344.76   Orlando Office rent deposit - 30 Days After 2nd Anniversay Dec 2020
                                                                  (257,061.12)       100,932.82
                                                  Case 6:20-bk-02159-LVV                   Doc 162          Filed 05/08/20              Page 236 of 274


                                                                                      Schedule B - Exhibit 62

                                                                               FoodFirst Global Restaurants, Inc.

                                                                           Active Licenses, Permits, Inspections, etc.
   Site Code        Site Name        State Name            Jurisdiction Name                    License Number                  License Name             License Type Code       Due Date     Expiration Date
1002           Bethel           Ohio                 Columbus                         DA0344                          Alarm Permit                      ALRM                 05/03/2020     05/04/2020
1002           Bethel           Ohio                 Columbus                         2019-1008072810                 Fire Permit                       FIRE                 11/07/2020     12/31/2020
1002           Bethel           Ohio                 Ohio                             0927200-0020                    Liquor State                      LST                  01/17/2021     02/01/2021
1002           Bethel           Ohio                 Columbus                         PR0001832 - PT0001849           Health Permit                     HLTH                 03/01/2021     03/01/2021
1003           Castleton        Indiana              Indiana                          RR4987037                       LIQR State                        LST                  01/17/2021     03/19/2021
1004           Dayton           Ohio                 Ohio                             0927200-0065                    LIQR State                        LST                  05/18/2020     06/01/2020
1004           Dayton           Ohio                 Centerville/Montgomery           20200227                        HLTH                              HLTH                 03/01/2021     03/01/2021
1005           Crosswoods       Ohio                 Ohio                             0927200-0015                    Liquor State                      LST                  01/17/2021     02/01/2021
1007           McKnight         Pennsylvania         Allegheny                        201905140090                    Health                            HLTH                 06/30/2020     06/30/2020
1007           McKnight         Pennsylvania         North Hills School District - Ro 9013369 Quarterly               School Mercantile and Privilege TaBUGR                 07/15/2020
1007           McKnight         Pennsylvania         North Hills School District - Ro 9013369                         Mercantile License                BUS                  12/15/2020     12/31/2020
1007           McKnight         Pennsylvania         Pennsylvania                     R16568/LID 43628                Liquor State                      LST                  04/01/2021     05/31/2021
1007           McKnight         Pennsylvania         Pennsylvania                     83917757-2                      Sales Tax License                 BUS                  09/30/2021     09/30/2021
1009           Willowlake       Indiana              Indiana                          RR4997429                       Beer Wine & Liquor                LST                  11/30/2020     02/17/2021
1009           Willowlake       Indiana              Marion                           92272                           Health                            HLTH                 03/01/2021     02/28/2021
1010           Metairie         Louisiana            Louisiana                        XX-XXXXXXX / 26-0000005157-BL   Health Permit                     HLTH                 06/30/2020     06/30/2020
1010           Metairie         Louisiana            Jefferson                        224942805                       Alcohol Retail Permit             LCO                  11/01/2020     12/31/2020
1010           Metairie         Louisiana            Jefferson                        270159306                       Occupational License Tax          BUS                  03/01/2021     12/31/2020
1010           Metairie         Louisiana            Louisiana                        AR.26.0000005157-BL             Restaurant Beer and Liquor        LST                  02/28/2022     02/28/2022
1012           Robinson         Pennsylvania         Allegheny                        201910040013                    Health Department Permit          HLTH                 10/31/2020     10/31/2020
1012           Robinson         Pennsylvania         Pennsylvania                     LID44617/R12362                 Liquor License                    LST                  04/01/2021     05/31/2021
1012           Robinson         Pennsylvania         Pennsylvania                     83917757-4                      Sales Tax License                 BUS                  09/30/2021     09/30/2021
1013           Cranberry        Pennsylvania         Butler                           86844                           Business Privilege/Mercantile     BUS                  05/15/2020     12/31/2019
1013           Cranberry        Pennsylvania         Pennsylvania                     113750                          Retail Food Facility              HLTH                 10/31/2020     10/31/2020
1013           Cranberry        Pennsylvania         Pennsylvania                     R12208/LID56602                 Liquor                            LST                  05/01/2021     06/30/2021
1013           Cranberry        Pennsylvania         Pennsylvania                     83917757-5                      Sales Tax License                 BUS                  09/30/2021     09/30/2021
1016           Waterfront       Pennsylvania         Allegheny                        200101100008                    Health Permit                     HLTH                 01/31/2021     01/31/2021
1016           Waterfront       Pennsylvania         West Homestead                   Parking                         Parking Privilege                 OTH                  03/31/2021     12/31/2020
1016           Waterfront       Pennsylvania         Pennsylvania                     LID47296/R13473                 Liquor                            LST                  04/01/2021     05/31/2021
1016           Waterfront       Pennsylvania         Pennsylvania                     83917757 Sales Tax              State Sales Tax                   BUS                  09/30/2021     09/30/2021
1021           Lansing          Michigan             Ingham                           SFE2233038048                   Health                            HLTH                 04/30/2020     04/30/2020
1021           Lansing          Michigan             Michigan                         BID: 142784                     Liquor State                      LST                  04/15/2021     04/30/2021
1023           Rochester        Michigan             Rochester Hills                  Fire Acct: 206.104001           Fire Inspection                   INSP                 03/25/2021     01/22/2021
1023           Rochester        Michigan             Michigan                         BID: 143411                     Liquor                            LST                  04/15/2021     04/30/2021
1023           Rochester        Michigan             Oakland                          SFE3963040303                   Health                            HLTH                 04/30/2021     04/30/2021
1023           Rochester        Michigan             Oakland/Michigan                 MIR438817                       Boiler Certificate                BOIL                 03/20/2021     03/20/2021
1026           Eton             Ohio                 Ohio                             0927200-0035                    Liquor State                      LST                  09/16/2020     10/01/2020
1026           Eton             Ohio                 Cuyahoga                         MJAE-BLKMFW                     Food Service                      HLTH                 03/01/2021     03/01/2021
1027           Leawood          Kansas               Johnson                          97546FR                         Johnson County Wastewater         WWGT                 04/15/2020     04/15/2020
1027           Leawood          Kansas               Leawood                          OL.007492                       Business/Occupational License     BUS                  06/30/2020     06/30/2020
1027           Leawood          Kansas               Kansas                           7696                            Health Permit                     HLTH                 03/31/2021     03/31/2021
                                          Case 6:20-bk-02159-LVV           Doc 162         Filed 05/08/20           Page 237 of 274


1027   Leawood             Kansas            Kansas                10-019-1344-06                 Drinking Establishment License LST       02/01/2022   03/02/2022
1027   Leawood             Kansas            Leawood               DEL 21                         Drinking Establishment License LCI       03/02/2022   03/02/2022
1028   Louisville          Kentucky          Kentucky              056-NQ2-3777/056-RS-5407       Liquor                            LST    10/31/2020   10/31/2020
1028   Louisville          Kentucky          Louisville/Kentucky   105651                         Food Service Operation            HLTH   12/31/2020   12/31/2020
1028   Louisville          Kentucky          Jefferson             ABC927416-BUS                  Liquor City and County            LCI    01/31/2021   01/31/2021
1031   West Chester        Ohio              Ohio                  0927200-0040                   Liquor                            LST    05/18/2020   06/01/2020
1031   West Chester        Ohio              Butler/Ohio           262973                         Watertube Boiler                  BOIL   10/30/2020   10/30/2020
1031   West Chester        Ohio              Butler                CYER-BL3KR5                    Food Service Operation            HLTH   03/01/2021   03/01/2021
1034   Galleria            Pennsylvania      Mount Lebanon         19001773                       Place of Assembly                 FIRE   10/30/2020   09/30/2020
1034   Galleria            Pennsylvania      Allegheny             201911250002                   Health Permit                     HLTH   11/30/2020   11/30/2020
1034   Galleria            Pennsylvania      Mount Lebanon         20001260                       Private Alarm System              ALRM   02/02/2021   12/31/2020
1034   Galleria            Pennsylvania      Pennsylvania          LID52033/R20168                Liquor                            LST    04/01/2021   05/31/2021
1034   Galleria            Pennsylvania      Pennsylvania          83917757-7                     Sales Tax License                 TXSU   09/30/2021   09/30/2021
1036   Knoxville           Tennessee         Tennessee             HE 0605191860 AUX              Health AUX                        HLTH   07/31/2020   06/30/2020
1036   Knoxville           Tennessee         Tennessee             HE 0605191858                  Health Food Service               HLTH   07/31/2020   06/30/2020
1036   Knoxville           Tennessee         Knoxville             42720 Beer                     LIQR City Beer Tax                LIQ    01/31/2021
1036   Knoxville           Tennessee         Tennessee             LBDRST-KNO-1800087             Liquor State                      LST    04/11/2021   04/11/2021
1036   Knoxville           Tennessee         Knoxville             42720                          City LIQR                         LCI    04/11/2021   04/11/2021
1036   Knoxville           Tennessee         Knox                  81045                          County Business Tax               BUS    04/15/2021   05/15/2021
1036   Knoxville           Tennessee         Knoxville             221703                         Business City Tax                 BUS    04/15/2021   05/15/2021
1038   Zona Rosa           Missouri          Platte                722                            County Liquor License             LCO    12/01/2020   12/31/2020
1038   Zona Rosa           Missouri          Kansas City           FD-IFC-33706                   Fire Permit                       FIRE   12/02/2020   11/30/2020
1038   Zona Rosa           Missouri          Platte                4660                           Platte County Merchant License BUS       12/31/2020   12/31/2020
1038   Zona Rosa           Missouri          Kansas City           100871                         Food Establishment Permit         HLTH   12/31/2020   12/31/2020
1038   Zona Rosa           Missouri          Kansas City           10042512-12-2019               Liquor By The Drink               LCI    02/28/2021   03/31/2021
1038   Zona Rosa           Missouri          Kansas City           1038 Lorene Epple              1038 Lorene Epple                 STIP   03/31/2021   06/30/2021
1038   Zona Rosa           Missouri          Missouri              261046/261047                  Liquor State                      LST    05/01/2021   06/30/2021
1039   Virginia Beach      Virginia          Virginia              34102                          Liquor State                      LST    08/15/2020   08/31/2020
1039   Virginia Beach      Virginia          Virginia Beach        2019-098664                    Virginia Beach                    HLTH   09/30/2020   09/30/2020
1039   Virginia Beach      Virginia          Virginia              MBAR 1039-LIQR                                                   LIQR   01/01/2021   01/01/2021
1039   Virginia Beach      Virginia          Virginia Beach        2019-098664 BUGR               City Business License             BUGR   03/01/2021   12/31/2020
1039   Virginia Beach      Virginia          Virginia              VA Litter Tax 1039             Litter tax                        BUTX   04/30/2021   12/31/2019
1040   Jordan Creek        Iowa              Iowa                  LC0044944                      Alcoholic Beverages Division      LST    11/29/2020   11/29/2020
1040   Jordan Creek        Iowa              Iowa                  11574                          Food Service Establishment Licens HLTH   11/30/2020   11/30/2020
1042   Livonia             Michigan          Livonia               BARR-20-00009                  City Business License             BUS    11/30/2020   11/30/2020
1042   Livonia             Michigan          Michigan              BID: 155718                    Liquor State                      LST    04/15/2021   04/30/2021
1042   Livonia             Michigan          Wayne                 SFE4882047053                  Health State                      HLTH   04/30/2021   04/30/2021
1042   Livonia             Michigan          Michigan              MIR434532                      Boiler - Hot Water Supply         BOIL   11/07/2022   10/02/2022
1044   Memorial Square     Oklahoma          Oklahoma              MXB429410                      State Liquor                      LST    03/31/2021   03/31/2021
1044   Memorial Square     Oklahoma          Oklahoma              1094516736                     Sales and Use Tax                 TXSU   12/06/2022   12/06/2022
1045   Brookfield Square   Wisconsin         Wisconsin             456-1020053781                 Liquor                            LST    05/18/2020   06/30/2020
1045   Brookfield Square   Wisconsin         Waukesha              138 HSAT-96EW3C                Health Permit                     HLTH   06/30/2020   06/30/2020
1045   Brookfield Square   Wisconsin         Wisconsin             456-1020053781-03 / 036-1020053Business Tax Registration         BUS    02/15/2021   02/28/2021
1046   Franklin Park       Ohio              Ohio                  0927200-0055                   State Liquor                      LST    05/18/2020   06/01/2020
1046   Franklin Park       Ohio              Ohio                  6357715                        Boiler - Water Tube               BOIL   09/30/2020   09/30/2020
1046   Franklin Park       Ohio              Ohio                  JTUK-BMCUJR                    Food Service                      HLTH   03/01/2021   03/01/2021
1052   Belden Village      Ohio              Ohio                  0927200-0060                   Liquor State                      LST    01/17/2021   02/01/2021
1052   Belden Village      Ohio              Ohio                  GDAS-BLQP4J                    Food Service Operation License HLTH      03/01/2021   03/01/2021
                                          Case 6:20-bk-02159-LVV      Doc 162            Filed 05/08/20         Page 238 of 274


1057   Friendly Center   North Carolina      North Carolina   3041012922                      Health Permit                      HLTH   09/19/2020   06/30/2020
1057   Friendly Center   North Carolina      North Carolina   00265499MB                      Mixed Beverage                     LST    04/30/2020   04/30/2020
1057   Friendly Center   North Carolina      Guilford         0010511                         Beer/Wine On Premises              LCO    04/30/2021   04/30/2021
1057   Friendly Center   North Carolina      Greensboro       333844                          Beer/Wine On Premises              LCI    05/01/2021   04/30/2021
1058   Walden            New York            Buffalo          2019-1327                       Fire assembly permit               FIRE   07/31/2020   07/31/2020
1058   Walden            New York            New York         A08-0006                        Sign Permit                        SIGN   02/01/2021   02/27/2021
1058   Walden            New York            New York         904864                          Liquor                             LST    04/29/2021   04/30/2021
1060   Uptown            New Mexico          Albuquerque      PIDN: Q0169                     Liquor City Fee                    LCI    06/30/2020   06/30/2020
1060   Uptown            New Mexico          Albuquerque      PT0082266/PT0082267             Food Service Establishment/Bar HLTH       11/01/2020   10/31/2020
1060   Uptown            New Mexico          New Mexico       2601                            Liquor                             LST    04/01/2021   06/30/2021
1066   Lehigh            Pennsylvania        Pennsylvania     179966                          Health Permit                      HLTH   04/18/2020   04/18/2020
1066   Lehigh            Pennsylvania        Whitehall        BL20184543 BUGR                 Business Privilege Tax Gross Recei BUGR   06/01/2020
1066   Lehigh            Pennsylvania        Whitehall        BL20184543                      Business Privilege License         BUS    01/01/2021   12/31/2020
1066   Lehigh            Pennsylvania        Pennsylvania     R16134/LID59038                 Liquor State                       LST    03/01/2021   04/30/2021
1066   Lehigh            Pennsylvania        Pennsylvania     83917757                        Business Tax                       BUS    09/30/2021   09/30/2021
1071   Summit Mall       Ohio                Ohio             0927200-0075                    Liquor State                       LST    09/16/2020   10/01/2020
1071   Summit Mall       Ohio                Summit           SYOG-7VBTC8                     Food Service Operations            HLTH   03/01/2021   03/01/2021
1077   Deerfield         Ohio                Ohio             0927200-0080                    Liquor State                       LST    05/18/2020   06/01/2020
1077   Deerfield         Ohio                Warren           NFRY-9BTVGV                     Food Service Operation             HLTH   03/01/2021   03/01/2021
1084   West County       Missouri            Missouri         261252 / 261253                 Liquor State                       LST    05/01/2020   06/30/2020
1084   West County       Missouri            Des Peres        Liquor City                     Liquor City                        LCI    06/30/2020   06/30/2020
1084   West County       Missouri            Des Peres        0595                            City Business License              BUS    06/30/2020   06/30/2020
1084   West County       Missouri            Saint Louis      B00302313                       Merchant License                   BUS    12/31/2020   12/31/2020
1084   West County       Missouri            Saint Louis      97254 / 97355                   Retail by the Drink & Sunday Sales LCO    03/24/2021   03/31/2021
1084   West County       Missouri            Des Peres        PT0001689                       Health Permit                      HLTH   03/31/2021   03/31/2021
1084   West County       Missouri            Saint Louis      1084 Lorene Epple               Managing Officer                   STIP   03/31/2021   06/30/2021
1085   Spotsylvania      Virginia            Virginia         67-341566328F-001 Litter        Litter Tax                         BUTX   04/30/2021   12/31/2019
1088   Mercato           Florida             Collier          Life Safety Insp                Life Safety Inspection             INSP   07/31/2020
1088   Mercato           Florida             Collier          090982                          Business Tax Receipt - Rest.       BUS    09/30/2020   09/30/2020
1088   Mercato           Florida             Collier          090983                          Business Tax Receipt - Carry Out BUS      09/30/2020   09/30/2020
1088   Mercato           Florida             Florida          SEA2103108                      Health (SEATING FOOD SER.)         HLTH   12/01/2020   12/01/2020
1088   Mercato           Florida             Florida          BEV2104512                      Liquor State                       LST    03/31/2021   03/31/2021
1091   Little Rock       Arkansas            Arkansas         03523-80039293                  Mixed Drink Maximum                LST    06/01/2020   06/30/2020
1091   Little Rock       Arkansas            Arkansas         162939                          Alarm Permit                       ALRM   06/03/2020   06/03/2020
1091   Little Rock       Arkansas            Little Rock      AL143499                        Mixed Drink Maximum                LCI    06/30/2020   06/30/2020
1091   Little Rock       Arkansas            Arkansas         0841560                         Health Permit                      HLTH   07/01/2020   07/31/2020
1091   Little Rock       Arkansas            Little Rock      BL143499                        Business License City              BUS    01/01/2021   12/31/2020
1100   Lennox            Ohio                Ohio             0927200-0085                    Liquor State                       LST    01/17/2021   02/01/2021
1100   Lennox            Ohio                Ohio             34146 Elevator                  Elevator Permit                    INSP   02/17/2021   02/28/2021
1100   Lennox            Ohio                Franklin         NFRY-9C35YV                     State Health Permit                HLTH   03/01/2021   03/01/2021
1100   Lennox            Ohio                Ohio             300499                          Boiler Permit                      BOIL   03/31/2021   03/31/2021
1113   Omaha             Nebraska            Nebraska         099208                          Liquor State                       LST    04/15/2020   04/30/2020
1113   Omaha             Nebraska            Omaha            78065                           City Occupational Permit           OCC    08/01/2020   08/01/2020
1113   Omaha             Nebraska            Nebraska         64-11308575                     Waste Reduction and Recycle fee ENVM      10/01/2020   10/01/2020
1113   Omaha             Nebraska            Nebraska         11308575                        Litter Fee/Business Sales Tax      BUGR   10/01/2020   10/01/2020
1113   Omaha             Nebraska            Douglas          42450                           Food and Drink                     HLTH   12/31/2020   12/31/2020
1131   Rookwood          Ohio                Ohio             260484                          Fire Permit                        FIRE   03/31/2020   03/01/2020
1131   Rookwood          Ohio                Ohio             0927200-0090                    Liquor State                       LST    05/18/2020   06/01/2020
                                       Case 6:20-bk-02159-LVV          Doc 162         Filed 05/08/20            Page 239 of 274


1131   Rookwood             Ohio          Norwood/Ohio         2018020                         Health Permit                      HLTH   03/01/2021   03/01/2021
1131   Rookwood             Ohio          Ohio                 4738634                         Boiler - Fire Tube                 BOIL   03/31/2021   03/31/2021
1134   Briarwood Mall       Michigan      Washtenaw/Michigan   SFE4781080026                   Food Service License               HLTH   04/30/2020   04/30/2020
1134   Briarwood Mall       Michigan      Michigan             1134 ALARM                      Alarm Permit                       ALRM   01/31/2021   01/31/2021
1134   Briarwood Mall       Michigan      Michigan             BID: 235780                     Liquor State                       LST    04/15/2021   04/30/2021
1136   Huntsville           Alabama       Alabama              010484145                       Liquor State                       LST    07/31/2020   09/30/2020
1136   Huntsville           Alabama       Madison/Alabama      2003407                         Business State and County          BUS    10/31/2020   09/30/2020
1136   Huntsville           Alabama       Madison/Alabama      47-5142                         Health Permit                      HLTH   01/31/2021   01/31/2021
1136   Huntsville           Alabama       Huntsville           297973                          City Business License - Gross ReceiBUGR   01/31/2021   12/31/2020
1138   Henderson            Nevada        Henderson            2015301117                      City Business License              BUGR   04/30/2020   04/30/2020
1138   Henderson            Nevada        Henderson            2015301116                      Liquor City                        LCI    04/30/2020   04/30/2020
1138   Henderson            Nevada        Henderson            FF102015480186                  Fire                               FIRE   07/02/2020   07/02/2020
1138   Henderson            Nevada        Nevada               FA0075018                       State Health Permit                HLTH   07/31/2020   06/30/2020
1140   Fairfield Commons    Ohio          Ohio                 0927200-0100                    Liquor State                       LST    05/18/2020   06/01/2020
1141   Grand Rapids         Michigan      Kent/Michigan        SFE2641082894                   Food Service Establishment Licens HLTH    04/30/2020   04/30/2020
1141   Grand Rapids         Michigan      Grand Rapids         18PAO-20-0546                   City Fire Permit                   FIRE   12/01/2020   12/31/2020
1141   Grand Rapids         Michigan      Grand Rapids         05183                           Alarm Permit                       ALRM   01/13/2021   01/13/2021
1141   Grand Rapids         Michigan      Michigan             BID: 240420                     Liquor State                       LST    04/15/2021   04/30/2021
2011   Easton               Ohio          Columbus             CW9034                          Alarm permit                       ALRM   12/16/2020   12/15/2020
2011   Easton               Ohio          Ohio                 0927200-0010                    Liquor State                       LST    01/17/2021   02/01/2021
2011   Easton               Ohio          Columbus             2020-0114082432                 Fire Permit                        FIRE   02/14/2021   03/30/2021
2011   Easton               Ohio          Columbus             PR0006991 - PT0006203           Health Permit                      HLTH   03/01/2021   03/01/2021
2014   Winter Park          Florida       Winter Park          25053                           City LIQR                          LCI    09/30/2020   09/30/2020
2014   Winter Park          Florida       Winter Park          20-00016341                     City Business License              BUS    09/30/2020   09/30/2020
2014   Winter Park          Florida       Orange               1679                            County Business Tax                BUS    09/30/2020   09/30/2020
2014   Winter Park          Florida       Florida              BEV5808018                      Liquor State                       LST    09/30/2020   09/30/2020
2014   Winter Park          Florida       Florida              BEV5808779                      Liquor Retail                      LRET   09/30/2020   09/30/2020
2014   Winter Park          Florida       Florida              SEA5809614                      Health Permit                      HLTH   04/01/2021   04/01/2021
2018   Birmingham           Alabama       Alabama              000901737                       Liquor State                       LST    07/31/2020   09/30/2020
2018   Birmingham           Alabama       Jefferson            11778                           Health Permit                      HLTH   09/30/2020   09/30/2020
2018   Birmingham           Alabama       Jefferson            076558-BUSJ1                    County Business Tax - Gross Rcpts BUS     10/31/2020   09/30/2020
2018   Birmingham           Alabama       Jefferson/Alabama    076558-BUS1                     County Business Tax                BUS    10/31/2020   09/30/2020
2018   Birmingham           Alabama       Jefferson            20190569                        Grease Control Program             WWGT   12/30/2020   12/30/2020
2018   Birmingham           Alabama       Homewood             2038 Gross Receipts             City Business License              BUGR   01/31/2021   12/31/2020
2018   Birmingham           Alabama       Homewood             2038                            City Business Alcohol License      LCI    01/31/2021   12/31/2020
2020   Newport              Kentucky      Newport              BRIOS00001-000 Gross Receipts ABCity ABC Regulatory Fee            LSAL   07/30/2020
2020   Newport              Kentucky      Newport              20130015                        Liquor City                        LCI    11/01/2020   11/30/2020
2020   Newport              Kentucky      Kentucky             019-NQ2-1554                    Liquor State                       LST    11/30/2020   11/30/2020
2020   Newport              Kentucky      Kentucky             67271                           Health Permit                      HLTH   12/30/2020   12/31/2020
2020   Newport              Kentucky      Newport              BRIOS00001-000                  Occupational License               OCC    04/15/2021   06/30/2021
2022   Millenia             Florida       Florida              120631                          Boiler Inspection                  BOIL   06/07/2020   06/07/2020
2022   Millenia             Florida       Florida              BEV5808786                      Liquor State                       LST    09/30/2020   09/30/2020
2022   Millenia             Florida       Florida              SEA5810729                      Health Permit                      HLTH   04/01/2021   04/01/2021
2025   Crocker Park         Ohio          Ohio                 0927200-0045                    Liquor State                       LST    09/16/2020   10/01/2020
2025   Crocker Park         Ohio          Cuyahoga             MJAE-BLKMDN                     Health Permit                      HLTH   03/01/2021   03/01/2021
2029   Legacy               Ohio          Ohio                 0927200-0030                    Liquor State                       LST    09/16/2020   10/01/2020
2029   Legacy               Ohio          Cuyahoga             MJAE-BLKMAF                     Health Permit                      HLTH   03/01/2021   03/01/2021
2030   Palm Beach Gardens   Florida       Palm Beach Gardens   005545                          City Business License              BUS    09/30/2020   09/30/2020
                                             Case 6:20-bk-02159-LVV            Doc 162         Filed 05/08/20              Page 240 of 274


2030   Palm Beach Gardens   Florida             Palm Beach              LBTR 200414433                   County Business Tax                BUS    09/30/2020   09/30/2020
2030   Palm Beach Gardens   Florida             Florida                 SEA6019155                       Health Permit                      HLTH   12/01/2020   12/01/2020
2030   Palm Beach Gardens   Florida             Florida                 BEV6013313                       Liquor State                       LST    03/31/2021   03/31/2021
2030   Palm Beach Gardens   Florida             Florida                 BEV6015086                       Liquor State Catering              LCA    03/31/2021   03/31/2021
2030   Palm Beach Gardens   Florida             Florida                 122630                           Boiler Certificate                 BOIL   04/19/2022   03/19/2022
2032   Frontenac            Missouri            Frontenac               0628                             City LIQR                          LCI    06/29/2020   06/30/2020
2032   Frontenac            Missouri            Saint Louis             PT0001712                        Health Permit                      HLTH   11/30/2020   11/30/2020
2032   Frontenac            Missouri            Saint Louis             B0139163A                        County Merchant License            BUS    12/31/2020   12/31/2020
2032   Frontenac            Missouri            Frontenac               0524 - Sign                      Sign Permit                        SIGN   02/03/2021   02/02/2021
2032   Frontenac            Missouri            Saint Louis             97352 / 97353                    Retail by the Drink & Sunday Sales LCO    03/24/2021   03/31/2021
2032   Frontenac            Missouri            Saint Louis             2032 Lorene Epple                2032 Lorene Epple                  STIP   03/31/2021   06/30/2021
2032   Frontenac            Missouri            Frontenac               0215                             Business City Tax                  BUS    04/15/2021   12/31/2020
2032   Frontenac            Missouri            Missouri                261250 / 261251                  Liquor State                       LST    05/01/2021   06/30/2021
2033   Stony Point          Virginia            Virginia                27845                            Liquor State                       LST    08/15/2020   08/31/2020
2033   Stony Point          Virginia            Richmond                HMES-A77P7H                      Health Permit                      HLTH   12/31/2020   12/31/2020
2033   Stony Point          Virginia            Richmond                1002233 Mixed Beverage/Seating   City Business License              BUS    03/01/2021   12/31/2020
2033   Stony Point          Virginia            Richmond                1002233 Meal Merchants           City Bus - Gross Receipts          BUS    03/01/2021   12/31/2020
2033   Stony Point          Virginia            Richmond                1002233 Beer/Wine                City Business License              BUS    03/01/2021   12/31/2020
2033   Stony Point          Virginia            Virginia                VA Litter Tax 2033               Litter tax                         BUTX   04/30/2021   12/31/2019
2035   Woodlands            Texas               Montgomery              518051-19                        Health Permit                      HLTH   10/31/2020   10/31/2020
2035   Woodlands            Texas               Montgomery              2035-LCO                         PE554587                           LCO    03/24/2021   03/24/2021
2035   Woodlands            Texas               Texas                   MB554587                         Liquor State                       LST    03/25/2021   03/25/2021
2041   Country Club         Missouri            Kansas City             800088 Catering                  Catering Permit                    HLTH   12/31/2020   12/31/2020
2041   Country Club         Missouri            Kansas City             101054                           Health Permit                      HLTH   12/31/2020   12/31/2020
2041   Country Club         Missouri            Jackson                 FD-IFC-25084                     Fire Permit                        FIRE   02/17/2021   12/31/2020
2041   Country Club         Missouri            Kansas City             10042331-12-2019                 Liquor City                        LCI    02/28/2021   03/31/2021
2041   Country Club         Missouri            Kansas City             2041 Lorene Epple                2041 Lorene Epple                  STIP   03/31/2021   06/30/2021
2041   Country Club         Missouri            Missouri                261048 / 261049                  Retail by the Drink & Sunday Sales LST    05/01/2021   06/30/2021
2047   Somerset             Michigan            Oakland                 SFE3963050354                    Health Permit                      HLTH   04/30/2020   04/30/2020
2047   Somerset             Michigan            Troy                    208516 Security Alarm            Security Alarm Registration        ALRM   09/30/2020   9/30/20
2047   Somerset             Michigan            Troy                    208516 Fire Alarm                Fire Alarm Registration            ALRM   02/26/2021   12/31/2020
2047   Somerset             Michigan            Michigan                BID: 159101                      Liquor State                       LST    04/15/2020   04/30/2020
2048   Tysons Corner        Virginia            Virginia                VA Litter Tax 2048               Litter Tax                         BUTX   04/30/2021   12/31/2019
2053   Waterside            Florida             Collier                 053520                           Carry-Out Business Tax             BUS    09/30/2020   09/30/2020
2053   Waterside            Florida             Collier                 053519                           Restaurant Business Tax            BUS    09/30/2020   09/30/2020
2053   Waterside            Florida             Florida                 SEA2102860                       Health Permit                      HLTH   12/01/2020   12/01/2020
2053   Waterside            Florida             Florida                 BEV2104142                       Liquor State                       LST    03/31/2021   03/31/2021
2054   Southlake            Texas               Tarrant                 16F-16233-1-18                   Health Permit                      HLTH   09/10/2020   09/10/2020
2054   Southlake            Texas               Southlake               20206005                         Liquor City                        LCI    02/08/2021   01/31/2021
2054   Southlake            Texas               Tarrant                 CB623514                         Liquor County                      LCO    03/28/2021   03/28/2021
2054   Southlake            Texas               Texas                   MB623514                         Liquor State                       LST    03/28/2021   03/28/2021
2054   Southlake            Texas               Texas                   201901110062                     Boiler TX230561                    BOIL   12/27/2021   11/19/2021
2055   Piedmont             North Carolina      North Carolina          00265431AJ-998                   Liquor State                       LST    04/30/2020   04/30/2020
2055   Piedmont             North Carolina      Charlotte/Mecklenburg   0147093                          City/County Beer and Wine          LCO    05/01/2020   04/30/2020
2055   Piedmont             North Carolina      Charlotte               2019-161842591                   Fire                               FIRE   07/15/2020   07/01/2020
2055   Piedmont             North Carolina      North Carolina          23505 Elevator                   INSP Elevator                      INSP   07/27/2020   07/27/2020
2055   Piedmont             North Carolina      North Carolina          02060015549                      Health Permit                      HLTH   09/19/2020   06/30/2020
2056   The Greene           Ohio                Ohio                    0927200-0070                     Liquor State                       LST    05/18/2020   06/01/2020
                                              Case 6:20-bk-02159-LVV            Doc 162             Filed 05/08/20         Page 241 of 274


2056   The Greene            Ohio                Greene                 298678                           Watertube Boiler                    BOIL   01/31/2021   01/31/2021
2056   The Greene            Ohio                Greene                 150                              Health Permit                       HLTH   03/01/2021   03/01/2021
2062   Cherry Hill           New Jersey          Cherry Hill            19-0389                          Health Permit                       HLTH   04/30/2020   04/30/2020
2062   Cherry Hill           New Jersey          Cherry Hill Township   0409-33-035-010 City Fee         Liquor City Fee                     LCI    06/01/2020   06/01/2020
2062   Cherry Hill           New Jersey          New Jersey             0409-33-035-010                  Liquor State                        LST    06/01/2020   06/30/2020
2062   Cherry Hill           New Jersey          New Jersey             31776516                         Fire                                FIRE   08/05/2020   08/05/2020
2063   Lombard               Illinois            Du Page                PT0001721                        Food Establishment Permit           HLTH   04/30/2020   04/30/2020
2063   Lombard               Illinois            Lombard                LL18-000149                      Liquor City                         LCI    05/28/2020   06/30/2020
2063   Lombard               Illinois            Illinois               1A-0077326                       Liquor License                      LST    05/31/2020   05/31/2020
2063   Lombard               Illinois            Lombard                BL18-000397-9                    City Business License               BUS    06/30/2020   06/30/2020
2063   Lombard               Illinois            Lombard                ALR18-000658-2                   City Alarm Permit                   ALRM   09/01/2020   08/31/2020
2063   Lombard               Illinois            Lombard                Sales Reporting - Lombard        Liquor Reporting                    LSAL   03/20/2021
2064   Pembroke Pines        Florida             Pembroke Pines         20070980/01                      Business City Tax                   BUS    09/30/2020   09/30/2020
2064   Pembroke Pines        Florida             Broward                170-6527                         County Business Tax                 BUS    09/30/2020   09/30/2020
2064   Pembroke Pines        Florida             Florida                SEA1621858                       Health Permit                       HLTH   12/01/2020   12/01/2020
2064   Pembroke Pines        Florida             Pembroke Pines         ME2783                           Fire                                FIRE   02/06/2021
2064   Pembroke Pines        Florida             Florida                BEV1618507                       Liquor State                        LST    03/31/2021   03/31/2021
2065   Watters Creek         Texas               Allen                  FE000935-07-2018                 Health Permit                       HLTH   07/20/2020   07/20/2020
2065   Watters Creek         Texas               Collin                 RM687301 CO                      Liquor County                       LCO    03/18/2021   03/18/2021
2065   Watters Creek         Texas               Texas                  RM687301                         Liquor State                        LST    03/18/2021   03/18/2021
2067   Las Vegas Town Sqr    Nevada              Nevada                 2067-BOI                         Boiler Inspection                   BOIL   05/11/2020   04/01/2020
2067   Las Vegas Town Sqr    Nevada              Clark                  2001481-LIQ-103                  LIQR County Quarterly               LIQ    06/30/2020   06/30/2020
2067   Las Vegas Town Sqr    Nevada              Clark                  FA0008810                        State Health Permit                 HLTH   07/31/2020   06/30/2020
2067   Las Vegas Town Sqr    Nevada              Clark                  2000148-701                      County Gross Revenue                BUGR   10/07/2020   09/30/2020
2067   Las Vegas Town Sqr    Nevada              Clark                  FP11-44678-FDFE                  Fire - Flame Effects                FIRE   12/18/2020   12/18/2020
2067   Las Vegas Town Sqr    Nevada              Clark                  FP11-44368-FDPA                  Fire - Places of Assembly           FIRE   12/18/2020   12/18/2020
2068   Partridge Creek       Michigan            Michigan               M975392                          Cert of Boiler                      BOIL   07/27/2020   06/27/2020
2068   Partridge Creek       Michigan            Michigan               BID: 163654                      Liquor State                        LST    04/15/2021   04/30/2021
2068   Partridge Creek       Michigan            Michigan               SFE5550057892                    Health License                      HLTH   04/30/2021   04/30/2021
2070   Polaris               Ohio                Columbus               2019-0510091512                  Fire Permit                         FIRE   06/09/2020   07/31/2020
2070   Polaris               Ohio                Ohio                   0927200-0025                     State Liquor                        LST    01/17/2021   02/01/2021
2070   Polaris               Ohio                Columbus               PR0008127-PT0007146              Food Service Operation              HLTH   03/01/2021   03/01/2021
2072   San Tan               Arizona             Maricopa               FD-13007                         Health Permit                       HLTH   06/30/2020   06/30/2020
2072   San Tan               Arizona             Gilbert                BUSLIC000048-01-2020             City Business License               BUS    01/14/2021   12/31/2020
2072   San Tan               Arizona             Gilbert                17886                            City Alcohol License                LCI    01/31/2021   01/31/2021
2072   San Tan               Arizona             Arizona                12077597                         Liquor State                        LST    03/30/2021   03/31/2021
2076   Crabtree              North Carolina      Raleigh                106510                           Liquor                              LCI    04/30/2020   04/30/2020
2076   Crabtree              North Carolina      North Carolina         00265431MB                       State Liquor                        LST    04/30/2020   04/30/2020
2076   Crabtree              North Carolina      Wake                   40607                            Liquor                              LCO    04/30/2020   04/30/2020
2076   Crabtree              North Carolina      North Carolina         04092015289                      Health                              HLTH   09/19/2020   06/30/2020
2080   Westfarms             Connecticut         Connecticut            LIR.0017883                      Liquor State                        LST    07/23/2020   11/23/2020
2080   Westfarms             Connecticut         West Hartford          5739                             Occupancy Permit                    OCC    08/31/2020   08/31/2020
2080   Westfarms             Connecticut         Hartford               2080 Health                      West Hartford-Bloomfield Health     HLTH   11/15/2020   12/31/2020
2087   International Plaza   Florida             Florida                97237                            Cert of Operation Elevator Permit   COP    08/01/2020   08/01/2020
2087   International Plaza   Florida             Hillsborough           226333                           County Business Tax                 BUS    09/30/2020   09/30/2020
2087   International Plaza   Florida             Tampa                  011453                           Business City                       BUS    09/30/2020   09/30/2020
2087   International Plaza   Florida             Florida                BEV3910552                       Liquor                              LST    09/30/2020   09/30/2020
2087   International Plaza   Florida             Florida                SEA3912678                       Health                              HLTH   02/01/2021   02/01/2021
                                           Case 6:20-bk-02159-LVV          Doc 162         Filed 05/08/20        Page 242 of 274


2087   International Plaza   Florida          Florida               SEA3916585                  Health(2)                         HLTH   02/01/2021   02/01/2021
2089   City Centre           Texas            Texas                 100174370                   Burglar Alarm                     ALRM   08/15/2020   08/15/2020
2089   City Centre           Texas            Houston               412308                      Food Dealers Permit & FOG Regist HLTH    03/22/2021   03/22/2021
2089   City Centre           Texas            Houston               2019-145437                 Liquor City                       LCI    03/24/2021   03/24/2021
2089   City Centre           Texas            Texas                 FP-15037366                 Fire Prevention: Type p2 Assm Pla FIRE   04/08/2021   04/08/2021
2089   City Centre           Texas            Harris                CB/PE/MB - 744824           Liquor County                     LCO    03/24/2022   03/24/2022
2089   City Centre           Texas            Texas                 MB744824                    Liquor State                      LST    03/24/2022   03/24/2022
2089   City Centre           Texas            Texas                 202002120067                Boiler TX268853                   BOIL   02/16/2023   01/16/2023
2090   Gulfstream            Florida          Hallandale Beach      4178                        Business City Tax                 BUS    09/30/2020   09/30/2020
2090   Gulfstream            Florida          Hallandale Beach      2371                        Liquor City - Weekend Sales       LSUN   09/30/2020   09/30/2020
2090   Gulfstream            Florida          Broward               170-231895                  County Business Tax               BUS    09/30/2020   09/30/2020
2090   Gulfstream            Florida          Florida               SEA1622364                  Health                            HLTH   12/01/2020   12/01/2020
2090   Gulfstream            Florida          Florida               BEV1619443                  Liquor                            LST    03/31/2021   03/31/2021
2092   Christiana Mall       Delaware         Delaware              90-19-02-1388               Place of Assembly Class B         FIRE   11/18/2020   11/08/2020
2092   Christiana Mall       Delaware         Delaware              N108948                     Food Establishment Permit         HLTH   01/01/2021   02/01/2021
2092   Christiana Mall       Delaware         Delaware              14220                       Liquor State                      LST    01/01/2021   03/30/2021
2092   Christiana Mall       Delaware         New Castle            DE33222                     Boiler                            BOIL   12/20/2021   12/31/2021
2092   Christiana Mall       Delaware         Delaware              2010604949                  Business                          BUS    12/31/2022   12/31/2022
2093   Summerlin             Nevada           Las Vegas             FAN-18026                   Fire Inspecation                  FIRE   06/30/2020   06/30/2020
2093   Summerlin             Nevada           Nevada                FA0008809                   Health Permit                     HLTH   07/31/2020   06/30/2020
2093   Summerlin             Nevada           Las Vegas             R09-01621                   City Business License             BUS    08/15/2020   08/01/2020
2093   Summerlin             Nevada           Las Vegas             P68-00064                   L21-Restaurant with Alcohol       LCI    10/01/2020   07/20/2020
2101   Marlton               New Jersey       Marlton/New Jersey    0313-33-017-004             Liquor                            LST    06/01/2020   06/30/2020
2101   Marlton               New Jersey       New Jersey            31776475                    Fire                              FIRE   01/16/2021   01/16/2021
2101   Marlton               New Jersey       Evesham Township      20-097                      Food Handling Permit              HLTH   01/31/2021   01/31/2021
2102   Murray                Utah             Salt Lake             35-024520                   Health                            HLTH   07/30/2020   07/30/2020
2102   Murray                Utah             Murray                14493                       Business Lic and City Liquor      BUS    09/30/2020   09/30/2020
2102   Murray                Utah             Utah                  RE02018                     Liquor                            LST    09/30/2020   10/31/2020
2105   Dansbury              Connecticut      Danbury               2307                        City of Danbury Health            HLTH   06/30/2020   06/30/2020
2105   Dansbury              Connecticut      Connecticut           LIR.0018469                 Liquor                            LST    11/20/2020   11/20/2020
2105   Dansbury              Connecticut      Danbury               00257                       Fire Inspection                   FIRE   11/20/2020   10/31/2020
2106   Freehold              New Jersey       New Jersey            2106-LST                    1316-32-003-007                   LST    06/01/2020   06/30/2020
2106   Freehold              New Jersey       New Jersey            1316076112                  FIRE                              FIRE   08/23/2020   07/29/2020
2106   Freehold              New Jersey       Freehold/New Jersey   SIGN                        Sign Permit                       SIGN   10/01/2020   10/01/2020
2106   Freehold              New Jersey       Freehold              2020-0069                   Health Permit                     HLTH   01/31/2021   12/31/2020
2108   Boca Raton            Florida          Boca Raton            20-00053467                 City Business Tax                 BUS    09/30/2020   09/30/2020
2108   Boca Raton            Florida          Palm Beach            LBTR 201147641              County Business Tax               BUS    09/30/2020   09/30/2020
2108   Boca Raton            Florida          Florida               SEA6019627                  Health                            HLTH   12/01/2020   12/01/2020
2108   Boca Raton            Florida          Florida               BEV6015689                  Liquor                            LST    03/31/2021   03/31/2021
2109   The Falls             Florida          Miami Dade            00050934                    Boiler Inspection                 BOIL   03/20/2020   03/28/2020
2109   The Falls             Florida          Miami Dade            2020018940                  Certificate of Use - Alcohol      CU     09/30/2020   09/30/2020
2109   The Falls             Florida          Miami Dade            2020018729                  Certificate of Use - Restaurant   CU     09/30/2020   09/30/2020
2109   The Falls             Florida          Miami Dade            7116171                     County Business Tax               BUS    09/30/2020   09/30/2020
2109   The Falls             Florida          Florida               SEA2333894                  Health Permit                     HLTH   10/01/2020   10/01/2020
2109   The Falls             Florida          Florida               GDO-000100-2019/2020        Grease Discharge                  WWGT   12/31/2020   12/31/2020
2109   The Falls             Florida          Florida               13120-00068                 Life Safety Permit                FIRE   02/28/2021   02/28/2021
2109   The Falls             Florida          Florida               BEV2332013                  Liquor State                      LST    03/31/2021   03/31/2021
2110   Arboretum             Texas            Austin                PE820567                    Beverage Occupation Tax           LCI    09/26/2020   09/26/2020
                                             Case 6:20-bk-02159-LVV                Doc 162            Filed 05/08/20         Page 243 of 274


2110   Arboretum                Texas           Travis                     820567                          Occupation Tax Receipt              LCO    09/26/2020   09/26/2020
2110   Arboretum                Texas           Texas                      MB820567                        Liquor                              LST    09/26/2020   09/26/2020
2110   Arboretum                Texas           Austin                     10861209                        Health                              HLTH   11/20/2020   11/20/2020
2110   Arboretum                Texas           Austin                     759AUS0003442                   Wastewater Discharge Permit         WWGT   12/25/2020   12/31/2020
2111   Willowbrook              New Jersey      New Jersey                 1614-33-056-012                 Liquor State                        LST    06/12/2020   06/30/2020
2114   Victoria Gardens         California      San Bernardino             PT0030361                       Health                              HLTH   09/30/2020   09/30/2020
2114   Victoria Gardens         California      California                 525570                          Liquor                              LST    09/30/2020   09/30/2020
2114   Victoria Gardens         California      Rancho Cucamonga           065134                          City Business License / Gross Rece BUGR    11/22/2020   10/23/2020
2116   Irvine                   California      California                 47 536902                       Liquor                              LST    05/31/2020   05/31/2020
2116   Irvine                   California      California                 176663                          South Coast Air Quality Managem AIR        06/04/2020   09/01/2020
2116   Irvine                   California      California                 PR0093490                       Health                              HLTH   08/19/2020   06/30/2020
2116   Irvine                   California      California                 AP21R                           Fire                                FIRE   01/11/2021   12/03/2020
2118   Walt Whitman             New York        Huntington                 111-073E                        Fire                                FIRE   04/30/2020   04/30/2020
2118   Walt Whitman             New York        Suffolk                    39088                           Alarm                               ALRM   08/26/2020   08/26/2020
2118   Walt Whitman             New York        Suffolk                    PT0005867                       Health                              HLTH   09/30/2020   09/30/2020
2118   Walt Whitman             New York        New York                   1273029                         Liquor                              LST    10/31/2021   10/31/2021
2118   Walt Whitman             New York        New York                   S304677 Sign                    Sign Permit                         OTH    10/10/2022   08/31/2022
2119   Rosemary Square          Florida         West Palm Beach            0000029706                      Business City                       BUS    09/30/2020   09/30/2020
2119   Rosemary Square          Florida         Palm Beach                 LBTR 201359241                  Business                            BUS    09/30/2020   09/30/2020
2119   Rosemary Square          Florida         Florida                    SEA6021001                      Health                              HLTH   12/01/2020   12/01/2020
2119   Rosemary Square          Florida         Florida                    BEV6016091                      State Liquor                        LST    03/31/2021   03/31/2021
2120   Quaker Bridge            New Jersey      New Jersey                 1107-33-008-009                 Liquor State                        LST    06/01/2020   06/30/2020
2120   Quaker Bridge            New Jersey      Lawrenceville              1107-33-008-009 City Fee        Liquor City                         LCI    06/10/2020   06/30/2020
2120   Quaker Bridge            New Jersey      New Jersey                 NJ0006027-16H                   Hot Water Tank (boiler)             BOIL   07/01/2020   05/08/2020
2120   Quaker Bridge            New Jersey      Lawrence Township/Mercer   16690                           Township of Lawrence Health PermHLTH       10/31/2020   10/31/2020
2120   Quaker Bridge            New Jersey      New Jersey                 31776479                        Life Hazard Use Certificate or Regi FIRE   03/30/2021   03/30/2021
2120   Quaker Bridge            New Jersey      New Jersey                 NJ0006027-16U                   CO2 Tank                            BOIL   05/08/2022   05/08/2022
2121   Fairfax                  Virginia        Virginia                   L 32828                         Fire Prevention                     FIRE   05/31/2020   05/31/2020
2121   Fairfax                  Virginia        Virginia                   86397                           Liquor State                        LST    08/15/2020   08/31/2020
2121   Fairfax                  Virginia        Fairfax                    25242                           County Health Food EstablishmentHLTH       12/31/2020   12/31/2020
2121   Fairfax                  Virginia        Fairfax                    XXX-XX-XXXX                     Mixed Beverage Tax                  LQTX   01/31/2021   01/31/2021
2121   Fairfax                  Virginia        Fairfax                    2054749                         BPOL Business Professional Occup BUGR      03/01/2021   03/01/2021
2121   Fairfax                  Virginia        Virginia                   VA Litter Tax 2121              Litter Tax Return                   BUTX   04/30/2021   12/31/2019
2122   City Creek               Utah            Salt Lake City             LIC2013-02028                   City Business License               BUS    05/01/2020   04/30/2020
2122   City Creek               Utah            Utah                       RE02137                         Liquor State                        LST    09/30/2020   10/31/2020
2122   City Creek               Utah            Madison                    E-8432                          Elevator Permit                     INSP   03/13/2021   02/13/2021
2122   City Creek               Utah            Utah                       2122-HEL                        35-029818                           HLTH   05/25/2021   05/25/2021
2123   University Town Center Florida           Sarasota                   990010117202                    County Business                     BUS    09/30/2020   09/30/2020
2123   University Town Center Florida           Florida                    SEA6805508                      Health Permit                       HLTH   12/01/2020   12/01/2020
2123   University Town Center Florida           Florida                    BEV6804848                      Liquor State                        LST    03/31/2021   03/31/2021
2125   Liberty Center           Ohio            Ohio                       0927200-0095                    Liquor State                        LST    05/18/2020   06/01/2020
2125   Liberty Center           Ohio            Ohio                       NCRH-BJPLWJ                     Food Service Operation Lic          HLTH   03/01/2021   03/01/2021
2126   Del Amo                  California      California                 25635                           Places of Assembly                  FIRE   03/05/2020
2126   Del Amo                  California      Los Angeles                2126-HEL                                                            HLTH   06/30/2020   06/30/2020
2126   Del Amo                  California      California                 572913                          Liquor State                        LST    10/31/2020   10/31/2020
2126   Del Amo                  California      California                 ALRM-026679                     Alarm                               ALRM   12/20/2020
2126   Del Amo                  California      Torrance                   BL-LIC-033790                   City Business License               BUS    01/31/2021   12/31/2020
2132   Broward Mall - PlantationFlorida         Plantation                 FH003329                        General Fire Inspection             FIRE   04/30/2020   04/01/2020
                                                 Case 6:20-bk-02159-LVV               Doc 162          Filed 05/08/20        Page 244 of 274


2132   Broward Mall - PlantationFlorida             Plantation                 FH003878                     Semi-Annual Hood Inspection   FIRE   06/25/2020
2132   Broward Mall - PlantationFlorida             Plantation                 OC14-0844                    City Business License         BUS    09/30/2020   09/30/2020
2132   Broward Mall - PlantationFlorida             Broward                    LBTR 170-268827              County Business Tax           BUS    09/30/2020   09/30/2020
2132   Broward Mall - PlantationFlorida             Florida                    SEA1623730                   Health Permit                 HLTH   12/01/2020   12/01/2020
2132   Broward Mall - PlantationFlorida             Florida                    BEV1621277                   Liquor State                  LST    03/31/2021   03/31/2021
2132   Broward Mall - PlantationFlorida             Plantation                 FA262795/35236               Alarm Permit                  ALRM   04/17/2021   04/17/2021
2801   Cherokee                 North Carolina      Tribal Gaming commission   2011-401                     Major Vendor                  BUS    11/30/2020   12/31/2020
2801   Cherokee                 North Carolina      EBCI                       00357664                     Liquor                        LIQ    04/15/2021   04/30/2021
3017   Bon Vie Easton           Ohio                Columbus                   2019-0718085000              Fire Permit                   FIRE   08/17/2020   09/30/2020
3017   Bon Vie Easton           Ohio                Columbus                   DF8942                       Alarm permit                  ALRM   08/31/2020   08/31/2020
3017   Bon Vie Easton           Ohio                Ohio                       0927200-0005                 Liquor State                  LST    01/17/2021   02/01/2021
3017   Bon Vie Easton           Ohio                Columbus                   PR0007656 - PT0006687        Health Permit                 HLTH   03/01/2021   03/01/2021
                           Case 6:20-bk-02159-LVV                         Doc 162           Filed 05/08/20             Page 245 of 274




 Fill in this information to identify the case:

 Debtor name         FoodFirst Global Restaurants, Inc.

 United States Bankruptcy Court for the:            MIDDLE DISTRICT OF FLORIDA

 Case number (if known)         6:20-bk-02159-LVV
                                                                                                                                        Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                       04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

       None.
       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                    Operating a business                             $63,766,694.00
       From 1/01/2020 to Filing Date
                                                                                                Other


       For prior year:                                                                          Operating a business                           $322,350,684.00
       From 1/01/2019 to 12/31/2019
                                                                                                Other


       For year before that:                                                                    Operating a business                           $384,862,874.00
       From 1/01/2018 to 12/31/2018
                                                                                                Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

       None.
                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

       None.
       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 1
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                          Doc 162          Filed 05/08/20             Page 246 of 274
 Debtor       FoodFirst Global Restaurants, Inc.                                                        Case number (if known) 6:20-bk-02159-LVV



       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.1.
               See attached SoFA Exhibit 3                                                             $61,395,015.82             Secured debt
                                                                                                                                  Unsecured loan repayments
                                                                                                                                  Suppliers or vendors
                                                                                                                                  Services
                                                                                                                                  Other Rent, Taxes, etc.

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

       None.
       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.1.    See attached SoFA Exhibit 4                                 4/10/2019 to                  $3,588,774.00           Salary, Bonuses, Severance
                                                                           4/10/2020
               Officers and Insiders

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

       None
       Creditor's name and address                               Describe of the Property                                      Date                 Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

       None
       Creditor's name and address                               Description of the action creditor took                       Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

       None.
               Case title                                        Nature of case             Court or agency's name and                Status of case
               Case number                                                                  address
       7.1.    See attached SoFA Exhibit 7                                                                                             Pending
                                                                                                                                       On appeal
                                                                                                                                       Concluded

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 2
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                            Doc 162           Filed 05/08/20           Page 247 of 274
 Debtor        FoodFirst Global Restaurants, Inc.                                                           Case number (if known) 6:20-bk-02159-LVV



       None

 Part 4:       Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

       None
                Recipient's name and address                     Description of the gifts or contributions               Dates given                         Value


 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

       None
       Description of the property lost and                      Amount of payments received for the loss                Dates of loss         Value of property
       how the loss occurred                                                                                                                                lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).
       Sprinkler system failure at location                      None (deductible not met)                               11/21/2019                    Unknown
       120 S. Jordan Creek Pkwy W, Des
       Moines, IA 50266.

       Water damage to restaurant                                None (deductible not met)                               9/26/2019                      $4,724.20
       located at 80 S. Regent St., Salt
       Lake City, UT 84111.

       Vehicle struck building located at                        None (deductible not met)                               7/1/2019                        $587.50
       7301 NW 87th Street, Kansas City,
       MO 64153

       Power outage at locatoin 2731                             None (deductible not met)                               5/29/2019                     $15,235.14
       Fairfield Commons, Beavercreek,
       OH 45431.


 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

       None.
                 Who was paid or who received                        If not money, describe any property transferred           Dates             Total amount or
                 the transfer?                                                                                                                            value
                 Address
       11.1.     Shuker & Dorris, P.A.                               Aggregate advance retainer, made by the
                 121 S. Orange Avenue                                FoodFirst Global Restaurants, Inc. for
                 Suite 1120                                          post-petition fees and costs all related                  April 10,
                 Orlando, FL 32801                                   cases.                                                    2020                 $141,817.30

                 Email or website address
                 rshuker@shukerdorris.com

                 Who made the payment, if not debtor?



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 3
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                           Doc 162         Filed 05/08/20             Page 248 of 274
 Debtor        FoodFirst Global Restaurants, Inc.                                                        Case number (if known) 6:20-bk-02159-LVV



                 Who was paid or who received                        If not money, describe any property transferred           Dates          Total amount or
                 the transfer?                                                                                                                         value
                 Address
       11.2.                                                         Aggregate payment for prepetition fees
                                                                     and costs, made by the FoodFirst Global
                 Shuker & Dorris, P.A.                               Restaurants, Inc. for preparation of the
                 121 S. Orange Avenue                                voluntary petitions under Chapter 11
                 Suite 1120                                          including the filing fees for the debtor and              April 10,
                 Orlando, FL 32801                                   affiliated cases.                                         2020                 $71,918.70

                 Email or website address
                 rshuker@shukerdorris.com

                 Who made the payment, if not debtor?




       11.3.     Piper Sandler
                 800 Nicollet Ave., Ste. 1000                                                                                  March 23,
                 Minneapolis, MN 55402                                                                                         2020              $100,000.00

                 Email or website address


                 Who made the payment, if not debtor?




       11.4.     Young Conoway
                 Rodney Square
                 1000 North King Street                                                                                        March 23,
                 Wilmington, DE 19801                                                                                          2020              $150,000.00

                 Email or website address


                 Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

       None.
       Name of trust or device                                       Describe any property transferred                Dates transfers         Total amount or
                                                                                                                      were made                        value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

       None.




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 4
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                          Doc 162          Filed 05/08/20             Page 249 of 274
 Debtor        FoodFirst Global Restaurants, Inc.                                                       Case number (if known) 6:20-bk-02159-LVV



                Who received transfer?                           Description of property transferred or                  Date transfer            Total amount or
                Address                                          payments received or debts paid in exchange             was made                          value
       13.1 Anthony Pearce
       .    78 Forest Street                                     2012 Fiat 500
                Windermere, FL 34786                             VIN# 3C3FFBR2CT105953                                   April 3, 2020                  $2,500.00

                Relationship to debtor
                None


 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


       Does not apply
                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To
       14.1.     777 Goodale Blvd, Ste. 100                                                                                April 2005 to Sept. 2019
                 Columbus, OH 43212

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
       Yes. Fill in the information below.

                 Facility name and address                       Nature of the business operation, including type of services            If debtor provides meals
                                                                 the debtor provides                                                     and housing, number of
                                                                                                                                         patients in debtor’s care

 Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

       No.
           Yes. State the nature of the information collected and retained.

                  Email addresses for Loyalty Database
                  Does the debtor have a privacy policy about that information?
                   No
                   Yes
17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

       No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?

                     No Go to Part 10.
                     Yes. Fill in below:
                    Name of plan                                                                               Employer identification number of the plan
                    Empower Retirement                                                                         EIN: XX-XXXXXXX

                    Has the plan been terminated?
                     No
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 5
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                 Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                          Doc 162          Filed 05/08/20             Page 250 of 274
 Debtor      FoodFirst Global Restaurants, Inc.                                                         Case number (if known) 6:20-bk-02159-LVV



                     Yes

 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

       None
                Financial Institution name and                   Last 4 digits of         Type of account or          Date account was            Last balance
                Address                                          account number           instrument                  closed, sold,           before closing or
                                                                                                                      moved, or                        transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


       None
       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


       None
       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
       Kendall Xtra Storage LLC                                      Heather Lazore                       Unit Nos. 779 and 875                 No
       8774 SW 129 Terrace                                                                                                                      Yes
       Miami, FL 33176

       Life Storage #657                                             Maryanne Gaikens                     Unit No. 121                          No
       1099 Bradley Raod                                                                                                                        Yes
       Westlake, OH 44145

       Public Storage Inc. (Columbus)                                Lee Bauman                           Unit Nos. 1187, 3332, D028,           No
       4060 Morse Road                                                                                    3020, and 1134.                       Yes
       Columbus, OH 43230

       Wellington Village Self Storage                               Susan Staggs                         Unit No. C28                          No
       800 Wellington Hills Road                                                                                                                Yes
       Little Rock, AR 72211

       Downtown Self Storage                                         Chris O'Neil                         Unit No. 514                          No
       29 West 800 South                                                                                                                        Yes
       Salt Lake City, UT 84101

       Extra Space Storage                                           Erick Moses                          Unit No. 2009                         No
       10550 Goodlette Frank Rd                                                                                                                 Yes
       Naples, FL 34109




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 6
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                         Doc 162           Filed 05/08/20             Page 251 of 274
 Debtor      FoodFirst Global Restaurants, Inc.                                                         Case number (if known) 6:20-bk-02159-LVV



       Facility name and address                                     Names of anyone with                 Description of the contents        Do you still
                                                                     access to it                                                            have it?
       Great Value Storage                                           David Sharpe                         Unit No. 17                         No
       9984 Old State Road                                                                                                                    Yes
       Lewis Center, OH 43035

       Handy Storage Twelve Inc.                                     Cyndi Green                          Unit No. 613                        No
       8910 Clearly Blvd.                                                                                                                     Yes
       Fort Lauderdale, FL 33324

       Jack Rabbit Self Storage                                      Aaron Decker                         Unit No. K771                       No
       4293 Holland Road                                                                                                                      Yes
       Virginia Beach, VA 23452

       Pembrook Pines Self Storage                                   Tracy O'Connor                       Unit No. A214                       No
       10806 Pines Blvd.                                                                                                                      Yes
       Hollywood, FL 33026

       The Lock Up Storage Centers                                   Brian Wells                          Unit No. G303                       No
       1200 Pine Ridge Road                                                                                                                   Yes
       Naples, FL 34108

       Woodman Stop N Lock                                           Ryan Blackburn                       Unit No. OF-09                      No
       1976 Woodman Center Dr.                                                                                                                Yes
       Dayton, OH 45420

       Extra Space Storage Grapevine                                 Franco Korur                         Unit No. 36                         No
       2044 W. State Hwy 114                                                                                                                  Yes
       Grapevine, TX 76051

       Extra Storage Space                                           Lauren Pearce                        Unit Nos. 1053, 1055, 1057,         No
       3820 S. Orange Ave.                                                                                107, 2022, and 1049                 Yes
       Orlando, FL 32806

       Suni, LLC                                                     Steve Rose                                                               No
       4580 Silver Springs Dr, Ste 300                                                                                                        Yes
       Park City, UT 84098



 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

     None

 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 7
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                         Doc 162           Filed 05/08/20             Page 252 of 274
 Debtor      FoodFirst Global Restaurants, Inc.                                                         Case number (if known) 6:20-bk-02159-LVV




           No.
       Yes. Provide details below.
       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
       Yes. Provide details below.
       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
       Yes. Provide details below.
       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

       None
    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed
    25.1.                                                     Affiliate Restaurant                             EIN:
             Brio Marlton, LLC                                                                                              XX-XXXXXXX
             420 S. Orange Ave., Ste 900
             Orlando, FL 32801                                                                                 From-To      May 2018 to Present

    25.2.                                                     Affiliate Restaurant                             EIN:
             Brio Tuscan Grille of                                                                                          XX-XXXXXXX
             Baltimore, LLC
             420 S. Orange Ave., Ste. 900                                                                      From-To      May 2018 to Present
             Orlando, FL 32801

    25.3.                                                     Affiliate Restaurant                             EIN:
             Bravo Development of                                                                                           XX-XXXXXXX
             Kansas, Inc.
             420 S. Orange Ave., Ste. 900                                                                      From-To      May 2018 to Present
             Orlando, FL 32801

    25.4.                                                     Affiliate Restaurant                             EIN:
             Brio Tuscan Grille of                                                                                          XX-XXXXXXX
             Maryland, LLC
             420 S. Orange Ave., Ste. 900                                                                      From-To      May 2018 to Present
             Orlando, FL 32801

    25.5.                                                     Affiliate Restaurant                             EIN:
             Brio Tuscan Grille of                                                                                          XX-XXXXXXX
             Cherokee, LLC
             420 S. Orange Ave., Ste. 900                                                                      From-To      May 2018 to Present
             Orlando, FL 32801




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                         page 8
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                         Doc 162           Filed 05/08/20             Page 253 of 274
 Debtor      FoodFirst Global Restaurants, Inc.                                                         Case number (if known) 6:20-bk-02159-LVV



    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed
    25.6.                                                     Affiliate Restaurant                             EIN:
             Cherry Hill Two, LLC                                                                                           XX-XXXXXXX
             420 S. Orange Ave., Ste. 900
             Orlando, FL 32801                                                                                 From-To      May 2018 to Present

    25.7.                                                     Affiliate                                        EIN:
             FoodFirst Global Holdings,                                                                                     XX-XXXXXXX
             Inc.
             420 S. Orange Ave., Ste. 900                                                                      From-To      May 2018 to Present
             Orlando, FL 32801


26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
          None
       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Diane Reed                                                                                                                 7/30/2007 to 6/1/2019
                    5568 Lexington Dr.
                    Hilliard, OH 43026
       26a.2.       Debbie Ticknor                                                                                                             8/9/1999 to 9/7/2019
                    6578 Baronscourt Loop
                    Dublin, OH 43016
       26a.3.       Jennifer McWilliam                                                                                                         4/23/2001 to 9/7/2019
                    1273 Spring Brook Ct.
                    Westerville, OH 43081
       26a.4.       Young Vetter                                                                                                               7/4/2011 to 9/7/2019
                    2852 Jared Place
                    Columbus, OH 43219
       26a.5.       Jordan Ticknor                                                                                                             6/29/2011 to 9/7/2019
                    505 E. North Broadway St.
                    Columbus, OH 43214
       26a.6.       Nick Wiggins                                                                                                               1/30/2008 to 9/7/2019
                    7361 Kemberwood Ct.
                    Blacklick, OH 43004
       26a.7.       Charles Lempke                                                                                                             6/27/2007 to
                    7477 Gardenview Place                                                                                                      11/01/2019
                    Dublin, OH 43016
       26a.8.       Brian Grusi                                                                                                                3/4/2019 to 3/19/2020
                    100 S. Eola Dr. #1203
                    Orlando, FL 32839
       26a.9.       Philippa Edwards                                                                                                           6/10/2019 to 9/6/2019
                    4575 Emerson Park Dr. #308
                    Orlando, FL 32839
       26a.10.      Antoinette Torees                                                                                                          6/17/2019 to
                    9459 Dowden Rd., #2112                                                                                                     3/19/2020
                    Orlando, FL 32832
       26a.11.      Cecilia Farner                                                                                                             5/20/2019 to present
                    712 Monmouth Way
                    Winter Park, FL 32792


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                         page 9
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                       Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                         Doc 162           Filed 05/08/20             Page 254 of 274
 Debtor      FoodFirst Global Restaurants, Inc.                                                         Case number (if known) 6:20-bk-02159-LVV



       Name and address                                                                                                               Date of service
                                                                                                                                      From-To
       26a.12.      Karin Frost                                                                                                       4/1/2019 to present
                    3610 Palm Ave.
                    Apopka, FL 32703
       26a.13.      Jessica Williams                                                                                                  6/10/2019 to present
                    832 N. Hyer Ave.
                    Orlando, FL 32803
       26a.14.      Greer Bogle                                                                                                       7/22/2019 to present
                    529 Starstone Dr.
                    Lake Mary, FL 32746
       26a.15.      Felix Martin                                                                                                      6/10/2019 to 3/4/2020
                    88 CArole Ave.
                    Orlando, FL 32807
       26a.16.      Jeremy Sevold                                                                                                     6/3/2019 to present
                    2715 Patrician Circle
                    Kissimmee, FL 34746
       26a.17.      Crystal Grimmet                                                                                                   6/3/2019 to present
                    3322 Countrysive View Dr.
                    Saint Cloud, FL 34772
       26a.18.      Clovia Waldman                                                                                                    1/20/2020 to present
                    241 Messina Place
                    Howey in the Hills, FL 34737
       26a.19.      Tracy Brooks                                                                                                      1/20/2020 to present
                    736 Avenida Quinta, Apt 108
                    Clermont, FL 34714
       26a.20.      Hollie Rose                                                                                                       5/6/2019 to present
                    2138 Kane Park Way
                    Windermere, FL 34786
       26a.21.      Michele Bajaj                                                                                                     6/4/2019 to present
                    15898 Citrus Grove Loop
                    Winter Garden, FL 34787
       26a.22.      Darren Tapp                                                                                                       6/10/2019 to present
                    5832 Tarleton Way
                    Mount Dora, FL 32757
       26a.23.      Cody Behr                                                                                                         6/24/2019 to present
                    480 N. Orange Ave., #203
                    Orlando, FL 32801

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

           None
       Name and address                                                                                                               Date of service
                                                                                                                                      From-To
       26b.1.       Deloitte & Touche USA LLP                                                                                         2017 and 2018
                    180 East Broad St, Ste 1400
                    Columbus, OH 43215




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              page 10
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                            Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                         Doc 162           Filed 05/08/20             Page 255 of 274
 Debtor      FoodFirst Global Restaurants, Inc.                                                         Case number (if known) 6:20-bk-02159-LVV



       Name and address                                                                                                                 Date of service
                                                                                                                                        From-To
       26b.2.       Valuation Research Corp.                                                                                            2018
                    312 Walnut St, Ste 1700
                    Cincinnati, OH 45202

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

           None
       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Cecilia Farner
                    712 Monmouth Way
                    Winter Park, FL 32792
       26c.2.       Karin Frost
                    3610 Palm Ave.
                    Apopka, FL 32703
       26c.3.       Jessica Williams
                    832 N. Hyer Ave.
                    Orlando, FL 32803
       26c.4.       Greer Bogle
                    529 Starstone Dr.
                    Lake Mary, FL 32746
       26c.5.       Clovia Waldman
                    241 Messina Place
                    Howey in the Hills, FL 34737
       26c.6.       Tracy Brooks
                    736 Avenida Quinta, Apt 108
                    Clermont, FL 34714
       26c.7.       Hollie Rose
                    2138 Kane Park Way
                    Windermere, FL 34786
       26c.8.       Michele Bajaj
                    15898 Citrus Grove Loop
                    Winter Garden, FL 34787
       26c.9.       Darren Tapp
                    5832 Tarleton Way
                    Mount Dora, FL 32757

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

           None
       Name and address
       26d.1.       American Express Bank
                    20022 N. 31 Ave.
                    Mail Code 08-04-16
                    Phoenix, AZ 85027
       26d.2.       US Foods
                    8399 W. Higgins Rd, #800
                    Des Plaines, IL 60018



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 11
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                               Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                         Doc 162           Filed 05/08/20             Page 256 of 274
 Debtor      FoodFirst Global Restaurants, Inc.                                                         Case number (if known) 6:20-bk-02159-LVV



       Name and address
       26d.3.       Halperns Steak and Seafood
                    4685 Welcome All Road
                    Atlanta, GA 30349
       26d.4.       Willis Towers Watson
                    5 Consourse Parkway
                    18th Floor
                    Atlanta, GA 30328
       26d.5.       Huntington Bank
                    41 South High Street
                    Columbus, OH 43215
       26d.6.       Garrison Investment Group
                    1290 Ave. of the Americas Ste 914
                    New York, NY 10104

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
       Yes. Give the details about the two most recent inventories.
                Name of the person who supervised the taking of the                          Date of inventory       The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Steve Layt CEO                                 12714 Melrose Street                                CEO                                   0%
                                                      Overland Park, KS 66213

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Hollie Rose                                    2138 Kane Park Way                                  Senior Vice President                 0%
                                                      Windermere, FL 34786

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Debbie Alison                                  5584 Thomas Square Dr                               SVP, Supply Chain                     0%
                                                      Kissimmee, FL 34747

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Cecilia Farner                                 712 Monmouth Way                                    Controller                            0%
                                                      Winter Park, FL 32792

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Antonio Bonchristiano                          Av. Brigadeiro Faria Lima                           Vice-Chairman                         0%
                                                      4055 - 8th floor
                                                      São Paulo - SP BRAZIL 04538-0300
       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Danilo Gamboa                                  Av. Brigadeiro Faria Lima                           Director                              0%
                                                      4055 - 8th floor
                                                      São Paulo - SP BRAZIL 04538-0300




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 12
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                         Doc 162           Filed 05/08/20             Page 257 of 274
 Debtor      FoodFirst Global Restaurants, Inc.                                                         Case number (if known) 6:20-bk-02159-LVV



       Name                                           Address                                             Position and nature of any         % of interest, if
                                                                                                          interest                           any
       Rodrigo Boscolo                                Av. Brigadeiro Faria Lima                           Director                           0%
                                                      4055 - 8th floor
                                                      São Paulo - SP BRAZIL 04538-0300
       Name                                           Address                                             Position and nature of any         % of interest, if
                                                                                                          interest                           any
       FoodFirst Global Holdings                      420 S. Orange Ave., Ste 900                         Shareholder                        100%
       LL                                             Orlando, FL 32801



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


       No
           Yes. Identify below.

       Name                                           Address                                             Position and nature of any    Period during which
                                                                                                          interest                      position or interest
                                                                                                                                        was held
       Diane Reed                                     5568 Lexington Drive                                CFO                           10/02/2017 to
                                                      Hilliard, OH 43026                                                                6/1/2019

       Name                                           Address                                             Position and nature of any    Period during which
                                                                                                          interest                      position or interest
                                                                                                                                        was held
       Brian Grusi                                    100 S Eola Dr., #1203                               CFO                           3/4/2019 to
                                                      Orlando, FL 32801                                                                 3/19/2020

       Name                                           Address                                             Position and nature of any    Period during which
                                                                                                          interest                      position or interest
                                                                                                                                        was held
       Brad Blum                                      1169 Lakeview Drive                                 CEO                           5/25/2018 to
                                                      Winter Park, FL 32789                                                             3/29/2020

       Name                                           Address                                             Position and nature of any    Period during which
                                                                                                          interest                      position or interest
                                                                                                                                        was held
       Mike Ellis                                     9565 Yellow Finch Court                             CDO                           05/25/2018 to
                                                      Brentwood, TN 37027                                                               8/4/2019

       Name                                           Address                                             Position and nature of any    Period during which
                                                                                                          interest                      position or interest
                                                                                                                                        was held
       John Wong                                      1238 NW 126th St.                                   CMO                           9/3/2018 to
                                                      Seattle, WA 98177                                                                 4/17/2020

       Name                                           Address                                             Position and nature of any    Period during which
                                                                                                          interest                      position or interest
                                                                                                                                        was held
       John Imbriolo                                  245 Kincaid Ave.                                    CCO                           6/21/2018 to
                                                      Deland, FL 32724                                                                  2/28/2020

       Name                                           Address                                             Position and nature of any    Period during which
                                                                                                          interest                      position or interest
                                                                                                                                        was held
       Brian O'Malley                                 7667 Red Emerald Way                                SVP, Finance                  2/25/1996 to
                                                      Delaware, OH 43015                                                                6/10/2018




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              page 13
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                            Best Case Bankruptcy
                           Case 6:20-bk-02159-LVV                         Doc 162          Filed 05/08/20              Page 258 of 274
 Debtor      FoodFirst Global Restaurants, Inc.                                                         Case number (if known) 6:20-bk-02159-LVV



       Name                                           Address                                             Position and nature of any    Period during which
                                                                                                          interest                      position or interest
                                                                                                                                        was held
       Chuck Lempke                                   7477 Gardenview Place                               VP, Finance                   9/24/2017 to
                                                      Dublin, OH 43016                                                                  11/22/2019

       Name                                           Address                                             Position and nature of any    Period during which
                                                                                                          interest                      position or interest
                                                                                                                                        was held
       Debbie Ticknor                                 6578 Baronscourt Loop                               SVP Constroller               8/9/1999 to
                                                      Dublin, OH 43016                                                                  9/7/2019

       Name                                           Address                                             Position and nature of any    Period during which
                                                                                                          interest                      position or interest
                                                                                                                                        was held
       Khanh Collins                                  22825 Queensbridge Drive                            COO                           12/17/2012 to
                                                      Ashburn, VA 20148                                                                 6/10/2018


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates          Reason for
                                                                 property                                                               providing the value
       30.1 Steve Layt
       .    12714 Melrose Street                                 $129,808 Salary                                         4/10/2019 to
               Overland Park, KS 66213                           $150,000 Bonus                                          4/10/2020      Salary and bonus.

               Relationship to debtor
               CEO


       30.2 Hollie Rose
       .    2138 Kane Park Way                                   $162,212 Salary                                         4/10/2019 to
               Windermere, FL 34786                              $34,233 Bonus                                           4/10/2020      Salary and bonus

               Relationship to debtor
               CFO


       30.3 Debbie Alison
       .    5584 Thomas Square Dr                                                                                        4/10/2019 to
               Kissimmee, FL 34747                               $195,900 Salary                                         4/10/2020      Salary

               Relationship to debtor
               SVP, Supply Chain


       30.4 Cecilia Farner
       .    712 Monmouth Way                                                                                             4/10/2019 to
               Winter Park, FL 32792                             $116,817 Salary                                         4/10/2020      Salary

               Relationship to debtor
               Controller

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.




Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy
                                                                                                                                                        page 14
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com
                                                                                                                                             Best Case Bankruptcy
Debtor       FoodFirstCase
                       Global6:20-bk-02159-LVV
                              Restaurants, Inc.                                                         Case number (if known) 6:20-bk-02159-LVV
                                                                          Doc 162           Filed 05/08/20             Page 259 of 274
   Name of the parent corporation                                                                            Employer Identification number of the parent
                                                                                                             corporation
      FoodFirst Global Intermediate 1, Inc.                                                                    EIN: XX-XXXXXXX

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.
                                                                                                              Employer Identification number of the parent
   Name of the pension fund                                                                                   corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on

                                                                        Steven R. Layt
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         President

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
 No
 Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 15
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                               Best Case Bankruptcy
                                                   Case 6:20-bk-02159-LVV                        Doc 162             Filed 05/08/20     Page 260 of 274


                                                                                                SoFA - Exhibit 3
                                                                                     FoodFirst Global Restaurants, Inc.
                                                              Payments Made to Creditors with 90 days of filing with agregate total over $6,825
              Vendor Name                   Category                           Address                          Address 2                Address 3              City     State    Zip Code    Total Amount
FOURTH                             PAYROLL COMPANY             9007 BRITTANY WAY                   -                             -                   TAMPA               FL           33619    25,429,926.36
GORDON FOOD SERVICES, INC          INVENTORY                   P.O. BOX 88029                      -                             -                   CHICAGO             IL      60680-1029     6,117,284.49
SOUTHERN GLAZER                    INVENTORY                   14911 QUORUM DRIVE SUITE 400        -                             -                   DALLAS              TX           75254     1,117,926.70
AMEX EPAYMENT ACH PMT              AMERICAN EXPRESS            1500 NW 136TH AVENUE                -                             -                   SUNRISE             FL           33323     1,006,503.29
C.H. ROBINSON COMPANY, INC         INVENTORY                   P.O. BOX 9121                                                                         MINNEAPOLIS         MN      55480-9121       942,167.37
HUNT MERCH SVCS INTERCHNG          CREDIT CARD FEES            17 SOUTH HIGH STREET                -                             -                   COLUMBUS            OH           43216       900,696.09
MICHAEL'S FINER MEATS              INVENTORY                   29037 NETWORK PLACE                                                                   CHICAGO             IL      60673-1290       877,346.57
ANTHEM BCBS                        INSURANCE                   PO BOX 645438                                                                         CINCINNATI          OH      45264-5438       871,632.03
FLA DEPT REVENUE                   TAX                         5050 WEST TENNESSEE STREET          -                             -                   TALLAHASSEE         FL           32399       840,284.81
BEN E. KEITH CO                    INVENTORY                   P.O. BOX 1441                       -                             -                   FORT WORTH          TX           76101       633,285.90
MCGANN MEDIA GROUP, LLC            MEDIA                       61 JEFFERSON AVENUE                                                                   COLUMBUS            OH           43215       518,924.55
8013 OHIO-TAXOSUTOH SALESTXOBG     TAX                         4485 NORTHLAND RIDGE BLVD           -                             -                   COLUMBUS            OH           43229       480,334.43
NICHOLAS & CO                      INVENTORY                   5520 W HAROLD GATTY DRIVE           -                             -                   SALT LAKE CITY      UT           84116       455,186.58
ESIS FUNDING                       CLAIMS MANAGEMENT           P.O. BOX 5128                       -                             -                   SCRANTON            PA           18505       428,243.50
WASSERSTROM COMPANY                INVENTORY                   P.O. BOX 182056                                                                       COLUMBUS            OH      43218-2056       404,483.20
SHAMROCK FOODS                     INVENTORY                   PO BOX 52438                        -                             -                   PHOENIX             AZ      85072-2408       387,165.09
HALPERN'S STEAK AND SEAFOO         INVENTORY                   P.O. BOX 116421                                                                       ATLANTA             GA      30368-6421       380,790.48
GREAT-WEST TRUSTPAYMENTS           401K                        8505 E. ORCHARD ROAD                -                             -                   GREENWOOD VILLAGE   CO           80111       362,047.04
Produce Alliance LLC               INVENTORY                   PO BOX 7762                                                                           Carol Stream        IL      60197-7762       327,573.19
CSI MODR TAX                       TAX                         301 WEST HIGH STREET                -                             -                   JEFFERSON CITY      MO           65101       311,561.35
PROFORMA                           PRINTING                    6341 NICHOLAS DRIVE                                                                   COLUMBUS            OH           43235       299,311.81
STATE COMPTRLR TEXNET              TAX                         PO BOX 149355                       -                             -                   AUSTIN              TX           78714       286,621.39
OPEN TABLE INC                     BACK OFFICE SUPPORT - IT    29109 NETWORK PLACE                                                                   CHICAGO             IL      60673-1291       278,873.60
PPINC LLC                          INVENTORY                   2672 SW 36TH STREET                                                                   DANIA BEACH         FL           33312       276,139.11
REPUBLIC NATIONA                   INVENTORY                   9423 NORTH MAIN ST.                 -                             -                   JACKSONVILLE        FL           32218       257,194.95
COMMWLTHOFPA                       TAX                         PO BOX 280905                       -                             -                   HARRISBURG          PA      17128-0905       255,919.86
PAUL WEIS RIFKIND WHARTON & GAR    PROFESSIONAL SERVICES       1285 AVENUE OF THE AMERICAS         -                             -                   NEW YORK            NY      10019-6064       251,652.70
SIMON PROPERTIES                   RENT                        225 WEST WASHINGTON STREET          -                             -                   INDIANAPOLIS        IN           46204       229,332.66
LICENSING SOLUTIONS,IN             PERMITS                     118 W MCKEY STREET                  -                             -                   OCOEE               FL           34761       225,925.37
SIRNA & SONS PRODUCE               INVENTORY                   7176 STATE RT 88                                                                      RAVENNA             OH           44266       225,077.39
SHUKER & DORRIS PA                 PROFESSIONAL SERVICES       121 SOUTH ORANGE AVENUE             -                             -                   ORLANDO             FL           32801       213,736.00
AFCO CREDIT CORP                   INSURANCE                   310 GRANT STREET                    SUITE 1600                    -                   PITTSBURGH          PA           15219       204,009.99
BAR HARBOR SEAFOOD                 INVENTORY                   2000 PREMIER ROW                                                                      ORLANDO             FL           32809       183,468.92
WILLOWBROOK MALL, LLC.             RENT                        SDS-12-2767                         P.O. BOX 86                                       MINNEAPOLIS         MN      55486-2767       183,295.47
CA DEPT TAX FEE CDTFA              TAX                         450 N STREET                        -                             -                   SACREMENTO          CA           94279       172,927.00
NEVADA TAX                         TAX                         1550 COLLEGE PARKWAY                -                             -                   CARSON CITY         NV      89706-7937       167,413.83
MI BUSINESS TAX PAYMENT            TAX                         N/A                                 -                             -                   LANSING             MI           48922       166,202.67
GRANITE TECHNOLOGIES               UTILITY                     CLIENT ID #311                      P.O. BOX 983119                                   BOSTON              MA      02298-3119       166,038.67
NEWPORT MEAT COMPANY INC           INVENTORY                   P.O. BOX 19726                                                                        IRVINE              CA      92623-9726       164,508.00
HARBOURSIDE PLACE LLC              RENT                        107 NORTH COASTAL WAY               -                             -                   JUPITER             FL           33477       160,000.00
YOUNG CONAWAY STARGATT & TAYLOR    PROFESSIONAL SERVICES       1000 NORTH KING STREET              -                             -                   WILMINGTON          DE           19801       150,000.00
NCR CORPORATION                    BACK OFFICE SUPPORT - IT    P.O. BOX 198755                                                                       ATLANTA             GA      30384-8755       144,803.52
SHIFT4 PAYMENTS                    CREDIT CARD CHARGES         2202 NORTH IRVING STREET            -                             -                   ALLENTOWN           PA           18109       144,312.00
MILLER TEXTILE SERVICE             INVENTORY                   PO BOX 239                                                                            WAPAKONETA          OH           45895       143,461.41
ALSCO                              SUPPLIES                    10402 LAKERIDGE PKWY                SUITE 600                                         ASHLAND             VA           23005       137,164.70
DOWNTOWN PRODUCE MARKET IN         INVENTORY                   7856 ELLIS ROAD                                                                       MELBOURNE           FL           32904       135,308.40
FORBES TAUBMAN ORLANDO LLC         RENT                        16286 COLLECTIONS CENTER DRIVE                                                        CHICAGO             IL           60693       127,621.04
VA DEPT TAXATIONTAX PAYMEN200121   TAX                         1957 WESTMORELAND STREET            -                             -                   RICHMOND            VA           23230       127,378.68
TAMPA WESTSHORE ASSOCIATES         RENT                        DEPARTMENT 177001                   PO BOX 67000                                      DETROIT             MI      48267-0002       126,558.16
EASTON TOWN CENTER LLC             RENT                        L-3769                                                                                COLUMBUS            OH      43260-3769       123,960.75
SOMERSET COLLECTION LTD PT         RENT                        16129 COLLECTIONS CENTER DRIVE                                                        CHICAGO             IL           60693       123,055.54
HALPERN STEAK SEAFOOD              INVENTORY                   P.O. BOX 116421                     -                             -                   ATLANTA             GA      30368-6421       119,216.19
APC WORKFORCE SOLUTIONS LL         RENT                        dba ZEROCHAOS                       420 S. ORANGE AVE. STE. 600                       ORLANDO             FL           32801       112,089.60
COUNTRY CLUB PLAZA KC PART         RENT                        dba COUNTRY CLUB PLAZA JV LLC       P.O. BOX 675001                                   DETROIT             MI      48267-5001       111,241.92
SRMF TOWN SQUARE OWNER, LL         RENT                        P.O. BOX 748550                                                                       LOS ANGELES         CA      90074-8550       110,004.98
HUNT MERCH SVCS FEE                BANK CHARGES                17 SOUTH HIGH STREET                -                             -                   COLUMBUS            OH           43216       109,651.24
FLORIDA POWER & LIGHT              UTILITY                     GENERAL MAIL FACILITY                                                                 MIAMI               FL      33188-0001       108,372.57
UNUM LIFE INSURANCE COMPAN         INSURANCE                   P.O. BOX 406946                                                                       ATLANTA             GA      30384-6946       107,258.42
CARDLYTICS, INC.                   MARKETING                   75 REMITTANCE DR.                   DEPT. 3247                                        CHICAGO             IL      60675-3247       106,442.22
BEWLEY LASSLEBEN & MILLER LLP      PROFESSIONAL SERVICES       13215 E. PENN STREET                #510                          -                   WHITTIER            CA           90602       105,594.93
UTAH801/297-7703TAX PAYMNT         TAX                         210 N 1950 W                        -                             -                   SALT LAKE CITY      UT           84134       104,191.28
FORBES/COHEN FLORIDA               RENT                        16156 COLLECTIONS CENTER DRIVE                                                        CHICAGO             IL           60693       103,671.38
WATERSIDE SHOPS LLC                RENT                        16316 COLLECTIONS CENTER DRIVE                                                        CHICAGO             IL           60693       103,512.46
                                                  Case 6:20-bk-02159-LVV                    Doc 162            Filed 05/08/20            Page 261 of 274


HEIDELBERG DIST                    INVENTORY               3601 DRYDEN ROAD                  -                             -                                MORAINE            OH        45439    101,383.32
NC DEPT REVENUE TAX PYMT           TAX                     501 WILMINGTON STREET             -                             -                                RALEIGH            NC        27604    100,607.95
PIPER SANDLER                      PROFESSIONAL SERVICES   800 NICOLLETT AVENUE              SUITE 1000                    -                                MINNEAPOLIS        MN   55402-7020    100,000.00
CVM HOLDINGS, LLC                  RENT                    PO BOX 63340                                                                                     CHARLOTTE          NC   28263-3340     90,752.52
MICHAEL K ELLIS                    PROFESSIONAL SERVICES   9565 YELLOW FINCH COURT                                                                          BRENTWOOD          TN        37027     88,390.58
CORNERSTONE HOLDING LP.            RENT                    dbaBOCA CENTER AT MILITARY LLC    P.O. BOX 865162                                                ORLANDO            FL   32886-5162     87,676.43
LIBERTY CENTER, LLC.               RENT                    L-3745                                                                                           COLUMBUS           OH   43260-3745     86,346.01
RESTAURANT TECHNOLOGIES IN         SUPPLIES                12962 COLLECTIONS CENTER DR                                                                      CHICAGO            IL        60693     85,885.16
ECOLAB                             MAINTENANCE             370 WABASHA ST N                                                                                 ST PAUL            MN        55102     85,492.80
GREENE TOWN CENTER LLC             RENT                    PO BOX 304                        DEPT. 5000                                                     EMERSON            NJ          7630    85,412.20
MIDWAY CC VENTURE LP               RENT                    800 TOWN & COUNTRY BLVD.          SUITE 200                                                      HOUSTON            TX        77024     83,507.28
WESTCOR SANTAN VILLAGE LLC         RENT                    SAN TAN REGIONAL MALL             P.O. BOX 511249                                                LOS ANGELES        CA        90051     82,382.82
NJ S&U WEB PMT                     TAX                     PO BOX 999                        -                             -                                TRENTON            NJ   08646-0999     81,801.80
SANTA MONICA SEAFOOD CO IN         INVENTORY               18531 BROADWICK STREET                                                                           RANCHO DOMINGUEZ   CA        90220     81,035.84
CBL & ASSOCIATES LIMITED           RENT                    PARTNERSHIP                       CBL#0452 P.O. BOX 955607                                       ST. LOUIS          MO   63195-5607     80,628.63
CP COMMERCIAL DELAWARE             RENT                    PO BOX 72585                      -                             -                                CLEVELAND          OH   44192-0002     80,626.41
FEDWAY ASSOCIATE                   INVENTORY               P O BOX 519                       56 HACKENSACK AVENUE          -                                KEARNY             NJ        07032     80,610.90
CHRISTIANA MALL LLC                RENT                    SDS-12-3026                       P.O. BOX 86                                                    MINNEAPOLIS        MN   55486-3026     79,602.31
TB MALL AT UTC, LLC.               RENT                    dba THE MALL AT UNIV TOWN CNT     P.O. BOX 674647                                                DETROIT            MI   48267-4647     79,530.03
NYS DTF PROMP STTAX PAYMNT         TAX                     PO BOX 5300                       -                             -                                ALBANY             NY   12205-0300     79,461.89
EAST BELTLINE DEVELOPMENT II LLC   RENT                    PO BOX 715165                     -                             -                                CINCINNATI         OH   45271-5165     78,701.22
SAGEMORE MANAGEMENT, LLC.          RENT                    t/a THE PROMENADE AT SAGEMORE     8000 SAGEMORE DRIVE           SUITE 8201                       MARLTON            NJ          8053    77,797.37
SANDRA MICKELSON ESIS              CLAIMS                  P.O. BOX 5128                     -                             -                                SCRANTON           PA        18505     77,067.86
PRISA LHC, LLC.                    RENT                    PRLHC MERCATO RETAIL 454802       P.O. BOX 732937                                                DALLAS             TX   75373-2937     76,809.68
THE TAUBMAN REALTY GROUP           RENT                    LIMITED PARTNERSHIP               CITY CREEK CENTER ASSOC LLC   PO BOX 674566                    DETROIT            MI   48267-4566     76,525.29
RM MEMBER LLC.                     RENT                    RANCHO MALL, LLC                  P.O. BOX 72439                                                 CLEVELAND          OH        44192     76,519.42
PFP COLUMBUS II, LLC.              RENT                    HUNTINGTON NATIONAL BANK          L-3581                                                         COLUMBUS           OH        43260     76,517.70
CT DOR PAYMENT BUS                 TAX                     450 COLUMBUS BOULEVARD            -                             -                                HARTFORD           CT        06103     74,341.00
CCC DC LLC                         RENT                    PO BOX 41147                                                                                     ARLINGTON          VA        22204     73,972.00
VORH ASSOCIATES, LLC               PROFESSIONAL SERVICES   JP MORGAN CHASE DEPT#77925        P.O. BOX 77000                                                 DETROIT            MI   48277-0925     72,535.74
JRA HHF VENTURE, LLC.              RENT                    DEPT. 781885                      P.O. BOX 78000                                                 DETROIT            MI   48278-1885     71,722.45
CGP-CPP PLAZA FRONTENAC LL         RENT                    2497393 PLAZA FRONTENAC           P.O. BOX 86                   SDS-12-3110                      MINNEAPOLIS        MN   55486-3110     71,678.34
GGP LIMITED PARTNERSHIP            RENT                    FASHION PLACE, LLC.               SDS-12-2780                   P.O. BOX 86                      MINNEAPOLIS        MN   55486-2780     71,418.92
NOTL PROPERTY OWNER LLC            RENT                    LOCKBOX 005686                    PO BOX 645686                                                  CINCINNATI         OH   45264-5686     70,405.47
RETAIL PROPERTIES OF               RENT                    AMERICA, INC.                     dba RPAI SOUTHWEST MGMT LLC   15105 COLLECTIONS CENTER DRIVE   CHICAGO            IL   60693-5105     70,117.42
RAMCO-GERSHENSON PROPERTIE         RENT                    dba DEERFIELD TOWNE CENTER        LSE ID 0000 8579              P.O. BOX 350018                  BOSTON             MA   02241-0518     70,024.49
FILLMORE BUCKEYE INVESTMEN         RENT                    LLC.                              777 GOODALE PARTNERS, LLC.    7555 E PLEASANT RD #160          INDEPENDENCE       OH        44131     69,994.76
TM PARTRIDGE CREEK MALL, L         RENT                    75 REMIITTANCE DRIVE              DEPT. 1311                                                     CHICAGO            IL   60654-1311     69,333.62
THE WOODLANDS MALL ASSOCIA         RENT                    SDS-12-3053                       P.O. BOX 86                                                    MINNEAPOLIS        MN   55486-3053     69,077.46
BUCKHEAD MEAT & SEAFOOD, I         INVENTORY               DEPT 33                           PO BOX 670445                                                  HOUSTON            TX   77267-0445     68,672.51
RETAIL PROPERTIES OF AMERI         RENT                    C/O RPAI US MANAGEMENT LLC        13068 COLLECTIONS CENTER DR                                    CHICAGO            IL   60693-0130     68,335.04
MONARCHS SUB, LLC.                 RENT                    P.O. BOX 734271                                                                                  DALLAS             TX   75373-4271     67,234.18
JOSEPH DIPIETRO                    MARKETING               5404 W. 149th Place               #17                                                            Hawthorne          CA        90250     67,000.00
DELTA DENTAL                       INSURANCE               P.O. BOX 633198                                                                                  CINCINNATI         OH   45263-3198     66,377.28
AL-DEPT OF REVDIRECT               TAX                     P.O. BOX 327431                   -                             -                                MONTGOMERY         AL        36132     66,124.10
LEAWOOD TCP, LLC.                  RENT                    c/o GLIMCHER-LEAWOOD TCP          P.O. BOX 645089                                                CINCINNATI         OH   45264-5089     65,086.96
ARMADA HOFFLER BLOCK 8 ASS         RENT                    DIVARIS PROPERTY MANAGEMENT       4525 MAIN ST. SUITE 900                                        VIRGINIA BEACH     VA        23462     64,830.12
AL ONESPOT TAX ALABAMA.GO          TAX                     PO BOX 327790                     -                             -                                MONTGOMERY         AL   36132-7790     64,664.47
SPOTSYLVANIA TOWNE CENTER          RENT                    PO BOX 932400                                                                                    CLEVELAND          OH        44193     64,339.64
PAYTRONIX                          GIFT CARDS              80 BRIDGE STREET                                                                                 NEWTON             MA          2458    63,292.12
INLAND SEAFOOD ATLANTA             INVENTORY               ATTN: ACCOUNTS RECEIVABLE         P.O. BOX 639737                                                CINCINNATI         OH   45263-9737     62,895.19
YTC BUTTERFIELD OWNER LLC.         RENT                    26073 NETWORK PLACE                                                                              CHICAGO            IL   60673-1260     61,365.54
NJ WEB PMT                         TAX                     PO Box 999                        -                             -                                TRENTON            NJ   08646-0999     61,335.08
SOUTHGATE MALL OWNER LLC.          RENT                    c/o BANK OF AMERICA               P.O. BOX 57186                                                 LOS ANGELES        CA   90074-7186     61,007.25
RREEF CONTINENTAL MASTER T         RENT                    P.O. BOX 209266                                                                                  AUSTIN             TX   78720-9266     60,798.52
T&T PRODUCE                        INVENTORY               PO BOX 5756                                                                                      FORT OGLETHORPE    GA        30742     60,728.66
BREAKTHRU BEVERA                   INVENTORY               3333 SOUTH LARAMIE AVENUE         -                             -                                CICERO             IL        60804     59,941.88
AMERICAN REALTY CAPITAL RE         RENT                    OPERATING PARTNERSHIP LP          ARC SWWCHOH001, LLC           P.O. BOX 847350                  DALLAS             TX   75284-7350     59,879.44
CBL-T-C LLC.                       RENT                    WEST COUNTY MALL CMBS LLC         P.O. BOX 746395                                                ATLANTA            GA   30374-6395     58,775.34
PSE&G CO                           UTILITY                 P O BOX 14444                                                                                    NEW BRUNSWICK      NJ   08906-4444     58,454.17
PALT CRANBERRY                     RENT                    5812 DARLINGTON RD                                                                               PITTSBURGH         PA        15217     57,992.16
TN STATE REVENUETN TAP             TAX                     500 DEADRICK STREET               -                             -                                NASHVILLE          TN        37242     57,822.00
CITYPLACE RETAIL, LLC.             RENT                    P.O. BOX 865751                                                                                  ORLANDO            FL        32886     57,637.80
LAFAYETTE PARTNERS                 RENT                    5812 DARLINGTON RD                                                                               PITTSBURGH         PA        15217     56,427.84
DEPT OF REVENUE KY TAXPMNT         TAX                     N/A                               -                             -                                FRANKFORT          KY        40619     55,707.46
BRINK'S INCORPORATED               BANKING SERVICES        7373 SOLUTIONS CENTER                                                                            CHICAGO            IL   60677-7003     55,390.40
INSTITUTIONAL MALL INVESTO         RENT                    dba IMI HUNTSVILLE LLC.           HUNTSVILLE LIFESTYLE          P.O. BOX 742117                  ATLANTA            GA   30374-2117     55,329.87
ACE USA                            INSURANCE               DEPT CH 10123                                                                                    PALATINE           IL   60055-0123     55,227.00
AZ DEPT OF REV                     TAX                     1600 W. MONROE                    -                             -                                PHOENIX            AZ        85007     54,939.46
                                                     Case 6:20-bk-02159-LVV                        Doc 162          Filed 05/08/20              Page 262 of 274


PREMIER BEVERAGE                     INVENTORY                  3701 LACON ROAD                         -                           -                        HILLIARD          OH        43026    54,116.21
THE IRVINE COMPANY                   RENT                       621031 RETAIL MARKETING                 P.O. BOX 844611                                      LOS ANGELES       CA   90084-4611    53,342.83
MAJESTIC MEAT                        INVENTORY                  70 WEST BOWERS WAY                                                                           SALT LAKE CITY    UT        84115    53,310.89
ABQ UPTOWN LLC.                      RENT                       7065 SOLUTION CENTER                                                                         CHICAGO           IL   60677-7000    53,059.64
M&J - BIG WATERFRONT TOWN            RENT                       CENTER I LLC                            LOCKBOX 778531              8531 SOLUTION CENTER     CHICAGO           IL   60677-8005    52,933.23
AMA (HARBOURSIDE)                    RENT                       107 NORTH COASTAL WAY                   -                           -                        JUPITER           FL        33477    52,354.04
DUKE ENERGY                          UTILITY                    P.O. BOX 1003                                                                                CHARLOTTE         NC   28201-1003    51,152.09
ANTHEM BLUE                          INSURANCE                  PO BOX 645438                           -                           -                        CINCINNATI        OH   45264-5438    50,937.73
ALLEGIS GROUP HOLDINGS, IN           TEMP SERVICES              3689 COLLECTION CTR. DRIVE                                                                   CHICAGO           IL        60693    50,024.43
HILCO REAL ESTATE, LLC               PROFESSIONAL SERVICES      5 REVERE DRIVE                          SUITE 320                                            NORTHBROOK        IL        60062    50,000.00
WILLIS TOWERS WATSON MIDWE           PROFESSIONAL SERVICES      29727 NETWORK PLACE                                                                          CHICAGO           IL    606731297    49,250.00
OHIO TREASURER OF STATE              TAX                        180 E. BROAD STREET                                                                          COLUMBUS          OH        43215    48,108.86
CBL PROPERTIES                       RENT                       PO BOX 5598                             -                           -                        CAROL STREAM      IL   60197-5598    47,090.60
ROYAL CUP INC                        INVENTORY                  PO BOX 841000                                                                                DALLAS            TX   75284-1000    46,716.15
ROOKWOOD EXCHANGE OPERATING          RENT                       3825 EDWARDS RD.                        SUITE 200                                            CINCINNATI        OH        45209    46,226.54
TWC SERVICES, INC.                   R&M                        150 MARITIME DRIVE                                                                           SANFORD           FL   32771-6320    45,054.11
WALT WHITMAN MALL, LLC.              RENT                       P.O. BOX 776405                                                                              CHICAGO           IL   60677-6405    44,527.13
SCHOOLCRAFT COMMONS UNIT3            RENT                       C/O ETKIN MANAGEMENT, LLC               150 W. 2ND STREET           SUITE 200                ROYAL OAK         MI        48067    43,657.00
TECO PEOPLE'S GAS                    RENT                       600 W ROBINSON STREET                   ATTN: BOB GODEK                                      ORLANDO           FL        32801    43,561.38
BUCKHEAD BEEF COMPANY                INVENTORY                  220 RARITAN CENTER PKWY                                                                      EDISON            NJ          8837   43,538.29
BELDEN MALL, LLC.                    RENT                       LOCKBOX #5147                           P.O. BOX 8500                                        PHILADELPHIA      PA   19178-5147    43,292.32
HUNT PRIOR MONTH'S SERVICE CHARGES   BANK CHARGES               17 SOUTH HIGH STREET                    -                           -                        COLUMBUS          OH        43216    42,311.44
IL DEPT OF REVENUE                   TAX                        PO BOX 19013                            -                           -                        SPRINGFIELD       IL   62794-9013    41,729.00
GREAT LAKES WINE                     INVENTORY                  373 VICTOR AVENUE                       -                           -                        HIGHLAND PARK     MI        48203    41,452.66
APRIMO US LCC                        ADVERTISING                230 WEST MONROE SUITE 1200                                                                   CHICAGO           IL        60606    41,000.00
VARICEPAY                            TAX                        PO BOX 1115                             -                           -                        RICHMOND          VA   23218-1115    40,653.02
BPC HENDERSON LLC.                   RENT                       P.O. BOX 72006                                                                               CLEVELAND         OH   44192-0006    40,413.34
TAX_REV_CRS_ECKSTRD PMNT             TAX                        PO BOX 8485                             -                           -                        ALBUQUERQUE       NM   87198-8485    40,263.25
CONSUMERS ENERGY                     UTILITY                    P O BOX 740309                                                                               CINCINNATI        OH   45274-0309    40,196.60
KANSAS CITY POWER & LIGHT            UTILITY                    PO BOX 219330                                                                                KANSAS CITY       MO   64121-9330    40,132.74
KSDEPTOFREVENUE TAXDRAFTS            TAX                        PO Box 3506                             -                           -                        TOPEKA            KS   66625-3506    39,771.98
AMERIPRIDE LINEN AND APPAR           INVENTORY                  4593 WINTERS CHAPEL ROAD                                                                     ATLANTA           GA        30360    39,717.61
THE FALLS SHOPPING CENTER            RENT                       ASSOCIATES, LLC.                        P.O. BOX 404566                                      ATLANTA           GA   30384-4566    39,106.66
FINTECH                              INVENTORY MANAGEMENT       3109 W. DR. MARTIN. LUTHER KING JR. BLVDSUITE 200                   -                        TAMPA             FL        33607    39,077.42
MAURER'S TEXTILE RENTAL              INVENTORY                  SERVICE INC                             PO BOX 515                                           DEWITT            MI        48820    38,979.97
TM STONY POINT PARK, L.P.            RENT                       P.O. BOX 75519                          ATTN: ACCOUNTS RECEIVABLE                            BALTIMORE         MD   21275-5519    38,000.72
IA DEPT OF REV IA REV                TAX                        1305 E WALNUT STREET, 4TH FLOOR         -                           -                        DES MOINES        IA        50319    37,841.00
QUAKER ASSOCIATES, LLC.              RENT                       dba QUAKER BRIDGE MALL                  P.O. BOX 829443                                      PHILADELPHIA      PA   19182-9443    37,811.99
DAY & NIGHT ALL SERVICE LL           R&M                        P.O. BOX 310                                                                                 NEW HYDE PARK     NY        11040    37,811.03
FUELHOUSE, LLC.                      INVENTORY                  11 E. 6TH AVE.                          SUITE 201                                            COLUMBUS          OH        43201    37,782.50
ROBERT MCAFEE                        CLAIMS                     P.O. BOX 5128                           -                           -                        SCRANTON          PA        18505    37,500.00
ALLIED BEVERAGE                      INVENTORY                  700 KAPKOWSKI ROAD                      -                           -                        ELIZABETH         NJ        07201    37,358.02
SEAFOOD SUPPLY CO                    INVENTORY                  1500 E GRIFFIN                                                                               DALLAS            TX        75215    37,186.92
VORYS SATER SEYMOUR &PEASE           PROFESSIONAL SERVICES      POST OFFICE BOX 373487                                                                       CLEVELAND         OH        44193    37,166.53
LEGACYVILLAGEINVESTORS               RENT                       PO BOX 635159                           -                           -                        CINCINNATI        OH   45263-5159    36,814.55
STAPLES ADVANTAGE                    OFFICE SUPPLIES            P.O. BOX 70242                                                                               PHILADELPHIA      PA   19176-0242    36,495.13
HUNT MERCH SVCS CHARGEBACK           BANK CHARGES               17 SOUTH HIGH STREET                    -                           -                        COLUMBUS          OH        43216    35,778.91
DAYTON MALL VENTURE LLC              RENT                       2700 MIAMISBURG-CENTERVILLE RD                                                               DAYTON            OH        45459    35,611.46
SPIRE                                UTILITY                    DRAWER 2                                                                                     ST. LOUIS         MO        63171    35,161.35
OLO - HELP@OLO.CPURCHASE             WEB                        26 BROADWAY, 24TH FLOOR                 -                           -                        NEW YORK          NY        10004    34,818.50
AR DFA REVENUE PAYMENT               TAX                        PO BOX 1272                             -                           -                        LITTLE ROCK       AR   72203-1272    34,703.00
COLONIAL/WEBB CONTRACTORS            R&M                        2820 ACKLEY AVE                                                                              RICHMOND          VA        23228    34,347.18
HOT SCHEDULES                        BACK OFFICE SUPPORT - IT   P.O. BOX 848472                                                                              DALLAS            TX   75284-8472    33,915.51
SAMMY'S SEAFOOD                      INVENTORY                  2875 46TH AVE N                                                                              ST. PETERSBURG    FL        33714    33,653.15
JOHNSON BROTHERS                     INVENTORY                  4701 MITCHELL STREET                    -                           -                        NORTH LAS VEGAS   NV        89081    33,593.68
PROPANE PEOPLE                       UTILITY                    2544 SW 36TH LANE                                                                            CAPE CORAL        FL        33914    33,418.96
TAX PAYMENTS OK TAX                  TAX                        2501 N LINCOLN BLVD                     -                           -                        OKLAHOMA          OK        73194    32,889.18
COLORADO DEPARTMENT OF REVENUE       TAX                        N/A                                     -                           -                        DENVER            CO   80261-0004    32,470.96
ECOLAB PEST ELIM DIVISION            MAINTENANCE                26252 NETWORK PLACE                                                                          CHICAGO           IL   60673-1262    32,464.27
CHAGRIN RETAIL LLC                   RENT                       629 EUCLID AVENUE                       SUITE 1300                  -                        CLEVELAND         OH        44114    32,342.50
NELBUD SERVICES GROUP, INC           R&M                        51 KOWEBA LANE                                                                               INDIANAPOLIS      IN        46201    31,806.32
SULLIVAN COMPANY                     INVENTORY                  130 GRAPHIC WAY                                                                              WESTERVILLE       OH        43081    31,587.93
LENNOX TOWN CENTER LTD.              RENT                       DEPT. 324956 20805 2408                 P.O. BOX 83400                                       CHICAGO           IL   60691-3400    31,529.20
MLCC                                 INVENTORY                  P.O. BOX 1602                           -                           -                        INDIANAPOLIS      IN        46206    30,833.07
FEDERAL HEATH SIGN COMPANY           R&M                        DEPARTMENT #41283                       P.O. BOX 650823                                      DALLAS            TX        75265    30,631.27
GOODY GOODY LIQU                     INVENTORY                  10370 OLYMPIC DRIVE                     -                           -                        DALLAS            TX        75220    30,319.66
SNYDER BROTHERS INC.                 INVENTORY                  ONE GLADE PARK EAST                     P.O. BOX 1022                                        KITTANNING        PA        16201    29,977.22
EQUIFAX WORKFORCE SOLUTION           HR                         4076 PAYSPHERE CIRCLE                                                                        CHICAGO           IL        60674    29,944.51
WINTER PARK TOWNE CENTER L           RENT                       PO BOX 73847                                                                                 CLEVELAND         OH        44193    29,801.38
                                             Case 6:20-bk-02159-LVV                  Doc 162            Filed 05/08/20        Page 263 of 274


MARCUS WADE SIMS             R&M                        5816 MAURIE DRIVE                                                                  WATAUGA          TX        76148    29,500.00
JEFFERSON COUNTY             TAX                        PO BOX 70300                                                                       LOUISVILLE       KY   40270-0300    29,438.10
PROFISH LTD                  INVENTORY                  1900 FENWICK ST NE                                                                 WASHINGTON       DC        20002    29,046.81
DEL AMO FASHION CENTER       RENT                       OPERATING COMPANY, LLC.       P.O. BOX 409657                                      ATLANTA          GA   30384-9657    28,913.21
WILLIE ITULE PRODUCE. INC.   INVENTORY                  301 N 45TH AVE                                                                     PHOENIX          AZ        85043    28,853.81
THE ILLUMINATING COMPANY     UTILITY                    PO BOX 3687                                                                        AKRON            OH   44309-3687    28,177.37
FLORIDA PUBLIC UTILITIES     UTILITY                    P.O. BOX 1237                                                                      SALISBURY        MD        21802    28,123.29
WASTE MANAGEMENT             TRASH                      3411 NORTH 40TH ST                                                                 TAMPA            FL        33605    27,954.59
GREAT WASH PARK, LLC         RENT                       PO BOX 96146                  -                            -                       LAS VEGAS        NV   89193-6146    27,676.67
BDO USA, LLP.                PROFESSIONAL SERVICES      AP DEPARTMENT                 P.O. BOX 642743                                      PITTSBURGH       PA   15264-2743    27,568.00
SPARTAN HOLDINGS LLC         RENT                       C/O OLIVER SMITH REALTY CO    7216 WELLINGTON DR SUITE 1                           KNOXVILLE        TN        37919    27,500.00
BROWARD MALL, LLC.           RENT                       P.O. BOX 51066                ACCT#833093                                          LOS ANGELES      CA   90074-1066    27,478.44
ALLEGHENY COUNTYACH          TAX                        PO BOX 643385                 -                            -                       PITTSBURGH       PA   15264-3385    27,388.91
COMP OF MARYLANDDIR DB       TAX                        110 CARROLL STREET            -                            -                       ANNAPOLIS        MD        21411    27,074.02
STEVEN C. COE                PROFESSIONAL SERVICES      26612 GOLDENROD PL                                                                 CALABSAS         CA        91302    26,981.94
CREATIVE FINANCIAL STAFFIN   TEMP SERVICE               P.O. BOX 95111                                                                     CHICAGO          IL   60694-5111    26,763.65
YOUNG'S MARKET C             INVENTORY                  500 SOUTH CENTRAL AVENUE      -                            -                       LOS ANGELES      CA        90013    26,550.73
PACIFIC SEAFOOD ARIZONA      INVENTORY                  C/O PACIFIC SEAFOOD CO.       P.O. BOX 842757                                      BOSTON           MA   02284-2757    26,450.58
DTE ENERGY                   UTILITY                    PO BOX 740786                                                                      CINCINNATI       OH   45274-0786    26,203.03
RELIANT ENERGY               UTILITY                    DEPT. 0954                    P.O. BOX 120954                                      DALLAS           TX   75312-0954    25,661.93
LEHIGH VALLEY MALL, LLC.     RENT                       P.O. BOX 829446                                                                    PHILADELPHIA     PA   19182-9446    25,562.84
NEB DEPT REVENUENBF BUS      TAX                        PO Box 94818                  -                            -                       LINCOLN          NE   68509-4818    25,410.36
MUZAK NATIONAL               MUSIC                      3318 LAKEMONT BLVD.                                                                FORT MILL        SC        29708    25,364.95
KATSIROUBAS BROS. PRODUCE    INVENTORY                  PO BOX 220                                                                         READVILLE        MA          2137   25,157.83
WATERMEN ENTERPRISES, LLC.   JANITORIAL                 P.O. BOX 794671                                                                    DALLAS           TX        75379    24,695.36
FABULOUS FISH                INVENTORY                  13560 NW INDUSTRIAL DRIVE                                                          BRIDGETON        MO        63044    24,671.18
CITY OF LIVONIA              TAX                        33000 CIVIC CENTER DR                                                              LIVONIA          MI   48154-3060    24,649.71
EMPIRE DISTRIBUT             INVENTORY                  1541 Mt. TABOR ROAD           -                            -                       MARYVILLE        TN        37801    24,352.24
HOLLAND & KNIGHT             PROFESSIONAL SERVICES      P.O. BOX 864084               -                            -                       ORLANDO          FL        32886    24,235.00
MALL AT SUMMIT LLC           RENT                       P.O. BOX 644271                                                                    PITTSBURGH       PA   15264-4271    24,175.73
KETER ENVIRONMENTAL SVC. I   TRASH                      P.O. BOX 417468                                                                    BOSTON           MA   02241-7468    24,170.56
ALUM CREEK CARRY             INVENTORY                  4275 ALUM CREEK DRIVE         -                            -                       OBETZ            OH        43207    24,104.03
PAMELA M. SMITH, R.D.N.      PROFESSIONAL SERVICES      P.O. BOX 541009                                                                    ORLANDO          FL   32854-109     24,000.00
VIRGINIA BEACH TREASURER     TAX                        MUNICIPAL CENTER BLDG 1       2401 COURTHOUSE DR                                   VIRGINIA BEACH   VA   23456-9018    23,924.85
AIRECOM                      R&M                        6171 HUNTLEY ROAD             SUITE E                                              COLUMBUS         OH        43229    23,811.45
WI DEPT REVENUE TAXPAYMNT    TAX                        PO BOX 8949                   -                            -                       MADISON          WI   53708-8949    23,618.15
WESTERN COMMERCIAL SVCS LL   R&M                        2311 SOUTH INDUSTRIAL ROAD                                                         LAS VEGAS        NV        89102    23,610.80
TRUSTWAVE                    BACK OFFICE SUPPORT - IT   75 REMITTANCE DRIVE           SUITE 6000                                           CHICAGO          IL   60675-6000    23,260.66
PEPSI-COLA COMPANY           INVENTORY                  75 REMIITANCE DRIVE                                                                CHICAGO          IL   60675-1884    23,198.50
BRESCOME BARTON              INVENTORY                  69 DEFCO PARK ROAD            -                            -                       NORTH HAVEN      CT        06473    23,134.17
SYMMETRY FINANCIAL CONSULT   PROFESSIONAL SERVICES      410 SHIMMERING WATER LANE                                                          SALEM            SC        29676    22,800.00
SAM RUST SEAFOOD INC         INVENTORY                  620 REGIONAL DR               PO BOX 9760                                          HAMPTON          VA        23670    22,727.75
LITTLE ROCK DEVELOPMENT      RENT                       COMPANY LLC.                  PROMENADE AT CHENAL          P.O. BOX 95603          LAS VEGAS        NV   89193-5603    22,556.28
EL GENERAL CLEANING SERVIC   JANITORIAL                 4991 RIALTO ROAD                                                                   WEST CHESTER     OH        45069    22,463.00
HUNTSVILLE UTILITIES         UTILITIES                  120 SPRAGENS ST.                                                                   HUNTSVILLE       AL        35801    22,433.26
COLUMBIA GAS                 UTILITY                    PO BOX 4629                                                                        Carol Stream     IL   60197-4629    22,358.44
SOUTHERN WINE & SPIRITS OF   INVENTORY                  615 LAMBSON LANE                                                                   NEW CASTLE       DE        19720    22,263.42
PREPAID TECHNOLOGIES         BACK OFFICE SUPPORT - IT   6 OFFICE PARK CIRCLE          SUITE 215                    -                       MOUNTAIN BRK     AL        35223    22,000.00
SOUTHWEST GAS CORPORATION    UTILITY                    PO BOX 98890                                                                       LAS VEGAS        NV   89193-8890    21,944.74
CLEANCARE                    JANITORIAL                 51ST & A.V.R.R.                                                                    PITTSBURGH       PA        15201    21,940.07
EVERSOURCE                   UTILITY                    P.O. BOX 56004                                                                     BOSTON           MA          2205   21,610.76
GATHER TECHNOLOGIES, INC.    BACK OFFICE SUPPORT - IT   715 Peachtree Street NE       Suite 800                                            ATLANTA          GA        30308    21,600.00
THE CHEFS WAREHOUSE          SUPPLIES                   26576 NETWORK PLACE                                                                CHICAGO          IL   60673-1265    21,304.58
TOTAL LINEN CARE             INVENTORY                  23 ACADEMY STREET                                                                  WILLIAMSTOWN     NJ          8094   21,088.53
KUB KNOXVILLE UTILITIES BO   UTILITY                    P.O. BOX 59029                                                                     KNOXVILLE        TN        37950    21,031.00
MANSFIELD POWER AND GAS. L   UTILITY                    RECEIVABLES ACCOUNT           P.O. BOX 733714                                      DALLAS           TX   75373-3714    20,986.42
WHALEY FOODSERVICE, LLC.     INVENTORY                  P.O. BOX 615                                                                       LEXINGTON        SC        29071    20,882.65
FRANKLIN COUNTY TREASURER    TAX                        373 SOUTH HIGH ST             17TH FLOOR                                           COLUMBS          OH   43215-6306    20,839.81
DUQUESNE LIGHT COMPANY       UTILITY                    PAYMENT PROCESSING CENTER     PO BOX 10                                            PITTSBURGH       PA   15230-0010    20,785.57
ABC BEVERAGE                 INVENTORY                  115 NORTH CEDAR               -                            -                       GREENSBORO       NC        27401    20,777.57
ST OF UTAH ABC CONS COLL     TAX                        210 N 1950 W                  -                            -                       SALT LAKE CITY   UT        84134    20,769.94
FIVE STAR VALET              MISC.                      1415 PANTHER LANE             UNIT 110                                             NAPLES           FL        34109    20,468.00
Robert Mcafee                CLAIMS                     P.O. BOX 5128                 -                            -                       SCRANTON         PA        18505    20,264.66
ENTERGY                      UTILITY                    P.O. BOX 8101                                                                      BATON ROUGE      LA   70891-8101    20,234.69
NEVADA DEPT OF TAXATION      TAX                        1550 COLLEGE PARKWAY          SUITE 115                                            CARSON CITY      NV   89706-7937    19,953.77
NV ENERGY                    UTILITY                    PO BOX 30086                                                                       RENO             NV   89520-3086    19,796.42
BLACKHAWK NETWORK, INC.      GIFT CARDS                 WELLS FARGO BANK              P.O. BOX 932859                                      ATLANTA          GA        31193    19,699.80
LUKAS LIQUOR SUP             INVENTORY                  12100 BLUE VALLEY PARKWAY     -                            -                       OVERLAND PARK    KS        66213    19,627.46
ALSCO                        SUPPLIES                   1340 E. BERRY ST                                                                   FORT WORTH       TX        76119    19,458.26
                                            Case 6:20-bk-02159-LVV                    Doc 162            Filed 05/08/20   Page 264 of 274


ALSCO                        SUPPLIES                1415 NW 21ST TERRACE                                                              MIAMI               FL         33142   19,318.30
CENTERPOINT ENERGY           UTILITY                 23968 NETWORK PLACE                                                               CHICAGO             IL   60673-1239    19,125.79
APEX SYSTEMS, LLC            PROFESSIONAL SERVICES   3750 COLLECTIONS CENTER DRIVE                                                     CHICAGO             IL         60693   18,978.00
WILLOW LAKE SHOPPING CENTE   RENT                    USRP WILLOW EAST LLC              3055 SOLUTIONS CENTER                           CHICAGO             IL   60677-3000    18,857.11
CONNECTICUT SHELLFISH CO.    INVENTORY               26 EAST INDUSTRIAL RD.                                                            BRANFORD            CT          6405   18,818.06
TOWN CENTER INC              RENT                    PO BOX 2273                                                                       BRIGHTON            MI         48116   18,646.14
SoCalGas                     UTILITY                 P.O. BOX C                                                                        MONTEREY PARK       CA   91756-5111    18,536.44
STATE OF LOUISIAEPOSPYMNTS   TAX                     PO BOX 5199                       -                          -                    BATON ROUGE         LA   70821-5199    18,503.00
UDABC                        INVENTORY               1625 SOUTH 900 WEST               P.O. BOX 30408             -                    SALT LAKE CITY      UT   84130-0408    18,476.70
NEVADA LINEN SUPPLY          INVENTORY               3960 W. MESA VISTA AVENUE                                                         LAS VEGAS           NV         89118   18,294.89
XCEL ENERGY                  UTILITY                 1123 W 3RD AVE                    ATTN: PHIL RYMAN                                DENVER              CO         80223   18,276.04
JD MASTERS                   R&M                     8817 78TH AVENUE                  -                          -                    GLENDALE            NY         11385   18,234.00
ALL STATES RENTALS INC       UTILITY                 C/O PROCESSING CENTER             PO BOX 900                                      NORTH SCITUATE      RI          2857   18,146.68
SEATTLE FISH CO INTL         INVENTORY               4300 N. MATTOX RD.                                                                RIVERSIDE           MO         64150   17,947.23
WE ENERGIES                  UTILITY                 PO BOX 90001                                                                      MILWAUKEE           WI    53290-001    17,843.64
CITY OF K.C.MO.              TAX                     PO BOX 842875                     -                          -                    KANSAS CITY         MO    64184-2875   17,820.97
VINTAGE WINE DIS             INVENTORY               6555 DAVIS PARKWAY                -                          -                    SOLON               OH         44139   17,674.98
RESTAURANT HR GRSALE         PROFESSIONAL SERVICES   1900 E GOLF ROAD                  SUITE 950                  -                    SCHAUMBURG          IL         60173   17,000.00
GET FRESH PRODUCE            INVENTORY               1441 BREWSTER CREEK BLVD                                                          BARTLETT            IL         60103   16,977.93
CITY OF RICHMOND             TAX                     550 E MARSHALL ST SUITE 202       FIRE PREVENTION DIVISION                        RICHMOND            VA         23219   16,876.59
ORLANDO UTILITIES COMMISSI   UTILITY                 P.O. BOX 31329                                                                    TAMPA               FL   33631-3329    16,788.04
LG&E                         UTILITY                 PO BOX 9001960                                                                    LOUISVILLE          KY   40290-1960    16,781.53
IN SALES/USE TAX             TAX                     PO BOX 7207                       -                          -                    INDIANAPOLIS        IN         46207   16,676.82
ALSCO                        SUPPLIES                P.O. BOX 25068                                                                    ANAHEIM             CA   92825-5068    16,457.01
RADER, DAVID                 PROFESSIONAL SERVICES   949 CAROWAY BLVD                                                                  COLUMBUS            OH         43230   16,350.00
REPUBLIC SERVICES OF NJ LL   UTILITY                 P O BOX 9001099                                                                   LOUISVILLE          KY   40290-1765    16,211.28
LINCOLN CORNER               RENT                    555 WEST NEWTON STREET                                                            GREENSBURG          PA         15601   16,139.58
SUPREME LOBSTER & SEAFOOD    INVENTORY               220 E. NORTH AVENUE                                                               VILLA PARK          IL   60181-1221    16,136.79
THE HAPPY CHEF, INC.         UNIFORM                 22 PARK PLACE                                                                     BUTLER              NJ          7405   16,135.65
DIRECTOR OF FINANCE          TAX                     100 N. CALVERT ST.                ROOM 628                                        BALTIMORE           MD         21202   16,041.09
LAYT, STEVE                  EMPLOYEE                420 S. Orange Avenue              SUITE 900                                       ORLANDO             FL         32801   16,009.82
CIT BANK, N.A. d.b.a. COMD   COPIER/PRINTER          21146 NETWORK PLACE                                                               CHICAGO             IL   60673-1211    15,977.18
NATIONAL GRID                UTILITY                 P.O. BOX 11735                                                                    NEWARK              NJ   07101-4735    15,642.55
AMERICAN RESTAURANT SERVIC   MAINTENANCE             35246 US HWY 19 NORTH             UNIT 268                                        PALM HARBOR         FL         34864   15,412.83
BGE                          UTILITY                 PO BOX 13070                                                                      PHILADELPHIA        PA   19101-3070    15,352.21
AMERICAN ELECTRIC POWER      UTILITY                 850 TECH CENTER DR                                                                GAHANNA             OH         43230   15,262.38
OPTIMUM CARD SOLUTIONS LLC   GIFT CARDS              855 S FIENE DRIVE                                                                 ADDISON             IL         60101   15,223.47
CADILLAC COFFEE CO           INVENTORY               P.O. BOX 932249                                                                   CLEVELAND           OH         44193   15,044.11
MAJOR BRANDS - S             INVENTORY               6701 SOUTHWEST AVENUE             -                          -                    ST. LOUIS           MO         63143   14,999.33
HUNT MERCH SVCS DISCOUNT     BANK CHARGES            17 SOUTH HIGH STREET              -                          -                    COLUMBUS            OH         43215   14,798.87
MIAMI-DADE COUNTY TAX        TAX                     11805 S.W. 26 ST.                 STE. 106                                        MIAMI               FL         33175   14,703.18
MAJOR BRANDS - K             INVENTORY               550 EAST 13TH AVENUE              -                          -                    NORTH KANSAS CITY   MO         64116   14,703.16
PALM BEACH CO TAX COLLECTO   TAX                     PO BOX 3353                                                                       WEST PALM BEACH     FL   33402-335     14,701.11
TAX COLLECTOR                TAX                     BARBARA FORD-COATES               101 S. WASHINGTON BLVD.                         SARASOTA            FL   34236-6993    14,514.12
DOUGLAS COUNTY TREASURER     TAX                     P.O. BOX 2855                                                                     OMAHA               NE   68103-2855    14,393.27
FOG RIVER, LLC.              INVENTORY               1360 SOUTH REDWOOD ROAD                                                           SALT LAKE CITY      UT         84104   14,374.06
ATMOS ENERGY                 UTILITY                 #790311                           1005 CONVENTION PLAZA                           ST. LOUIS           MO   63101-1229    14,178.89
COLUMBUS CITY TREASURER      TAX                     CITY INCOME TAX DIVISION          50 W GAY ST 4TH FL                              COLUMBUS            OH         43215   14,150.18
SPEC'S FAMILY PA             INVENTORY               2410 SMITH STREET                 -                          -                    HOUSTON             TX         77006   14,007.30
KNOX COUNTY TRUSTEE          TAX                     PO BOX 70                                                                         KNOXVILLE           TN   37901-0070    14,000.00
GULF COAST PRODUCE DIST. I   INVENTORY               194 BOHN STREET                                                                   BILOXI              MS         39530   13,776.27
RETURNED DEPOSIT ITEM        BANK CHARGES            17 SOUTH HIGH STREET              -                          -                    COLUMBUS            OH         43215   13,689.60
TREASURER, SPOTSYLVANIA CO   TAX                     BUSINESS LICENSE DIVISION         PO BOX 175                                      SPOTSYLVANIA        VA   22553-0175    13,681.64
TIPTON LINEN SERVICE         INVENTORY               1415 INDEPENDENCE                                                                 CAPE GIRARDEAU      MO         63703   13,556.21
BUCKHEAD MEAT OF DENVER IN   INVENTORY               DEPT 23                           P.O. BOX 670445                                 HOUSTON             TX   77267-0445    13,518.45
PINNACLE COMMERCIAL SVC, L   RENT                    1621 CARANDIS ROAD                                                                WEST PALM BEACH     FL         33406   13,375.00
BROWARD COUNTY TAX COLLECT   TAX                     115 S. ANDREWS AVENUE             #A100                                           FT. LAUDERDALE      FL   33301-1895    13,274.16
ALSCO                        SUPPLIES                1701 TOUCHSTONE RD.                                                               COLONIAL HEIGHTS    VA         23834   13,191.15
THE VILLAGE OF LOMBARD       RENT                    255 E WILSON AVE                                                                  LOMBARD             IL         60148   13,170.15
CAREERBUILDER, LLC.          PROFESSIONAL SERVICES   13047 COLLECTIONS CENTER DRIVE                                                    CHICAGO             IL   60693-0130    13,071.11
DUKE ENERGY PROGRESS         UTILITY                 P.O. BOX 1003                                                                     CHARLOTTE           NC   28201-1003    13,037.03
DOMINION VIRGINIA POWER      UTILITY                 PO BOX 26543                                                                      RICHMOND            VA         23290   12,822.30
DENVERGOV.ORG SALES TAX      TAX                     201 W. COLFAX AVENUE              -                          -                    DENVER              CO         80202   12,776.00
CONNECTICUT DIST             INVENTORY               333 LORDSHIP BLVD                 -                          -                    Stratford           CT         06615   12,519.78
RCC ASSOCIATES INC           R&M                     255 JIM MORAN BLVD                                                                DEERFIELD BEACH     FL         33442   12,512.86
RESTAURANT PARTNERS PROCUR   PROFESSIONAL SERVICES   3501 EAST LIVINGSTON STREET       SUITE 201                                       ORLANDO             FL         32803   12,500.00
SCHAGRIN GAS                 UTILITY                 P.O. BOX 427                                                                      MIDDLETOWN          DE   19709-0427    12,427.58
ALABAMA CROWN                TAX                     1330 CORPORATE WOODS DRIVE        -                          -                    ALABASTER           AL         35007   12,416.70
LINKEDIN CORPORATION         RECRUITING              62228 COLLECTIONS CENTER DR                                                       CHICAGO             IL   60693-0622    12,385.19
                                                 Case 6:20-bk-02159-LVV                      Doc 162        Filed 05/08/20          Page 265 of 274


INTIME SOLUTIONS                 INVENTORY                  8212 PRINCETON GLENDALE ROAD      -                           -                      WEST CHESTER     OH        45069    12,328.13
FAT FREE, INC.                   MAINTENANCE                P.O. BOX 25601                                                                       TAMPA            FL   33622-5601    12,308.60
GOODWIN TUCKER                   R&M                        PO BOX 3285                                                                          DES MOINES       IA   50316-0285    12,284.65
LINCOLN CORNER, INC.             RENT                       555 WEST NEWTON STREET            -                           -                      GREENSBURG       PA        15601    12,203.08
PIEDMONT NATURAL GAS             UTILITY                    PO BOX 1246                                                                          CHARLOTTE        NC   28201-1246    11,978.41
LANSING BOARD OF WATER & L       UTILITY                    PO BOX 13007                                                                         LANSING          MI   48901-3007    11,941.89
MISSION LINEN SUPPLY             INVENTORY                  2652 S. 16TH ST. #A                                                                  PHOENIX          AZ        85034    11,554.88
CITY OF PEMBROKE PINES           TAX                        PO BOX 269005                                                                        PEMBROKE PINES   FL        33026    11,502.67
EXECUTIVE MAINTENANCE SYST       JANITORIAL                 6819 POLONIA AVE                                                                     CLEVELAND        OH        44105    11,469.60
EQUINITI TRUST COMPANY           RESTRUCTURING              P.O. BOX 856686                   -                           -                      MINNEAPOLIS      MN   55485-0686    11,457.83
DAYTON POWER & LIGHT             UTILITY                    P.O. BOX 2631                                                                        DAYTON           OH   45401-2631    11,366.87
DISCOVERY BENEFITS               EMPLOYEE BENEFITS          4321 20TH AVENUE                  -                           -                      FARGO            ND        58103    11,347.32
SOUTHERN CALIFORNIA EDISON       UTILITY                    P.O. BOX 300                                                                         ROSEMEAD         CA   91772-0001    11,180.09
DOMINION EAST OHIO               UTILITY                    PO BOX 26785                                                                         RICHMOND         VA   23261-6785    11,175.47
SOUTH JERSEY GAS                 UTILITY                    P.O. BOX 6091                                                                        BELLMAWR         NJ   08099-6091    11,116.76
JEFFERSON PARISHSALES TAX        TAX                        1233 WESTBANK EXPRESSWAY          -                           -                      HARVEY           LA        70058    11,091.84
WAKE ABC                         INVENTORY                  1212 WICKER DRIVE                 -                           -                      RALEIGH          NC        27604    11,087.20
CHAMALEON ENTERPRISES INC        JANITORIAL                 PO BOX 15146                                                                         PLANTATION       FL        33318    11,047.37
RITE-AIR MECHANICAL SERVIC       R&M                        109 EDGEWOOD AVE                                                                     BELLMAWR         NJ          8031   11,019.41
INDIANAPOLIS POWER/LIGHT         UTILITIES                  PO BOX 110                                                                           INDIANAPOLIS     IN   46206-0110    10,898.03
HOOTSUITE, INC.                  BACK OFFICE SUPPORT - IT   5 EAST 8TH AVE.                                                                      VANCOUVER        BC   V5T 1R6       10,836.00
DOMINION ENERGY                  UTILITY                    P.O. BOX 45841                                                                       SALT LAKE CITY   UT   84139-0001    10,782.88
ALABAMA POWER                    UTILITY                    PO BOX 242                                                                           BIRMINGHAM       AL        35292    10,713.21
CITY OF AUSTIN                   TAX                        FDS-CONTROLLER'S OFFICE           P.O. BOX 2920                                      AUSTIN           TX        78768    10,672.63
AT&T                             UTILITY                    19                                P.O. BOX 5019                                      Carol Stream     IL   60197-5019    10,660.67
BULLITT TRUSTS/BEARGRASS R       RENT                       ATTN: JAMES COUCH                 200 SOUTH FIFTH STREET      SUITE 500 NORTH        LOUISVILLE       KY        40202    10,599.84
EEC ACQUISITIONS LLC.            RENT                       210 VISTA PARK DR                                                                    PITTSBURGH       PA        15205    10,494.61
CERDANT, INC                     BACK OFFICE SUPPORT - IT   PO BOX 3204                                                                          DUBLIN           OH        43017    10,358.70
BRIAN GRUSI                      EMPLOYEE                   100 S EOLA DR                     UNIT 1203                   -                      ORLANDO          FL        32801    10,299.02
MPWS CO. DBA PIO                 RENT                       -                                 -                           -                      -                -    -             10,213.74
ARAMARK UNIFORM & CAREER         SUPPLIES                   APPARELAUS MADISON MC LOCKBOX     25259 NETWORK PLACE                                CHICAGO          IL   60673-1252    10,071.93
AMEREN MISSOURI                  UTILITY                    PO BOX 66529                                                                         ST LOUIS         MO   63166-6529    10,032.05
CITY OF WINTER PARK              TAX                        401 PARK AVE SOUTH                ATTN: FINANCE A/R                                  WINTER PARK      FL   32789-4386    10,030.52
WCA OF FLORIDA, LLC              TRASH                      P.O. BOX 4524                                                                        HOUSTON          TX   77210-4524    10,018.86
ROSENFIELD & COMPANY             PROFESSIONAL SERVICES      301 E PINE STREET                                             -                      ORLANDO          FL        32801    10,000.00
ECOLAB FOOD SAFETY SPECIAL       MAINTENANCE                24198 NETWORK PLACE                                                                  CHICAGO          IL   60673-1241     9,978.74
THE THARPE COMPANY               RECRUITING                 P.O. BOX 60564                                                                       CHARLOTTE        NC   28260-0564     9,858.00
SHI INTERNATIONAL CORP.          BACK OFFICE SUPPORT - IT   P.O. BOX 952121                                                                      DALLAS           TX   75395-2121     9,854.10
MECK ABC #12 EAS                 INVENTORY                  3904 COLONY ROAD                  -                           -                      CHARLOTTE        NC        28210     9,823.30
ALLIANCE BEVERAGE                INVENTORY                  4490 60th STREET SE               -                           -                      GRAND RAPIDS     MI        49512     9,764.90
JJ TAYLOR DISTRIBUTING - TAMPA   INVENTORY                  5102 SOUTH 16th AVENUE            -                           -                      TAMPA            FL        33619     9,726.80
TWO COUSINS FISH MARKET IN       INVENTORY                  75 BENNINGTON AVENUE                                                                 FREEPORT         NY        11520     9,641.20
MIDAMERICAN ENERGY COMPANY       UTILITY                    PO BOX 8020                                                                          DAVENPORT        IA   52808-8020     9,636.92
CITY OF TOLEDO                   TAX                        DEPARTMENT OF PUBLIC UTILITIES    420 MADISON AVE SUITE 100                          TOLEDO           OH   43667-0001     9,612.25
GOLD COAST BEVERAGE              INVENTORY                  10055 NW 12th STREET              -                           -                      MIAMI            FL        33172     9,606.65
PSEGLI                           UTILITY                    P.O. BOX 9039                                                                        HICKSVILLE       NY   11802-9039     9,518.12
SUPERIOR BEVERAGE                INVENTORY                  1070 ORCHARD ROAD                 -                           -                      MONTGOMERY       IL        60538     9,496.53
VIRGINIA BEACH TREASURER         TAX                        MUNICIPAL CENTER BLDG 1           2401 COURTHOUSE DR                                 VIRGINIA BEACH   VA   23456-9018     9,406.76
MAJESTIC BUILDING MAINTENA       JANITORIAL                 P.O. BOX 1303                                                                        POWELL           OH        43065     9,332.54
REPUBLIC SERVICES                TRASH                      PO BOX 9001099                                                                       LOUISVILLE       KY   40290-1099     9,244.01
ALSCO                            SUPPLIES                   2064 ELSA ST.                                                                        NAPLES           FL        34109     9,239.64
COASTAL BEVERAGE                 INVENTORY                  4747 PROGRESS AVENUE              -                           -                      NAPLES           FL        34104     9,217.60
TOLEDO EDISON                    UTILITY                    PO BOX 3687                                                                          AKRON            OH   44309-3687     9,177.32
SAPPHIRE CLEAN CORP.             MAINTENANCE                13750 SE 54TH STREET                                                                 MORRISTON        FL        32668     9,080.02
KATHLEEN J. PALLO                JANITORIAL                 15412 SW 105TH AVE                                                                   MIAMI            FL        33157     8,999.99
SERVISOFT OF MIDDLEFIELD,        R&M                        14299 KINSMAN RD                  PO BOX 174                                         BURTON           OH   44021-0174     8,908.42
VECTREN ENERGY DELIVERY          UTILITY                    PO BOX 6248                                                                          INDIANAPOLIS     IN   46206-6248     8,849.77
DFS HOLDING COMPANY, INC         SUPPLIES                   101 MT HOLLY BY-PASS                                                                 LUMBERTON        NJ          8048    8,845.79
COMDOC INC                       COPIER/PRINTER             21146 NETWORK PLACE                                                                  CHICAGO          IL        60673     8,844.14
NJ NATURAL GAS CO.               TAX                        P.O. BOX 11743                                                                       NEWARK           NJ   07101-4743     8,827.63
WASHINGTON GAS                   UTILITY                    PO BOX 37747                                                                         PHILADELPHIA     PA   19101-5047     8,753.24
SOUTHWEST SEAFOOD INC.           INVENTORY                  P.O. BOX 36384.                                                                      HOUSTON          TX        77236     8,676.80
OMAHA PUBLIC POWER DISTRIC       UTILITY                    P.O. BOX 3995                                                                        OMAHA            NE   68103-0995     8,656.65
CITY OF OMAHA TAXES              TAX                        1819 FARNAM STREET                -                           -                      OMAHA            NE        68183     8,654.77
ARROW WINE & SPIRITS             INVENTORY                  615 LYONS ROAD                    -                           -                      DAYTON           OH        45459     8,646.33
REPUBLIC BEVERAGE - KENTUCKY     INVENTORY                  P.O. BOX 37100                    -                           -                      LOUISVILLE       KY        40233     8,631.88
JEFFERSON PARISHSALES TAX        TAX                        1233 WESTBANK EXPRESSWAY          -                           -                      HARVEY           LA        70058     8,627.31
UNITED - JOHNSON                 INVENTORY                  6000 GREENWOOD PARKWAY            SUITE 100                   -                      BESSEMER         AL        35022     8,552.36
CONSTELLATION NEW ENERGY-G       UTILITY                    P.O. BOX 4640                                                                        Carol Stream     IL   60197-4640     8,490.26
                                                      Case 6:20-bk-02159-LVV                    Doc 162         Filed 05/08/20   Page 266 of 274


CHATEAU WINE AND                       INVENTORY               2131 POLARIS PARKWAY              -                       -                    COLUMBUS           OH         43240        8,464.92
G&R MECHANICAL INC.                    R&M                     3220 BERGEY ROAD                                                               HATFIELD           PA         19440        8,399.96
CAPREF BROOKWOOD VILLAGE L             RENT                    P.O. BOX 713934                                                                CINCINNATI         OH   45271-3934         8,380.72
MIDWEST REPAIR SERVICE LLC             MAINTENANCE             217 UPTON ST.                                                                  SAINT LOUIS        MO         63111        8,345.13
ROCKY MTN POWER                        UTILITY                 1033 NE 6TH AVE.                                                               PORTLAND           OR   97256-0001         8,335.96
NATIONAL DISTRIB - NEW MEXICO          INVENTORY               5920 OFFICE BOULEVARD NE          -                       -                    ALBUQUERQUE        NM         87109        8,329.32
NATIONAL WINE & SPIRITS                INVENTORY               17550 Allen Road                  -                       -                    BROWNSTOWN         MI         48193        8,296.11
COLLIER COUNTY TAX COLLECT             TAX                     3291 E. TAMIAMI TRAIL                                                          NAPLES             FL   34112-5758         8,251.52
OHIO VALLEY BEER                       INVENTORY               10975 MEDALLION DRIVE             -                       -                    EVENDALE           OH         45241        8,222.12
PEGASUS BUILDING SERVICES              JANITORIAL              P.O. BOX 711                                                                   NUTLEY             NJ          7110        8,132.00
COMMONWEALTH OF PENNSYLVANIA           INVENTORY               PO BOX 8500-53473                 -                       -                    PHILADELPHIA       PA         19178        8,131.67
BUCKHEAD MEAT OF SAN ANTON             INVENTORY               PO BOX 1066                       DEPT 21                                      HOUSTON            TX   77251-1066         8,061.45
CITY OF HUNTSVILLE                     TAX                     308 FOUNTAIN CIRCLE               3RD FLOOR                                    HUNTSVILLE         AL         35801        7,982.52
RR DONNELLEY & SONS COMPAN             ADVERTISING             35 W. WACKER DRIVE                                                             CHICAGO            IL         60601        7,981.69
CITY OF K.C.MO.                        TAX                     414 E 12TH STREET                 -                       -                    KANSAS CITY        MO         64106        7,979.04
PEOPLES GAS                            UTILITY                 PO BOX 644760                                                                  PITTSBURGH         PA   15264-4760         7,956.48
EDWARD G. MILGRIM, P.A.                PROFESSIONAL SERVICES   MILGRAM LAW GROUP                 3216 CORRINE DRIVE                           ORLANDO            FL         32803        7,898.54
COMCAST                                UTILITY                 P.O. BOX 34744                                                                 SEATTLE            WA   98124-1744         7,829.17
IN FAB TAX INTAX                       TAX                     PO BOX 7207                       -                       -                    INDIANAPOLIS       IN         46207        7,779.50
CITY OF LONE TREDEBITS                 TAX                     9220 KIMMER DRIVE                 SUITE 100               -                    LONE TREE          CO         80124        7,589.50
ST LOUIS COUNTY COLLECTOR OF REVENUE   TAX                     41 S CENTRAL AVE                                                               ST LOUIS           MO         63105        7,571.59
DUCKHORN WINE CO                       INVENTORY               1000 LODI LANE                    -                       -                    -                  -    -                  7,521.00
CITY OF RANCHO CUCAMONGA               TAX                     10500 CIVIC CENTER DRIVE                                                       RANCHO CUCAMONGA   CA         91730        7,516.23
RENTOKIL NORTH AMERICAN IN             FOOD SAFETY             PO BOX 14095                                                                   READING            PA         19612        7,505.11
UGI UTILITIES INC                      UTILITY                 P O BOX 15503                                                                  WILMINGTON         DE   19886-5503         7,319.66
CITIZENS ENERGY GROUP                  UTILITY                 PO BOX 7056                                                                    INDIANAPOLIS       IN   46207-7056         7,308.57
MDC FINANCE TOU PURCHASE               TAX                     11805 S.W. 26 ST.                 -                       -                    MIAMI              FL         33175        7,286.18
PNM                                    UTILITY                 PO BOX 17970                                                                   DENVER             CO   80217-0970         7,282.68
G&R MECHANICAL INC.                    R&M                     3220 BERGEY ROAD                  -                       -                    HATFIELD           PA         19440        7,250.00
SYSCO NEW MEXICO                       INVENTORY               601 COMANCHE NE                                                                ALBUQUERQUE        NM         87107        7,221.94
VINTAGE WINE COM                       INVENTORY               15420 EAST TWELVE ROAD            -                       -                    ROSEVILLE          MI         48066        7,200.00
KRYSTAL KLEEN INC.                     MAINTENANCE             P.O. BOX 908                                                                   WARREN             MI   48090-0908         7,146.00
DOOR & GATE CO. LLC.                   R&M                     130 HICKMAN RD.                   STE. 26                                      CLAYMONT           DE         19703        7,145.06
HARBOR DIST - CA                       INVENTORY               5901 BOLSA AVENUE                 -                       -                    HUNTINGTON BEACH   CA         92647        7,136.00
SERVCO, LLC.                           R&M                     701 BAGLEY DRIVE                                                               TRUSSVILLE         AL         35173        7,118.33
SEATTLE FISH COMPANY COLOR             INVENTORY               PO BOX 17414                                                                   DENVER             CO         80217        7,114.38
AGGRESSIVE ENERGY, LLC.                UTILITY                 P.O. BOX 9402                                                                  NEW YORK           NY         10087        7,067.61
MACHADO MANAGEMENT CONSULT             PROFESSIONAL SERVICES   840 N. ATLANTIC AVE. APT. C403                                                 COCOA BEACH        FL         32931        7,056.00
ORANGE COUNTY TAX COLLECTO             TAX                     PO BOX 545100                                                                  ORLANDO            FL   32854-5100         7,041.74
PINNACLE IMPORTS                       INVENTORY               1681 WALTON ROAD                  -                       -                    ST. LOUIS          MO         63114        6,900.00
JOHNSON CONTROLS SECURITY              SECURITY SERVICES       P.O. BOX 371994                                                                PITTSBURG          PA   15250-7994         6,872.51
FORTUNE FISH COMPANY                   INVENTORY               DEPT #10477                       PO BOX 87618                                 CHICAGO            IL   60680-0618         6,845.54
                                                                                                                                                                      Total         61,395,015.82
                                                Case 6:20-bk-02159-LVV                Doc 162        Filed 05/08/20                Page 267 of 274



                                                                                    SoFA Exhibit 4

                                                                       FoodFirst Global Restaurants, Inc.
Payments to insiders during the one year prior to filing.
Name                 Title                  Address                        City            State     Zip           Salary        Severance     Bonus       Other        Total
Debbie Alison        SVP, Supply Chain      5584 Thomas Square Drive       Winter Garden   FL              34787    $    195,900                                         $    195,900
Cecilia Farner       Controller             712 Monmouth Way               Winter Park     FL              32792    $    116,827                                         $    116,827
Steve Layt           CEO                    820 Main Ln apt 1439           Orlando         FL              32801    $    129,808               $ 150,000                 $    279,808
Brad Blum            CEO                    1169 Lakeview Drive            Winter Park     FL              32789    $    392,308                                         $    392,308
Brian Grusi          CFO                    100 S Eola Dr. 1203            Orlando         FL              32801    $    324,231                                         $    324,231
John Imbrioli        CCO                    245 Kincaid Ave                Deland          FL              32724    $    195,192                                         $    195,192
Chuck Lempke         VP Finance             7477 Gardenview PL             Dublin          OH              43016    $    109,900 $      47,308                           $    157,208
Debbie Ticknor       SVP Controller         6578 Baronscourt Loop          Dublin          OH              43016    $     87,464 $     192,500             $     27,200 $     307,164
Mike Ellis           CDO                    9565 Yellow finch Court        Brentwood       TN              37027    $    121,827                           $ 187,425 $        309,252
Diane Reed           CFO                    5568 Lexington Dr              Franklin        OH              43026    $     54,172 $     475,958                           $    530,130
John Wong            CMO                    1238 NW 126th St               Seattle         WA              98177    $     21,233                                         $     21,233
Khanh Collins        COO                    22825 Queensbridge Drive       Ashburn         VA              20148                  $    193,846                           $    193,846
Brian O'Malley       CEO                    7667 Red Emerald Way           Delaware        OH              43015                  $    369,231                           $    369,231
Hollie Rose          SVP, FINANCE           2138 Kane Park Way             Windermere      FL              34786    $    162,212               $    34,233               $    196,444
                                                                                                                   $   1,911,073   $   1,278,843   $   184,233   $   214,625   $   3,588,774
         Case 6:20-bk-02159-LVV             Doc 162       Filed 05/08/20       Page 268 of 274




                                           SoFA Exhibit 7
                              FoodFirst Global Restaurants, Inc.
Legal Actions within one year prior to filing.
Worker’s Compensation Actions:
Sarah Arndt- OPEN- Slip and Fall

    •   Sarah Arndt vs. Bravo Brio Restaurant Group, Inc.
    •   Court of Common Pleas Franklin County Ohio Civil Division

Krysta Bonney- OPEN- server dropped a plate and cut the top of claimant’s foot

    •   Docket number- CV2017-090697
    •   Venue- Phoenix, Arizona Maricopa County Trial Court

Karen Bordt- OPEN- suffered concusion after a bussed plate fell from a server assistant’s hand

    •   Case number- GD-15-010035
    •   Venue- Allegheny County, Pennsylvania Court of Common Pleas

Mary Ann Cheek- OPEN-Guest tripped and fell fracturing femur

    •   Case number- Mary Ann Cheek v. Robert B. Aikens & Assoc., et al. OCCC/Case No: 20-179807-
        NO
    •   Venue State of Michigan 6th Judicial Circuit

Nikki Courtney- OPEN- Guest slipped and fell in bar area

    •   Case number- 11-2019-CA-003633-0001xx
    •   Venue- Collier County Circuit Court

Louis Esposito- Open-Guest went to sit in booth and fell

    •   Case number- 2019-10520
    •   Venue- Butler County, Pennsylvania Court of Common Pleas

Jenna Guidry-OPEN-Hit by porcelain plate

    •   Case Number- 773-949
    •   Venue- 24th Judicial District Court for the Parrish of Jefferson State of Louisiana

Mollie Hart- Open- Claimant tripped on the loose threshold and fell

    •   Case number- CACE-17-020400
    •   Venue-17th Judicial Circuit for Broward County, Florida

Catherine Riorda Howard-OPEN- Guest slipped on wet floor and landed on knee

    •   Case number- CV 19-431
    •   Venue- Cherokee Tribal Court, NC
         Case 6:20-bk-02159-LVV            Doc 162      Filed 05/08/20       Page 269 of 274



Annie Jones- OPEN- Guest slipped and fell on water in floor

   •   Case number- 19-CVC-030160
   •   Venue- Court of Common Pleas Delaware County, Ohio

Tiffany Kanzler- OPEN- While walking to restroom slipped and fell

   •   Case Reference Number- 2018 L 1127
   •   Venue- DuPage County Circuit Court Illinois

Amy Larsen- OPEN- slipped and fell

   •   Case Number- PM-20CV001985
   •   Venue- Court of Common Pleas Franklin County, Ohio Civil Division

Florecita Savasuk-OPEN-Slipped and fell injuring knee and elbow

   •   Case Number- 502019CA012847XXXXMB Div AD
   •   Venue- Palm Beach County Circuit Court, Florida

Karen Schooley- OPEN- Slipped and fell on olive oil

   •   Case Number- 2017-CA-005134-O
   •   Venue- Circuit Court of 9th Judicial Circuit in and for Orange County, Florida

Roland Wulf-OPEN- Customer was walking by expo line when a server backed into customer and they
fell

   •   Docket Number- CV 2017 03 0719
   •   Venue- Court of Common Pleas Butler County, Ohio

Rosemarie Mancuso- Closed- GL- guest was walking around bar became tangled with barstool fell
backwards
   • Docket number – 2017-004037CA
   • Venue- circuit court of the seventeenth judicial circuit in and for Broward county Florida

Guadalupe Herrera- Closed- WC- injured arm due to repetitive motion of work
   • Case Number- ADJ9165110
   • Venue- Workers compensation appeals board state of California

Joy Chandler – Closed- WC- returning from picking up liquor slipped on back dock
    • Case Number- Unknown
    • Venue-Unknown

Gabriel Gomez- Closed- WC- doing inventory and stepped off ladder wrong, unknown injury to left knee
and lower back
   • Case Number- Unknown documents archived
   • Venue- unknown documents archived

Salvador Castruita- Closed – WC – struck head against corner of oven door
    • Case Number – unknown documents archived
    • Venue- unknown documents archived
         Case 6:20-bk-02159-LVV            Doc 162      Filed 05/08/20       Page 270 of 274



Reynaldo Suazo – Closed - WC- stepped on portion bag and slid, meniscus tear
   • Case Number- unknown documents archived
   • Venue- unknown documents archived

Josephine Delvacchio – Closed- GL – chair slipped which caused her to fall
    • Docket Number- L-2689-18
    • Venue- superior court of New Jersey law division Camden county

Luis Maldonando – Closed – WC- alleged injury to back, foot, and toes
    • Case Number – unknown documents archived
    • Venue- unknown documents archived

Roger Cowan – Closed- PL – while eating salad guest bit into something hard hurt tooth
   • Docket number – 19-CV-00681NBF
   • Venue – US district court Western District of Pennsylvania

Malika Dakkon – Closed- GL – slip and fall
   • Case Number – 502019CA000382XXXXMB
   • Venue – circuit court for the fifteenth judicial circuit in and for Palm Beach County Florida

Violet Sitra - Closed- GL- slip and fall
    • Case Number – 2019-CA-000862
    • Venue- circuit court for the fifteenth judicial circuit in and for Palm Beach County Florida

Salvador Castruita – Closed - WC- due to stress and strain of his jaw multiple injuries
    • Case Number – unknown documents archived
    • Venue – unknown documents archived

Roxana Campoy Ruiz -Closed - WC – slipped on water on floor injured knee
   • Case Number -18-027899FJC
   • Venue- state of Florida division of administrative hearings Fort Myers district

Francisco Vasquez – Closed - WC- unclassified insufficient data
    • Case Number – ADJ11308034
    • Venue- workers compensation appeals board for the states of California

Monica Luna – Closed - WC- stepped on step slipped and fell
  • Case Number – unknown documents archived
  • Venue – unknown documents archived

Jeanetta Wafford– Closed - WC- struck by falling rack of glassed
    • Case Number – claim documents archived
    • Venue- claim documents archived

Kierahn Botta Watson – Closed - WC-lacerated finer while cleaning slicer
    • Case Number – documents archived
    • Venue – documents archived
         Case 6:20-bk-02159-LVV           Doc 162      Filed 05/08/20     Page 271 of 274




Jonathon Schefter– Closed - WC-grabbed hot pan without using towel and burned hand
   • Case Number – documents archived
   • Venue- documents archived

Joseph Edmond – Closed - WC- lifting case of water up the stairs felt pop in knee
    • Case Number – 19-008548NPP
    • Venue-state of Florida division of administrative hearings office of the judges of compensation
       claims Orlando district office

Troy Mons– Closed - WC- fell in dish area
    • Case Number – 19-023313SMS
    • Venue- state of Florida division of administrative hearings office of the judges of compensation
       claims Miami district office

Rafael Vasquez – open – WC – cleaning hood of stove fell off ladder
    • Case Number – ADJ10697943
    • Venue- workers compensation appeals board in Anaheim

David Palomino Garfias – open – WC – putting dishes through dish pit sustained burns
   • Case Number – 19-030596JIJ
   • Venue- state of florida division of administrative hearings office of the judges of compensation
       claims Miami district office

Miguel Hill– open – WC – picked up olive jar felt right wrist snap
   • Case Number – 19-019373FJC
   • Venue- state of Florida division of administrative hearings office of the judges of compensation
       claims fort Myers district office

Kaya Bozhinova– open – WC- air vent fell from ceiling and hit head
   • Hearing number- 2006035-MT
   • Venue- state of Nevada department of administration hearings division

Karen Shiner– open – WC- carrying a tray to serve and tripped over a chair
   • Case Number – ADJ11815609
   • Venue- state of California workers compensation appeals boards Santa Ana

Shawna Matthews– open – WC-curtain rod fell onto head and shoulder
   • Case Number -ADJ12243261
   • Venue- state of California workers compensation appeals boards

Jyoti Sharma– open – PL- guest choked on piece of bone in fish
    • Case Number – 611789/2019
    • Venue- supreme court of the state of new York county of Nassau
         Case 6:20-bk-02159-LVV             Doc 162      Filed 05/08/20       Page 272 of 274



Tajrashan Elerbe– open – WC- struck by falling wine rack
    • Case Number – 2019-24448
    • Venue-state of new jersey department of labor and work force development division of workers
       compensation

Diane Saavedra– open – WC- buckled left ankle and fell
   • Case Number – 20-005502CJS
   • Venue- state of Florida division of administrative hearings office of the judges of compensation
       claims west palm beach district office

Frank Williams – open – WC- infection resulted in loss of toe
    • Case Number – 20-000948DAL
    • Venue- state of Florida division of administrative hearings office of the judges of compensation
       claims fort lauderdale district office

Carlos Donado – open – WC- hot water spilled second and third degree burns
    • Case Number – 2020-4592
    • Venue- state of New Jersey department of labor and work force development division of
        workers compensation


General Litigation:
Venice Macon v. FoodFirst Global Restaurants, Inc.- alleges racial discrimination, harassment and
retaliation

    •   Case Number- Unknown
    •   Venue- US District Court Eastern District of Michigan

Erica Morrison v. FoodFirst Global Restaurants, Inc. and Carlos Meneses - claims that her
supervisor, Carlos Meneses, sexually harassed her to the point that it created a hostile working
environment and that the Company terminated her employment in retaliation for her complaints about
him. She also alleges that the Company discriminated against her on the basis of her disability
(pregnancy) and failed to accommodate her disability.

    •   Venue- Los Angeles County Superior Court
    •   Case Number- 19STCV16377

Symbology Innovations, LLC v. FoodFirst Global Restaurants, Inc.- Plaintiff Symbology has sued
FoodFirst for infringement of U.S. Patent No. 8,424,752, claiming that FoodFirst’s use of a QR Code
system to promote its BRIO Rewards Program infringes the patent.

    •   Venue- United States District Court, Southern District of Ohio
    •   Case Number- 2:19-CV-03125

Daniel Moncada v. FoodFirst Global Restaurants, Inc.- allegedly visually disabled individual, claims
that he is unable to access brioitalian.com because it is not accessible to individuals with disabilities

    •   Venue- United States District Court for the Southern District of Florida
    •   Case Number- 0:19-cv-61792
         Case 6:20-bk-02159-LVV            Doc 162      Filed 05/08/20      Page 273 of 274



Natacha Candio v. Bravo Brio Restaurant Group, Inc.- Ms. Candio alleges that she was terminated on
account of her race and national origin

    •   Venue- U.S. Equal Employment Opportunity Commission
    •   Charge Number- 430-2018-01310

Windy Lucius v. FoodFirst Global Restaurants, Inc. - Florida alleging that FoodFirst’s mobile application
is not accessible to individuals with disabilities in violation of the ADA
    • Venue- United States District Court, Southern District of Florida
    • Case Number- 1:20-cv-20187

FoodFirst Global Restaurants, Inc. v. Authentic8, Inc. - FoodFirst terminated its contract with
Authentic8, Inc. on Feb. 14, 2020 after the completion of the initial three month period. In response, on
March 3, 2020, Authentic8 threatened legal action, alleging that FoodFirst breached the agreement by
terminating the agreement prior to completing the 18-month minimum activation period.
    • Venue- Court of Common Pleas Franklin County, Ohio
    • Case number- unknown

Chagrin Retail v. FoodFirst Global Restaurants, Inc.- Dispute with Landlord over not paying rent and
other monies owed. Landlord terminated lease, locked us out, and has filed a complaint.
   • Case Number- 20CV930829
   • Venue- Court of Common Pleas Cuyahoga County, Ohio

Gethro Pierre v. Bravo Brio Restaurant Group, Inc. Broward County (Florida) Circuit Court Case No. 510-
2017-03054
   • Mr. Pierre, a former Sous Chef in Miami, Florida, claims that the Company terminated his
       employment following an injury he sustained at work because he was late to work due to
       therapy following surgery for that injury. He also claims that the Company failed to
       accommodate his disability.

Charles Anderson v. FoodFirst Global Restaurants, Inc. U.S. EEOC Charge No. 420-2019-02855
   • Mr. Anderson, a former line cook at the company’s Homewood, Alabama restaurant, alleges
        that he was subject to discriminatory terms and conditions of employment and was terminated
        in retaliation for complaining.
   • Awaiting expiration of 90-day timeline to file lawsuit

Communications Workers of America/Linda Bradley v. FoodFirst Global Restaurants, Inc. U.S. EEOC
Charge Nos. 570-2019-00660/00682
   • Communications Workers of America (“CWA”) and Linda Bradley have filed charges alleging that
       the Company’s hiring advertisements through Facebook discriminated against individuals, like
       Ms. Bradley, who are over 40 as they were targeted only to individuals under 40. These charges
       mirror a string of claims brought against Facebook and numerous employers by CWA and Ms.
       Bradley (both through the EEOC and in federal courts).

Omar Pryor v. FoodFirst Global Restaurants, Inc. U.S. EEOC Charge No. 510-2019-01079
  • Mr. Pryor, a current busser at City Place (Florida), brings a charge alleging sexual harassment on
      the part of an assistant manager. He claims to have been both verbally and physically harassed.
      He claims that he brought this to the attention of management, who did nothing to stop it. He
      claims that he was written up in retaliation for bringing these complaints.
         Case 6:20-bk-02159-LVV           Doc 162       Filed 05/08/20      Page 274 of 274




Kelly Farwick v. FoodFirst Global Restaurants, Inc. Litigation Threat Letter/EEOC Charge (Cincinnati)
    • Ms. Farwick, a former Sous Chef at Rookwood, claims that another cook/dishwasher sexually
        assaulted her in the walk-in cooler, that the Company did not properly investigate her claims,
        and that the Company terminated her employment in retaliation for having brought her
        complaints.

Melissa Jackson v. FoodFirst Global Restaurants, Inc. US EEOC Charge No. 532-2020-00234
   • Ms. Jackson, a current Team Lead in Westlake, Ohio, claims that she is being paid less than two
       male, comparable Team Leads in her restaurant. She claims that she filed a previous charge
       complaining of that fact on October 18, 2019, and was subsequently suspended in retaliation for
       filing that charge.

William Butler v. Food First Global Restaurants, Inc. U.S. EEOC Charge No. 531-2018-02762C
    • Mr. Butler, a former server at the company’s Inner Harbor restaurant, alleges that he was
       racially abused by 3 other African-American employees and discharged after reporting this
       behavior to management.

Natacha Candio v. Bravo Brio Restaurant Group, Inc. U.S. Equal Employment Opportunity
Commission Charge No. 430-2018-01310
   • Ms. Candio alleges that she was terminated on account of her race and national origin

Communications Workers of America/Linda Bradley v. Food First Global Restaurants, Inc. U.S.
EEOC Charge Nos. 570-2019-00660/00682
   • Communications Workers of America (“CWA”) and Linda Bradley have filed charges alleging that
      the Company’s hiring advertisements through Facebook discriminated against individuals, like
      Ms. Bradley, who are over 40 as they were targeted only to individuals under 40. These charges
      mirror a string of claims brought against Facebook and numerous employers by CWA and Ms.
      Bradley (both through the EEOC and in federal courts).

Brio Pembroke Pines DOL Audit U.S. Department of Labor
    • We received a United States Department of Labor (“DOL”) Audit letter for the Brio at Pembroke
       Pines, Florida. The DOL has required various information for the restaurant, including general
       information about the Company, restaurant team member information (such as time and payroll
       records) from November 2016 through November 2018, and team member interviews. It is
       unclear if this a random audit, or prompted by a team member complaint.
